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                              UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE
------------------------------------------------------------ X
                                                             :
In re                                                        : Chapter 11
                                                             :
CHECKOUT HOLDING CORP., et al.,                              : Case No. 18-[_____] (___)
                                                             :
                  Debtors. 1                                 : (Joint Administration Pending)
                                                             :
------------------------------------------------------------ X

            DISCLOSURE STATEMENT FOR JOINT PREPACKAGED
CHAPTER 11 PLAN OF CHECKOUT HOLDING CORP. AND ITS AFFILIATED DEBTORS


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       Debtors in Possession                                  Debtors in Possession


Dated: December 11, 2018
Wilmington, Delaware




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Catalina Marketing Corporation (9007); Catalina Marketing Procurement, LLC (9333); Catalina
Marketing Technology Solutions, Inc. (8728); Catalina Marketing Worldwide, LLC (9687); Cellfire Inc. (5599);
Checkout Holding Corp. (4651); Modiv Media, Inc. (3507); PDM Group Holdings Corporation (9148); PDM
Holdings Corporation (5025); PDM Intermediate Holdings A Corporation (6409); and PDM Intermediate Holdings B
Corporation (3278). The Debtors’ principal offices are located at 200 Carillon Parkway, St. Petersburg, FL 33716.
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THIS SOLICITATION OF VOTES (THE “SOLICITATION”) IS BEING CONDUCTED TO
OBTAIN SUFFICIENT VOTES TO ACCEPT THE PLAN BEFORE THE FILING OF
VOLUNTARY REORGANIZATION CASES UNDER CHAPTER 11 OF TITLE 11 OF THE
UNITED STATES CODE (THE “BANKRUPTCY CODE”). BECAUSE THE CHAPTER 11
CASES HAVE NOT YET BEEN COMMENCED, THIS DISCLOSURE STATEMENT HAS NOT
BEEN APPROVED BY THE BANKRUPTCY COURT AS CONTAINING ADEQUATE
INFORMATION WITHIN THE MEANING OF SECTION 1125(a) OF THE BANKRUPTCY
CODE. FOLLOWING THE COMMENCEMENT OF THE CHAPTER 11 CASES, THE
DEBTORS EXPECT TO PROMPTLY SEEK ORDERS OF THE BANKRUPTCY COURT
(I) APPROVING THIS DISCLOSURE STATEMENT AS CONTAINING ADEQUATE
INFORMATION, (II) APPROVING THE SOLICITATION OF VOTES AS BEING IN
COMPLIANCE WITH SECTIONS 1125 AND 1126(b) OF THE BANKRUPTCY CODE, AND
(III) CONFIRMING THE PLAN.


                       DISCLOSURE STATEMENT, DATED DECEMBER 11, 2018

                                        Solicitation of Votes
                                  on the Plan of Reorganization of

                               CHECKOUT HOLDING CORP., ET AL.

                                 from the holders of outstanding

                                  FIRST LIEN DEBT CLAIMS
                                 SECOND LIEN DEBT CLAIMS

THE VOTING DEADLINE TO ACCEPT OR REJECT THE PLAN IS 5:00 P.M.
(PREVAILING EASTERN TIME) ON JANUARY 23, 2019, UNLESS EXTENDED BY
THE DEBTORS. THE RECORD DATE FOR DETERMINING WHICH HOLDERS OF
CLAIMS MAY VOTE ON THE PLAN IS DECEMBER 10, 2018 (THE “RECORD
DATE”).




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                           RECOMMENDATION BY THE DEBTORS
            The Board of Directors of Checkout Holding Corp. and the board of directors,
            managers, members, or partners, as applicable, of each of its affiliated Debtors
            (as of the date hereof) have unanimously approved the transactions
            contemplated by the Solicitation and the Plan and recommend that all creditors
            whose votes are being solicited submit ballots to accept the Plan. Holders of
            over 66.67% in outstanding principal amount of the First Lien Debt Claims (as
            defined herein) entitled to vote on the Plan (the “Consenting First Lien
            Lenders”), and holders of over 66.67% in outstanding principal amount of the
            Second Lien Debt Claims (as defined herein) entitled to vote on the Plan (the
            “Consenting Second Lien Lenders”) have already agreed, subject to the terms
            and conditions of the Restructuring Support Agreement, to vote in favor of the
            Plan.

HOLDERS OF CLAIMS SHOULD NOT CONSTRUE THE CONTENTS OF THIS
DISCLOSURE STATEMENT AS PROVIDING ANY LEGAL, BUSINESS, FINANCIAL,
OR TAX ADVICE AND SHOULD CONSULT WITH THEIR OWN ADVISERS BEFORE
CASTING A VOTE WITH RESPECT TO THE PLAN.

THE ISSUANCE OF AND THE DISTRIBUTION UNDER THE PLAN OF THE NEW
COMMON STOCK WILL BE EXEMPT FROM REGISTRATION UNDER THE
SECURITIES ACT OF 1933, AS AMENDED (THE “SECURITIES ACT”) AND ANY
OTHER APPLICABLE SECURITIES LAWS PURSUANT TO SECTION 1145 OF THE
BANKRUPTCY CODE. THESE SECURITIES MAY BE RESOLD WITHOUT
REGISTRATION UNDER THE SECURITIES ACT OR OTHER FEDERAL
SECURITIES LAWS PURSUANT TO THE EXEMPTION PROVIDED BY SECTION
4(A)(1) OF THE SECURITIES ACT, UNLESS THE HOLDER IS AN “UNDERWRITER”
WITH RESPECT TO SUCH SECURITIES, AS THAT TERM IS DEFINED IN SECTION
1145(b) OF THE BANKRUPTCY CODE. IN ADDITION, SUCH SECTION 1145 EXEMPT
SECURITIES GENERALLY MAY BE RESOLD WITHOUT REGISTRATION UNDER
STATE SECURITIES LAWS PURSUANT TO VARIOUS EXEMPTIONS PROVIDED BY
THE RESPECTIVE LAWS OF THE SEVERAL STATES.

THE NEW COMMON STOCK AND THE SUBSCRIPTION RIGHTS HAVE NOT BEEN
APPROVED OR DISAPPROVED BY THE SECURITIES AND EXCHANGE
COMMISSION (THE “SEC”) OR BY ANY STATE SECURITIES COMMISSION OR
SIMILAR PUBLIC, GOVERNMENTAL, OR REGULATORY AUTHORITY, AND
NEITHER THE SECURITIES AND EXCHANGE COMMISSION NOR ANY SUCH
AUTHORITY HAS PASSED UPON THE ACCURACY OR ADEQUACY OF THE
INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT OR UPON THE
MERITS OF THE PLAN. ANY REPRESENTATION TO THE CONTRARY IS A
CRIMINAL OFFENSE.

CERTAIN STATEMENTS CONTAINED IN THIS DISCLOSURE STATEMENT,
INCLUDING STATEMENTS INCORPORATED BY REFERENCE, PROJECTED
FINANCIAL INFORMATION, AND OTHER FORWARD-LOOKING STATEMENTS,



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ARE BASED ON ESTIMATES AND ASSUMPTIONS. THERE CAN BE NO ASSURANCE
THAT SUCH STATEMENTS WILL BE REFLECTIVE OF ACTUAL OUTCOMES.
FORWARD-LOOKING STATEMENTS ARE PROVIDED IN THIS DISCLOSURE
STATEMENT PURSUANT TO THE SAFE HARBOR ESTABLISHED UNDER THE
PRIVATE SECURITIES LITIGATION REFORM ACT OF 1995 AND SHOULD BE
EVALUATED IN THE CONTEXT OF THE ESTIMATES, ASSUMPTIONS,
UNCERTAINTIES, AND RISKS DESCRIBED HEREIN.

FURTHER, READERS ARE CAUTIONED THAT ANY FORWARD-LOOKING
STATEMENTS HEREIN ARE BASED ON ASSUMPTIONS THAT ARE BELIEVED TO
BE REASONABLE, BUT ARE SUBJECT TO A WIDE RANGE OF RISKS IDENTIFIED
IN THIS DISCLOSURE STATEMENT. DUE TO THESE UNCERTAINTIES, READERS
CANNOT BE ASSURED THAT ANY FORWARD-LOOKING STATEMENTS WILL
PROVE TO BE CORRECT. THE DEBTORS ARE UNDER NO OBLIGATION TO (AND
EXPRESSLY DISCLAIM ANY OBLIGATION TO) UPDATE OR ALTER ANY
FORWARD-LOOKING STATEMENTS WHETHER AS A RESULT OF NEW
INFORMATION, FUTURE EVENTS, OR OTHERWISE, UNLESS INSTRUCTED TO DO
SO BY THE BANKRUPTCY COURT.

HOLDERS OF ALLOWED GENERAL UNSECURED CLAIMS (OTHER THAN NCS
REJECTION CLAIMS AND GENERAL UNSECURED PDM CLAIMS) WILL NOT BE
IMPAIRED BY THE PLAN AND, AS A RESULT, THE RIGHT TO RECEIVE PAYMENT
IN FULL ON ACCOUNT OF EXISTING OBLIGATIONS IN RESPECT OF SUCH
CLAIMS IS NOT ALTERED BY THE PLAN. DURING THE CHAPTER 11 CASES, THE
DEBTORS INTEND TO OPERATE THEIR BUSINESSES IN THE ORDINARY COURSE
AND WILL SEEK AUTHORIZATION FROM THE BANKRUPTCY COURT TO MAKE
PAYMENT IN FULL ON A TIMELY BASIS TO TRADE CREDITORS, CUSTOMERS,
AND EMPLOYEES OF AMOUNTS DUE PRIOR TO AND DURING THE CHAPTER 11
CASES.

THE PLAN PROVIDES THAT HOLDERS OF IMPAIRED CLAIMS ENTITLED TO
VOTE WHO DO NOT SUBMIT A BALLOT VOTING TO ACCEPT OR REJECT THE
PLAN, WHO VOTE TO ACCEPT THE PLAN, OR WHO VOTE TO REJECT THE PLAN
BUT DO NOT OPT OUT OF THE RELEASE PROVISIONS OF THE PLAN ARE
DEEMED TO HAVE GRANTED THE RELEASES THEREIN.

NO INDEPENDENT AUDITOR OR ACCOUNTANT HAS REVIEWED OR APPROVED
THE FINANCIAL PROJECTIONS OR THE LIQUIDATION ANALYSIS HEREIN.

THE DEBTORS HAVE NOT AUTHORIZED ANY PERSON TO GIVE ANY
INFORMATION OR ADVICE, OR TO MAKE ANY REPRESENTATION, IN
CONNECTION WITH THE PLAN OR THIS DISCLOSURE STATEMENT.

THE STATEMENTS CONTAINED IN THIS DISCLOSURE STATEMENT ARE MADE
AS OF THE DATE HEREOF UNLESS OTHERWISE SPECIFIED. THE TERMS OF THE




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PLAN GOVERN IN THE EVENT OF ANY INCONSISTENCY WITH THE SUMMARIES
IN THIS DISCLOSURE STATEMENT.

THE INFORMATION IN THIS DISCLOSURE STATEMENT IS BEING PROVIDED
SOLELY FOR PURPOSES OF VOTING TO ACCEPT OR REJECT THE PLAN OR
OBJECTING TO CONFIRMATION. NOTHING IN THIS DISCLOSURE STATEMENT
MAY BE USED BY ANY PARTY FOR ANY OTHER PURPOSE. ALL EXHIBITS TO
THIS DISCLOSURE STATEMENT ARE INCORPORATED INTO AND ARE A PART
OF THIS DISCLOSURE STATEMENT AS IF SET FORTH IN FULL HEREIN.




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EXHIBIT A: Plan
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EXHIBIT C: Liquidation Analysis
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EXHIBIT E: Organizational Structure




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                                                    I.
                                              INTRODUCTION

          A.        Background and Overview of Plan

Checkout Holding Corp. and its debtor affiliates (each, a “Debtor,” and collectively, the
“Debtors,” “Checkout” or the “Company”) submit this Disclosure Statement in connection with
the solicitation of votes (the “Solicitation”) on the Joint Prepackaged Chapter 11 Plan of Checkout
Holding Corp. and its Affiliated Debtors, dated December 11, 2018 (the “Plan”), 1 a copy of which
is annexed to this Disclosure Statement as Exhibit A. Subject to the approval of the board of
directors of Checkout (the “Board”), the Debtors anticipate filing voluntary petitions for relief
under chapter 11 in the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”) on or about December 12, 2018, which is during the solicitation period.

The Debtors are commencing this Solicitation to implement a comprehensive financial
restructuring to deleverage the Company’s balance sheet to ensure the long-term viability of the
Debtors’ enterprise. As a result of extensive negotiations, the Debtors, First Lien Lenders that
hold in aggregate over 66.67% of the first lien indebtedness (the “Consenting First Lien
Lenders”) and, Second Lien Lenders that hold in aggregate over 66.67% of the second lien
indebtedness (the “Consenting Second Lien Lenders”), entered into a restructuring support
agreement (the “Restructuring Support Agreement”), a copy of which is attached hereto as
Exhibit B. Under the terms of the Restructuring Support Agreement, the Consenting First Lien
Lenders and the Consenting Second Lien Lenders have agreed, subject to the terms and conditions
of the Restructuring Support Agreement, to support a restructuring of the Debtors’ existing debt
obligations in chapter 11 (the “Restructuring”).

The Restructuring will leave the Debtors’ businesses intact and will substantially deleverage the
Debtors’ capital structure. The Debtors’ balance sheet liabilities will be reduced from
approximately $1.9 billion in secured and unsecured debt to approximately $281 million in secured
debt, which represents a reduction of debt on the Effective Date of over 85% relative to the Petition
Date. This deleveraging will enhance the Debtors’ long-term growth prospects and competitive
position and allow the Debtors to emerge from the Chapter 11 Cases as a stronger company, better
positioned to deliver value to its customers.

The Plan contemplates the distribution of New Common Stock to the Debtors’ prepetition secured
lenders (90% on account of Allowed First Lien Debt Claims and 10% on account of Allowed
Second Lien Debt Claims, each subject to dilution by the Management Incentive Plan) and no
impairment to the Debtors’ other creditors, except the NCS Rejection Claims and the General
Unsecured PDM Claims. Further below is a short summary of the treatment of various creditor
groups under the Plan. Greater detail on such treatment is provided later on in this Disclosure
Statement.



1
  Capitalized terms used in this Disclosure Statement, but not defined herein, have the meanings ascribed to them in
the Prepackaged Plan. To the extent any inconsistencies exist between this Disclosure Statement and the Prepackaged
Plan, the Prepackaged Plan shall govern.




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The Consenting First Lien Lenders and the Consenting Second Lien Lenders have played a
critically important role in formulating the restructuring of the Company. Prior to the Petition
Date, the Debtors approached a group of First Lien Lenders (the “Ad Hoc First Lien Group”)
and a group of Second Lien Lenders (the “Ad Hoc Second Lien Group” and together with the
Ad Hoc First Lien Group, the “Ad Hoc Groups”) regarding a possible restructuring. The Debtors
were successful in reaching an agreement with the Ad Hoc First Lien Group and the Ad Hoc
Second Lien Group on the terms of the Plan. The Plan is the product of good-faith arm’s-length
negotiations and is consistent with the objectives of chapter 11. The Debtors have worked closely
and in coordination with their key stakeholders, including the Consenting First Lien Lenders and
the Consenting Second Lien Lenders. These parties actively participated in the development and
negotiation of the Plan and support confirmation of the Plan.

In addition to supporting the Plan, the Consenting First Lien Lenders have agreed to support the
Debtors by providing postpetition financing to the Debtors (such lenders and other First Lien
Lenders that agree to provide financing under the DIP Credit Agreement, the “DIP Facility
Lenders”), converting those DIP loans into exit financing under the Plan, and making $40 million
in new money exit financing available to the Reorganized Debtors. The converted DIP loans and
the new money will both be governed by the Amended and Restated First Lien Credit Facility.
Specifically, on the Effective Date, the DIP Lenders will receive (a) on account of their DIP
Facility (i) New Money Loan Claims, and (ii) their pro rata share of the A&R First-Out Tranche
under the Amended and Restated First Lien Credit Facility, and (b) on account of their Allowed
DIP Facility, Roll-Up Loan Claims, their pro rata share of the A&R Last-Out Tranche of the
Amended and Restated First Lien Credit Facility. In addition, on the Effective Date, the A&R
Exit Facility will be established as part of the A&R First-Out Tranche under the Amended and
Restated First Lien Credit Facility.

The Consenting First Lien Lenders and the Consenting Second Lien Lenders are further supporting
the Debtors by agreeing that the Plan will provide for the unimpairment or recovery in full for
Allowed General Unsecured Claims (excluding, for the avoidance of doubt, NCS Rejection Claims
and General Unsecured PDM Claims).

Among the milestones in the Restructuring Support Agreement are deadlines relating to NCS (as
defined below), a joint venture between Catalina and The Nielsen Company (US), LLC
(“Nielsen”). As described more fully below, the Debtors believe that certain amendments need to
be made to the NCS Agreement (as defined below) to bolster Catalina’s competitiveness. Catalina
is currently in negotiations with Nielsen over the terms of such amendments and believes that it
may be able to reach a consensual resolution with Nielsen during the Chapter 11 Cases. In the
event that no resolution is reached in the next few weeks, Catalina will have no choice but to seek
to reject the NCS Agreement while negotiations continue. If the NCS Agreement is ultimately
rejected, given the nature and value of Catalina’s assets, Nielsen will receive no recovery on its
claims under the Plan.
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The effect of the Restructuring on the Debtors’ capital structure is summarized as follows:

        Pre-Petition Capital Structure                     Reorganized Capital Structure

 First Lien Revolver          $56 million           A&R First-Out                $125 million
                                                    Tranche

 First Lien Term Loan         $1.02 billion         A&R Last-Out                 $156 million
                                                    Tranche

 Second Lien Term             $472 million
 Loan

 Unsecured Holdco             $384 million
 Notes

                     Total: Approx. $1.9                                Total: Approx. $281
                            billion                                            million



       B.        Summary of Plan Classification and Treatment of Claims

Under the Bankruptcy Code, only holders of claims or interests in “impaired” Classes are entitled
to vote on the Plan (unless, for reasons discussed in more detail below, such holders are deemed
to reject the Plan pursuant to section 1126(g) of the Bankruptcy Code). Under section 1124 of the
Bankruptcy Code, a class of claims or interests is deemed to be “impaired” unless (i) the Plan
leaves unaltered the legal, equitable, and contractual rights to which such claim or interest entitles
the holder thereof or (ii) notwithstanding any legal right to an accelerated payment of such claim
or interest, the Plan cures all existing defaults (other than defaults resulting from the occurrence of
events of bankruptcy) and reinstates the maturity of such claim or interest as it existed before the
default.

Holders of Claims in the following Classes are being solicited under and are entitled to vote on the
Plan:

            •    Class 3 – First Lien Debt Claims; and

            •    Class 4 – Second Lien Debt Claims.
The following table summarizes (i) the treatment of Claims and Interests under the Plan, (ii) which
Classes are impaired by the Plan, (iii) which Classes are entitled to vote on the Plan, and (iv) the
estimated recoveries for holders of Claims and Interests to the extent calculable. The table is
qualified in its entirety by reference to the full text of the Plan. For a more detailed summary of
the terms and provisions of the Plan, see Section V—Summary of the Plan below.
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                 Impairment
                 and                                                                 Approx.
Class and        Entitlement                                                         Percentage
Designation      to Vote                    Treatment under the Plan                 Recovery
       1                         The legal, equitable, and contractual rights of
(Priority Non-                   the holders of Allowed Priority Non-Tax
 Tax Claims)                     Claims are unaltered by the Plan. Except to the
                                 extent that a holder of an Allowed Priority Non-
                                 Tax Claim agrees to different treatment, on the
                  Unimpaired
                                 later of the Effective Date and the date that is
                                 ten (10) Business Days after the date such
                     (Not                                                            Estimated
                                 Priority Non-Tax Claim becomes an Allowed
                  entitled to                                                        Percentage
                                 Claim, or as soon thereafter as is reasonably
                     vote                                                            Recovery:
                                 practicable, each holder of an Allowed Priority
                   because                                                           100%
                                 Non-Tax Claim shall receive, on account of
                  deemed to
                                 such Allowed Claim, at the option of the
                   accept)
                                 Reorganized Debtors: (i) Cash in an amount
                                 equal to the Allowed amount of such Claim or
                                 (ii) other treatment consistent with the
                                 provisions of section 1129(a)(9) of the
                                 Bankruptcy Code.
       2                         The legal, equitable, and contractual rights of
(Other Secured                   the holders of Allowed Other Secured Claims         Estimated
   Claims)                       are unaltered by the Plan. Except to the extent     Percentage
                                 that a holder of an Allowed Other Secured           Recovery:
                                 Claim agrees to different treatment, on the later   100%
                                 of the Effective Date and the date that is ten
                                 (10) Business Days after the date such Other
                  Unimpaired
                                 Secured Claim becomes an Allowed Claim, or
                                 as soon thereafter as is reasonably practicable,
                     (Not
                                 each holder of an Allowed Other Secured
                  entitled to
                                 Claim shall receive, on account of such
                     vote
                                 Allowed Claim, at the option of the
                   because
                                 Reorganized Debtors: (i) Cash in an amount
                  deemed to
                                 equal to the Allowed amount of such Claim,
                   accept)
                                 (ii) reinstatement or such other treatment
                                 sufficient to render such holder’s Allowed
                                 Other Secured Claim Unimpaired pursuant to
                                 section 1124 of the Bankruptcy Code, or
                                 (iii) return of the applicable Collateral in
                                 satisfaction of the Allowed amount of such
                                 Other Secured Claim.
       3           Impaired      Each holder of an Allowed First Lien Debt
  (First Lien                    Claim shall be entitled to receive, in full and     Estimated
 Debt Claims)     (Entitled to   final satisfaction of such Claim, its Pro Rata      Percentage
                     vote)       share of 90% of the New Common Stock issued
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                Impairment
                and                                                                Approx.
Class and       Entitlement                                                        Percentage
Designation     to Vote                   Treatment under the Plan                 Recovery
                                on the Effective Date (subject to dilution by the Recovery:
                                Management Incentive Plan).                        17.4%-43.6%
     4                          each holder of an Allowed Second Lien Debt
(Second Lien                    Claim shall be entitled to receive from (and on Estimated
                  Impaired
Debt Claims)                    behalf of) CHC, in full and final satisfaction of Percentage
                                such Claim, its Pro Rata share of 10% of the Recovery:
                 (Entitled to
                                New Common Stock issued on the Effective 3.8%-9.5%
                    vote)
                                Date (subject to dilution by the Management
                                Incentive Plan).
      5                         The legal, equitable, and contractual rights of
   (General      Unimpaired     the holders of General Unsecured Claims are Estimated
  Unsecured                     unaltered by the Plan. Except to the extent that Percentage
   Claims)          (Not        a holder of a General Unsecured Claim agrees Recovery:
                 entitled to    to different treatment, on and after the Effective 100%
                    vote        Date, the Debtors shall continue to pay (if
                  because       Allowed) or dispute each General Unsecured
                 deemed to      Claim in the ordinary course of business as if
                  accept)       the Chapter 11 Cases had never been
                                commenced.
      6           Impaired      The holders of NCS Rejection Claims shall not
   (NCS                         receive or retain any property under the Plan on Estimated
  Rejection          (Not       account of such Claims, and the obligations of Percentage
  Claims)        entitled to    the Debtors and the Reorganized Debtors on Recovery: 0%
                     vote       account of the NCS Rejection Claims shall be
                   because      discharged.
                 deemed to
                    reject)
     7            Impaired      The holders of General Unsecured PDM
  (General                      Claims shall not receive or retain any property Estimated
 Unsecured          (Not        under the Plan on account of such Claims, and Percentage
PDM Claims)      entitled to    the obligations of the Debtors and the Recovery: 0%
                    vote        Reorganized Debtors on account of the General
                  because       Unsecured PDM Claims shall be discharged.
                 deemed to
                   reject)
       8                        All Intercompany Claims shall be paid,
                 Unimpaired
(Intercompany                   adjusted, continued, settled, reinstated,        Estimated
    Claims)                     discharged, or eliminated, in each case to the   Percentage
                    (Not
                                extent determined to be appropriate by the       Recovery:
                 entitled to
                                Debtors or Reorganized Debtors with the          100%
                    vote
                                consent of the Ad Hoc First Lien Group (such
                  because
                                consent not to be unreasonably withheld), as
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                 Impairment
                 and                                                                Approx.
Class and        Entitlement                                                        Percentage
Designation      to Vote                   Treatment under the Plan                 Recovery
                   deemed to     applicable. All Intercompany Claims between
                     accept)     any Debtor and a non-Debtor affiliate shall be
                                 Unimpaired under the Plan.
      9             Impaired     Subordinated Claims are subordinated pursuant
(Subordinated                    to the Plan and section 510 of the Bankruptcy      Estimated
   Claims)             (Not      Code. The holders of Subordinated Claims           Percentage
                   entitled to   shall not receive or retain any property under     Recovery: 0%
                       vote      the Plan on account of such Claims, and the
                     because     obligations of the Debtors and the Reorganized
                   deemed to     Debtors on account of Subordinated Claims
                      reject)    shall be discharged.
      10            Impaired     The Existing Equity Interests shall be cancelled
  (Existing                      without further action by or order of the          Estimated
   Equity            (Not        Bankruptcy Court.                                  Percentage
  Interests)      entitled to                                                       Recovery: 0%
                     vote
                   because
                  deemed to
                    reject)
       11         Unimpaired     All Intercompany Interests shall be treated as
(Intercompany                    set forth in Section 5.9 of the Plan.          Estimated
   Interests)         (Not                                                      Percentage
                   entitled to                                                  Recovery:
                      vote                                                      100%
                    because
                   deemed to
                    accept)

       C.       Inquiries

If you have any questions about the packet of materials you have received, please contact Prime
Clerk, the Debtors’ voting agent (the “Voting Agent”), at 844-205-4337 (domestic toll-free) or 1-
917-460-0912 (international). Additional copies of this Disclosure Statement, the Plan, or the Plan
Supplement are available upon written request made to the Voting Agent at the following address:

                                 CatalinaBallots@primeclerk.com

Copies of this Disclosure Statement, which includes the Plan and the Plan Supplement (when filed)
are also available on the Voting Agent’s website, https://cases.primeclerk.com/CatalinaMarketing.
PLEASE DO NOT DIRECT INQUIRIES TO THE BANKRUPTCY COURT.
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                                      II.
                     OVERVIEW OF THE DEBTORS’ OPERATIONS

       A.      The Debtors’ Corporate Structure

Catalina Marketing Corporation (“CMC”) was formed in 1983. By 1983, point-of-sale checkout
scanner technology was nearly ubiquitous in grocery stores and CMC’s founders, who had
extensive experience in the consumer packaged goods industry, saw in it the potential to collect
consumer purchase information and use such information to drive sales more efficiently than
traditional retail promotional vehicles. As described in more detail below, this approach to data-
driven marketing remains central to Catalina’s core business philosophy. Since its inception in
1983, Catalina has grown through both the strategic acquisition of other businesses and the organic
expansion of its core businesses.

CMC expanded into European and Asian markets beginning with the United Kingdom in 1992,
France in 1994, Japan in 1996, Italy in 1999, Germany in 2003, and Belgium and the Netherlands
in 2006 (collectively the “Foreign Subsidiaries”). In 1994, CMC created a health business
segment (“Catalina Health Resource”) that expanded its marketing services to pharmaceutical
manufacturers and retail pharmacies. CMC sold Catalina Health Resource to inVentiv Health, Inc.
in 2013.

Until 2007, CMC was publicly traded on the New York Stock Exchange. In 2007, entities
affiliated with Hellman & Friedman LLC (“Hellman & Friedman”), a private equity firm with a
focus on information services and media, through its wholly owned subsidiary, Checkout Holding
Corp. (“CHC”), acquired CMC and established CMC as the businesses’ primary operating entity.

In 2014, funds affiliated with Berkshire Partners LLC (“Berkshire”), a Boston-based investment
firm and certain third-party co-investors, acquired a controlling interest in Catalina. PDM Group
Holdings (the ultimate parent of all the Debtors), PDM Intermediate Holdings A, PDM
Intermediate Holdings B, and PDM Holdings Corp were formed as part of the 2014 transaction
(the “2014 Transaction”). Catalina’s current capital structure, as described in more detail below,
arose as part of the 2014 Transaction to pay down existing debt and to finance the buyout of a
majority of Hellman & Friedman’s equity interests in Catalina. Berkshire currently holds 40.71%
of all the outstanding common stock of PDM Group Holdings. None of the Company’s equity
securities are publicly-traded.

The Company’s organizational structure as of the date of this Disclosure Statement is attached
hereto as Exhibit E.

       B.      The Debtors’ Current Business Operations

               1.     The Catalina Retailer Network

The backbone of Catalina’s business is its extensive network of in-store, point-of-sale (“POS”)
data collection and promotional delivery systems, present in approximately 24,000 retail locations
in the U.S. and over 20,000 retail locations internationally (the “Retailer Network”). Catalina is
currently party to agreements (the “Retailer Agreements”) with approximately 61 retailer partners
(the “Retailers”), which collectively represent approximately 60% of the grocery and drug retail
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footprint in the United States to install Catalina’s networked servers and high-speed printers
(“Networked Printers”) at multiple POS locations in each of the Retailers’ stores. When a
Retailer’s customers (the “Shoppers”) purchase any item in a store, the product’s Universal
Product Code is scanned into the Retailer’s POS checkout system and simultaneously uploaded to
Catalina’s data centers located in Orlando, Florida. The unique combination of items purchased
during each shopping trip, along with other key data points, including the time, and date of the
purchase, and geographical location of the purchase, aggregated over millions of purchases every
day, (the “Retailer Data”), is analyzed against Catalina’s historical shopper purchase database
(the “Shopper Database”), which itself is ultimately derived from Catalina’s analysis of the
Retailer Data.

Through the application of its proprietary analytics systems (the “Analytics Platform”), Catalina
uses the Shopper Database and real-time Retailer Data to make accurate predictions about
Shoppers’ future purchasing behaviors based on not only historical purchasing behaviors, but also
on emerging trends in consumer behavior. Additionally, many of the Retailers offer Shoppers
customer reward or loyalty cards (the “Loyalty Cards”) that track Shopper purchases on an
individual basis. Catalina’s agreements with the Retailers provide it access to each Shopper’s
personal purchase history with each particular Retailer on an anonymized basis where each
Shopper is assigned a unique Shopper identification (a “Shopper ID”). Thus, when a Shopper
uses a Loyalty Card at the POS, Catalina can use the historical purchase data of that particular
Shopper in conjunction with the historical purchasing data in the Catalina Shopper Database, as
well as any demographic data associated with Shopper ID, to further enhance the accuracy of its
predictive models.

To give a sense of the scale and breadth of the data being fed into the Catalina Shopper Database,
in 2017 alone, the U.S. Shopper Database tracked over 7.5 billion unique shopping trips associated
with approximately 100 million households and over 500 million Shopper IDs, and representing
$277 billion in direct sales to the Retailers.

Catalina employs over 125 analytics and data science professionals to support its core capabilities
and enable new data driven solutions for Retailers and CPGs.

Under the Retailer Agreements, Catalina is granted a royalty-free, non-exclusive limited license
to utilize the Retailer Data. Catalina generates revenue by using the Retailer Data in conjunction
with its Shopper Database to design and execute marketing campaigns for CPGs (as defined
below), and, in some cases, the Retailers themselves.

               2.      Catalina’s Customers

Consumer packaged goods, which include non-durable goods such as cosmetics, household
products, non-prescription drugs, packaged foods, and beverages, make up the vast majority of the
products that are sold at the Retailers’ stores. The manufacturers and distributors that manufacture
these types of products (the “CPGs”) encompass a wide range of companies and brands that
include both CPGs with global reach as well as less established CPGs.

Catalina contracts with the CPGs to execute highly targeted marketing campaigns (the
“Campaigns”) designed to drive products sales and build brand loyalty effectively and efficiently
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by leveraging Catalina’s Shopper Database to deliver highly personalized promotional materials
to Shoppers at the POS. At “checkout,” such promotional materials, which include coupons,
rebates, product advertising and other incentives, are “triggered” either by the unique combination
of items purchased by a Shopper (the “Basket”), or if a Shopper uses a Loyalty Card, by the
Shopper ID in concert with a Shopper’s Basket. Promotional materials are instantaneously
delivered to Shoppers in the form of coupons and personalized circulars printed by the Networked
Printers at checkout as well as coupons and incentives that are directly “loaded” onto Loyalty
Cards. In-store promotions, however, are only one “channel” for delivering promotional content,
as Catalina also distributes promotional materials and/or places ads through various digital
channels as well. Digital promotions take the form of digital coupons and personalized digital
circulars that are delivered directly to mobile devices and digital wallets. The wide reach and on-
demand nature of Catalina’s content delivery system allows Catalina to design and execute highly
customized Campaigns that can scale from national to regional, long-term to short-term, on an as-
needed basis. Catalina’s access to real-time purchase data at the Retailers’ stores allows it to
accurately measure the effectiveness of a particular Campaign in driving product sales.

The Retailers are also Catalina’s customers in much the same way as CPGs. Retailers will contract
with Catalina to design and execute Campaigns to drive not only sales of their own private label
products as well as CPG Brands, but also overall sales by targeting Shoppers identified as more
likely to purchase a variety of products beyond those that may be the focus of the Campaign.

               3.     The Foreign Subsidiaries

As discussed above, the Foreign Subsidiaries operate in Japan and across Europe. The Foreign
Subsidiaries’ business operations largely mirror those of the Debtors. The Foreign Subsidiaries
enter into their own contracts with CPGs and local retail partners (the “Foreign Retailers”) to
provide in-store and digital marketing solutions primarily driven by data licensed from the Foreign
Retailers to the Foreign Subsidiaries. Catalina contracts with the Foreign Subsidiaries to (a)
license certain of its intellectual property and (b) provide general corporate business support and
data and technology services in exchange for a negotiated fee based on arm’s length operating
margin.

               4.     Catalina Marketing Costa Rica

On April 23, 2018, Catalina established a Costa Rican subsidiary, Catalina Marketing Costa Rica,
s.r.l. (“CMCR”). CMCR provides various post-sale campaign management, operational, and
creative roles that benefit Catalina’s U.S. customers by enhancing employee retention and by
effecting a number of material cost reductions in the areas of campaign set-up, execution, and
optimization.

               5.     Nielsen Catalina Services

In 2009, CMC and Nielsen formed NC Ventures, LLC d/b/a Nielsen NCS (the “NCS
Agreement”). Using Retailer Data sublicensed by Catalina and television and digital audience
measurement data licensed by Nielsen, NCS provides a variety of analytics services related to the
measurement and effectiveness of digital, television, and radio marketing campaigns. Catalina
and Nielsen receive quarterly dividend payments from NCS according to the terms of that certain
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Limited Liability Company Agreement dated June 29, 2009 (as amended on October 15, 2015).
In 2015, CMC sold 13.5% of its membership interest in NCS to Nielsen for a current interest of
36.5%.

       C.       Directors and Officers

The Debtors’ senior management team consists of the following individuals:

Name                                              Position
Gerald Sokol Jr.                                  President and Chief Executive Officer of
                                                  Catalina Marketing Corporation
Aaron Miller                                      Chief Operating Officer
Tom Corley                                        Executive Vice President, Chief Revenue
                                                  Officer
Shelly Schaffer                                   Executive Vice President, Chief Financial
                                                  Officer
David Glogoff                                     Executive Vice President, Chief Legal Officer,
                                                  Chief Administrative Officer and Secretary
William Faivre                                    President of Catalina Europe
Shigeharu Hanazaki                                President of Catalina Japan
Wes Chaar                                         Chief Data and Analytics Officer
Marta Cyhan                                       Chief Marketing Officer
Marshall Stanton                                  Executive Vice President, Global Operations

       D.       Debtors’ Capital Structure

                1.     Prepetition Indebtedness

As set forth below, as of the date of this Disclosure Statement, the Debtors have outstanding funded
debt obligations consisting of approximately $1.9 billion.

                (a)    Secured Debt – First Lien Credit Agreement and Second Lien Credit
                       Agreement

Checkout Holding Corp., as borrower (the “Borrower”), and certain of the other Debtors, as
guarantors (the “Guarantors”), JPMorgan Chase Bank, N.A., as administrative and collateral
agent (the “First Lien Agent”), L/C Issuer and Swing Line Lender, and the other lender parties
thereto (collectively, the “First Lien Lenders”) are parties to the First Lien Credit Agreement,
dated as of April 9, 2014, (as amended, restated, amended and restated, supplemented or otherwise
modified from time to time, the “First Lien Credit Agreement”), under which the First Lien
Lenders agreed to provide to the Borrower a $1.05 billion term loan facility (the “First Lien Term
Loan”) and a $100 million revolving credit facility with a swing line sublimit of up to $20 million
and a letter of credit sublimit of $35 million (the “First Lien Revolving Facility”). The First Lien
Term Loan matures on April 9, 2021. The First Lien Revolving Facility matures on April 9, 2019.
The lenders with respect to the First Lien Term Loan are not the same lenders as those with respect
to the First Lien Revolving Facility, but all of the First Lien Lenders are party to the First Lien
Credit Agreement.
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The First Lien Term Loan and the First Lien Revolving Facility are secured on a pari passu basis
by a first-priority interest in the Senior Collateral. 2 The Senior Collateral includes, among other
things, the Debtors’ right, title, and interest in all accounts, chattel paper, equipment, goods,
inventory, fixtures, intellectual property, and other property and the proceeds thereof. The Senior
Collateral excludes, among other things, 35% of the stock of the Debtors’ first tier foreign
subsidiaries and 100% of the stock of the Debtors’ lower tier foreign subsidiaries, all assets of the
foreign subsidiaries, fee-owned real property assets with a fair market value below $10 million,
certain bank accounts, and membership interests in NCS, but includes the proceeds thereof.

Under the prepetition First Lien Revolving Facility, JPMorgan Chase Bank, N.A., in its capacity
as L/C Issuer, issued a letter of credit for the benefit of Epson America, Inc., a contract
counterparty, in the amount of $5 million (the “JPM Letter of Credit”). The JPM Letter of Credit
is a Secured Obligation under the Prepetition First Lien Credit Agreement and is also secured by
a separate first lien security interest in a cash collateral account maintained by Checkout Holding
Corp. at JPMorgan Chase Bank, N.A. and all monies and funds deposited therein (as well as the
proceeds thereof and investments and instruments related thereto).

As of the date of this Disclosure Statement, approximately $1.020 billion of principal, plus interest,
fees, and expenses is outstanding under the First Lien Term Loan. Letters of credit with an
aggregate face amount of approximately $5 million have been issued and approximately $56
million of principal, plus interest, fees and expenses is outstanding under the First Lien Revolving
Facility.

The Borrower, the Guarantors, Wilmington Savings Fund Society, FSB, as successor
administrative agent and collateral agent (the “Second Lien Agent”), and the other lender parties
thereto (collectively, the “Second Lien Lenders”) are parties to the Second Lien Credit
Agreement, dated as of April 9, 2014 (as amended, restated, amended and restated, supplemented
or otherwise modified from time to time, the “Second Lien Credit Agreement”), under which the
Second Lien Lenders provided a $460 million term loan (the “Second Lien Term Loan”) to the
Borrower. The Second Lien Term Loan matures on April 9, 2022. The Second Lien Credit
Agreement is secured by a second-priority security interest in the Senior Collateral.
Approximately $472 million of principal, plus interest, fees and expenses is outstanding under the
Second Lien Term Loan.

The rights of the First Lien Lenders and the Second Lien Lenders with respect to their shared
collateral are governed by that certain Second Lien Intercreditor Agreement, dated as of April 9,
2014, by and among the Borrower, the Guarantors, JPMorgan Chase Bank, N.A., as senior
representative for the First Lien Lenders and Wilmington Savings Fund Society, FSB, as the
second priority representative for the Second Lien Lenders (as amended, restated, amended and
restated, supplemented or otherwise modified from time to time, the “Intercreditor Agreement”).
The Intercreditor Agreement governs, among other things, the priority of distribution of the Senior
Collateral and the respective rights of the First Lien Lenders and the Second Lien Lenders and

2
 “Senior Collateral” means (x) any “Collateral” as defined in any Senior Debt Document (y) any other assets of the
Borrower or any other Grantor with respect to which a Lien is granted or purported to be granted pursuant to a Senior
Collateral Document as security for any Senior Obligations or deemed to be granted pursuant to Section 2.04. First
Lien Credit Agreement, Section 1.01.
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their respective representatives in connection with certain bankruptcy matters, such as the
provision of postpetition financing. In accordance with the Intercreditor Agreement: (i) the First
Lien Lenders are afforded first priority with respect to Senior Collateral; and (ii) the Second Lien
Lenders are afforded second priority with respect to the Senior Collateral.

                  (b)      Unsecured HoldCo Notes

PDM Intermediate Holdings B Corporation, as issuer (the “Issuer”), and certain purchasers (the
“Note Holders”) are party to that certain Note Purchase Agreement, dated as of April 9, 2014 (as
amended, restated, amended and restated, supplemented or otherwise modified from time to time,
the “Unsecured PDM Note Purchase Agreement”), pursuant to which $230 million in aggregate
principal amount of unsecured notes (the “Unsecured HoldCo Notes”) were issued by the Issuer.
The Unsecured HoldCo Notes are unsecured and are not guaranteed by any affiliates of the Issuer.
The Issuer is a holding company, the only asset of which is the stock in its wholly owned
subsidiary. As such, the Unsecured HoldCo Notes are structurally subordinated to the operating
Debtors’ creditors with respect to all of the assets of such Debtors. The Unsecured HoldCo Notes
mature on April 9, 2022. 3

As of the date of this Disclosure Statement, approximately $384 million of principal, plus interest,
fees and expenses is outstanding under the Unsecured HoldCo Notes.

                  (c)      Other Indebtedness

As of the date of this Disclosure Statement, the Debtors owe approximately $8.5 million in respect
of prepetition trade debt.

                  2.       Equity Ownership

As of the date hereof, Berkshire holds 40.64% of all the outstanding common stock of PDM Group
Holdings.

                                III.
       EVENTS LEADING TO COMMENCEMENT OF THE CHAPTER 11 CASES

Three primary factors have contributed to Catalina’s recent struggles: (a) technology-driven shifts
in marketing approaches and related business practices; (b) a reduction in the size of Catalina’s
Retailer Network; and (c) limits imposed on current operations and product innovation due to
aging hardware and software platform.



3
  Prior to April 9, 2016, the Unsecured HoldCo Notes were accruing payment-in-kind (“PIK”) interest of 11.25% per
annum. From April 9, 2016, the Unsecured HoldCo Notes were accruing interest of 10.50% per annum, all of which
was payable in cash, except that for any interest period commencing after April 9, 2016, and ending on or prior to
April 9, 2019, the Issuer had the option to elect to pay the following combinations of cash interest and PIK interest:
(i) 10.875% per annum, of which 5.4375% was payable in cash and 5.4375% was payable in PIK interest, or (ii)
11.25% per annum, all of which was payable quarterly in PIK interest. The Issuer has been electing to pay PIK interest
up until the Petition Date.
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       A.      Industrywide Shift to Digital

From 1983 through 2014, Catalina experienced relatively steady growth and healthy margins,
enabling it to grow its Retailer Network to over 30,000 retail locations in the U.S. Starting in
2017, however, Catalina’s revenues and margins began to contract as a result of competitive
pressures in the retail sector and a change in overall media consumption with engagement largely
driven by an industrywide shift to digital.

The growing market share of online consumer purchasing, and the cost pressure it has put on both
Retailers and CPGs, has forced them to become more cost-conscious and judicious in the
deployment of their marketing budgets. As a result, Retailers and CPGs have increasingly focused
on digital promotions, with their wide reach and relatively low cost per impression, disrupting
Catalina’s traditional business model. Catalina attempted to counteract the digital disruption to its
promotions-delivery business by expanding into the digital coupon space and acquiring Cellfire
Inc. (“Cellfire”) in October of 2014. Cellfire’s technology allows Catalina to deliver paperless,
untargeted promotions (i.e., digital coupons) by loading them directly onto Shoppers’ Loyalty
Cards. In recent years, however, retailers have come to favor the acquisition of digital coupons
through a number of online digital-coupon “aggregators” whereby consumers search these sites
(either through mobile or desktop applications) for various promotions. As a consequence of the
rise of these promotional delivery channels, rather than generating revenue through the delivery of
digital coupons, when executing digital Campaigns for customers, Catalina must typically pay a
fee to such aggregator sites to have its digital promotions available to consumers.

While advertising and marketing have become increasingly focused on the digital delivery
channels over the past twenty years, until fairly recently, the actual buying and selling of
promotional media across digital, broadcast, and print channels continued to follow a relatively
traditional approach: marketing firms and agencies, retailers, and vendors developed marketing
campaigns and negotiated contracts with publishers (the operators of various delivery channels) to
deliver commercial messaging.

The last five years, however, have seen exponential growth in “programmatic” advertising
(“Programmatic Advertising”), largely fueled by the increasing prevalence of digital distribution
channels. Programmatic Advertising connects brands and advertisers with publishers through a
software based platform that effectively automates the buying and selling of promotional media.
Programmatic Advertising allows brands and retailers to control the parameters of their campaigns
while targeting wide audiences across key demographics on an ad hoc basis, all at a relatively low
cost. Although Catalina has the capability to provide digital audiences to its customers through
Programmatic Advertising platforms, its legacy data and media platforms have prevented it from
fully harnessing the commercial potential of the Retailer Data to execute digital advertising
campaigns. Furthermore, in many instances, Catalina’s business relationship with NCS has
negatively impacted its growth and caused it to incur additional expenses as it relates to digital
audiences.

       B.      Shrinking Retailer Footprint

Since the end of December of 2017, the total number of stores in Catalina’s U.S. Retailer Network
has shrunk by approximately 7%. The reduction in store count has reduced Catalina’s
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opportunities to deliver fee-generating communications. Part of this reduction can be attributed to
the departure of a large retail partner from the Retailer Network. Additionally, certain of the
Retailers have initiated store closures as a consequence of their own financial distress. Finally,
from 2011 through 2014, as part of a cost-rationalization initiative that sought to increase focus on
larger, more established Retailers, Catalina effected a reduction in store count by negotiating the
departure of certain smaller retailers from the Retailer Network.

       C.      Aging Infrastructure Has Bottlenecked Growth

Catalina’s ability to innovate, tap new revenue streams, and monetize existing revenue streams
more efficiently has been severely hampered by its legacy hardware and software platforms. The
Company’s current capital structure, however, does not provide sufficient financial flexibility to
carry out the wholesale upgrades necessary to compete effectively in the current business climate.

Although Catalina provides its customers with reporting and analytics in connection with the
effectiveness of Campaigns, its legacy data processing platforms do not allow for direct (real-time)
third-party access, limiting its ability to develop new services and revenue streams. Catalina is in
the process of redesigning and re-engineering its data management platform to provide its
customers with direct, real-time access to Campaign data and buyer insights. Catalina has built a
customer-facing portal (the “Catalyst HUB”) to run on top of the more robust data platform
through which customers can customize reporting and analytics to effectively monitor the
execution and performance of a Campaign. Customers that use the Catalyst HUB are significantly
more likely to increase media purchase commitments to maintain ongoing access. Hardware
limitations, however, have prevented Catalina from scaling up the Catalyst HUB and opening the
service up to all of Catalina’s customers. Infrastructure limitations have also hindered Catalina’s
ability to monetize one of its most valuable assets: the power to measure the effectiveness of
Campaigns by tracking real-time purchase behavior. Catalina has updated its platform to provide
multi-touch attribution (“MTA”) services to CPGs. MTA allows Retailers and CPGs to track
consumer engagement with digital media across a variety of digital channels and ultimately
measure such consumer engagement with actual purchases at the POS. Just as with the Catalyst
HUB, Catalina cannot deploy its MTA service without upgrading legacy hardware systems.

       D.      Prepetition Restructuring Efforts

As noted above, the continuing weakness and challenges in the retail sector have not only caused
material compression in many of Catalina’s customers’ marketing budgets (both on the Retailer
and CPG side), but have also pushed Catalina’s retail partners to reassess the terms of their
respective business relationships with Catalina.

By late 2017, these sustained downward pressures on Catalina’s revenue had become material, just
as Catalina was in the midst of long-term, capital-intensive project to upgrade its software and
hardware platforms. In late 2017, Catalina engaged Weil, Gotshal & Manges LLP (“Weil”) and
Centerview Partners LLC (“Centerview”) as restructuring counsel and financial restructuring
advisors, respectively, to assist Catalina in exploring, in partnership with its creditors, and
consensual modifications to Catalina’s capital structure that would allow it to continue
modernizing its platform to reverse the revenue losses, and ultimately, return to sustainable
revenue growth. In early Spring of 2018, certain lenders under Catalina’s First Lien Credit
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Agreement and certain lenders under Catalina’s Second Lien Credit Agreement formed Ad Hoc
Groups, hired their own legal and financial advisors, and began discussing potential restructuring
transactions with Catalina’s advisors.

For several months, Catalina and the Ad Hoc Groups discussed the potential contours of an out-
of-court restructuring; however, during the course of these discussions, through further refinement
and adjustment of revenue projections driven by the continued erosion in Catalina’s revenue base,
it became clear that Catalina’s existing debt was unsustainable, and that a broader balance sheet
restructuring would most effectively be accomplished through an in-court transaction.

Accordingly, beginning in early summer of 2018, the Debtors and the Ad Hoc Groups shifted the
focus of the discussions to the terms of a chapter 11 restructuring, with a fully consensual
restructuring as the ultimate goal.

After intense negotiations, the Debtors reached a deal with the Ad Hoc First Lien Group and the
Ad Hoc Second Lien Group and executed the Restructuring Support Agreement.

       E.      Forbearance

On November 16, 2018, to provide Catalina with additional flexibility to continue discussions with
all of its stakeholders, Catalina and the lenders under the First Lien Revolving Facility entered into
a forbearance agreement (the “Forbearance Agreement”) with respect to certain defaults under
the First Lien Credit Agreement. Specifically, under the Forbearance Agreement, the lenders
under the First Lien Revolving Facility agreed to forbear (the “Forbearance Period”) from
exercising their rights and remedies, including the right to accelerate any indebtedness, through
December 7, 2018 arising out of defaults from a failure to comply with the consolidated first lien
net leverage ratio test in the First Lien Credit Agreement and from a failure to timely deliver
required financial statements and compliance certificates.

The purpose of the Forbearance Agreement was to provide the Company with additional flexibility
to continue discussions with all of their stakeholders and to pursue a consensual restructuring. In
connection with the forbearance, the Company delivered notices of default to the First Lien Agent
on November 14, 2018.

       F.      Interest Payment Under the First Lien Credit Agreement and the Second
               Lien Credit Agreement

Given the state of ongoing negotiations to address Catalina’s burdensome debt structure and the
need to preserve liquidity, Catalina elected not to make interest payments of $15,542,000 under its
first lien credit facility and $10,538,000 under its second lien credit facility due on November 30,
2018 and took advantage of the 5-business day “grace period” provided for under its first and
second lien credit agreements. Faced with an impending default on December 7, 2018, Catalina
increased its negotiating efforts to reach a fully consensual transaction that would maximize value
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for all stakeholders while minimizing damage to the enterprise as a consequence of the
Restructuring.

        G.       Restructuring Support Agreement. 4

The Debtors used the time afforded by the Forbearance Agreement and the grace period to
negotiate a comprehensive, consensual restructuring with the Ad Hoc Groups, which is ultimately
supported by more than 66.67% of the First Lien Lenders (the “Consenting First Lien Lenders”)
and more than 66.7% of the Second Lien Lenders (the “Consenting Second Lien Lenders,”
together with the Consenting First Lien Lenders, the “Consenting Creditors”). On December 11,
2018, Catalina and the Consenting Creditors entered into the RSA whereby the Consenting Parties
have committed, subject to the terms and conditions of the RSA, to support the Debtors in their
efforts to confirm the Prepackaged Plan, as well as to provide additional liquidity to the Debtors
both during the Chapter 11 Cases and upon emergence (as described herein in more detail). The
terms of the Restructuring are reflected in the Prepackaged Plan.

Upon its full implementation, the Plan will effect a significant deleveraging of the Debtors’ capital
structure by wiping out approximately $1.625 billion or approximately 85.5% in principal amount
of prepetition funded debt. The reduced debt burden will provide the Debtors with sufficient
liquidity not only to continue funding their operations, but to make the necessary capital
expenditures and investments to ensure that the Debtors will not only be competitive, but will
remain an industry leader going forward.

Under the terms of the Plan, in full and final satisfaction of their prepetition claims, the First Lien
Lenders will receive their pro rata share of 90% of the New Common Stock in the reorganized
Debtors and the Second Lien Lenders will receive their pro rata share of 10% of the New Common
Stock, in each case subject to dilution by a contemplated management incentive plan that will be
adopted following the effective date of the Plan. Allowed general unsecured claims will be paid
in the ordinary course and will be otherwise unimpaired, subject to all of the Debtors’ rights,
defenses, or any other entitlements with respect thereto. Holders of claims arising under the
Unsecured HoldCo Notes will not receive a recovery under the Plan. Additionally, if Catalina is
unable to renegotiate the terms of the NCS Agreement to the satisfaction of its prepetition secured
lenders, Catalina has agreed with its lenders to file a motion to reject the NCS Agreement, and
holders of the resulting NCS Rejection Claims will not receive a recovery under the Plan. Any
holder of claims arising out of such rejection will not receive a recovery under the Plan.

The RSA, among other things, commits the Consenting Parties to support the Plan and the
Restructuring by:
               •  Voting to accept the Plan;
               •  Agreeing to provide the releases set forth in the Plan;
               •  Supporting and taking all commercially reasonable steps to consummate the
                  Plan and the Restructuring;

4
 This summary is qualified in its entirety by the Restructuring Support Agreement. To the extent that any provision
of this summary is inconsistent with the Restructuring Support Agreement, the Restructuring Support Agreement will
control.
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               •       Refraining from taking any action that would delay or impede
                       consummation of the Plan or the Restructuring;
               •       Agreeing to certain procedures governing the transfer of the indebtedness
                       held by the Consenting Parties; and
               •       Agreeing to forbear the exercise of their rights or remedies under the
                       prepetition loan documents.

Of key importance, the RSA provides that the Consenting Parties will support the Prepackaged
Plan. The Plan provides for a comprehensive restructuring of the Debtors’ prepetition obligations,
preserves the going-concern value of the Debtors’ businesses, maximizes creditor recoveries,
provides for an equitable distribution to the Debtors’ stakeholders and protects the jobs of
employees.

                                   IV.
              ANTICIPATED EVENTS DURING THE CHAPTER 11 CASES

       A.      Commencement of Chapter 11 Cases

In accordance with the Restructuring Support Agreement, the Debtors anticipate filing voluntary
petitions for relief under chapter 11 of the Bankruptcy Code on or about December 12, 2018. The
filing of the petitions will commence the Chapter 11 Cases, at which time the Debtors will be
afforded the benefits and become subject to the limitations of the Bankruptcy Code.

The Debtors intend to continue their operations in the ordinary course during the pendency of the
Chapter 11 Cases. To facilitate the efficient and expeditious implementation of the Plan through
the Chapter 11 Cases, and to minimize disruptions to the Debtors’ operations on the Petition Date,
the Debtors intend to seek to have the Chapter 11 Cases assigned to the same bankruptcy judge
and administered jointly and to file various motions seeking important and urgent relief from the
Bankruptcy Court. Such relief, if granted, will assist in the administration of the Chapter 11 Cases;
however, there can be no assurance that the requested relief will be granted by the Bankruptcy
Court.

       B.      First Day Motions

On the Petition Date, the Debtors intend to file multiple motions seeking various relief from the
Bankruptcy Court and authorizing the Debtors to maintain their operations in the ordinary course.
Such relief is designed to ensure a seamless transition between the Debtors’ prepetition and
postpetition business operations, facilitate a smooth reorganization through the Chapter 11 Cases,
and minimize any disruptions to the Debtors’ operations. The Debtors intend to seek the following
relief on the Petition Date to maintain their operations in the ordinary course:

   •   Continue paying employee wages and benefits;

   •   Continue the use of the Debtors’ cash management system, bank accounts, and business
       forms;

   •   Continue insurance programs and the processing of workers’ compensation Claims;
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   •   Continue the Debtors’ customer programs and promotions;

   •   Pay certain prepetition taxes and assessments;

   •   Pay all trade claims;

   •   Establish procedures to protect certain tax attributes;

   •   Establish procedures for utility companies to request adequate assurance of payment and
       to prohibit utility companies from altering or discontinuing service; and

   •   Obtain senior secured superpriority financing and use cash collateral.

       C.      Procedural Motions

The Debtors intend to file various motions that are common to chapter 11 proceedings of similar
size and complexity as the Chapter 11 Cases, including applications to retain various professionals
to assist the Debtors in the Chapter 11 Cases.

       D.      Debtor-in-Possession Financing

The Debtors intend to file a motion (the “DIP Motion”) to obtain senior secured debtor-in-
possession financing (“DIP Financing”), use cash collateral, and provide adequate protection to
the prepetition First Lien Lenders.

The Debtors will be entering chapter 11 with minimal cash on hand. Access to DIP Financing and
the use of Cash Collateral (as such term is defined in section 363(a) of the Bankruptcy Code) is
critical to ensure that the Debtors have sufficient liquidity to operate their business and administer
their estates during these chapter 11 cases. To address their working capital needs and fund their
reorganization efforts, in the weeks leading up to the Petition Date, the Debtors solicited interest
in providing DIP Financing from various parties. The Debtors received one proposal for DIP
Financing from certain of their First Lien Lenders (the “DIP Facility”) and determined that it was
the best option reasonably available under the totality of the circumstances. The Debtors and their
advisors negotiated the terms of the proposed DIP Facility with such First Lien Lenders in good
faith and at arm’s-length.

The Debtors will seek authority from the Bankruptcy Court for approval of the DIP Motion on an
interim basis (the “Interim DIP Order”) which will provide the Debtors with $60 million under
the DIP Facility.

       E.      Confirmation Hearing

Contemporaneously with the filing of the Petition, the Debtors will seek an order of the Bankruptcy
Court scheduling the Confirmation Hearing to consider (i) the adequacy of this Disclosure
Statement and the Solicitation in connection herewith and (ii) confirmation of the Plan. The
Debtors anticipate that notice of these hearings will be published and mailed to all known holders
of Claims and Interests at least 28 days before the date by which objections must be filed with the
Bankruptcy Court.
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       F.      Timetable for the Chapter 11 Cases

In accordance with the Restructuring Support Agreement, the Debtors have agreed to proceed with
the implementation of the Plan through the Chapter 11 Cases. Among the milestones contained in
the Restructuring Support Agreement is the requirement that the Bankruptcy Court enter the order
approving this Disclosure Statement within eighty-five (85) calendar days after the Petition Date
and an order confirming the Plan within one hundred twenty-five (125) calendar days after the
Petition Date. The Restructuring Support Agreement also requires that the Effective Date occur
within one hundred forty (140) calendar days after the Petition Date. The Debtors believe they can
achieve the various milestones under the Restructuring Support Agreement, the occurrence of
which is crucial to reorganizing the Debtors successfully.

                                           V.
                                   SUMMARY OF THE PLAN

       A.      General

This section of the Disclosure Statement summarizes the Plan, a copy of which is annexed hereto
as Exhibit A. This summary is qualified in its entirety by reference to the Plan. YOU SHOULD
READ THE PLAN IN ITS ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT
THE PLAN.

In general, a chapter 11 plan (1) divides claims and equity interests into separate classes,
(2) specifies the consideration that each class is to receive under the plan and (3) contains other
provisions necessary to implement the plan. Under the Bankruptcy Code, “claims” and “equity
interests,” rather than “creditors” and “shareholders,” are classified because creditors and
shareholders may hold claims and equity interests in more than one class. Under section 1124 of
the Bankruptcy Code, a class of claims is “impaired” under a plan unless the plan (1) leaves
unaltered the legal, equitable, and contractual rights of each holder of a claim in such class or
(2) provides, among other things, for the cure of certain existing defaults and reinstatement of the
maturity of claims in such class. Classes 3, 4, 6, 7, 9, and 10 are impaired under the Plan, and
holders of Claims or Interests in such Classes are entitled to vote to accept or reject the Plan unless
such Classes of Claims or Interests are deemed to reject the Plan or subject to an objection filed
by the Debtors. Ballots are being furnished herewith to all holders of Claims in Classes 3, and 4
that are entitled to vote to facilitate their voting to accept or reject the Plan. Classes 6, 7, 9, and
10 are deemed to reject the Plan and, therefore, Claims or Interests in such Classes will not vote
on the Plan.

       B.      Administrative Expense Claims, Fee Claims, DIP Facility Claims, and
               Priority Tax Claims

               1.      Treatment of Administrative Expense Claims

Except to the extent that a holder of an Allowed Administrative Expense Claim other than a Fee
Claim agrees to a different treatment, on the Effective Date or as soon thereafter as is reasonably
practicable (but in no event later than thirty (30) days after the Effective Date), the holder of such
Allowed Administrative Expense Claim shall receive, on account of such Allowed Claim, Cash in
an amount equal to the Allowed amount of such Claim; provided, that Allowed Administrative
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Expense Claims representing liabilities incurred in the ordinary course of business by the Debtors
(which, for the avoidance of doubt, do not include Restructuring Expenses, which shall be paid in
accordance with the DIP Facility Order, as applicable), as Debtors in Possession, shall be paid by
the Debtors or the Reorganized Debtors, as applicable, in the ordinary course of business,
consistent with past practice and in accordance with the terms and subject to the conditions of any
orders or agreements governing, instruments evidencing, or other documents establishing, such
liabilities.

               2.      Treatment of Fee Claims.

All Professional Persons seeking awards by the Bankruptcy Court of compensation for services
rendered or reimbursement of expenses incurred through and including the Effective Date under
sections 327, 328, 330, 331, 503(b)(2), 503(b)(3), 503(b)(4), 503(b)(5), or 1103 of the Bankruptcy
Code shall (a) file, on or before the date that is forty-five (45) days after the Effective Date, their
respective applications for final allowances of compensation for services rendered and
reimbursement of expenses incurred and (b) be paid in full, in Cash, in such amounts as are
Allowed by the Bankruptcy Court or authorized to be paid in accordance with the order(s) relating
to or allowing any such Fee Claim. On the Effective Date, the Debtors shall establish and fund
the Fee Escrow Account. The Debtors shall fund the Fee Escrow Account with Cash equal to the
Professional Persons’ good faith estimates of the Fee Claims. Funds held in the Fee Escrow
Account shall not be considered property of the Debtors’ Estates or property of the Reorganized
Debtors, but shall revert to the Reorganized Debtors only after all Fee Claims allowed by the
Bankruptcy Court have been irrevocably paid in full. The Fee Escrow Account shall be held in
trust for Professional Persons retained by the Debtors and for no other parties until all Fee Claims
Allowed by the Bankruptcy Court have been paid in full. Fees owing to the applicable Professional
Persons shall be paid in Cash to such Professional Persons from funds held in the Fee Escrow
Account when such Claims are Allowed by an order of the Bankruptcy Court or authorized to be
paid under the Order Establishing Procedures for Interim Compensation and Reimbursement of
Expenses of Professionals; provided, however, that the Reorganized Debtors’ obligations with
respect to Fee Claims shall not be limited by nor deemed limited to the balance of funds held in
the Fee Escrow Account. To the extent that funds held in the Fee Escrow Account are insufficient
to satisfy the amount of accrued Fee Claims owing to the Professional Persons, such Professional
Persons shall have an Allowed Administrative Expense Claim for any such deficiency, which shall
be satisfied in accordance with Section 2.1 of the Plan. No Liens, claims, or interests shall
encumber the Professional Fee Escrow in any way.

Any objections to Fee Claims shall be served and filed (a) no later than twenty one (21) days after
the filing of the final applications for compensation or reimbursement or (b) such later date as
ordered by the Bankruptcy Court upon a motion of the Reorganized Debtors.

               3.      Treatment of DIP Facility Claims.

On the Effective Date, in full and final satisfaction, compromise, settlement, release, and discharge
of, and in exchange for, each Allowed DIP Facility Claim, each holder of an Allowed DIP Facility
Claim shall receive (i) on account of its Allowed DIP Facility New Money Loan Claims, its Pro
Rata share of the loans under the A&R First-Out Tranche, and (ii) on account of its Allowed DIP
Facility Roll-Up Loan Claims, its Pro Rata share of the loans under the A&R Last-Out Tranche.
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On the Effective Date, all liens and security interests granted to secure the obligations arising under
the DIP Facility Loan Agreement shall continue, remain in effect, and be deemed to secure the
obligations under the Amended and Restated First Lien Credit Agreement, subject to the terms and
conditions thereof.

               4.      Payment of Fees and Expenses under DIP Facility Order.

On the earlier of (i) the Effective Date and (ii) the date on which any accrued and unpaid fees,
expenses or disbursements in respect of the DIP Facility and the Exit Facility would be required
to be paid under the terms of the applicable DIP Facility Order, the Restructuring Support
Agreement or any other order of the Bankruptcy Court, the Debtors or Reorganized Debtors (as
applicable) shall pay all fees, expenses and disbursements of the DIP Facility Agent and the DIP
Facility Lenders, in each case, that have accrued and are unpaid as of the Effective Date and are
required to be paid under or pursuant to the DIP Facility Order, the Restructuring Support
Agreement or any other order of the Bankruptcy Court, including, for the avoidance of doubt,
professional fees required to be paid as adequate protection for the First Lien Lenders and the A&R
Exit Backstop Payment and A&R Exit Commitment Payment.

               5.      Treatment of Priority Tax Claims.

Except to the extent that a holder of an Allowed Priority Tax Claim agrees to a different treatment,
on the Effective Date or as soon thereafter as is reasonably practicable, the holder of such Allowed
Priority Tax Claim shall receive, on account of such Allowed Priority Tax Claim, Cash in an
amount equal to the Allowed amount of such Claim; provided, that Allowed Priority Tax Claims
representing liabilities incurred in the ordinary course of business by the Debtors, as Debtors in
Possession, shall be paid by the Debtors or the Reorganized Debtors, as applicable, in the ordinary
course of business, consistent with past practice and in accordance with the terms and subject to
the conditions of any orders or agreements governing, instruments evidencing, or other documents
establishing, such liabilities.

       C.      Classification of Claims and Interests

               1.      Classification in General.

A Claim or Interest is placed in a particular Class for all purposes, including voting, confirmation,
and distribution under the Plan and under sections 1122 and 1123(a)(1) of the Bankruptcy Code;
provided, that a Claim or Interest is placed in a particular Class for the purpose of receiving
distributions pursuant to the Plan only to the extent that such Claim or Interest is an Allowed Claim
or Allowed Interest in that Class and such Claim or Interest has not been satisfied, released, or
otherwise settled prior to the Effective Date.

               2.      Formation of Debtor Groups for Convenience Only.

The Plan groups the Debtors together solely for the purpose of describing treatment under the Plan,
confirmation of the Plan, and making Plan Distributions in respect of Claims against and Interests
in the Debtors under the Plan. Such groupings shall not affect any Debtor’s status as a separate
legal entity, change the organizational structure of the Debtors’ business enterprise, constitute a
change of control of any Debtor for any purpose, cause a merger of consolidation of any legal
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entities, or cause the transfer of any Assets; and, except as otherwise provided by or permitted
under the Plan, all Debtors shall continue to exist as separate legal entities.

                3.     Summary of Classification of Claims and Interests.

The following table designates the Classes of Claims against and Interests in the Debtors and
specifies which Classes are: (i) Impaired and Unimpaired under the Plan; (ii) entitled to vote to
accept or reject the Plan in accordance with section 1126 of the Bankruptcy Code; and (iii) deemed
to accept or reject the Plan:

      Class     Type of Claim or Interest       Impairment        Entitled to Vote

      Class 1 Priority Non-Tax Claims           Unimpaired        No (Deemed to accept)

      Class 2 Other Secured Claims              Unimpaired        No (Deemed to accept)

      Class 3 First Lien Debt Claims            Impaired          Yes

      Class 4 Second Lien Debt Claims           Impaired          Yes

      Class 5 General Unsecured Claims          Unimpaired        No (Deemed to accept)

      Class 6 NCS Rejection Claims              Impaired          No (Deemed to reject)

                General Unsecured PDM
      Class 7                                   Impaired          No (Deemed to reject)
                Claims

      Class 8 Intercompany Claims               Unimpaired        No (Deemed to accept)

      Class 9 Subordinated Claims               Impaired          No (Deemed to reject)

      Class 10 Existing Equity Interests        Impaired          No (Deemed to reject)

      Class 11 Intercompany Interests           Unimpaired        No (Deemed to accept)


                4.     Separate Classification of Other Secured Claims.

Although all Other Secured Claims have been placed in one Class for purposes of nomenclature
within the Plan, each Other Secured Claim, to the extent secured by a Lien on Collateral different
from the Collateral securing a different Other Secured Claim, shall be treated as being in a separate
sub-Class for the purposes of voting to accept or reject the Plan and receiving Plan Distributions.

                5.     Elimination of Vacant Classes.

Any Class that, as of the commencement of the Confirmation Hearing, does not have at least one
holder of a Claim or Interest that is Allowed in an amount greater than zero for voting purposes
shall be considered vacant, deemed eliminated from the Plan for purposes of voting to accept or
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reject the Plan, and disregarded for purposes of determining whether the Plan satisfies section
1129(a)(8) of the Bankruptcy Code with respect to such Class.

               6.      Voting; Presumptions; Solicitation.

Acceptance by Certain Impaired Classes. Only holders of Allowed Claims in Classes 3 and 4 are
entitled to vote to accept or reject the Plan. An Impaired Class of Claims shall have accepted the
Plan if (i) the holders of at least two-thirds (2/3) in amount of the Allowed Claims actually voting
in such Class have voted to accept the Plan and (ii) the holders of more than one-half (1/2) in
number of the Allowed Claims actually voting in such Class have voted to accept the Plan. Holders
of Claims in Classes 3 and 4 shall receive ballots containing detailed voting instructions.

Deemed Acceptance by Unimpaired Classes. Holders of Claims and Interests in Classes 1, 2, 5,
8, and 11 are conclusively deemed to have accepted the Plan pursuant to section 1126(f) of the
Bankruptcy Code. Accordingly, such holders are not entitled to vote to accept or reject the Plan.

Deemed Rejection by Certain Impaired Classes. Holders of Claims and Interests in Classes 6, 7,
9, and 10 are deemed to have rejected the Plan pursuant to section 1126(g) of the Bankruptcy Code.
Accordingly, such holders are not entitled to vote to accept or reject the Plan.

               7.      Cramdown.

If any Class of Claims is deemed to reject the Plan or is entitled to vote on the Plan and does not
vote to accept the Plan, the Debtors may (i) seek confirmation of the Plan under section 1129(b)
of the Bankruptcy Code or (ii) amend or modify the Plan in accordance with the terms of the Plan
and the Bankruptcy Code. If a controversy arises as to whether any Claims or Interests are
impaired, the Bankruptcy Court shall, after notice and a hearing, determine such controversy on
or before the Confirmation Date.

               8.      No Waiver.

Nothing contained in the Plan shall be construed to waive a Debtor’s or other entity’s right to
object on any basis to any Claim.

       D.      Treatment of Claims and Interests.

               1.      Class 1: Priority Non-Tax Claims.

Treatment: The legal, equitable, and contractual rights of the holders of Allowed Priority Non-
Tax Claims are unaltered by the Plan. Except to the extent that a holder of an Allowed Priority
Non-Tax Claim agrees to different treatment, on the later of the Effective Date and the date that is
ten (10) Business Days after the date such Priority Non-Tax Claim becomes an Allowed Claim, or
as soon thereafter as is reasonably practicable, each holder of an Allowed Priority Non-Tax Claim
shall receive, on account of such Allowed Claim, at the option of the Reorganized Debtors: (i) Cash
in an amount equal to the Allowed amount of such Claim or (ii) other treatment consistent with
the provisions of section 1129(a)(9) of the Bankruptcy Code.
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Impairment and Voting: Allowed Priority Non-Tax Claims are Unimpaired. In accordance with
section 1126(f) of the Bankruptcy Code, the holders of Allowed Priority Non-Tax Claims are
conclusively presumed to accept the Plan and are not entitled to vote to accept or reject the Plan,
and the votes of such holders shall not be solicited with respect to such Allowed Priority Non-Tax
Claims.

               2.      Class 2: Other Secured Claims.

Treatment: The legal, equitable, and contractual rights of the holders of Allowed Other Secured
Claims are unaltered by the Plan. Except to the extent that a holder of an Allowed Other Secured
Claim agrees to different treatment, on the later of the Effective Date and the date that is ten (10)
Business Days after the date such Other Secured Claim becomes an Allowed Claim, or as soon
thereafter as is reasonably practicable, each holder of an Allowed Other Secured Claim shall
receive, on account of such Allowed Claim, at the option of the Reorganized Debtors: (i) Cash in
an amount equal to the Allowed amount of such Claim, (ii) reinstatement or such other treatment
sufficient to render such holder’s Allowed Other Secured Claim Unimpaired pursuant to section
1124 of the Bankruptcy Code, or (iii) return of the applicable Collateral in satisfaction of the
Allowed amount of such Other Secured Claim.

Impairment and Voting: Allowed Other Secured Claims are Unimpaired. In accordance with
section 1126(f) of the Bankruptcy Code, the holders of Allowed Other Secured Claims are
conclusively presumed to accept the Plan and are not entitled to vote to accept or reject the Plan,
and the votes of such holders shall not be solicited with respect to such Allowed Other Secured
Claims.

               3.      Class 3: First Lien Debt Claims.

Treatment: On the Effective Date, each holder of an Allowed First Lien Debt Claim shall be
entitled to receive from (and on behalf of) CHC, in full and final satisfaction of such Claim, its Pro
Rata share of 90% of the New Common Stock issued on the Effective Date (subject to dilution by
the Management Incentive Plan).

Impairment and Voting: The First Lien Debt Claims are Impaired. Holders of Allowed First Lien
Debt Claims are entitled to vote on the Plan.

Allowance: The First Lien Debt Claims shall be deemed Allowed on the Effective Date in the
aggregate amount of $1,075,545,556.48, minus the aggregate amount of the DIP Facility Roll-Up
Loans.

               4.      Class 4: Second Lien Debt Claims.

Treatment: On the Effective Date, each holder of an Allowed Second Lien Debt Claim shall be
entitled to receive from (and on behalf of) CHC, in full and final satisfaction of such Claim, its Pro
Rata share of 10% of the New Common Stock issued on the Effective Date (subject to dilution by
the Management Incentive Plan).

Impairment and Voting: The Second Lien Debt Claims are Impaired. Holders of Allowed Second
Lien Debt Claims are entitled to vote on the Plan.
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Allowance: The Second Lien Debt Claims shall be deemed Allowed on the Effective Date in the
aggregate amount of $471,987,841.37.

               5.      Class 5: General Unsecured Claims.

Treatment: The legal, equitable, and contractual rights of the holders of General Unsecured Claims
are unaltered by the Plan. Except to the extent that a holder of a General Unsecured Claim agrees
to different treatment, on and after the Effective Date, the Debtors shall continue to pay (if
Allowed) or dispute each General Unsecured Claim in the ordinary course of business as if the
Chapter 11 Cases had never been commenced.

Impairment and Voting: All Allowed General Unsecured Claims are deemed Unimpaired. In
accordance with section 1126(f) of the Bankruptcy Code, the holders of Allowed General
Unsecured Claims are conclusively presumed to accept the Plan and are not entitled to vote to
accept or reject the Plan, and the votes of such holders shall not be solicited with respect to such
Allowed General Unsecured Claims.

               6.      Class 6: NCS Rejection Claims.

Treatment: The holders of NCS Rejection Claims shall not receive or retain any property under
the Plan on account of such Claims, and the obligations of the Debtors and the Reorganized
Debtors on account of the NCS Rejection Claims shall be discharged.

Impairment and Voting: NCS Rejection Claims are Impaired. In accordance with section 1126(g)
of the Bankruptcy Code, holders of NCS Rejection Claims are conclusively presumed to reject the
Plan and are not entitled to vote to accept or reject the Plan, and the votes of such holders shall not
be solicited with respect to NCS Rejection Claims.

               7.      Class 7: General Unsecured PDM Claims.

Treatment: The holders of General Unsecured PDM Claims shall not receive or retain any property
under the Plan on account of such Claims, and the obligations of the Debtors and the Reorganized
Debtors on account of the General Unsecured PDM Claims shall be discharged.

Impairment and Voting: General Unsecured PDM Claims are Impaired. In accordance with
section 1126(g) of the Bankruptcy Code, holders of General Unsecured PDM Claims are
conclusively presumed to reject the Plan and are not entitled to vote to accept or reject the Plan,
and the votes of such holders shall not be solicited with respect to General Unsecured PDM Claims.

               8.      Class 8: Intercompany Claims.

Treatment: On or after the Effective Date, all Intercompany Claims shall be paid, adjusted,
continued, settled, reinstated, discharged, or eliminated, in each case to the extent determined to
be appropriate by the Debtors or Reorganized Debtors, with the consent of the Ad Hoc First Lien
Group and the Second Lien Ad Hoc Groups (such consents not to be unreasonably withheld), as
applicable. All Claims between any Debtor and a non-Debtor affiliate shall be Unimpaired under
the Plan.
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Impairment and Voting: All Allowed Intercompany Claims are deemed Unimpaired. In
accordance with section 1126(f) of the Bankruptcy Code, the holders of Allowed Intercompany
Claims are conclusively presumed to accept the Plan and are not entitled to vote to accept or reject
the Plan, and the votes of such holders shall not be solicited with respect to such Allowed
Intercompany Claims.

               9.      Class 9: Subordinated Claims.

Treatment: Subordinated Claims are subordinated pursuant to the Plan and section 510 of the
Bankruptcy Code. The holders of Subordinated Claims shall not receive or retain any property
under the Plan on account of such Claims, and the obligations of the Debtors and the Reorganized
Debtors on account of Subordinated Claims shall be discharged.

Impairment and Voting: Subordinated Claims are Impaired. In accordance with section 1126(g)
of the Bankruptcy Code, holders of Subordinated Claims are conclusively presumed to reject the
Plan and are not entitled to vote to accept or reject the Plan, and the votes of such holders shall not
be solicited with respect to Subordinated Claims.

               10.     Class 10: Existing Equity Interests.

Treatment: On the Effective Date, the Existing Equity Interests shall be cancelled without further
action by or order of the Bankruptcy Court.

Impairment and Voting: Existing Equity Interests are Impaired. In accordance with section
1126(g) of the Bankruptcy Code, holders of Existing Equity Interests are conclusively presumed
to reject the Plan and are not entitled to vote to accept or reject the Plan, and the votes of such
holders shall not be solicited with respect to Existing Equity Interests.

               11.     Class 11: Intercompany Interests.

Treatment: Intercompany Interests are Unimpaired. On the Effective Date, all Intercompany
Interests shall be treated as set forth in Section 5.9 of the Plan.

Impairment and Voting: Intercompany Interests are Unimpaired. In accordance with section
1126(f) of the Bankruptcy Code, the holders of Allowed Intercompany Interests are conclusively
presumed to accept the Plan and are not entitled to vote to accept or reject the Plan, and the votes
of such holders shall not be solicited with respect to such Allowed Intercompany Interests.

               12.     Debtors’ Rights in Respect of Unimpaired Claims.

Except as otherwise provided in the Plan, nothing under the Plan shall affect the rights of the
Reorganized Debtors in respect of any Unimpaired Claim, including, without limitation, all rights
in respect of legal and equitable defenses to, or setoffs or recoupments against, any such
Unimpaired Claim.
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              13.     Treatment of Vacant Classes.

Any Claim or Interest in a Class that is considered vacant under Section 3.5 of the Plan shall
receive no Plan Distribution.

       E.     Means for Implementation.

              1.      Continued Corporate Existence; Dissolution.

   (a) Except as otherwise provided in the Plan, the Debtors shall continue to exist after the
       Effective Date as Reorganized Debtors in accordance with the applicable laws of the
       respective jurisdictions in which they are incorporated or organized and pursuant to their
       respective Amended Certificate of Incorporation and Amended By-Laws. On or after the
       Effective Date, without prejudice to the rights of any party to a contract or other agreement
       with any Reorganized Debtor, each Reorganized Debtor may, in its sole discretion, take
       such action as permitted by applicable law, and such Reorganized Debtor’s organizational
       documents, as such Reorganized Debtor may determine is reasonable and appropriate,
       including, without limitation, causing: (i) a Reorganized Debtor to be merged into another
       Reorganized Debtor or an affiliate of a Reorganized Debtor and to engage in the
       Restructuring Transactions described in the Acquisition Transactions Exhibit; (ii) a
       Reorganized Debtor to be dissolved; (iii) the legal name of a Reorganized Debtor to be
       changed; or (iv) the closure of a Reorganized Debtor’s Chapter 11 Case on the Effective
       Date or any time thereafter.

   (b) On the Effective Date or as soon thereafter as is reasonably practicable, the Reorganized
       Debtors may take all actions as may be necessary or appropriate to effect any transaction
       described in, approved by, or necessary or appropriate to effectuate the Plan, including,
       without limitation: (i) the execution and delivery of appropriate agreements or other
       documents of merger, consolidation, restructuring, conversion, disposition, transfer,
       dissolution, or liquidation containing terms that are consistent with the terms of the Plan
       and the Plan Documents and that satisfy the requirements of applicable law and any other
       terms to which the applicable entities may agree; (ii) the execution and delivery of
       appropriate instruments of transfer, assignment, assumption, or delegation of any Asset,
       property, right, liability, debt, or obligation on terms consistent with the terms of the Plan
       and having other terms to which the applicable parties agree; (iii) the filing of appropriate
       certificates or articles of incorporation and amendments thereto, reincorporation, merger,
       consolidation, conversion, or dissolution pursuant to applicable law, including the
       applicable Amended Certificates of Incorporation and Amended By-Laws; (iv) the
       Restructuring Transactions; and (v) all other actions that the applicable entities determine
       to be necessary or appropriate, including, without limitation, making filings or recordings
       that may be required by applicable law.

   (c) After the Effective Date, the Reorganized Debtors shall be authorized to dissolve the
       Debtors or the Reorganized Debtors (other than Reorganized CMC) in accordance with
       applicable law. As promptly as practicable after the Effective Date, Catalina Parent, PDM
       Intermediate Holdings A Corporation, PDM Intermediate Holdings B Corporation, and
       CHC shall be dissolved.
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              2.      Plan Funding.

Plan Distributions of Cash shall be funded from the Debtors’ Cash on hand as of the applicable
date of such Plan Distribution and from proceeds of the A&R Exit Facility.

              3.      Cancellation of Existing Securities and Agreements.

   (a) Except for the purpose of evidencing a right to a distribution under the Plan and except as
       otherwise set forth in the Plan, or in any Plan Document, on the Effective Date, all
       agreements, instruments, and other documents evidencing any prepetition Claim or Interest
       (other than certain Intercompany Interests that are not modified by the Plan pursuant to
       Section 5.9 of the Plan) and any rights of any holder in respect thereof shall be deemed
       cancelled and of no force or effect. The holders of or parties to such cancelled instruments,
       Securities, and other documentation shall have no rights arising from or related to such
       instruments, Securities, or other documentation or the cancellation thereof, except the
       rights provided for pursuant to the Plan. For the avoidance of doubt, Section 5.3 of the
       Plan shall not apply to the DIP Facility Loan Agreement or the Amended and Restated
       First Lien Credit Agreement.

   (b) Notwithstanding such cancellation and discharge, the First Lien Credit Agreement and the
       Second Lien Credit Agreement shall continue in effect solely to the extent necessary to (i)
       allow the holders of Allowed First Lien Debt Claims and Allowed Second Lien Debt
       Claims to receive distributions under the Plan, (ii) allow the Debtors, the Reorganized
       Debtors, the First Lien Agent, the Second Lien Agent, and the Disbursing Agent to make
       post-Effective Date distributions or take such other action, if any, pursuant to the Plan on
       account of the Allowed First Lien Debt Claims and Allowed Second Lien Debt Claims,
       and to otherwise exercise their rights and discharge their obligations relating to the interests
       of the holders of such Claims in accordance with this Plan, and (iii) permit the First Lien
       Agent and the Second Lien Agent to appear in these Chapter 11 Cases; provided that
       nothing in Section 5.3 of the Plan shall affect the discharge of Claims pursuant to the
       Bankruptcy Code, the Confirmation Order, or the Plan or result in any liability or expense
       to the Reorganized Debtors. The First Lien Agent and The Second Lien Agent shall be
       entitled to reimbursement of reasonable and documented fees and expenses (including
       reasonable and documented fees and expenses of its professionals) incurred in connection
       with the matters set forth in Section 5.3(b) of the Plan.

   (c) Notwithstanding anything to the contrary in the Plan, any and all indemnification and
       reimbursement provisions in the First Lien Credit Agreement and Second Lien Credit
       Agreement and the other Loan Documents (as defined in the First Lien Credit Agreement
       and Second Lien Credit Agreement, as applicable) shall survive the occurrence of the
       Effective Date to the extent such indemnification and reimbursement provisions would
       survive the satisfaction and discharge of all other Obligations (as defined in the First Lien
       Credit Agreement and Second Lien Credit Agreement, as applicable).

   (d) Notwithstanding the foregoing, any provision in any document, instrument, lease, or other
       agreement that causes or effectuates, or purports to cause or effectuate, a default,
       termination, waiver, or other forfeiture of, or by, the Debtors of their interests, as a result
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       of the cancellations, terminations, satisfaction, releases, or discharges provided for in
       Section 5.3 of the Plan shall be deemed null and void and shall be of no force and effect.
       Nothing contained in the Plan shall be deemed to cancel, terminate, release, or discharge
       the obligation of the Debtors or any of their counterparties under any executory contract or
       unexpired lease to the extent such executory contract or unexpired lease has been assumed
       by the Debtors pursuant to a Final Order of the Bankruptcy Court or hereunder.

   (e) Nothing in this Plan shall be deemed to limit or otherwise affect any rights of, or liens or
       security interests in favor of, JPM under or in connection with the L/C Cash Collateral
       Agreement, the Cash Collateral Account (as defined in the L/C Cash Collateral Agreement)
       or any contents or proceeds thereof, and the L/C Cash Collateral Agreement shall remain
       in effect in accordance with its terms for so long as any obligations remain outstanding
       thereunder (including any obligations of the Debtors to pay fronting fees or other costs
       pursuant to Section 2.03(i) of the First Lien Credit Agreement, which obligations shall
       survive the occurrence of the Effective Date and continue to accrue for so long as the JPM
       Letter of Credit remains outstanding).

               4.     Cancellation of Certain Existing Security Interests.

Upon the full payment or other satisfaction of an Allowed Other Secured Claim, or promptly
thereafter, the holder of such Allowed Other Secured Claim shall deliver to the Debtors or
Reorganized Debtors, as applicable, any Collateral or other property of a Debtor held by such
holder, together with any termination statements, instruments of satisfaction, or releases of all
security interests with respect to its Allowed Other Secured Claim that may be reasonably required
to terminate any related financing statements, mortgages, mechanics’ or other statutory Liens, or
lis pendens, or similar interests or documents.

               5.     Officers and Boards of Directors.

   (a) On the Effective Date, and if the CMC Acquisition occurs, in accordance with the
       Acquisition Agreement, the board of directors of Reorganized Catalina Topco shall consist
       of [●] directors, each of whom shall be designated by the Ad Hoc First Lien Group. The
       composition of the boards of directors of each Reorganized Debtor shall be disclosed prior
       to the entry of the Confirmation Order.

   (b) Except to the extent that a member of the board of directors of a Debtor continues to serve
       as a director of such Reorganized Debtor on the Effective Date, the members of the board
       of directors of each Debtor prior to the Effective Date, in their capacities as such, shall
       have no continuing obligations to the Reorganized Debtors on or after the Effective Date
       and each such director shall be deemed to have resigned or shall otherwise cease to be a
       director of the applicable Debtor on the Effective Date. Commencing on the Effective
       Date, each of the directors of each of the Reorganized Debtors shall serve pursuant to the
       terms of the applicable organizational documents of such Reorganized Debtor and may be
       replaced or removed in accordance with such organizational documents.
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              6.      Management Incentive Plan.

   (a) After the Effective Date, and if the CMC Acquisition occurs, in accordance with the
       Acquisition Agreement, the New Board shall adopt the Management Incentive Plan. The
       participants and the amounts allocated under the Management Incentive Plan and other
       terms and conditions thereof shall be determined in the sole discretion of the New Board;
       provided, however, that the Management Incentive Plan shall consist only of common
       stock, preferred stock, warrants, options, restricted stock units, or other instruments or
       securities exercisable or convertible into New Common Stock, the amount of which shall
       not exceed ten percent (10%) of the New Common Stock authorized to be issued pursuant
       to the Plan.

   (b) Any Catalina Parent Interests granted prior to the Effective Date to a current or former
       employee, officer, director or contractor pursuant to an employee compensation plan,
       benefit plan, employment agreement, offer letter, award letter or otherwise shall be deemed
       cancelled on the Effective Date.

              7.      Authorization, Issuance, and Delivery of New Common Stock.

   (a) On the Effective Date, all existing interests in Catalina Parent shall be cancelled and (i)
       Reorganized CMC is authorized to issue or cause to be issued and, in the event the CMC
       Acquisition does not occur, shall issue the New Common Stock for distribution in
       accordance with the terms of this Plan without the need for any further corporate,
       shareholder, or other equityholder action, and (ii) the event the CMC Acquisition does
       occur, and in accordance with (and subject to the terms of) the Acquisition Agreement, the
       Acquisition Company shall transfer (or cause to be transferred) to CHC the New Common
       Stock, as partial consideration for the acquisition of Reorganized CMC, for distribution in
       accordance with the terms of the Plan, in each case, CHC shall direct the Disbursing Agent
       to distribute the New Common Stock in accordance with Section 6.1 of the Plan.

   (b) All of the New Common Stock issuable under the Plan, when so issued, shall be duly
       authorized, validly issued, fully paid, and nonassessable, and the holders of New Common
       Stock shall be deemed to have accepted the terms of the New Stockholders’ Agreement
       (solely in their capacity as shareholders of Reorganized Catalina Topco) and to be parties
       thereto without further action or signature. The New Stockholders’ Agreement shall be
       effective as of the Effective Date.

   (c) Upon the Effective Date, unless otherwise consented to by the Required Restructuring
       Support Parties, (i) the New Common Stock shall not be registered under the Securities
       Act of 1933, and shall not be listed for public trading on any securities exchange, and (ii)
       none of the Reorganized Debtors shall be a reporting company under the Exchange Act.

              8.      Amended and Restated First Lien Credit Agreement.

On the Effective Date and, if applicable, prior to the CMC Acquisition, the Amended and Restated
First Lien Credit Agreement shall be executed, delivered and all fees and expenses required
thereunder (including the A&R Exit Facility Backstop Payment and the A&R Exit Facility
Commitment Payment) shall be paid, and the Reorganized Debtors (other than the Acquisition
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Company) shall be authorized to execute, deliver, enter into, and make any payments required by
the Amended and Restated First Lien Credit Agreement without the need for any further corporate
action and without further action by the holders of Claims or Interests. The form of the Amended
and Restated First Lien Credit Agreement will be filed as part of the Plan Supplement.

All Liens and security interests granted pursuant to the Amended and Restated First Lien Credit
Agreement are intended to be (a) valid, binding, perfected and enforceable Liens and security
interests in the personal and real property described in and subject to such documents, with the
priorities established in respect thereof under applicable non-bankruptcy law and (b) not subject
to avoidance, recharacterization or subordination under any applicable law.

All Liens, mortgages and security interests securing the obligations arising under the Amended
and Restated First Lien Credit Agreement that were shared collateral securing the DIP Facility
Loan Agreement are unaltered by the Plan, and all such Liens, mortgages and security interests
are created and perfected with respect to the Amended and Restated First Lien Credit Facility to
the same extent, in the same manner and on the same terms and priorities as they were with respect
to the DIP Facility. For purposes of all mortgages, pledges, and deposit account control
agreements that secured the obligations arising under the DIP Facility Loan Agreement, the
Amended and Restated First Lien Credit Agreement is deemed an amendment and restatement of
the DIP Facility Loan Agreement, and such mortgages, pledges, and control agreements shall
survive the Effective Date, shall not be cancelled, and shall continue to secure the Amended and
Restated First Lien Credit Facility.

For the avoidance of doubt, Section 5.8 of the Plan shall apply to the Amended and Restated First
Lien Credit Facility in its entirety, including the A&R First-Out Tranche and the A&R Last-Out
Tranche/

               9.     Intercompany Interests; Corporate Reorganization.

Subject to the consent of the Required Restructuring Support Parties, on the Effective Date, except
as otherwise provided in the Plan, and without the need for any further corporate action or any
other approval of any board of directors, management, shareholders, or other equityholders of any
Debtor or Reorganized Debtor, as applicable, the certificates and all other documents representing
the Intercompany Interests shall be deemed to be in full force and effect.

               10.    Restructuring Transactions.

   (a) On the Effective Date or as soon as reasonably practicable thereafter, the Debtors or
       Reorganized Debtors, as applicable, may take all actions consistent with the Plan and the
       Restructuring Support Agreement as may be necessary or appropriate to effect any
       transaction described in, approved by, contemplated by, or necessary to effectuate the
       Restructuring Transactions under and in connection with the Plan.

   (b) On or before the CMC Acquisition Election Date, the Debtors (with the consent of the Ad
       Hoc First Lien Group and the Ad Hoc Second Lien Group) shall elect whether or not to
       consummate the CMC Acquisition.
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   (c) The following transactions shall occur on or prior to the Effective Date (and in all events,
       prior to any distributions pursuant to Article VI of the Plan and, if applicable, prior to the
       CMC Acquisition):

       (i)      each Modiv Media Inc. and Cellfire Inc, and any other subsidiary as determined by
                the Debtors, shall be converted into a limited liability company that, for U.S. federal
                income tax purposes, is treated as a disregarded entity;

       (ii)     in accordance with Section 4.8 of the Plan, all Intercompany Claims shall be paid,
                adjusted, continued, settled, reinstated, discharged, or eliminated; and

       (iii)    the Intercompany Interests in CMC shall be recapitalized into the New Common
                Stock, unless the CMC Acquisition occurs.

   (d) The transactions described in Section 5.10(a)-(c) are subject to the Acquisition
       Transactions Exhibit. In addition, notwithstanding anything to the contrary in this Plan, the
       Debtors shall consult with the Ad Hoc First Lien Group and the Ad Hoc Second Lien Group
       to determine whether, and provide the Ad Hoc First Lien Group and the Ad Hoc Second
       Lien Group with reasonable access to materials in its (or its agents’) possession reasonably
       necessary to evaluate whether, to engage in the Acquisition Transactions (or other related,
       similar or alternative Restructuring Transactions), and the Debtors or Reorganized Debtors
       may not engage in the Acquisition Transactions (or other related, similar or alternative
       Restructuring Transactions) without the prior consent of the Ad Hoc First Lien Group and
       the Ad Hoc Second Lien Group. The Debtors shall cooperate on a reasonable basis with
       the Ad Hoc First Lien Group and the Ad Hoc Second Lien Group in connection with
       proposals by the Ad Hoc First Lien Group and/or the Ad Hoc Second Lien Group. In the
       event that the Debtors, the Ad Hoc First Lien Group and the Ad Hoc Second Lien Group
       agree to effectuate the Acquisition Transactions or other Restructuring Transactions in a
       manner that the Ad Hoc First Lien Group and the Ad Hoc Second Lien Group reasonably
       believe could qualify as a “qualified stock purchase” or “qualified stock disposition” within
       the meaning of Sections 338 and 336, respectively, of the Tax Code (and the Treasury
       Regulations promulgated thereunder), then the Debtors or Reorganized Debtors shall
       deliver to the Ad Hoc First Lien Group, the Ad Hoc Second Lien Group and Reorganized
       Catalina Topco a properly completed IRS Form 8023 (and/or such other forms or
       documentation as required by applicable Law to make elections pursuant to Sections 338
       or 336 of the Tax Code and the Treasury Regulations promulgated thereunder (and any
       similar elections under state or local law)) on or prior to the Effective Date duly executed
       by the common parent of the Catalina Parent Group (or other applicable signatory).

   (e) Notwithstanding anything to the contrary in this Plan, the Plan will be consummated in the
       manner set forth in the Acquisition Transactions Exhibit.

                11.    Separability.

If the Bankruptcy Court does not confirm the Plan with respect to one or more Debtors, it may still
confirm the Plan with respect to any other Debtor that satisfies the confirmation requirements of
section 1129 of the Bankruptcy Code.
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               12.    Closing of Chapter 11 Cases.

The Reorganized Debtors shall, promptly after the full administration of the Chapter 11 Cases, file
with the Bankruptcy Court all documents required by Bankruptcy Rule 3022 and any applicable
order of the Bankruptcy Court to close the Chapter 11 Cases; provided, as of the Effective Date,
the Reorganized Debtors may submit separate orders to the Bankruptcy Court under certification
of counsel closing certain individual Chapter 11 Cases and changing the caption of the Chapter 11
Cases accordingly; provided further that matters concerning Claims may be heard and adjudicated
in one of the Debtors’ chapter 11 cases that remains open regardless of whether the applicable
Claim is against a Debtor in a chapter 11 case that is closed. Nothing in the Plan shall authorize
the closing of any case nunc pro tunc to a date that precedes the date any such order is entered.
Any request for nunc pro tunc relief shall be made on motion served on the United States Trustee,
and the Bankruptcy Court shall rule on such request after notice and a hearing. Upon the filing of
a motion to close the last Chapter 11 Case remaining open, the Reorganized Debtors shall file a
final report with respect to all of the Chapter 11 Cases pursuant to Local Rule 3022-1(c).

               13.    Determination of Tax Filings and Taxes.

   (a) Prior to the dissolution of Catalina Parent, Catalina Parent shall designate Reorganized
       CMC as the agent (the “Tax Agent”) for the Catalina Parent Group in accordance with
       Treasury Regulations Section 1.1502-77(c)(5), as amended and supplemented, and any
       comparable provision under state or local law, with respect to all taxable periods ending
       on or before, or including, the dissolution of Catalina Parent.

   (b) Catalina Parent shall forward to the Tax Agent copies of all notices and communications
       relating to tax matters that it receives and shall promptly provide to the Tax Agent any
       information and documents with respect to tax matters reasonably requested by the Tax
       Agent. Without limiting the foregoing, prior to the dissolution of Catalina Parent, a power
       of attorney authorizing the Tax Agent to correspond with any taxing authority on behalf of
       the Debtors and to sign, negotiate, settle and administer any Group Tax Returns (as defined
       below) or other tax filings shall be provided to the Tax Agent.

   (c) For all taxable periods ending on or prior to, or including, the Effective Date, the Tax Agent
       shall prepare and file (or cause to be prepared and filed) on behalf of the Catalina Parent
       Group, all group tax returns, reports, certificates, forms or similar statements or other
       documents (collectively, “Group Tax Returns”) required to be filed or that the Tax Agent
       otherwise deems appropriate, including the filing of amended Group Tax Returns. If
       requested by the Tax Agent, Catalina Parent shall promptly execute and file, or cause to be
       executed and filed, any Group Tax Returns of the Catalina Parent Group submitted by the
       Tax Agent to Catalina Parent for execution or filing. Catalina Parent shall not file or amend
       any Group Tax Return for any taxable periods (or portions thereof) described in the first
       sentence of this clause (c) without the Tax Agent’s prior written consent.

   (d) If Catalina Parent receives written notice from a taxing authority of any pending
       examination, claim, settlement, proposed adjustment or related matters with respect to
       taxes that could affect any other member of the Catalina Parent Group it shall so notify the
       Tax Agent in writing within ten (10) business days thereafter. The Tax Agent shall have
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        the sole right, at its expense, to control, conduct, compromise and settle any tax contest,
        audit or administrative or court proceeding relating to any liability for taxes of the Catalina
        Parent Group. With respect to any such proceeding and with respect to the preparation and
        filing of any Group Tax Returns, the Tax Agent may act in its own self-interest and in the
        of its subsidiaries and affiliates, without regard to any adverse consequences to Catalina
        Parent.

    (e) The Reorganized Debtors shall have the right to request an expedited determination of their
        tax liability, if any, under section 505(b) of the Bankruptcy Code with respect to any tax
        returns filed, or to be filed, for any and all taxable periods ending after the Petition Date
        through the Effective Date.

                14.     Notice of Effective Date.

On the Effective Date, the Debtors shall file a notice of the occurrence of the Effective Date with
the Bankruptcy Court.

        F.      Provisions Governing Distributions

                1.      Distributions Generally.

The Disbursing Agent shall make all Plan Distributions to the appropriate holders of Allowed
Claims and Allowed Interests in accordance with the terms of the Plan; provided, in each case, that
the Debtors shall provide the applicable Disbursing Agent with written instructions for the
allocation of any distributions among the applicable holders of Allowed Claims and Allowed
Interests; provided, further, that any distributions with respect to the First Lien Credit Facility shall
be made in accordance with the First Lien Credit Agreement, and any distributions with respect to
the Second Lien Facility shall be made in accordance with the Second Lien Credit Agreement.

                2.      Postpetition Interest on Claims.

Except as otherwise set forth in the Plan, the Plan Documents, or the Confirmation Order,
postpetition interest shall accrue, and shall be paid, on any Claims (except for First Lien Debt
Claims, Second Lien Debt Claims, or any other prepetition funded indebtedness borrowed or
issued by a Debtor) in the ordinary course of business in accordance with any applicable law,
agreement, document, or Final Order, as the case may be, as if the Chapter 11 Cases had never
been commenced.

                3.      Date of Distributions.

Unless otherwise provided in the Plan, any distributions and deliveries to be made under the Plan
shall be made on the Effective Date or as soon thereafter as is practicable.

                4.      Distribution Record Date.

    (a) As of the close of business on the Distribution Record Date, the various lists of holders of
        Claims in each Class, as maintained by the Debtors or their agents, shall be deemed closed,
        and there shall be no further changes in the record holders of any Claims after the
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       Distribution Record Date. Neither the Debtors nor the Disbursing Agent shall have any
       obligation to recognize any transfer of a Claim occurring after the close of business on the
       Distribution Record Date. In addition, with respect to payment of any Cure Amounts or
       disputes over any Cure Amounts, neither the Debtors nor the Disbursing Agent shall have
       any obligation to recognize or deal with any party other than the non-Debtor party to the
       applicable executory contract or unexpired lease, even if such non-Debtor party has sold,
       assigned, or otherwise transferred its Claim for a Cure Amount

   (b) Notwithstanding anything in the Plan to the contrary, in connection with any distribution
       under the Plan to be effected through the facilities of DTC (whether by means of book-
       entry exchange, free delivery, or otherwise), the Debtors and the Reorganized Debtors, as
       applicable, shall be entitled to recognize and deal for all purposes under the Plan with
       holders of New Common Stock to the extent consistent with the customary practices of
       DTC used in connection with such distributions. All New Common Stock to be distributed
       under the Plan shall be issued in the names of such holders or their nominees in accordance
       with DTC’s book-entry exchange procedures; provided, that such New Common Stock is
       permitted to be held through DTC’s book-entry system; and provided, further, that to the
       extent the New Common Stock is not eligible for distribution in accordance with DTC’s
       customary practices, Reorganized Catalina Topco shall take all such reasonable actions as
       may be required to cause the distributions of the New Common Stock under the Plan. No
       distributions will be made other than through DTC if the New Common Stock is permitted
       to be held through DTC’s book entry system. Any distribution that otherwise would be
       made to any holder eligible to receive a distribution of a security available solely through
       DTC who does not own or hold an account eligible to receive a distribution through DTC
       on a relevant distribution date or reasonably promptly thereafter (and in any event no more
       than two weeks thereafter) shall be forfeited.

               5.      Disbursing Agent.

All distributions under the Plan shall be made by the Disbursing Agent on and after the Effective
Date as provided herein. The Disbursing Agent shall not be required to give any bond or surety
or other security for the performance of its duties. The Reorganized Debtors shall use
commercially reasonable efforts to provide the Disbursing Agent (if other than the Reorganized
Debtors) with the amounts of Claims and the identities and addresses of holders of Claims, in each
case, as set forth in the Debtors’ or Reorganized Debtors’ books and records. The Reorganized
Debtors shall cooperate in good faith with the applicable Disbursing Agent (if other than the
Reorganized Debtors) to comply with the reporting and withholding requirements outlined in
Section 6.16 of the Plan.

               6.      Delivery of Distributions.

Subject to Section V.F.4(a) of the Plan, the Disbursing Agent shall issue or cause to be issued, the
applicable consideration under the Plan and, subject to Bankruptcy Rule 9010, shall make all
distributions to any holder of an Allowed Claim as and when required by the Plan at: (a) the
address of such holder on the books and records of the Debtors or their agents; or (b) at the address
in any written notice of address change delivered to the Debtors or the Disbursing Agent, including
any addresses included on any transfers of Claim filed pursuant to Bankruptcy Rule 3001. In the
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event that any distribution to any holder is returned as undeliverable, no distribution or payment
to such holder shall be made unless and until the Disbursing Agent has been notified of the then-
current address of such holder, at which time or as soon thereafter as reasonably practicable such
distribution shall be made to such holder without interest.

               7.      Unclaimed Property.

One year from the later of: (i) the Effective Date and (ii) the date that is ten (10) Business Days
after the date a Claim is first Allowed, all distributions payable on account of such Claim shall be
deemed unclaimed property under section 374(b) of the Bankruptcy Code and shall revert to
Reorganized CMC or its successors or assigns, and all claims of any other Person (including the
holder of a Claim in the same Class) to such distribution shall be discharged and forever barred.
The Reorganized Debtors and the Disbursing Agent shall have no obligation to attempt to locate
any holder of an Allowed Claim other than by reviewing the Debtors’ books and records and the
Bankruptcy Court’s filings.

               8.      Satisfaction of Claims.

Unless otherwise provided herein, any distributions and deliveries to be made on account of
Allowed Claims under the Plan shall be in complete and final satisfaction, settlement, and
discharge of and exchange for such Allowed Claims.

               9.      Manner of Payment under Plan.

Except as specifically provided herein, at the option of the Debtors or the Reorganized Debtors, as
applicable, any Cash payment to be made under the Plan may be made by a check or wire transfer
or as otherwise required or provided in applicable agreements or customary practices of the
Debtors.

               10.     Fractional Shares and De Minimis Cash Distributions.

No fractional shares of New Common Stock shall be distributed. When any distribution would
otherwise result in the issuance of a number of shares of New Common Stock that is not a whole
number, the New Common Stock subject to such distribution shall be rounded to the next higher
or lower whole number as follows: (i) fractions equal to or greater than 1/2 shall be rounded to
the next higher whole number, and (ii) fractions less than 1/2 shall be rounded to the next lower
whole number. The total number of shares of New Common Stock to be distributed on account
of Allowed Claims shall be adjusted as necessary to account for the rounding provided for herein.
No consideration shall be provided in lieu of fractional shares that are rounded down. Neither the
Reorganized Debtors nor the Disbursing Agent shall have any obligation to make a distribution
that is less than one (1) share of New Common Stock or $50.00 in Cash. Fractional shares of New
Common Stock that are not distributed in accordance with Section 6.10 of the Plan shall be
returned to, and ownership thereof shall vest in, Reorganized Catalina Topco.

               11.     No Distribution in Excess of Amount of Allowed Claim.

Notwithstanding anything to the contrary in the Plan, no holder of an Allowed Claim shall receive,
on account of such Allowed Claim, Plan Distributions in excess of the Allowed amount of such
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Claim (plus any postpetition interest on such Claim solely to the extent permitted by Section 6.2
of the Plan).

               12.     Allocation of Distributions between Principal and Interest.

Except as otherwise provided in the Plan and subject to Section V.F.2 of the Plan, to the extent
that any Allowed First Lien Debt Claim or any Allowed Second Lien Debt Claim entitled to a
distribution under the Plan is comprised of indebtedness and accrued but unpaid interest thereon,
such distribution shall be allocated first to the principal amount (as determined for federal income
tax purposes) of the Claim and then to accrued but unpaid interest.

               13.     Exemption from Securities Laws.

   (a) The issuance of and the distribution under the Plan of the New Common Stock shall be
       exempt, without further act or actions by any entity, from registration under the Securities
       Act, and all rules and regulations promulgated thereunder, and any other applicable
       securities laws to the fullest extent permitted by section 1145 of the Bankruptcy Code. The
       New Common Stock may be resold without registration under the Securities Act or other
       federal securities laws pursuant to the exemption provided by section 4(a)(1) of the
       Securities Act, unless the holder is an “underwriter” with respect to the New Common
       Stock, as that term is defined in section 1145(b) of the Bankruptcy Code. In addition, such
       section 1145 exempt securities generally may be resold without registration under state
       securities laws pursuant to various exemptions provided by the respective laws of the
       several states.

   (b) Should the Reorganized Debtors elect on or after the Effective Date to reflect any
       ownership of the New Common Stock through the facilities of the DTC, the Reorganized
       Debtors need not provide any further evidence other than the Plan or the Confirmation
       Order with respect to the treatment of the New Common Stock under applicable securities
       laws.

   (c) Notwithstanding anything to the contrary in the Plan, no entity (including, for the
       avoidance of doubt, DTC) shall be entitled to require a legal opinion regarding the validity
       of any transaction contemplated by the Plan, including, for the avoidance of doubt, whether
       the New Common Stock is exempt from registration and/or eligible for DTC book-entry
       delivery, settlement, and depository services. The Confirmation Order shall provide that
       DTC shall be required to accept and conclusively rely upon the Plan or Confirmation Order
       in lieu of a legal opinion regarding whether the New Common Stock is exempt from
       registration and/or eligible for DTC book-entry delivery, settlement, and depository
       services.

               14.     Setoffs and Recoupments.

Each Reorganized Debtor, or such entity’s designee as instructed by such Reorganized Debtor,
may, pursuant to section 553 of the Bankruptcy Code or applicable nonbankruptcy law, offset or
recoup against any Allowed Claim and the distributions to be made pursuant to the Plan on account
of such Allowed Claim any and all claims, rights, and Causes of Action that a Reorganized Debtor
or its successors may hold against the holder of such Allowed Claim after the Effective Date to
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the extent such setoff or recoupment is either (1) agreed in amount among the relevant Reorganized
Debtor(s) and holder of the Allowed Claim or (2) otherwise adjudicated by the Bankruptcy Court
or another court of competent jurisdiction; provided, that neither the failure to effect a setoff or
recoupment nor the allowance of any Claim hereunder shall constitute a waiver or release by a
Reorganized Debtor or its successor of any claims, rights, or Causes of Action that a Reorganized
Debtor or its successor or assign may possess against such holder. For the avoidance of doubt, in
no event shall the Debtors or the Reorganized Debtors be authorized or permitted to offset or
recoup against the First Lien Debt Claim, DIP Facility Claim, or Second Lien Debt Claim.

               15.     Rights and Powers of Disbursing Agent.

   (a) Powers of Disbursing Agent. The Disbursing Agent shall be empowered to: (i) effect all
       actions and execute all agreements, instruments, and other documents necessary to perform
       its duties under the Plan; (ii) make all applicable distributions or payments provided for
       under the Plan; (iii) employ professionals to represent it with respect to its responsibilities;
       and (iv) exercise such other powers (A) as may be vested in the Disbursing Agent by order
       of the Bankruptcy Court (including any Final Order issued after the Effective Date) or
       pursuant to the Plan or (B) as deemed by the Disbursing Agent to be necessary and proper
       to implement the provisions of the Plan.

   (b) Expenses Incurred on or After the Effective Date. Except as otherwise ordered by the
       Bankruptcy Court and subject to the written agreement of the Reorganized Debtors, the
       amount of any reasonable fees and expenses incurred by the Disbursing Agent on or after
       the Effective Date (including, without limitation, taxes) and any reasonable compensation
       and expense reimbursement Claims (including, without limitation, for reasonable
       attorneys’ and other professional fees and expenses) made by the Disbursing Agent shall
       be indefeasibly paid in Cash by the Reorganized Debtors.

               16.     Withholding and Reporting Requirements.

In connection with this Plan and all instruments issued in connection therewith and distributed
thereon, the Reorganized Debtors and any other distributing party shall comply with all applicable
withholding and reporting requirements imposed by any federal, state or local taxing authority,
and all Plan Distributions under this Plan shall be subject to any such withholding or reporting
requirements. In the case of a non-Cash Plan Distribution that is subject to withholding, the
distributing party may request a holder of an Allowed Claim to complete and return a Form W-9
or Form W-8BEN, W-8BEN-E or other appropriate Form W-8, as applicable to each such holder.
If such Form is requested and not submitted to the distributing party within thirty (30) days of the
request, the distributing party may, in its discretion, either (i) withhold an appropriate portion of
such distributed property and sell such withheld property to generate Cash necessary to pay over
the withholding tax, or (ii) require the intended recipient of such distribution to provide the
withholding agent with an amount of Cash sufficient to satisfy such withholding tax as a condition
to receiving such distribution; provided that, if the applicable holder provides the appropriate Form
prior to the distributing party selling such property pursuant to clause (i) or the receipt of cash
pursuant to clause (ii), such Form shall be deemed timely provided. If such Form is requested and
submitted to the distributing party pursuant to the immediately preceding sentence, the distributing
party may withhold an appropriate portion of such distributed property and sell such withheld
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property to generate Cash necessary to pay over the withholding tax; provided that, the distributing
party shall first notify the intended recipient of such contemplated withholding (including the basis
for such withholding) and sale, shall cooperate in good faith with the applicable holder to eliminate
or reduce such withholding and, if after such good faith cooperation, the distributing parties still
believes withholding is required, offer the intended recipient the opportunity to provide sufficient
Cash to satisfy such withholding tax in lieu of such sale. The distributing party shall have the
right, but not the obligation, not to make a Plan Distribution until its withholding obligation is
satisfied pursuant to the preceding sentences. Any amounts withheld pursuant hereto shall be
deemed to have been distributed to and received by the applicable recipient for all purposes of this
Plan. The distributing party may require a holder of an Allowed Claim or Existing Equity Interest
to complete and return a Form W-9 or Form W-8BEN, W-8BEN-E or other appropriate Form W-
8, as applicable to each such holder.

Notwithstanding the above, each holder of an Allowed Claim that is to receive a Plan Distribution
under this Plan shall have the sole and exclusive responsibility for the satisfaction and payment of
any tax obligations imposed on such holder by any governmental unit, including income,
withholding, and other tax obligations, on account of such Plan Distribution

In the event that any amounts are withheld from any Plan Distribution, as soon as practicable after
payment of the taxes to the applicable governmental unit, the Reorganized Debtors shall deliver
or cause to be delivered to the holder from which such amounts were withheld the original or a
certified copy of a receipt issued by such governmental unit evidencing such payment, a copy of
the return reporting such payment or other evidence of such payment reasonably satisfactory to
the applicable holder, and the Reorganized Debtors shall use commercially reasonably efforts to
cooperate in the prosecution of any refund claim made by the applicable holder.

               17.     Hart-Scott-Rodino Antitrust Improvements Act.

Any New Common Stock to be distributed under the Plan to an entity required to file a notification
and report form under the Hart-Scott-Rodino Antitrust Improvements Act of 1976, as amended,
shall not be distributed until the notification and waiting periods applicable under such Act to such
entity have expired or been terminated.

               18.     Claims Paid or Payable by Third Parties.

   (a) Claims Paid by Third Parties. A Claim shall be correspondingly reduced, and the
       applicable portion of such Claim shall be disallowed without an objection to such Claim
       having to be filed and without any further notice to or action, order, or approval of the
       Bankruptcy Court, to the extent that the holder of such Claim receives a payment on
       account of such Claim from a party that is not a Debtor or Reorganized Debtor; provided
       that the Debtors shall provide 21 days’ notice to the holder prior to any disallowance of
       such Claim during which period the holder may object to such disallowance, and if the
       parties cannot reach an agreed resolution, the matter shall be decided by the Bankruptcy
       Court. Subject to the last sentence of this paragraph, to the extent a holder of a Claim
       receives a distribution on account of such Claim and receives payment from a party that is
       not a Debtor or a Reorganized Debtor on account of such Claim, such holder shall, within
       fourteen (14) days of receipt thereof, repay or return the distribution to the Reorganized
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       Debtors to the extent the holder’s total recovery on account of such Claim from the third
       party and under the Plan exceeds the amount of such Claim as of the date of any such
       distribution under the Plan. The failure of such holder to timely repay or return such
       distribution shall result in the holder owing the Reorganized Debtors annualized interest at
       the federal judgment rate on such amount owed for each Business Day after the fourteen
       (14) day grace period specified above until the amount is repaid.

   (b) Claims Payable by Insurance Carriers. No distributions under the Plan shall be made on
       account of an Allowed Claim that is payable pursuant to one of the Debtors’ insurance
       policies until the holder of such Allowed Claim has exhausted all remedies with respect to
       such insurance policy. To the extent that one or more of the Debtors’ insurers agrees to
       satisfy in full or in part a Claim (if and to the extent adjudicated by a court of competent
       jurisdiction), then immediately upon such insurers’ agreement, the applicable portion of
       such Claim may be expunged without a Claim objection having to be filed and without any
       further notice to or action, order, or approval of the Bankruptcy Court; provided that the
       Debtors shall provide 21 days’ notice to the holder of such Claim prior to any disallowance
       of such Claim during which period the holder may object to such disallowance, and if the
       parties cannot reach an agreed resolution, the matter shall be decided by the Bankruptcy
       Court.

   (c) Applicability of Insurance Policies. Except as otherwise provided in the Plan,
       distributions to holders of Allowed Claims shall be in accordance with the provisions of
       any applicable insurance policy. Notwithstanding anything to the contrary herein, nothing
       contained in the Plan shall constitute or be deemed a release, settlement, satisfaction,
       compromise, or waiver of any Cause of Action that the Debtors or any other Person may
       hold against any other Person, including insurers, under any policies of insurance or
       applicable indemnity, nor shall anything contained herein constitute or be deemed a waiver
       by such insurers of any defenses, including coverage defenses, held by such insurers.

       G.      Procedures for Resolving Claims

               1.     Disputed Claims Process.

Notwithstanding section 502(a) of the Bankruptcy Code, and except as otherwise set forth in the
Plan, holders of Claims need not file proofs of Claim with the Bankruptcy Court, and the
Reorganized Debtors and holders of Claims shall determine, adjudicate, and resolve any disputes
over the validity and amounts of such Claims in the ordinary course of business as if the Chapter
11 Cases had not been commenced. For the avoidance of doubt, the Reorganized Debtors shall
retain all rights, claims, defenses, counterclaims, crossclaims, or rights of setoff or recoupment
with respect to any Claims, including General Unsecured Claims, in the ordinary course of
business after the Effective Date. Notwithstanding any other provision of the Plan, the fact that a
Claim, including General Unsecured Claims, remains unaltered by the Plan shall in no way effect
whether such Claim is Allowed. Unless otherwise ordered by the Bankruptcy Court, the holders
of Claims shall not be subject to any claims resolution process in the Bankruptcy Court in
connection with their Claims and shall retain all their rights under applicable non-bankruptcy law
to pursue their Claims against the Debtors or Reorganized Debtors in any forum with jurisdiction
over the parties. Except for (i) proofs of Claim asserting damages arising out of the rejection of
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an executory contract or unexpired lease by any of the Debtors pursuant to Section 8.3 of the Plan
and (ii) proofs of Claim that have been objected to by the Debtors before the Effective Date, upon
the Effective Date, any filed Claim, regardless of the time of filing, and including Claims filed
after the Effective Date, shall be deemed withdrawn. To the extent not otherwise provided in the
Plan, the deemed withdrawal of a proof of Claim is without prejudice to such claimant’s rights
under Section 7.1 of the Plan to assert its Claims in any forum as though the Debtors’ Chapter 11
Cases had not been commenced. From and after the Effective Date, the Reorganized Debtors may
satisfy, dispute, settle, or otherwise compromise any Claim without approval of the Bankruptcy
Court.

               2.      Estimation of Claims.

The Reorganized Debtors may at any time request that the Bankruptcy Court estimate any
contingent, unliquidated, or Disputed Claim pursuant to section 502(c) of the Bankruptcy Code,
regardless of whether the Debtors had previously objected to or otherwise disputed such Claim or
whether the Bankruptcy Court has ruled on any such objection. The Bankruptcy Court shall retain
jurisdiction to estimate any Claim at any time during litigation concerning any objection to any
Claim, including, without limitation, during the pendency of any appeal relating to any such
objection. In the event that the Bankruptcy Court estimates any contingent, unliquidated, or
Disputed Claim, the amount so estimated shall constitute either the Allowed amount of such Claim
or a maximum limitation on such Claim, as determined by the Bankruptcy Court. If the estimated
amount constitutes a maximum limitation on the amount of such Claim, the Reorganized Debtors,
may pursue supplementary proceedings to object to the allowance of such Claim.

               3.      Claim Resolution Procedures Cumulative.

All of the objection, estimation, and resolution procedures in the Plan are intended to be cumulative
and not exclusive of one another. Claims may be estimated and subsequently settled,
compromised, withdrawn, or resolved in accordance with the Plan by any mechanism approved
by the Bankruptcy Court.

               4.      No Distributions Pending Allowance.

If an objection, motion to estimate, or other challenge to a Claim is filed, no payment or distribution
provided under the Plan shall be made on account of such Claim unless and until (and only to the
extent that) such Claim becomes an Allowed Claim.

               5.      Distributions after Allowance.

To the extent that a Disputed Claim ultimately becomes an Allowed Claim, distributions (if any)
shall be made to the holder of such Allowed Claim in accordance with the provisions of the Plan.
As soon as practicable after the date on which the order or judgment of the Bankruptcy Court
allowing any Disputed Claim becomes a Final Order, the Disbursing Agent shall provide to the
holder of such Claim the distribution (if any) to which such holder is entitled under the Plan as of
the Effective Date, without any interest to be paid on account of such Claim unless required by the
Bankruptcy Code.
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       H.      Executory Contracts and Unexpired Leases

               1.      General Treatment.

As of and subject to the occurrence of the Effective Date and the payment of any applicable Cure
Amount, all executory contracts and unexpired leases shall be deemed assumed, unless such
contract or lease (i) was previously assumed or rejected by the Debtors, pursuant to Final Order of
the Bankruptcy Court, (ii) previously expired or terminated pursuant to its own terms or by
agreement of the parties thereto, or (iii) is the subject of a motion to reject filed by the Debtors on
or before the Confirmation Date. Subject to the occurrence of the Effective Date, entry of the
Confirmation Order by the Bankruptcy Court shall constitute approval of the assumptions or
rejections provided for in the Plan pursuant to sections 365(a) and 1123 of the Bankruptcy Code.
Each executory contract and unexpired lease assumed pursuant to the Plan shall vest in and be
fully enforceable by the applicable Reorganized Debtor in accordance with its terms, except as
modified by the provisions of the Plan, any Final Order of the Bankruptcy Court authorizing and
providing for its assumption, or applicable law.

               2.      Determination of Cure Disputes and Deemed Consent.

Any monetary amounts by which any executory contract or unexpired lease to be assumed
hereunder is in default shall be satisfied, under section 365(b)(1) of the Bankruptcy Code, by the
Debtors or Reorganized Debtors, as applicable, upon assumption thereof. Following the Petition
Date, the Debtors shall have served a notice on parties to executory contracts and unexpired leases
to be assumed reflecting the Debtors’ intention to assume the contract or lease in connection with
the Plan and setting forth the proposed Cure Amount (if any). If a counterparty to any executory
contract or unexpired lease that the Debtors or Reorganized Debtors intend to assume does not
receive such a notice, the proposed Cure Amount for such executory contract or unexpired lease
shall be deemed to be zero dollars ($0).

If there is a dispute regarding (a) any Cure Amount, (b) the ability of the Debtors to provide
adequate assurance of future performance (within the meaning of section 365 of the Bankruptcy
Code) under the contract or lease to be assumed, or (c) any other matter pertaining to assumption,
such dispute shall be heard by the Bankruptcy Court prior to such assumption being effective. The
Debtors reserve the right to reject any executory contract or unexpired lease not later than thirty
(30) days after the entry of a Final Order resolving any such dispute. Any counterparty to an
executory contract or unexpired lease that fails to object timely to the notice of the proposed
assumption and assignment of such executory contract or unexpired lease on which such executory
contract or unexpired lease first appears or any subsequent notice in which the proposed Cure
Amount for such executory contract or unexpired lease is reduced or the relevant Cure Amount
within fourteen (14) days of the filing thereof, shall be deemed to have assented to such assumption
and/or Cure Amount and shall be forever barred, estopped, and enjoined from challenging the
validity of such assumption or the amount of such Cure Amount thereafter.

               3.      Rejection Damages Claims.

Any counterparty to a contract or lease that is rejected by the Debtors must file and serve a proof
of claim on the applicable Debtor that is party to the contract or lease to be rejected no later than
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thirty (30) days after the later of (a) the Confirmation Date or (b) the effective date of rejection of
such executory contract or unexpired lease.

               4.      Survival of the Debtors’ Indemnification Obligations.

Any obligations of the Debtors pursuant to their corporate charters, by-laws, limited liability
company agreements, memorandum and articles of association, or other organizational documents
to indemnify current and former officers, directors, agents, or employees with respect to all present
and future actions, suits, and proceedings against the Debtors or such officers, directors, agents, or
employees based upon any act or omission for or on behalf of the Debtors shall not be discharged,
impaired, or otherwise affected by the Plan; provided, that the Reorganized Debtors shall not
indemnify directors of the Debtors for any claims or Causes of Action arising out of or relating to
any act or omission that is a criminal act or constitutes gross negligence or intentional fraud. All
such obligations shall be deemed and treated as executory contracts to be assumed by the Debtors
under the Plan and shall continue as obligations of the Reorganized Debtors. Any claim based on
the Debtors’ obligations herein shall not be a Disputed Claim or subject to any objection, in either
case, by reason of section 502(e)(1)(B) of the Bankruptcy Code.

               5.      Compensation and Benefit Plans.

All employment and severance policies, and all compensation and benefits plans, policies, and
programs of the Debtors applicable to their respective employees, retirees, and non-employee
directors, including, without limitation, all savings plans, retirement plans, healthcare plans,
disability plans, severance benefit plans, incentive plans, and life and accidental death and
dismemberment insurance plans, are deemed to be, and shall be treated as, executory contracts
under the Plan and, on the Effective Date, shall be assumed pursuant to sections 365 and 1123 of
the Bankruptcy Code.

               6.      Insurance Policies.

All insurance policies to which any Debtor is a party as of the Effective Date shall be deemed to
be and treated as executory contracts and shall be assumed by the applicable Debtor or
Reorganized Debtor and shall continue in full force and effect thereafter in accordance with their
respective terms. All other insurance policies shall vest in the Reorganized Debtors.

               7.      Intellectual Property Licenses and Agreements.

All intellectual property contracts, licenses, royalties, or other similar agreements to which the
Debtors have any rights or obligations in effect as of the date of the Confirmation Order shall be
deemed and treated as executory contracts pursuant to the Plan and shall be assumed by the
respective Debtors and shall continue in full force and effect unless any such intellectual property
contract, license, royalty, or other similar agreement otherwise is specifically rejected pursuant to
a separate order of the Bankruptcy Court or is the subject of a separate rejection motion filed by
the Debtors (with the consent of the Required Restructuring Support Parties) in accordance with
Section 8.1 of the Plan. Unless otherwise noted hereunder, all other intellectual property contracts,
licenses, royalties, or other similar agreements shall vest in the Reorganized Debtors and the
Reorganized Debtors may take all actions as may be necessary or appropriate to ensure such
vesting as contemplated herein.
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              8.      Modifications, Amendments, Supplements, Restatements, or Other
                      Agreements.

Unless otherwise provided herein or by separate order of the Bankruptcy Court, each executory
contract and unexpired lease that is assumed shall include any and all modifications, amendments,
supplements, restatements, or other agreements made directly or indirectly by any agreement,
instrument, or other document that in any manner affects such executory contract or unexpired
lease, without regard to whether such agreement, instrument, or other document is listed in any
notice of assumed contracts.

              9.      Reservation of Rights.

   (a) Neither the exclusion nor the inclusion by the Debtors of any contract or lease on any
       exhibit, schedule, or other annex to the Plan or in the Plan Supplement, nor anything
       contained in the Plan, shall constitute an admission by the Debtors that any such contract
       or lease is or is not an executory contract or unexpired lease or that the Debtors or the
       Reorganized Debtors or their respective affiliates has any liability thereunder.

   (b) Except as explicitly provided in the Plan, nothing herein shall waive, excuse, limit,
       diminish, or otherwise alter any of the defenses, claims, Causes of Action, or other rights
       of the Debtors or the Reorganized Debtors under any executory or non-executory contract
       or unexpired or expired lease.

   (c) Nothing in the Plan shall increase, augment, or add to any of the duties, obligations,
       responsibilities, or liabilities of the Debtors or the Reorganized Debtors, as applicable,
       under any executory or non-executory contract or unexpired or expired lease.

   (d) If there is a dispute regarding whether a contract or lease is or was executory or unexpired
       at the time of its assumption under the Plan, the Debtors or Reorganized Debtors, as
       applicable, shall have thirty (30) days following entry of a Final Order resolving such
       dispute to alter their treatment of such contract or lease.

       I.     Conditions Precedent.

              1.      Conditions Precedent to Confirmation of the Plan.

The following are conditions precedent to confirmation of the Plan:

   (a) an order finding that the Disclosure Statement contains adequate information pursuant to
       section 1125 of the Bankruptcy Code shall have been entered by the Court (which, for the
       avoidance of doubt, may be the same order as the order confirming the Plan);

   (b) the Plan, the Plan Supplement (including the applicable Plan Documents), and any and all
       of the schedules, documents, and exhibits contained therein shall have been filed and shall
       be consistent in all material respects with this Plan and the Restructuring Support
       Agreement;
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   (c) the Restructuring Support Agreement shall not have been terminated and shall be in full
       force and effect; and

   (d) any Restructuring Expenses due and payable in accordance with their terms on or before
       the relevant date shall have been paid in full and in Cash.

              2.      Conditions Precedent to the Effective Date.

The Effective Date shall not occur unless all of the following conditions precedent have been
satisfied:

   (a) the Plan Supplement, including the applicable Plan Documents, has been filed;

   (b) the Plan Documents contain terms and conditions consistent in all material respects with
       the Plan and the Restructuring Support Agreement;

   (c) the Bankruptcy Court has entered the Confirmation Order in form and substance
       reasonably satisfactory to the Debtors and the Required Restructuring Support Parties and
       such Confirmation Order has not been stayed, modified, or vacated;

   (d) the Restructuring Support Agreement has not been terminated and remains in full force and
       effect and binding on all parties thereto;

   (e) the Debtors shall not be in default under the DIP Facility or any of the DIP Facility Orders
       (or, to the extent that the Debtors are in default on the proposed Effective Date, such default
       shall have been waived by the required DIP Facility Lenders or cured by the Debtors in a
       manner consistent with the DIP Facility Loan Agreement or the applicable DIP Facility
       Orders);

   (f) each of the Definitive Documents shall have satisfied the consent requirements of the
       applicable Restructuring Support Parties in accordance with the Restructuring Support
       Agreement;

   (g) all conditions precedent to the issuance of the New Common Stock, other than any
       conditions related to the occurrence of the Effective Date, shall have occurred;

   (h) all unpaid Restructuring Expenses and all amounts payable by the Debtors pursuant to the
       DIP Facility Orders and Restructuring Support Agreement (including the A&R Exit
       Facility Backstop Payment and the A&R Exit Facility Commitment Payment) shall have
       been paid in Cash;

   (i) the NCS Agreement is amended on terms or rejected pursuant to an order providing relief,
       in each case, consistent with the Restructuring Support Agreement;

   (j) the conditions to effectiveness of the Amended and Restated First Lien Credit Agreement
       have been satisfied or waived in accordance with the terms thereof, and the Amended and
       Restated First Lien Credit Agreement is in full force and effect and binding on all parties
       thereto;
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   (k) all governmental and third-party approvals and consents, including Bankruptcy Court
       approval, necessary in connection with the transactions provided for in the Plan have been
       obtained, are not subject to unfulfilled conditions, and are in full force and effect, and all
       applicable waiting periods have expired without any action having been taken by any
       competent authority that restrains, prevents, or enjoins the Restructuring Transactions; and

   (l) the Amended Certificate of Incorporation of Reorganized Catalina Topco has been filed
       with the appropriate governmental authority.

               3.      Waiver of Conditions Precedent.

   (a) Each of the conditions precedent set forth in Sections 9.1 and 9.2 of the Plan to the
       occurrence of the Effective Date may be waived in writing by the Debtors and the Required
       Restructuring Support Parties; provided, that the conditions precedent to the occurrence of
       the Effective Date in Sections 9.2(i), and (j) of the Plan may be waived by the Debtors and
       the Ad Hoc First Lien Group. If any such condition precedent is waived pursuant to Section
       9.3 of the Plan and the Effective Date occurs, each party agreeing to waive such condition
       precedent shall be estopped from withdrawing such waiver after the Effective Date or
       otherwise challenging the occurrence of the Effective Date on the basis that such condition
       was not satisfied, the waiver of such condition precedent shall benefit from the “equitable
       mootness” doctrine, and the occurrence of the Effective Date shall foreclose any ability to
       challenge the Plan in any court. If the Plan is confirmed for fewer than all of the Debtors
       as provided for in Section E.111 of the Plan, only the conditions applicable to the Debtor
       or Debtors for which the Plan is confirmed must be satisfied or waived for the Effective
       Date to occur.

   (b) The stay of the Confirmation Order pursuant to Bankruptcy Rule 3020(e) shall be deemed
       waived by and upon the entry of the Confirmation Order, and the Confirmation Order shall
       take effect immediately upon its entry.

               4.      Effect of Failure of a Condition.

If the conditions listed in Section 9.2 of the Plan are not satisfied or waived in accordance with
Section 9.3 of the Plan on or before the first Business Day that is more than seventy-five (75) days
after the date on which the Confirmation Order is entered or by such later date reasonably
acceptable to the Required Restructuring Support Parties and as set forth by the Debtors in a notice
filed with the Bankruptcy Court prior to the expiration of such period, the Plan shall be null and
void in all respects and nothing contained in the Plan or the Disclosure Statement shall
(a) constitute a waiver or release of any Claims by or against or any Interests in the Debtors,
(b) prejudice in any manner the rights of any Person, or (c) constitute an admission,
acknowledgement, offer, or undertaking by the Debtors, any of the other Restructuring Support
Parties, or any other Person.
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       J.      Effect of Confirmation.

               1.      Binding Effect.

Except as otherwise provided in section 1141(d)(3) of the Bankruptcy Code, and subject to the
occurrence of the Effective Date, on and after the entry of the Confirmation Order, the provisions
of the Plan shall bind every holder of a Claim against or Interest in any Debtor and inure to the
benefit of and be binding on such holder’s respective successors and assigns, regardless of whether
the Claim or Interest of such holder is Impaired under the Plan and whether such holder has
accepted the Plan.

               2.      Vesting of Assets.

Except as otherwise provided in the Plan, or any Plan Document, on and after the Effective Date,
all Assets of the Estates, including all claims, rights, and Causes of Action and any property
acquired by the Debtors under or in connection with the Plan, shall vest in each respective
Reorganized Debtor free and clear of all Claims, Liens, charges, other encumbrances, and
Interests. Subject to the terms of the Plan, on and after the Effective Date, the Reorganized Debtors
may operate their businesses and may use, acquire, and dispose of property and prosecute,
compromise, or settle any Claims (including any Administrative Expense Claims) and Causes of
Action without supervision of or approval by the Bankruptcy Court and free and clear of any
restrictions of the Bankruptcy Code or the Bankruptcy Rules other than restrictions expressly
imposed by the Plan or the Confirmation Order. Without limiting the foregoing, the Reorganized
Debtors may pay the charges that they incur on or after the Effective Date for Professional Persons’
fees, disbursements, expenses, or related support services without application to the Bankruptcy
Court.

               3.      Discharge of Claims against and Interests in the Debtors.

Effective as of the Effective Date: (a) the rights afforded in the Plan and the treatment of all Claims
and Interests shall be in exchange for and in complete satisfaction, discharge, and release of all
Claims and Interests of any nature whatsoever, including any interest accrued on such Claims from
and after the Petition Date, against the Debtors, the Debtors’ Estates, or the Reorganized Debtors;
(b) the Plan shall bind all holders of Claims and Interests, notwithstanding whether any such
holders failed to vote to accept or reject the Plan or voted to reject the Plan; (c) all Claims and
Interests shall be satisfied, discharged, and released in full, and the liability of the Debtors and the
Reorganized Debtors with respect thereto shall be extinguished completely, including any liability
of the kind specified under section 502(g) of the Bankruptcy Code; and (d) all entities shall be
precluded from asserting against the Debtors, the Debtors’ Estates, or the Reorganized Debtors,
any other Claims or Interests based upon any documents, instruments, or any act or omission,
transaction, or other activity of any kind or nature that occurred prior to the Effective Date.

               4.      Pre-Confirmation Injunctions and Stays.

Unless otherwise provided in the Plan, all injunctions and stays arising under or entered during the
Chapter 11 Cases, whether under sections 105 or 362 of the Bankruptcy Code or otherwise, and in
existence on the date of entry of the Confirmation Order, shall remain in full force and effect until
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the later of the Effective Date and the date indicated in the order providing for such injunction or
stay.

               5.      Injunction against Interference with Plan.

Upon the entry of the Confirmation Order, all holders of Claims and Interests and all other parties
in interest, along with their respective present and former affiliates, employees, agents, officers,
directors, and principals, shall be enjoined from taking any action to interfere with the
implementation or the occurrence of the Effective Date.

               6.      Plan Injunction.

   (a) Except as otherwise provided in the Plan, in the Plan Documents, or in the Confirmation
       Order, as of the entry of the Confirmation Order but subject to the occurrence of the
       Effective Date, all Persons who have held, hold, or may hold Claims or Interests are, with
       respect to any such Claim or Interest, permanently enjoined after the entry of the
       Confirmation Order from: (i) commencing, conducting, or continuing in any manner,
       directly or indirectly, any suit, action, or other proceeding of any kind (including, without
       limitation, any proceeding in a judicial, arbitral, administrative, or other forum) against or
       affecting, directly or indirectly, a Debtor, a Reorganized Debtor, or an Estate or the
       property of any of the foregoing, or any direct or indirect transferee of any property of, or
       direct or indirect successor in interest to, any of the foregoing Persons mentioned in this
       subsection (i) or any property of any such transferee or successor; (ii) enforcing, levying,
       attaching (including, without limitation, any prejudgment attachment), collecting, or
       otherwise recovering in any manner or by any means, whether directly or indirectly, any
       judgment, award, decree, or order against a Debtor, a Reorganized Debtor, or an Estate or
       its property, or any direct or indirect transferee of any property of, or direct or indirect
       successor in interest to, any of the foregoing Persons mentioned in this subsection (ii) or
       any property of any such transferee or successor; (iii) creating, perfecting, or otherwise
       enforcing in any manner, directly or indirectly, any encumbrance of any kind against a
       Debtor, a Reorganized Debtor, or an Estate or any of its property, or any direct or indirect
       transferee of any property of, or successor in interest to, any of the foregoing Persons
       mentioned in this subsection (iii) or any property of any such transferee or successor;
       (iv) acting or proceeding in any manner, in any place whatsoever, that does not conform to
       or comply with the provisions of the Plan, and the Plan Documents, to the full extent
       permitted by applicable law; and (v) commencing or continuing, in any manner or in any
       place, any action that does not comply with or is inconsistent with the provisions of the
       Plan and the Plan Documents; provided, that nothing contained herein shall preclude such
       Persons who have held, hold, or may hold Claims against, or Interests in, a Debtor, a
       Reorganized Debtor, or an Estate from exercising their rights and remedies, or obtaining
       benefits, pursuant to and consistent with the terms of the Plan and the Plan Documents.

   (b) By accepting distributions pursuant to the Plan, each holder of an Allowed Claim or Interest
       shall be deemed to have affirmatively and specifically consented to be bound by the Plan,
       including, without limitation, the injunctions set forth in this Section.
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           7.      Releases.

(a) Releases by the Debtors. As of the Effective Date, except for the rights and remedies that
    remain in effect from and after the Effective Date to enforce the Plan and the Plan
    Documents, for good and valuable consideration, the adequacy of which is hereby
    confirmed, including, without limitation, the service and contributions of the Released
    Parties to facilitate the reorganization of the Debtors and the implementation of the
    Restructuring, the Released Parties are deemed forever released and discharged by the
    Debtors, the Reorganized Debtors, and the Estates, in each case on behalf of themselves
    and their respective successors, assigns, and representatives and any and all other entities
    that may purport to assert any Cause of Action derivatively, by or through the foregoing
    entities, from any and all claims, interests, obligations, suits, judgments, damages,
    demands, debts, rights, Causes of Action, losses, remedies, or liabilities whatsoever,
    including any derivative claims, asserted or assertable on behalf of the Debtors, the
    Reorganized Debtors, or their Estates, whether known or unknown, foreseen or unforeseen,
    existing or hereinafter arising, in law, equity, or otherwise, that the Debtors, the
    Reorganized Debtors, or their Estates would have been legally entitled to assert in their
    own right (whether individually or collectively) or on behalf of the holder of any Claim or
    Interest or other entity, based on or relating to, or in any manner arising from, in whole or
    in part, the Debtors, the Chapter 11 Cases, the purchase, sale, or rescission of the purchase
    or sale of any Security of the Debtors or the Reorganized Debtors, the subject matter of, or
    the transactions or events giving rise to, any Claim or Interest that is treated in the Plan,
    the business or contractual arrangements between any Debtor and any Released Party, the
    Restructuring, the restructuring of any Claim or Interest before or during the Chapter 11
    Cases, the Restructuring Transactions, the DIP Facility, the Amended and Restated First
    Lien Credit Facility, the negotiation, formulation, or preparation of the Disclosure
    Statement, the Restructuring Support Agreement, and any exhibits or documents relating
    thereto, and the Plan and related agreements, instruments, and other documents (including
    the Plan Documents), the solicitation of votes with respect to the Plan, or any other act or
    omission, transaction, agreement, event, or other occurrence, or any other relief obtained
    by the Debtors in the Chapter 11 Case, other than Claims or Causes of Action arising out
    of or related to any act or omission of a Released Party that is a criminal act or constitutes
    intentional fraud.

(b) Releases by Holders of Claims and Interests. As of the Effective Date, except for the rights
    and remedies that remain in effect from and after the Effective Date to enforce the Plan
    and the Plan Documents, for good and valuable consideration, the adequacy of which is
    hereby confirmed, including, without limitation, the service of and contribution of the
    Released Parties to facilitate the reorganization of the Debtors and the implementation of
    the Restructuring, the Released Parties are deemed forever released and discharged by the
    (i) holders of all Claims and Interests who vote to accept the Plan, (ii) holders of Claims or
    Interests that are Unimpaired under the Plan, where the applicable Claims or Interests have
    been fully paid or otherwise satisfied in accordance with the Plan, (iii) holders of Claims
    or Interests whose vote to accept or reject the Plan was solicited but who did not vote either
    to accept or to reject the Plan, (iv) holders of Claims or Interests who voted to reject the
    Plan but did not opt out of granting the releases set forth herein, (v) the Restructuring
    Support Parties, (vi) the First Lien Agent, (vii) the Second Lien Agent, (viii) the DIP
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       Facility Agent, and (ix) the DIP Facility Lenders, from any and all claims, interests,
       obligations, suits, judgments, damages, demands, debts, rights, Causes of Action, losses,
       remedies, and liabilities whatsoever, including any derivative claims, asserted or assertable
       on behalf of the Debtors, whether known or unknown, foreseen or unforeseen, existing or
       hereinafter arising, in law, equity, or otherwise, that such holders or their affiliates would
       have been legally entitled to assert in their own right (whether individually or collectively)
       or on behalf of the holder of any Claim or Interest or other entity, based on or relating to,
       or in any manner arising from, in whole or in part, the Debtors, the Chapter 11 Cases, the
       purchase, sale, or rescission of the purchase or sale of any Security of the Debtors or the
       Reorganized Debtors, the subject matter of, or the transactions or events giving rise to, any
       Claim or Interest that is treated in the Plan, the business or contractual arrangements
       between any Debtor and any Released Party, the Restructuring, the restructuring of any
       Claim or Interest before or during the Chapter 11 Cases, the Restructuring Transactions,
       the DIP Facility, the Amended and Restated First Lien Credit Facility, the negotiation,
       formulation, or preparation of the Disclosure Statement, the Restructuring Support
       Agreement and any exhibits or documents relating thereto, the Plan and related agreements,
       instruments, and other documents (including the Plan Documents), the solicitation of votes
       with respect to the Plan, or any other act or omission, or any other relief obtained by the
       Debtors in the Chapter 11 Case, other than Claims or Causes of Action arising out of or
       related to any act or omission of a Released Party that is a criminal act or constitutes
       intentional fraud, gross negligence, or willful misconduct; provided, that solely for
       purposes of Section 10.7(b) of the Plan, the Berkshire Funds shall be excluded from the
       definition of Released Party if they have not executed the Restructuring Support
       Agreement on or before the deadline established in the Plan for filing the Plan Supplement
       and become a Consenting Sponsor.

               8.      Exculpation.

To the extent permitted by applicable law, no Exculpated Party shall have or incur, and each
Exculpated Party is hereby released and exculpated from, any Claim, Interest, obligation, suit,
judgment, damage, demand, debt, right, Cause of Action, loss, remedy, or liability for any claim
in connection with or arising out of the administration of the Chapter 11 Cases; the negotiation
and pursuit of the DIP Facility, the Amended and Restated First Lien Credit Facility, the
Management Incentive Plan, the Disclosure Statement, the Restructuring Support Agreement, the
Restructuring Transactions, and the Plan (including the Plan Documents), or the solicitation of
votes for, or confirmation of, the Plan; the funding of the Plan; the occurrence of the Effective
Date; the administration of the Plan or the property to be distributed under the Plan; the issuance
of Securities under or in connection with the Plan; or the transactions in furtherance of any of the
foregoing; except for intentional fraud, gross negligence, or willful misconduct, but in all respects
such entities shall be entitled to reasonably rely upon the advice of counsel with respect to their
duties and responsibilities pursuant to the Plan. The Exculpated Parties and each of their respective
affiliates, agents, directors, officers, employees, advisors, and attorneys have acted in compliance
with the applicable provisions of the Bankruptcy Code with regard to the solicitation and
distribution of Securities pursuant to the Plan and, therefore, are not, and on account of such
distributions shall not be, liable at any time for the violation of any applicable law, rule, or
regulation governing the solicitation of acceptances or rejections of the Plan or such distributions
made pursuant to the Plan, including the issuance of Securities thereunder. This exculpation shall
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be in addition to, and not in limitation of, all other releases, indemnities, exculpations, and any
other applicable law or rules protecting such Exculpated Parties from liability.

               9.      Injunction Related to Releases and Exculpation.

From and after the Effective Date, all entities are permanently enjoined from commencing or
continuing in any manner, any suit, action, or other proceeding, on account of or respecting any
Claim, demand, liability, obligation, debt, right, Cause of Action, Interest, or remedy released or
to be released pursuant to the Plan or the Confirmation Order.

               10.     Subordinated Claims.

The allowance, classification, and treatment of all Allowed Claims and Interests and the respective
distributions and treatments thereof under the Plan take into account and conform to the relative
priority and rights of the Claims and Interest in each Class in connection with any contractual,
legal, and equitable subordination rights relating thereto (including, the Intercreditor Agreement),
whether arising under general principles of equitable subordination, sections 510(a), 510(b), or
510(c) of the Bankruptcy Code, or otherwise. Pursuant to section 510 of the Bankruptcy Code,
the Debtors reserve the right to reclassify any Allowed Claim or Interest in accordance with any
contractual, legal, or equitable subordination relating thereto.

               11.     Retention of Causes of Action and Reservation of Rights.

Except as otherwise provided in the Plan, including, without limitation, Sections 10.5, 10.6, 10.7,
10.8 and 10.9 of the Plan nothing contained in the Plan or the Confirmation Order shall be deemed
to be a waiver or relinquishment of any rights, claims, Causes of Action, rights of setoff or
recoupment, or other legal or equitable defenses that the Debtors had immediately prior to the
Effective Date on behalf of the Estates or of themselves in accordance with any provision of the
Bankruptcy Code or any applicable nonbankruptcy law, including, but not limited to, rights,
claims, Causes of Action, rights of setoff, offset, recoupment or other legal or equitable defenses
against any holder of Existing Equity Interests that arise on account of such holders’ objection to,
or support of, and objection to the Plan. The Reorganized Debtors shall have, retain, reserve, and
be entitled to assert all such claims, Causes of Action, rights of setoff or recoupment, and other
legal or equitable defenses, including any actions specifically enumerated in the Plan Supplement,
as fully as if the Chapter 11 Cases had not been commenced, and all of the Debtors’ legal and
equitable rights in respect of any Unimpaired Claim may be asserted after the Confirmation Date
and Effective Date to the same extent as if the Chapter 11 Cases had not been commenced.

               12.     Ipso Facto and Similar Provisions Ineffective.

Except as otherwise agreed by the Required Restructuring Support Parties, any term of any
prepetition policy, prepetition contract, or other prepetition obligation applicable to a Debtor shall
be void and of no further force or effect with respect to any Debtor to the extent that such policy,
contract, or other obligation is conditioned on, creates an obligation of the Debtor as a result of, or
gives rise to a right of any entity based on any of the following: (a) the insolvency or financial
condition of a Debtor or (b) the commencement of the Chapter 11 Cases.
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               13.     Reimbursement or Contribution.

Subject to Section 10.15 of the Plan, if the Bankruptcy Court disallows a Claim for reimbursement
or contribution of a Person pursuant to section 502(e)(1)(B) of the Bankruptcy Code, then to the
extent that such Claim is contingent as of the Effective Date, such Claim shall be forever
disallowed notwithstanding section 502(j) of the Bankruptcy Code, unless prior to the Effective
Date (a) such Claim has been adjudicated as noncontingent, or (b) the relevant holder of a Claim
has filed a noncontingent Proof of Claim on account of such Claim and a Final Order has been
entered determining such Claim as no longer contingent.

               14.     Recoupment.

In no event shall any holder of a Claim be entitled to recoup such Claim against any Claim, right,
or Cause of Action of the Debtors or the Reorganized Debtors, as applicable, unless such holder
actually has performed such recoupment and provided notice thereof in writing to the Debtors on
or before the Confirmation Date, notwithstanding any indication in any Proof of Claim or
otherwise that such holder asserts, has, or intends to preserve any right of recoupment.

               15.     Indemnification.

For purposes of the Plan, (a) the obligations of the Debtors to indemnify and reimburse their
directors or officers that were directors or officers, respectively, on or subsequent to the Petition
Date shall be assumed by the Reorganized Debtors and (b) indemnification obligations of the
Debtors arising from services as officers and directors during the period from and after the Petition
Date shall be Administrative Expense Claims. In addition, after the Effective Date, the
Reorganized Debtors shall not terminate or otherwise reduce the coverage under any directors’
and officers’ insurance policies (including any “tail policy”) in effect as of the Petition Date, and
all members, managers, directors and officers of the Debtors who served in such capacity at any
time prior to the Effective Date shall be entitled to the full benefits of any such policy for the full
term of such policy regardless of whether such members, managers, directors, and/or officers
remain in such positions after the Effective Date.

               16.     Retention of Jurisdiction.

Pursuant to sections 105(c) and 1142 of the Bankruptcy Code and notwithstanding entry of the
Confirmation Order and the occurrence of the Effective Date, on and after the Effective Date, the
Bankruptcy Court shall retain exclusive jurisdiction, pursuant to 28 U.S.C. §§ 1334 and 157, over
all matters arising in or related to the Chapter 11 Cases for, among other things, the following
purposes:

   (a) to hear and determine applications for the assumption or rejection of executory contracts
       or unexpired leases and any disputes over Cure Amounts resulting therefrom;

   (b) to determine any motion, adversary proceeding, application, contested matter, and other
       litigated matter pending on or commenced after the entry of the Confirmation Order;
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(c) to hear and resolve any disputes arising from or related to (i) any orders of the Bankruptcy
    Court granting relief under Bankruptcy Rule 2004 or (ii) any protective orders entered by
    the Bankruptcy Court in connection with the foregoing;

(d) to ensure that distributions to holders of Allowed Claims are accomplished as provided in
    the Plan and the Confirmation Order;

(e) to consider Claims or the allowance, classification, priority, compromise, estimation, or
    payment of any Claim, including any Administrative Expense Claim;

(f) to enter, implement, or enforce such orders as may be appropriate in the event that the
    Confirmation Order is for any reason stayed, reversed, revoked, modified, or vacated;

(g) to issue and enforce injunctions, enter and implement other orders, and take such other
    actions as may be necessary or appropriate to restrain interference by any Person or other
    entity with the consummation, implementation, or enforcement of the Plan, the
    Confirmation Order, or any other order of the Bankruptcy Court;

(h) to hear and determine any application to modify the Plan in accordance with section 1127
    of the Bankruptcy Code to remedy any defect or omission or reconcile any inconsistency
    in the Plan, the Disclosure Statement, or any order of the Bankruptcy Court, including the
    Confirmation Order, in such a manner as may be necessary to carry out the purposes and
    effects thereof;

(i) to hear and determine all Fee Claims;

(j) to resolve disputes concerning any reserves with respect to Disputed Claims or the
    administration thereof;

(k) to hear and determine disputes arising in connection with the interpretation,
    implementation, or enforcement of the Plan, the Confirmation Order, any transactions or
    payments in furtherance of either, or any agreement, instrument, or other document
    governing or related to any of the foregoing;

(l) to take any action and issue such orders, including any such action or orders as may be
    necessary after entry of the Confirmation Order or the occurrence of the Effective Date, as
    may be necessary to construe, enforce, implement, execute, and consummate the Plan,
    including any release, exculpation, or injunction provisions set forth in the Plan, or to
    maintain the integrity of the Plan following the occurrence of the Effective Date;

(m) to determine such other matters and for such other purposes as may be provided in the
    Confirmation Order;

(n) to hear and determine matters concerning state, local, and federal taxes in accordance with
    sections 346, 505, and 1146 of the Bankruptcy Code;

(o) to hear and determine any other matters related to the Chapter 11 Cases and not inconsistent
    with the Bankruptcy Code or title 28 of the United States Code;
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   (p) to resolve any disputes concerning whether a Person or entity had sufficient notice of the
       Chapter 11 Cases, the Disclosure Statement, any solicitation conducted in connection with
       the Chapter 11 Cases, any bar date established in the Chapter 11 Cases, or any deadline for
       responding or objecting to a Cure Amount, in each case, for the purpose for determining
       whether a Claim or Interest is discharged hereunder or for any other purpose;

   (q) to recover all Assets of the Debtors and property of the Estates, wherever located; and

   (r) to enter a final decree closing each of the Chapter 11 Cases; provided that, on and after the
       Effective Date and after the consummation of the following agreements or documents, the
       Bankruptcy Court shall not retain jurisdiction over matters arising out of or related to each
       of the A&R Exit Facility, the Amended and Restated First Lien Credit Agreement,
       Amended By-Laws, and Amended Certificate of Incorporation and the A&R Exit Facility,
       the Amended and Restated First Lien Credit Agreement, Amended By-Laws, Amended
       Certificate of Incorporation, and New Stockholders’ Agreement shall be governed by the
       respective jurisdictional provisions therein.

       K.      Miscellaneous Provisions

               1.      Exemption from Certain Transfer Taxes.

Pursuant to section 1146 of the Bankruptcy Code, (a) the issuance, transfer or exchange of any
securities, instruments or documents, (b) the creation of any Lien, mortgage, deed of trust or other
security interest, (c) all sale transactions consummated by the Debtors and approved by the
Bankruptcy Court on and after the Confirmation Date through and including the Effective Date,
including any transfers effectuated under the Plan, (d) any assumption, assignment, or sale by the
Debtors of their interests in unexpired leases of nonresidential real property or executory contracts
pursuant to section 365(a) of the Bankruptcy Code, (e) the grant of collateral under the Amended
and Restated First Lien Credit Agreement, and (f) the issuance, renewal, modification or securing
of indebtedness by such means, and the making, delivery or recording of any deed or other
instrument of transfer under, in furtherance of, or in connection with, the Plan, including, without
limitation, the Confirmation Order, shall not be subject to any document recording tax, stamp tax,
conveyance fee or other similar tax, mortgage tax, real estate transfer tax, mortgage recording tax,
Uniform Commercial Code filing or recording fee, regulatory filing or recording fee, sales tax, use
tax or other similar tax or governmental assessment. Consistent with the foregoing, each recorder
of deeds or similar official for any county, city or governmental unit in which any instrument
hereunder is to be recorded shall, pursuant to the Confirmation Order, be ordered and directed to
accept such instrument without requiring the payment of any filing fees, documentary stamp tax,
deed stamps, stamp tax, transfer tax, intangible tax or similar tax.

               2.      Dates of Actions to Implement the Plan.

In the event that any payment or act under the Plan is required to be made or performed on a date
that is not a Business Day, then the making of such payment or the performance of such act may
be completed on or as soon as reasonably practicable after the next succeeding Business Day but
shall be deemed to have been completed as of the required date.
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               3.      Amendments.

   (a) Plan Modifications. The Plan may be amended, modified, or supplemented by the Debtors
       in the manner provided for by section 1127 of the Bankruptcy Code or as otherwise
       permitted by law, without additional disclosure pursuant to section 1125 of the Bankruptcy
       Code, except as otherwise ordered by the Bankruptcy Court. In addition, after the
       Confirmation Date, so long as such action does not materially and adversely affect the
       treatment of holders of Allowed Claims pursuant to the Plan, the Debtors, with the consent
       of the Required Restructuring Support Parties, may remedy any defect or omission or
       reconcile any inconsistencies in the Plan or the Confirmation Order with respect to such
       matters as may be necessary to carry out the purposes of effects of the Plan, and any holder
       of a Claim or Interest that has accepted the Plan shall be deemed to have accepted the Plan
       as amended, modified, or supplemented.

   (b) Certain Technical Amendments. Consistent with the Restructuring Support Agreement
       and the consent rights granted thereunder, prior to the Effective Date, the Debtors may
       make appropriate technical adjustments and modifications to the Plan without further order
       or approval of the Bankruptcy Court; provided, that such technical adjustments and
       modifications do not adversely affect in a material way the treatment of holders of Claims
       or Interests under the Plan.

               4.      Revocation or Withdrawal of Plan.

The Debtors reserve the right to revoke or withdraw the Plan prior to the Effective Date as to any
or all of the Debtors. If, with respect to a Debtor, the Plan has been revoked or withdrawn prior to
the Effective Date, or if confirmation or the occurrence of the Effective Date as to such Debtor
does not occur on the Effective Date, then, with respect to such Debtor: (a) the Plan shall be null
and void in all respects; (b) any settlement or compromise embodied in the Plan (including the
fixing or limiting to an amount any Claim or Interest or Class of Claims or Interests), assumption
or rejection of executory contracts or unexpired leases affected by the Plan, and any document or
agreement executed pursuant to the Plan shall be deemed null and void; and (c) nothing contained
in the Plan shall (i) constitute a waiver or release of any Claim by or against, or any Interest in,
such Debtor or any other Person; (ii) prejudice in any manner the rights of such Debtor or any
other Person; or (iii) constitute an admission of any sort by any Debtor or any other Person. For
the avoidance of doubt, Section 12.4 of the Plan shall not impact or abridge any of the rights of
the Restructuring Support Parties pursuant to or set forth in the Restructuring Support Agreement.

               5.      Non-Severability.

Subject to Section 5.11 of the Plan, if, prior to the entry of the Confirmation Order, any term or
provision of the Plan is held by the Bankruptcy Court to be invalid, void, or unenforceable, the
Bankruptcy Court, at the request of the Debtors, shall have the power to alter and interpret such
term or provision to make it valid or enforceable to the maximum extent practicable, consistent
with the original purpose of the term or provision held to be invalid, void, or unenforceable, and
such term or provision shall then be applicable as altered or interpreted. Notwithstanding any such
holding, alteration, or interpretation by the Bankruptcy Court, the remainder of the terms and
provisions of the Plan shall remain in full force and effect and shall in no way be affected, impaired,
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or invalidated by such holding, alteration, or interpretation. The Confirmation Order shall
constitute a judicial determination and shall provide that each term and provision of the Plan, as it
may have been altered or interpreted in accordance with this Section, is (a) valid and enforceable
pursuant to its terms, (b) integral to the Plan and may not be deleted or modified without the
consent of the Debtors or the Reorganized Debtors (as the case may be), and (c) nonseverable and
mutually dependent.

               6.      Governing Law.

Except to the extent that the Bankruptcy Code or other federal law is applicable or to the extent
that a Plan Document provides otherwise, the rights, duties, and obligations arising under the Plan
and the Plan Documents shall be governed by, and construed and enforced in accordance with, the
internal laws of the State of New York, without giving effect to the principles of conflicts of laws
thereof (other than section 5-1401 and section 5-1402 of the New York General Obligations Law);
provided, however, that corporate or limited liability company governance matters relating to the
Debtors or the Reorganized Debtors, as applicable, shall be governed by the laws of the state of
incorporation or formation (as applicable) of the applicable Debtor or Reorganized Debtor.

               7.      Substantial Consummation of the Plan.

On the Effective Date, the Plan shall be deemed to be substantially consummated under sections
1101 and 1127(b) of the Bankruptcy Code.

               8.      Immediate Binding Effect.

Notwithstanding Bankruptcy Rules 3020(e), 6004(h), 7062, or otherwise, upon the occurrence of
the Effective Date, the terms of the Plan and the Plan Documents shall be immediately effective
and enforceable and deemed binding upon and inure to the benefit of the Debtors, the Reorganized
Debtors, the holders of Claims and Interests, the Released Parties, and each of their respective
successors and assigns.

               9.      Successors and Assigns.

The rights, benefits, and obligations of any entity named or referred to in the Plan shall be binding
on and shall inure to the benefit of any heir, executor, administrator, successor, or permitted assign,
if any, of each such entity.

               10.     Entire Agreement.

On the Effective Date, the Plan, the Plan Supplement, and the Confirmation Order shall supersede
all previous and contemporaneous negotiations, promises, covenants, agreements, understandings,
and representations on such subjects, all of which have become merged and integrated into the
Plan.
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              11.       Computing Time.

In computing any period of time prescribed or allowed by the Plan, unless otherwise set forth in
the Plan or determined by the Bankruptcy Court, the provisions of Bankruptcy Rule 9006 shall
apply.

              12.       Exhibits to Plan.

All exhibits, schedules, supplements, and appendices to the Plan (including the Plan Supplement)
are incorporated into and are a part of the Plan as if set forth in full herein.

              13.       Deemed Act.

Subject to and conditioned on the occurrence of the Effective Date, whenever an act or event is
expressed under the Plan to have been deemed done or to have occurred, it shall be deemed to have
been done or to have occurred without any further act by any party, by virtue of the Plan and the
Confirmation Order.

              14.       Notices.

All notices, requests, and demands to or upon the Debtors or Reorganized Debtors, as applicable,
shall be in writing (including by facsimile transmission) and, unless otherwise provided herein,
shall be deemed to have been duly given or made only when actually delivered or, in the case of
notice by facsimile transmission, when received and telephonically confirmed, addressed as
follows:

              Catalina Marketing Corporation
              200 Carillon Pkwy
              St. Petersburg, FL 33716
              Telephone: (877) 210-1917
              Facsimile: (727) 556-2700
              Attn: David Glogoff, Esq.

              – and –

              Richards, Layton & Finger, P.A.
              One Rodney Square
              920 North King Street
              Wilmington, Delaware 19801
              Attn: Mark D. Collins, Esq. and Jason M. Madron, Esq.
              Telephone: (302) 651-7700
              Facsimile: (302) 651-7701

              Attorneys for the Debtors

              – and –

              Weil, Gotshal & Manges LLP
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               767 Fifth Avenue
               New York, New York 10153
               Attn: Gary T. Holtzer, Esq. and Ronit J. Berkovich, Esq.
               Telephone: (212) 310-8000
               Facsimile: (212) 310-8007

               Attorneys for the Debtors

Any pleading, notice or other document required by this Plan to be served on or delivered shall be
served by first class or overnight mail:

If to the Ad Hoc First Lien Group:

               Jones Day
               250 Vesey Street
               New York, New York 10281
               Attn: Scott Greenberg
               Telephone: (212) 326-3939
               Facsimile: (212) 755-7306
               E-mail: sgreenberg@jonesday.com

If to the Ad Hoc Second Lien Group:

               Paul, Weiss, Rifkind, Wharton & Garrison LLP
               1285 Avenue of the Americas
               New York, NY 10019-6064
               Attention: Brian S. Hermann, Robert A. Britton, and Dan Youngblut
               Telephone: (212) 373-3000
               Fax: (212) 492-0545
               E-mail:bhermann@paulweiss.com
                      rbritton@paulweiss.com
                      dyoungblut@paulweiss.com

After the occurrence of the Effective Date, the Reorganized Debtors have authority to send a notice
to entities that to continue to receive documents pursuant to Bankruptcy Rule 2002, such entities
must file a renewed request to receive documents pursuant to Bankruptcy Rule 2002; provided,
that the U.S. Trustee need not file such a renewed request and shall continue to receive documents
without any further action being necessary. After the occurrence of the Effective Date, the
Reorganized Debtors are authorized to limit the list of entities receiving documents pursuant to
Bankruptcy Rule 2002 to the U.S. Trustee and those entities that have filed such renewed requests.

                                       VI.
                          ALTERNATIVES TO CONFIRMATION
                          AND CONSUMMATION OF THE PLAN

The Plan reflects a consensus among the Debtors, the Consenting First Lien Lenders, and the
Consenting Second Lien Lenders. The Debtors have determined that the Plan is the best alternative
available for their successful emergence from chapter 11. If the Plan is not confirmed and
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consummated, the alternatives to the Plan are (A) continuation of the Chapter 11 Cases, which
could lead to the filing of an alternative plan of reorganization, or a sale of some or all of the
Debtors’ assets pursuant to section 363 of the Bankruptcy Code, or (B) a liquidation under chapter
7 of the Bankruptcy Code.

       A.      Continuation of the Chapter 11 Cases

If the Plan is not confirmed, the Debtors (or, if the Debtors’ exclusive period in which to file a
plan of reorganization has expired, any other party in interest) could attempt to formulate a
different plan. Such a plan might involve either a reorganization and continuation of the Debtors’
business, or an orderly liquidation of their assets. In addition if the Plan is not confirmed under
the terms of the Restructuring Support Agreement, the Restructuring Support Parties have the right
to terminate the RSA and all obligations thereunder.

Alternatively, if the Plan is not confirmed, the Debtors could seek from the Bankruptcy Court,
after notice and a hearing, authorization to sell all of their assets under section 363 of the
Bankruptcy Code. Holders of Claims in Class 3 (First Lien Debt Claims) and Class 4 (Second
Lien Debt Claims) would be entitled to credit bid on any property to which their security interest
attaches to the extent of the value of such security interest, and to offset their Claims against the
purchase price of the property, subject to the Second Lien Intercreditor Agreement. In addition,
the security interests in the Debtors’ assets held by holders of Secured Claims would attach to the
proceeds of any sale of the Debtors’ assets to the extent of their secured interests therein. Upon
analysis and consideration of this alternative, the Debtors do not believe a sale of their assets under
section 363 of the Bankruptcy Code would yield a higher recovery for holders of Claims than what
they would receive under the Plan.

       B.      Liquidation under Chapter 7

If no plan can be confirmed, the Chapter 11 Cases may be converted to cases under chapter 7 of
the Bankruptcy Code in which a trustee would be elected or appointed to liquidate the assets of
the Debtors for distribution to their creditors in accordance with the priorities established by the
Bankruptcy Code. The effect a chapter 7 liquidation would have on the recovery of holders of
allowed Claims and Interests is set forth in the Liquidation Analysis attached hereto as Exhibit C.

As demonstrated in the Liquidation Analysis, the Debtors believe that liquidation under chapter 7
would result in smaller distributions to creditors than those provided for in the Plan because of,
among other things, the delay resulting from the conversion of the Chapter 11 Cases to cases under
chapter 7, the additional administrative expenses associated with the appointment of a trustee and
the trustee’s retention of professionals, and the loss in value attributable to an expeditious
liquidation of the Debtors’ assets as required by chapter 7. As set forth in the Liquidation Analysis,
in a liquidation scenario under chapter 7 the General Unsecured Creditors would receive no
distribution on account of their Claims.
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                                   VII.
                        TRANSFER RESTRICTIONS AND
                 CONSEQUENCES UNDER FEDERAL SECURITIES LAW

The Solicitation is being made before the Petition Date only to holders of First Lien Debt Claims
and Second Lien Debt Claims who are “accredited investors” within the meaning of Rule 501(a)
of Regulation D of the Securities Act or to “Qualified Institutional Buyers” (as defined in rule
144(a) of the Securities Act), “Institutional Accredited Investors” (within the meaning of rule
501(a) of Regulation D of the Securities Act), or non “U.S. Persons” (as defined in Regulation S
of the Securities Act), in each case, under Section 4(a)(2) of the Securities Act.

The issuance and the distribution under the Plan of the New Common Stock issued to holders of
Class 3 and Class 4 Claims shall be exempt from registration under the Securities Act and any
other applicable securities laws pursuant to section 1145 of the Bankruptcy Code.

Section 1145 of the Bankruptcy Code generally exempts from registration under the Securities Act
the offer or sale pursuant to a chapter 11 plan of a security of the debtor, of an affiliate participating
in a joint plan with the debtor, or of a successor to the debtor under a plan, if such securities are
offered or sold in exchange for a claim (including a claim for an administrative expense) against,
or an interest in, the debtor or such affiliate, or principally in such exchange and partly for cash.
Section 1145 of the Bankruptcy Code also exempts from registration the offer of a security through
any right to subscribe sold in the manner provided in the prior sentence, and the sale of a security
upon the exercise of such right. In reliance upon this exemption, the New Common Stock issued
to holders of Class 3 and Class 4 Claims generally will be exempt from the registration
requirements of the Securities Act, and state and local securities laws. These securities may be
resold without registration under the Securities Act or other federal or state securities laws pursuant
to the exemption provided by Section 4(a)(1) of the Securities Act, unless the holder is an
“underwriter” with respect to such securities, as that term is defined in section 1145(b) of the
Bankruptcy Code. In addition, such section 1145 exempt securities generally may be resold
without registration under state securities laws pursuant to various exemptions provided by the
respective laws of the several states.

Under Section 1145(b) of the Bankruptcy Code an “underwriter” for purposes of the Securities
Act is one who, except with respect to ordinary trading transactions, (a) purchases a claim against
the debtor with a view to distribution of any security to be received in exchange for the claim,
(b) offers to sell securities issued under a chapter 11 plan for the holders of such securities,
(c) offers to buy securities issued under a chapter 11 plan from persons receiving such securities,
if the offer to buy is made with a view to distribution or (d) is an issuer, as used in Section 2(a)(11)
of the Securities Act, with respect to such securities, which includes control persons of the issuer.

Resales of New Common Stock by holders deemed to be “underwriters” (which includes
controlling persons of the issuer) are not exempted by Section 1145 of the Bankruptcy Code from
registration under the Securities Act or other applicable law, even though such securities are not
“restricted” securities. Under certain circumstances, holders of New Common Stock who are
deemed to be “underwriters” may be entitled to resell their New Common Stock pursuant to the
limited safe harbor resale provisions of Rule 144 of the Securities Act. Generally, Rule 144 of the
Securities Act would permit the public sale of securities received by such person if the required
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holding period has been met and, under certain circumstances, current information regarding the
issuer is publicly available and volume limitations, manner of sale requirements and certain other
conditions are met. Whether any particular person would be deemed to be an “underwriter”
(including whether the person is a control person of the issuer) with respect to the New Common
Stock would depend upon various facts and circumstances applicable to that person. Parties who
believe they may be statutory “underwriters” as defined in section 1145 of the Bankruptcy Code
are advised to consult with their own legal advisors as to the availability of the exemption provided
by Rule 144.

In any case, recipients of New Common Stock issued under the Plan are advised to consult with
their own legal advisors as to the availability of any such exemption from registration under state
law in any given instance and as to any applicable requirements or conditions to such availability.

Upon the Effective Date of the Plan, the New Common Stock will not be publicly traded or listed
on any national securities exchange. Accordingly, no assurance can be given that a holder of such
securities will be able to sell such securities in the future or as to the price at which any sale may
occur.

Legends. To the extent certificated, certificates evidencing the New Common Stock held by
holders of 10% or more of the outstanding New Common Stock, or who are otherwise underwriters
as defined in Section 1145(b) of the Bankruptcy Code, will bear a legend substantially in the form
below:

THE SECURITIES REPRESENTED BY THIS CERTIFICATE HAVE NOT BEEN
REGISTERED UNDER THE SECURITIES ACT OF 1933, AS AMENDED (THE
“SECURITIES ACT”), OR UNDER THE SECURITIES LAWS OF ANY STATE OR OTHER
JURISDICTION AND MAY NOT BE SOLD, OFFERED FOR SALE OR OTHERWISE
TRANSFERRED UNLESS REGISTERED IN ACCORDANCE WITH THE REGISTRATION
REQUIREMENTS OF THE SECURITIES ACT AND APPLICABLE STATE SECURITIES
LAWS OR AN AVAILABLE EXEMPTION FROM REGISTRATION THEREUNDER AND,
IN EACH CASE, IN COMPLIANCE WITH APPLICABLE FEDERAL AND STATE
SECURITIES LAWS.

                                 VIII.
      CERTAIN U.S. FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN

The following discussion summarizes certain U.S. federal income tax consequences of the
implementation of the Plan to the Debtors and to certain holders of Allowed First Lien Debt Claims
and Allowed Second Lien Debt Claims. This discussion does not address the U.S. federal income
tax consequences to holders of Claims or Interests who are Unimpaired or otherwise entitled to
payment in full in Cash under the Plan or who are deemed to reject the Plan.

The discussion of U.S. federal income tax consequences below is based on the U.S. Internal
Revenue Code of 1986, as amended (the “Tax Code”), Treasury Regulations, judicial authorities,
published positions of the Internal Revenue Service (“IRS”), and other applicable authorities, all
as in effect on the date of this Disclosure Statement and all of which are subject to change or
differing interpretations (possibly with retroactive effect). The U.S. federal income tax
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consequences of the contemplated transactions are complex and subject to significant
uncertainties. The Debtors have not requested an opinion of counsel or a ruling from the IRS with
respect to any of the tax aspects of the contemplated transactions.

This summary does not address foreign, state, or local tax consequences of the contemplated
transactions, nor does it purport to address the U.S. federal income tax consequences of the
transactions to special classes of taxpayers (e.g., foreign taxpayers, small business investment
companies, regulated investment companies, real estate investment trusts, banks and certain other
financial institutions, insurance companies, tax-exempt organizations, retirement plans, individual
retirement and other tax-deferred accounts, holders that are, or hold Claims through, S
corporations, partnerships or other pass-through entities for U.S. federal income tax purposes,
persons whose functional currency is not the U.S. dollar, dealers in securities or foreign currency,
traders that mark-to-market their securities, persons subject to the alternative minimum tax or the
“Medicare” tax on unearned income, persons who use the accrual method of accounting and report
income on an “applicable financial statement,” and persons holding Claims that are part of a
straddle, hedging, constructive sale, or conversion transaction). In addition, this discussion does
not address U.S. federal taxes other than income taxes.

This discussion assumes that Allowed First Lien Debt Claims and Allowed Second Lien Debt
Claims are held as “capital assets” (generally, property held for investment) within the meaning of
section 1221 of the Tax Code and that the various debt and other arrangements to which the
Debtors are parties will be respected for U.S. federal income tax purposes in accordance with their
form.

In addition, the Debtors continue to evaluate the manner in which to implement the
Restructuring and, in the event the Restructuring Transactions differ from those described
below, the U.S. federal income tax consequences could be materially different.

The following summary of certain U.S. federal income tax consequences is for informational
purposes only and is not a substitute for careful tax planning and advice based upon your
individual circumstances. Each holder of a Claim or Existing Equity Interest is urged to consult
your own tax advisor for the U.S. federal, state, local and other tax consequences applicable
under the Plan.

       A.    Consequences to Debtors

For U.S. federal income tax purposes, the Debtors are members of an affiliated group of
corporations (or are disregarded entities all of whose income, losses and deductions are taken into
account by a member of the group) of which Catalina Parent is the common parent (the “PDM
Group”), which files a single consolidated U.S. federal income tax return. The Debtors have
estimated that, for U.S. federal income tax purposes, the PDM Group had consolidated net
operating loss (“NOL”) carryforwards of approximately $145 million as of the Petition Date (a
substantial portion of which is subject to existing limitations) and a substantial amount of
disallowed business interest under section 163(j) of the Tax Code. The amount of any such NOL
carryforwards and other tax attributes, and the extent to which any limitations apply, remain
subject to audit and adjustment by the IRS.
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As discussed below, in connection with the implementation of the Plan, it is anticipated that the
Debtors’ NOL carryforwards and certain other tax attributes will be significantly reduced or
eliminated. Pursuant to the Plan, either (i) the common stock of reorganized Catalina Marketing
Corporation (“CMC”) will be distributed by CHC directly to its creditors as provided in the Plan
or (ii) as determined by the Debtors (with the consent of the Ad Hoc First Lien Group and the Ad
Hoc Second Lien Group), CMC will be acquired by a newly formed, unrelated group of
corporations in accordance with an Acquisition Agreement (between CHC and an indirect wholly-
owned corporation within such group) and the Plan in consideration for all of the common stock
of the holding company of the acquiring group (defined in the Plan as the “CMC Acquisition”),
and the holding company stock will instead be distributed by CHC. If the CMC Acquisition
occurs, such acquisition would be accomplished either by a straight transfer of the common stock
of Reorganized CMC to or by a merger of CMC with an indirect subsidiary of the acquiring group,
as determined by the Debtors with consent of the Ad Hoc First Lien Group and Ad Hoc Second
Lien Group. Depending on the method chosen and possibly certain tax elections, the acquisition
of CMC by the acquiring group may be treated as a taxable sale of the underlying assets of CMC
and certain of its subsidiaries, subject to all of the liabilities of such companies as restructured
pursuant to the Plan (herein referred to herein as an “Asset Sale Transaction”). Such treatment
may, under certain circumstances, require the parties to make an election under section 338(h)(10)
of the Tax Code in order to qualify as an Asset Sale Transaction. In such event, the acquiring
group generally would have up to 8-1/2 months after the Effective Date of the Plan to determine
if treatment of the acquisition as an Asset Sale Transaction is desirable. In the event an Asset Sale
Transaction occurs, the Debtors expect that Reorganized CMC and certain of its subsidiaries will
obtain a fair market value tax basis in their assets, but will not carryover any of the Debtors’ NOLs
or other tax attributes.

Regardless of whether the Debtors engage in an Asset Sale Transaction, Catalina Parent, PDM
Intermediate Holdings A Corporation, PDM Intermediate Holdings B Corporation, PDM Holdings
Corporation and CHC will be dissolved pursuant to the Plan after the Effective Date.

           1.     Cancellation of Debt

In general, the Tax Code provides that a debtor in a bankruptcy case must reduce certain of its tax
attributes — such as NOL carryforwards and current year NOLs, capital loss carryforwards, certain
tax credits, and tax basis in assets — by the amount of any cancellation of debt (“COD”) incurred
pursuant to a confirmed chapter 11 plan. It is unclear whether carryover of disallowed business
interest expense would be a tax attribute subject to such reduction. In applying the attribute
reduction rule to the tax basis in assets, the tax law limits the reduction in tax basis to the amount
by which the tax basis exceeds the debtor’s post-emergence liabilities. The amount of COD
incurred is generally the amount by which the indebtedness discharged exceeds the value of any
consideration given in exchange therefor. Certain statutory or judicial exceptions may apply to
limit the amount of COD incurred for U.S. federal income tax purposes. If advantageous, the
debtor can elect to reduce the basis of depreciable property prior to any reduction in its NOL
carryforwards or other tax attributes. Where the debtor joins in the filing of a consolidated U.S.
federal income tax return, applicable Treasury Regulations require, in certain circumstances, that
the tax attributes of the consolidated subsidiaries of the debtor and other members of the group
must also be reduced. Any reduction in tax attributes in respect of COD generally does not occur
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until after the determination of the debtor’s net income or loss for the taxable year in which the
COD is incurred.

The Debtors expect to incur a substantial amount of COD as a result of the implementation of the
Plan. The amount of such COD and resulting tax attribute reduction will depend primarily on the
fair market value of the New Common Stock and the amount of Cash distributed to holders of
Claims pursuant to the Plan. The Debtors expect that the consolidated NOL carryforwards will be
significantly reduced or eliminated, but do not expect any material reduction (if any) in the tax
basis of the assets of CMC and its subsidiaries. However, the aggregate amount of such tax basis
is significantly less than the mid-point enterprise value of $595 million. See section XII, Valuation
Analysis. In the event the Debtors engage in an Asset Sale Transaction, any gain or loss in respect
of such transaction would be taken into account prior to the reduction in the Debtors’ tax attributes
as a result of any COD incurred. Any remaining NOLs or other tax attributes of dissolving Debtors
(including any losses recognized as a result of the sale) will be eliminated by reason of the attribute
reduction and the liquidation of such Debtors for U.S. federal income tax purposes.

           2.     Limitations on NOL Carryforwards and Other Tax Attributes

Under the Tax Code, any NOL carryforwards and certain other tax attributes, including carryover
of disallowed interest and certain “built-in” losses, of a corporation (collectively, “Pre-Change
Losses”) may be subject to an annual limitation if the corporation undergoes an “ownership
change” within the meaning of section 382 of the Tax Code. These limitations apply in addition
to, and not in lieu of, the attribute reduction that may result from the COD arising in connection
with the Plan, and in addition to any limitations to which the Debtors’ Pre-Change Losses are
already subject due to prior ownership changes. As discussed above, due in part to the resulting
attribute reduction from the incurrence of COD, the Debtors do not expect to have significant tax
attributes remaining following the implementation of the Plan to which section 382 would apply.
Nevertheless, the following provides a description of the operation of section 382 in the event there
are any Pre-Change Losses to which section 382 could apply.

Under section 382 of the Tax Code, if a corporation (or consolidated group) undergoes an
“ownership change” and the corporation does not qualify for (or elects out of) the special
bankruptcy exception in section 382(l)(5) of the Tax Code discussed below, the amount of its Pre-
Change Losses that may be utilized to offset future taxable income or tax liability is subject to an
annual limitation. Absent an Asset Sale Transaction, the issuance of the New Common Stock
pursuant to the Plan will constitute an “ownership change” of Reorganized CMC and its
subsidiaries for these purposes.

In general, the amount of the annual limitation to which a corporation that undergoes an ownership
change will be subject is equal to the product of (i) the fair market value of the stock of the
corporation immediately before the ownership change (with certain adjustments) multiplied by (ii)
the “long term tax exempt rate” in effect for the month in which the ownership change occurs (e.g.,
2.51% for ownership changes occurring in December 2018). As discussed below, this annual
limitation potentially may be increased in the event the corporation (or consolidated group) has an
overall “built-in” gain in its assets at the time of the ownership change. For a corporation (or
consolidated group or subgroup) in bankruptcy that undergoes an ownership change pursuant to a
confirmed bankruptcy plan, the fair market value of the stock of the corporation (or the parent of
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the consolidated group or subgroup) is generally determined immediately after (rather than before)
the ownership change after giving effect to the discharge of creditors’ claims, but subject to certain
adjustments; in no event; however, can the stock value for this purpose exceed the pre-change
gross value of the corporation’s assets.

If the loss corporation (or consolidated group or subgroup) has a net unrealized built-in gain at the
time of an ownership change, any built-in gains recognized (or, according to an IRS notice, treated
as recognized) during the following five (5) years (up to the amount of the original net unrealized
built-in gain) generally will increase the annual limitation in the year recognized, such that the loss
corporation (or consolidated group) would be permitted to use its Pre-Change Losses against such
built-in gain income in addition to its regular annual allowance. Conversely, if a loss corporation
(or consolidated group or subgroup) has a net unrealized built-in loss at the time of an ownership
change (taking into account most assets and items of “built-in” income, gain, loss and deduction),
then any built-in losses recognized during the following five (5) years (up to the amount of the
original net unrealized built-in loss) generally will be treated as Pre-Change Losses and similarly
will be subject to the annual limitation. Although the rule applicable to net unrealized built-in
losses generally applies to consolidated groups on a consolidated basis, certain corporations that
join the consolidated group within the preceding five (5) years may not be able to be taken into
account in the group computation of net unrealized built-in loss. Thus, a consolidated group (or
subgroup) could have both a net unrealized built-in gain and a net unrealized built-in loss as a
result of a single ownership change. In such instance, the group would be able to take the net
unrealized built-in gain into account for purposes of increasing its annual limitation other than as
relates to any subsequently recognized built-in losses.

Any portion of the annual limitation that is not used in a given year may be carried forward, thereby
adding to the annual limitation for the subsequent taxable year. However, if the corporation (or
consolidated group) does not continue its historic business or use a significant portion of its historic
assets in a new business for at least two (2) years after the ownership change, the annual limitation
resulting from the ownership change is reduced to zero, thereby precluding any utilization of the
corporation’s Pre-Change Losses, absent any increases due to recognized built-in gains.

Under section 382(l)(5) of the Tax Code, an exception to the foregoing annual limitation rules
generally applies where qualified creditors of a debtor corporation receive, in respect of their
claims, at least 50% of the vote and value of the stock of the reorganized debtor (or a controlling
corporation if also in bankruptcy) pursuant to a confirmed chapter 11 plan. The Debtors have not
determined whether or not they would qualify for the section 382(l)(5) exception. As indicated
above, the Debtors do not expect to have significant tax attributes remaining following the
implementation of the Plan to which section 382 would apply (if any), whether or not the annual
limitation rules apply.

           3.     Potential Asset Sale Transaction

If the Debtors engage in the Asset Sale Transaction, the acquiring company will acquire in a
taxable transaction (directly or indirectly) substantially all of the assets of Reorganized CMC and
certain of its subsidiaries. The consideration for the acquisition of the assets of Reorganized CMC
(including the assets of any subsidiaries of CMC that, as of the time of the acquisition, are treated
as disregarded entities for U.S. federal income tax purposes) would be all of the common stock of
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the indirect holding company of the acquiring company and the assumption of all of the obligations
of such entities that are not discharged or otherwise satisfied under the Plan.

The Debtors contemplate that, for U.S. federal income tax purposes, the Asset Sale Transaction
would be treated as — and the discussion herein assumes treatment as — a taxable asset
acquisition, such that the acquiring company would obtain a new cost basis in the assets acquired
(or deemed acquired) from Reorganized CMC and its subsidiaries, based on the fair market value
of such assets on the Effective Date. The acquiring company would not succeed to any tax
attributes of such entities (such as NOLs, tax credits or tax basis in assets). The PDM Group
generally would recognize gain or loss upon the transfer in an amount equal to the difference, if
any, between (i) the sum of the fair market value of the New Common Stock, and the amount of
any liabilities directly or indirectly assumed of Reorganized CMC (and any subsidiaries whose
assets are deemed acquired), and (ii) the tax basis in the assets acquired (or deemed acquired).

Taking into account available NOL carryforwards and other tax attributes, the Debtors expect that
no material U.S. federal, state or local income tax liability, if any, should be incurred upon the
transfer if the enterprise value is approximately equal to or less than the mid-point enterprise value
of $595 million. See section XII, Valuation Analysis. However, the fair market value of the assets
of the Debtors and tax basis may vary from current estimates, which could result in tax
consequences different from those expected, and in any event, the amount of gain or loss and
resulting tax liability will remain subject to audit and adjustment by the IRS or other applicable
taxing authorities.

       B.    Consequences to Holders of Certain Claims and Interests.

As used in this section of the Disclosure Statement, the term “U.S. holder” means a beneficial
owner of an Allowed First Lien Debt Claim or an Allowed Second Lien Debt Claim that is for
U.S. federal income tax purposes:

       ●       an individual who is a citizen or resident of the United States;

       ●       a corporation, or other entity taxable as a corporation for U.S. federal income tax
               purposes, created or organized in or under the laws of the United States, any state
               thereof or the District of Columbia;

       ●       an estate the income of which is subject to U.S. federal income taxation regardless
               of its source; or

       ●       a trust, if a court within the United States is able to exercise primary jurisdiction
               over its administration and one or more U.S. persons have authority to control all
               of its substantial decisions, or if the trust has a valid election in effect under
               applicable Treasury regulations to be treated as a U.S. person.

If a partnership or other entity taxable as a partnership for U.S. federal income tax purposes holds
an Allowed First Lien Debt Claim or an Allowed Second Lien Debt Claim, the tax treatment of a
partner generally will depend upon the status of the partner and the activities of the partnership. If
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you are a partner in a partnership holding any of such Claims, you are urged to consult your own
tax advisor.

           1.     Holders of Allowed First Lien Debt Claims and Allowed Second Lien Debt
                  Claims.

Pursuant to the Plan, and in complete and final satisfaction of their Claims, holders of Allowed
First Lien Debt Claims and Allowed Second Lien Debt Claims will receive New Common Stock.
The New Common Stock will either (i) first be issued by CMC to CHC in recapitalization of the
common stock of CMC held by CHC, and then distributed by CHC in complete and final
satisfaction of the Allowed First Lien Debt Claims and Allowed Second Lien Debt Claims or (ii)
first be received by CHC in the Asset Sale Transaction, and then distributed by CHC in complete
and final satisfaction of the Allowed First Lien Debt Claims and Allowed Second Lien Debt
Claims.

A U.S. holder of an Allowed First Lien Debt Claim or Allowed Second Lien Debt Claim generally
should recognize gain or loss in an amount equal to the difference, if any, between (i) the sum of
the fair market value of the New Common Stock (other than to the extent received in respect of a
Claim for accrued but unpaid interest and possibly accrued original issue discount (“OID”)), and
(ii) the U.S. holder’s adjusted tax basis in the Claim exchanged therefor (other than any tax basis
attributable to accrued but unpaid interest and possibly accrued OID). See Section VIII.B.2,
“Character of Gain or Loss,” below. For the treatment of distributions in respect of a Claim for
accrued but unpaid interest or OID, see Section VIII.B.3, below.

A U.S. holder’s tax basis in the New Common Stock received will equal the amount taken into
account in computing its gain or loss, and the U.S. holder’s holding period generally will begin on
the day following the Effective Date.

           2.     Character of Gain or Loss

Where gain or loss is recognized by a U.S. holder, the character of such gain or loss as long-term
or short-term capital gain or loss or as ordinary income or loss will be determined by a number of
factors, including the tax status of the holder, whether the Allowed First Lien Debt Claim or
Allowed Second Lien Debt Claim constitutes a capital asset in the hands of the holder and how
long it has been held, whether the Claim was acquired at a market discount, and whether and to
what extent the holder previously claimed a bad debt deduction.

A U.S. holder that purchased its Claims from a prior holder at a “market discount” (relative to the
principal amount of the Claims at the time of acquisition) may be subject to the market discount
rules of the Tax Code. In general, a debt instrument is considered to have been acquired with
“market discount” if its holder’s adjusted tax basis in the debt instrument is less than (i) its stated
redemption price at maturity (which generally would be equal to the stated principal amount if all
stated interest was required to be paid in cash at least annually) or (ii) in the case of a debt
instrument issued with OID, its revised issue price, in each case, by at least a de minimis amount.

Under the market discount rules, any gain recognized on the exchange of Claims (other than in
respect of a Claim for accrued but unpaid interest) generally will be treated as ordinary income to
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the extent of the market discount accrued (on a straight line basis or, at the election of the holder,
on a constant interest basis) during the holder’s period of ownership, unless the holder elected to
include the market discount in income as it accrued. If a holder of a Claim did not elect to include
market discount in income as it accrued and thus, under the market discount rules, was required to
defer all or a portion of any deductions for interest on debt incurred or maintained to purchase or
carry its Claim, such deferred amounts would become deductible at the time of the exchange.

           3.     Distributions in Discharge of Accrued Interest or OID

In general, to the extent that any consideration received pursuant to the Plan by a U.S. holder of
an Allowed First Lien Debt Claim or Allowed Second Lien Debt Claim is received in satisfaction
of accrued interest during the holder’s holding period, such amount will be taxable to the U.S.
holder as interest income (if not previously included in the U.S. holder’s gross income).
Conversely, a U.S. holder may recognize a deductible loss to the extent any accrued interest or
accrued OID was previously included in its gross income and is not paid in full. However, the IRS
has privately ruled that a holder of a “security” (as determined for U.S. federal income tax
purposes) in an otherwise tax-free exchange could not claim a current loss with respect to any
accrued but unpaid OID. Accordingly, it is unclear whether, in similar circumstances or by
analogy, any U.S. holder of an Allowed First Lien Debt Claim or Allowed Second Lien Debt Claim
would be required to recognize a capital loss, rather than an ordinary loss, with respect to
previously included OID with respect to such Claim that is not paid in full.

The Plan provides that consideration received in respect of an Allowed Claim is allocable first to
the principal amount of the Claim (as determined for U.S. federal income tax purposes) and then,
to the extent of any excess, to the remainder of the Claim, including any Claim for accrued but
unpaid interest (in contrast, for example, to a pro rata allocation of a portion of the exchange
consideration received between principal and interest, or an allocation first to accrued but unpaid
interest). See Section 6.12 of the Plan. There is no assurance that the IRS will respect such
allocation for U.S. federal income tax purposes. You are urged to consult your own tax advisor
regarding the allocation of consideration and the inclusion and deductibility of accrued but unpaid
interest for U.S. federal income tax purposes.

           4.     Withholding on Distributions and Information Reporting

All distributions to holders of Allowed Claims under the Plan are subject to any applicable tax
withholding. Under U.S. federal income tax law, interest, dividends, and other reportable
payments may, under certain circumstances, be subject to “backup withholding” at the then
applicable withholding rate (currently 24%). Backup withholding generally applies if the holder
(a) fails to furnish its social security number or other taxpayer identification number, (b) furnishes
an incorrect taxpayer identification number, (c) fails properly to report interest or dividends, or
(d) under certain circumstances, fails to provide a certified statement, signed under penalty of
perjury, that the tax identification number provided is its correct number and that it is not subject
to backup withholding. Backup withholding is not an additional tax but merely an advance
payment, which may be refunded to the extent it results in an overpayment of tax. Certain persons
are exempt from backup withholding, including, in certain circumstances, corporations and
financial institutions. Holders of Allowed Claims are urged to consult their tax advisors regarding
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the Treasury Regulations governing backup withholding and whether the transactions
contemplated by the Plan would be subject to these Treasury Regulations.

In addition, Treasury Regulations generally require disclosure by a taxpayer on its U.S. federal
income tax return of certain types of transactions in which the taxpayer participated, including,
among other types of transactions, certain transactions that result in the taxpayers claiming a loss
in excess of specified thresholds. Holders are urged to consult their tax advisors regarding these
Treasury Regulations and whether the transactions contemplated by the Plan would be subject to
these Treasury Regulations and require disclosure on the holder’s tax returns.

The foregoing summary has been provided for informational purposes only. All holders of
Claims and Existing Equity Interests are urged to consult their tax advisors concerning the
federal, state, local, and other tax consequences applicable under the Plan.

                                     IX.
                     VOTING PROCEDURES AND REQUIREMENTS

Before voting to accept or reject the Plan, each holder of a Claim entitled to vote (an “Eligible
Holder”) should carefully review the Plan attached hereto as Exhibit A. All descriptions of the
Plan set forth in this Disclosure Statement are subject to the terms and provisions of the Plan.

       A.      Voting Deadline

All Eligible Holders have been sent a Ballot together with this Disclosure Statement. Such holders
should read the Ballot carefully and follow the instructions contained therein. Please use only the
Ballot that accompanies this Disclosure Statement to cast your vote.

The Debtors have engaged Prime Clerk LLC as their Voting Agent to assist in the transmission of
voting materials and in the tabulation of votes with respect to the Plan. FOR YOUR VOTE TO
BE COUNTED, YOUR VOTE MUST BE RECEIVED BY THE VOTING AGENT AT THE
ADDRESS SET FORTH BELOW ON OR BEFORE THE VOTING DEADLINE OF 5:00
P.M. (EASTERN TIME) ON JANUARY 23, 2019, UNLESS EXTENDED BY THE
DEBTORS.

IF A BALLOT IS DAMAGED OR LOST, YOU MAY CONTACT THE VOTING AGENT AT
THE NUMBER SET FORTH BELOW TO RECEIVE A REPLACEMENT BALLOT. ANY
BALLOT THAT IS EXECUTED AND RETURNED BUT WHICH DOES NOT INDICATE AN
ACCEPTANCE OR REJECTION OF THE PLAN WILL NOT BE COUNTED.

IF YOU HAVE ANY QUESTIONS CONCERNING VOTING PROCEDURES, YOU MAY
CONTACT THE VOTING AGENT AT:

                                    Prime Clerk
         Telephone: 844-205-4337 (toll free) or +1 917-460-0912 (international)
       E-mail: CatalinaBallots@primeclerk.com with “Catalina” in the subject line

Additional copies of this Disclosure Statement are available upon request made to the Voting
Agent, at the telephone numbers or e-mail address set forth immediately above.
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       B.        Voting Procedures

The Debtors are providing copies of this Disclosure Statement (including all exhibits and
appendices) and related materials and a Ballot (collectively, a “Solicitation Package”) to Eligible
Holders. Any Eligible Holder that has not received a Ballot should contact its Voting Agent.

Eligible Holders should provide all of the information requested by the Ballot and return all Ballots
received in the enclosed, self-addressed, postage-paid envelope provided with each such Ballot
either to the Voting Agent or their Nominee, as applicable.

The Record Date for determining which holders are entitled to vote on the Plan is December 10,
2019. The applicable administrative agent under any debt documents will not vote on behalf of its
respective holders. Such holders must submit their own Ballot.

       C.        Parties Entitled to Vote

Under the Bankruptcy Code, only holders of Claims or Interests in “impaired” classes are entitled
to vote on the Plan. Under section 1124 of the Bankruptcy Code, a class of Claims or Interests is
“impaired” under the Plan unless (1) the Plan leaves unaltered the legal, equitable, and contractual
rights to which such Claim or Interest entitles the holder thereof or (2) notwithstanding any legal
right to an accelerated payment of such Claim or Interest, the Plan cures all existing defaults (other
than defaults resulting from the occurrence of events of bankruptcy) and reinstates the maturity of
such claim or interest as it existed before the default.

If, however, the holder of an impaired Claim or Interest will not receive or retain any distribution
under the Plan on account of such Claim or Interest, the Bankruptcy Code deems such holder to
have rejected the Plan, and, accordingly, holders of such Claims and Interests do not actually vote
on the Plan and will not receive a Ballot. If a Claim or Interest is not impaired by the Plan, the
Bankruptcy Code presumes the holder of such Claim or Interest to have accepted the Plan and,
accordingly, holders of such Claims and Interests are not entitled to vote on the Plan, and also will
not receive a Ballot.

A vote may be disregarded if the Bankruptcy Court determines, pursuant to section 1126(e) of the
Bankruptcy Code, that it was not solicited or procured in good faith or in accordance with the
provisions of the Bankruptcy Code.

The Bankruptcy Code defines “acceptance” of a chapter 11 plan by a class of: (1) Claims as
acceptance by creditors in that class that hold at least two-thirds (2/3) in dollar amount and more
than one-half (1/2) in number of the Claims that cast ballots for acceptance or rejection of the plan;
and (2) Interests as acceptance by interest holders in that class that hold at least two-thirds (2/3) in
amount of the Interests that cast ballots for acceptance or rejection of the plan.

The Claims in the following classes are impaired under the Plan and entitled to vote to accept or
reject the Plan:

            •    Class 3 – First Lien Debt Claims; and

            •    Class 4 – Second Lien Debt Claims.
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       D.      Miscellaneous

All Ballots must be signed by the Eligible Holder, or any person who has obtained a properly
completed Ballot proxy from the Eligible Holder by the Record Date. Unless otherwise ordered
by the Bankruptcy Court, Ballots that are signed, dated, and timely received, but on which a vote
to accept or reject the Plan has not been indicated, will not be counted. The Debtors, in their sole
discretion, may request that the Voting Agent attempt to contact such voters to cure any such
defects in the Ballots. Any Ballot marked to both accept and reject the Plan shall not be counted. If
you return more than one Ballot voting different Claims, the Ballots are not voted in the same
manner, and you do not correct this before the Voting Deadline, those Ballots will not be counted.
An otherwise properly executed Ballot that attempts to partially accept and partially reject the Plan
will likewise not be counted.

The Ballots provided to Eligible Holders will reflect the principal amount of such Eligible Holder’s
Claim; however, when tabulating votes, the Voting Agent may adjust the amount of such Eligible
Holder’s Claim by multiplying the principal amount by a factor that reflects all amounts accrued
between the Record Date and the Petition Date including interest.

Under the Bankruptcy Code, for purposes of determining whether the requisite acceptances have
been received, only Eligible Holders that actually vote will be counted. The failure of a holder to
deliver a duly executed Ballot to the Voting Agent will be deemed to constitute an abstention by
such holder with respect to voting on the Plan and such abstentions will not be counted as votes
for or against the Plan.

Except as provided below, unless the Ballot is timely submitted to the Voting Agent before the
Voting Deadline together with any other documents required by such Ballot, the Debtors may, in
their sole discretion, reject such Ballot as invalid, and therefore decline to utilize it in connection
with seeking confirmation of the Plan.

       E.      Agreements upon Furnishing Ballots

The delivery of an accepting Ballot pursuant to one of the procedures set forth above will constitute
the agreement of the voter with respect to such Ballot to accept (a) all of the terms of, and
conditions to, this solicitation; and (b) the terms of the Plan including the injunction, releases, and
exculpations set forth in Sections 10.7, 10.8, and 10.9 therein. All parties in interest retain their
right to object to confirmation of the Plan pursuant to section 1128 of the Bankruptcy Code.

       F.      Change of Vote

Subject to the Plan and the Restructuring Support Agreement, any party that has previously
submitted a properly completed Ballot to the Voting Agent before the Voting Deadline may revoke
such Ballot and change its vote by submitting to the Voting Agent a subsequent, properly
completed Ballot for acceptance or rejection of the Plan before the Voting Deadline.

       G.      Waivers of Defects, Irregularities, etc.

Unless otherwise directed by the Bankruptcy Court, all questions as to the validity, form, eligibility
(including time of receipt), acceptance, and revocation or withdrawals of Ballots will be
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determined by the Voting Agent or the Debtors, as applicable, in their sole discretion, which
determination will be final and binding. The Debtors reserve the right to reject any and all Ballots
submitted by any of their respective creditors not in proper form, the acceptance of which would,
in the opinion of the Debtors or their counsel, as applicable, be unlawful. The Debtors further
reserve their respective rights to waive any defects or irregularities or conditions of delivery as to
any particular Ballot by any of their creditors. The interpretation (including the Ballot and the
respective instructions thereto) by the applicable Debtor, unless otherwise directed by the
Bankruptcy Court, will be final and binding on all parties. Unless waived, any defects or
irregularities in connection with deliveries of Ballots must be cured within such time as the Debtors
(or the Bankruptcy Court) determines. Neither the Debtors nor any other person will be under any
duty to provide notification of defects or irregularities with respect to deliveries of Ballots nor will
any of them incur any liabilities for failure to provide such notification. Unless otherwise directed
by the Bankruptcy Court, delivery of such Ballots will not be deemed to have been made until such
irregularities have been cured or waived. Ballots previously furnished (and as to which any
irregularities have not theretofore been cured or waived) will be invalidated.

       H.      Further Information, Additional Copies

If you have any questions or require further information about the voting procedures for voting
your Claim, or about the packet of material you received, or if you wish to obtain an additional
copy of the Plan, this Disclosure Statement, or any exhibits to such documents, please contact the
Voting Agent.

                                        X.
                        FACTORS TO CONSIDER BEFORE VOTING

Before voting to accept or reject the Plan, holders of Claims entitled to vote should read and
carefully consider the risk factors set forth below, in addition to the information set forth in this
Disclosure Statement together with any attachments, exhibits, or documents incorporated by
reference hereto. The factors below should not be regarded as the only risks associated with the
Plan or its implementation.

       A.      Certain Bankruptcy Law Considerations.

               1.      General.

While the Debtors believe that the Chapter 11 Cases will be of short duration and will not be
materially disruptive to their businesses, the Debtors cannot be certain that this will be the case.
Although the Plan is designed to minimize the length of the Chapter 11 Cases, it is impossible to
predict with certainty the amount of time that one or more of the Debtors may spend in bankruptcy
or to assure parties in interest that the Plan will be confirmed. Even if confirmed on a timely basis,
bankruptcy proceedings to confirm the Plan could have an adverse effect on the Debtors’ business.
Among other things, it is possible that bankruptcy proceedings could adversely affect the Debtors’
relationships with their key customers and employees. The proceedings will also involve
additional expense and may divert some of the attention of the Debtors’ management away from
business operations.
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                2.      Risk of Non-Confirmation of Plan.

Although the Debtors believe that the Plan will satisfy all requirements necessary for confirmation
by the Bankruptcy Court, there can be no assurance that the Bankruptcy Court will reach the same
conclusion or that modifications to the Plan will not be required for confirmation or that such
modifications would not necessitate re-solicitation of votes. Moreover, the Debtors can make no
assurances that they will receive the requisite acceptances to confirm the Plan, and even if all
voting Classes voted in favor of the Plan or the requirements for “cramdown” are met with respect
to any Class that rejects the Plan, the Bankruptcy Court, which may exercise substantial discretion
as a court of equity, may choose not to confirm the Plan. If the Plan is not confirmed, it is unclear
what distributions holders of Claims or Interests ultimately would receive with respect to their
Claims or Interests in a subsequent plan of reorganization or otherwise.

                3.      Risk of Failing to Satisfy the Vote Requirement.

In the event that the Debtors are unable to get sufficient votes from the Voting Classes, the Debtors
may seek to accomplish an alternative chapter 11 plan or seek to cram down the Plan on non-
accepting Classes. There can be no assurance that the terms of any such alternative chapter 11
plan would be similar or as favorable to holders of Allowed Claims as those proposed in the Plan.

                4.      Non-Consensual Confirmation.

If any impaired class of Claims or Interests does not accept or is deemed not to accept a plan of
reorganization, a bankruptcy court may nevertheless confirm such plan at the proponent’s request
if at least one impaired class has accepted the plan (with such acceptance being determined without
including the vote of any “insider” in such class), and as to each impaired class that has not
accepted the plan, the bankruptcy court determines that the plan “does not discriminate unfairly”
and is “fair and equitable” with respect to the dissenting impaired classes. Should any Class vote
to reject the plan, then these requirements must be satisfied with respect to such rejecting Classes.
The Debtors believe that the Plan satisfies these requirements.

                5.      Risk Related to Parties in Interest Objecting to the Debtors’
                        Classification of Claims and Interests.

Section 1122 of the Bankruptcy Code provides that a plan may place a claim or an interest in a
particular class only if such claim or interest is substantially similar to the other claims or interests
in such class. The Debtors believe that the classification of Claims and Interests under the Plan
complies with the requirements set forth in the Bankruptcy Code. However, there can be no
assurance that a party in interest will not object or that the Bankruptcy Court will approve the
classifications.

                6.      Risks Related to Possible Objections to the Plan.

There is a risk that certain parties could oppose and object to either the entirety of the Plan or
specific provisions of the Plan. Although the Debtors believe that the Plan complies with all
relevant Bankruptcy Code provisions, there can be no guarantee that a party in interest will not file
an objection to the Plan or that the Bankruptcy Court will not sustain such an objection.
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               7.      Releases, Injunctions, and Exculpations Provisions May Not Be
                       Approved.

Sections 10.7, 10.8, and 10.9 of the Plan provides for certain releases, injunctions, and
exculpations, for claims and Causes of Action that may otherwise be asserted against the Debtors,
the Reorganized Debtors, the Exculpated Parties, or the Released Parties, as applicable. The
releases, injunctions, and exculpations provided in the Plan are subject to objection by parties in
interest and may not be approved. If the releases and exculpations are not approved, certain parties
may not be considered Releasing Parties, Released Parties, or Exculpated Parties, and certain
Released Parties or Exculpated Parties may withdraw their support for the Plan.

               8.      Risk of Non-Occurrence of Effective Date.

Although the Debtors believe that the Effective Date will occur soon after the Confirmation Date,
there can be no assurance as to the timing of the Effective Date. If the conditions precedent to the
Effective Date set forth in the Plan have not occurred or have not been waived as set forth in Article
IX of the Plan, then the Confirmation Order may be vacated, in which event no distributions would
be made under the Plan, the Debtors and all holders of Claims or Interests would be restored to the
status quo as of the day immediately preceding the Confirmation Date, and the Debtors’
obligations with respect to Claims and Interests would remain unchanged.

               9.      Risk of Termination of the Restructuring Support Agreement.

The Restructuring Support Agreement contains certain provisions that give the Requisite Creditors
(as defined in the Restructuring Support Agreement) the ability to terminate the Restructuring
Support Agreement if various conditions are satisfied. Termination of the Restructuring Support
Agreement could result in protracted Chapter 11 Cases, which could significantly and
detrimentally impact the Debtors’ relationships with vendors, suppliers, employees, and major
customers.

               10.     Conversion into Chapter 7 Cases.

If no plan of reorganization can be confirmed, or if the Bankruptcy Court otherwise finds that it
would be in the best interest of holders of Claims and Interests, the Chapter 11 Cases may be
converted to cases under chapter 7 of the Bankruptcy Code, pursuant to which a trustee would be
appointed to liquidate the Debtors’ assets for distribution in accordance with the priorities
established by the Bankruptcy Code. See Section XIII.C hereof, as well as the liquidation analysis
(the “Liquidation Analysis”) attached hereto as Exhibit C, for a discussion of the effects that a
chapter 7 liquidation would have on the recoveries of holders of Claims and Interests.

       B.      Additional Factors Affecting Value of Reorganized Debtors or Distributions
               to Creditors.

               1.      Claims Could Be More than Projected.

There can be no assurance that the estimated Allowed amount of Claims in certain Classes will
not be significantly more than projected, which, in turn, could cause the value of distributions to
be reduced substantially. Inevitably, some assumptions will not materialize, and unanticipated
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events and circumstances may affect the ultimate results. Therefore, the actual amount of Allowed
Claims may vary from the Debtors’ projections and feasibility analysis, and the variation may be
material.

               2.      Projections and Other Forward-Looking Statements Are Not Assured,
                       and Actual Results May Vary.

Certain of the information contained in this Disclosure Statement is, by nature, forward-looking,
and contains estimates and assumptions which might ultimately prove to be incorrect, and contains
projections which may be materially different from actual future experiences. There are
uncertainties associated with any projections and estimates, and they should not be considered
assurances or guarantees of the amount of funds or the amount of Claims in the various Classes
that might be Allowed.

The Debtors have prepared financial projections (the “Financial Projections”) on a consolidated
basis based on certain assumptions, as set forth in Exhibit D hereto. The Financial Projections
have not been compiled, audited, or examined by independent accountants, and neither the Debtors
nor their advisors make any representations or warranties regarding the accuracy of the Financial
Projections or the ability to achieve forecasted results.

Many of the assumptions underlying the Financial Projections are subject to uncertainties that are
beyond the control of the Debtors or Reorganized Debtors including the timing, confirmation, and
consummation of the Plan, demand or price for services, inflation, and other unanticipated market
and economic conditions. Some assumptions may not materialize, and unanticipated events and
circumstances may affect the actual results. Projections are inherently subject to substantial and
numerous uncertainties and to a wide variety of significant business, economic, and competitive
risks, and the assumptions underlying the Financial Projections may be inaccurate in material
respects. In addition, unanticipated events and circumstances occurring after the approval of this
Disclosure Statement by the Bankruptcy Court including any natural disasters, terrorist attacks, or
health epidemics may affect the actual financial results achieved. Such results may vary
significantly from the forecasts and such variations may be material.

       C.      Risks Relating to the Debtors’ Business and Financial Condition.

               1.      DIP Facility.

The DIP Facility is intended to provide liquidity to the Debtors during the pendency of the Chapter
11 Cases. If the Chapter 11 Cases take longer than expected to conclude, or in the event of a
breach of a milestone or another event of default under the DIP Facility, which could occur if the
Plan is not confirmed on the proposed timeline, the Debtors may exhaust or lose access to their
financing. There is no assurance that they will be able to obtain additional financing from their
existing lenders or otherwise. In either such case, the liquidity necessary for the orderly
functioning of the Debtors’ business may be materially impaired.

               2.      Risks Associated with Debtors’ Business and Industry.

If the Debtors or Reorganized Debtors fail to successfully respond to competitive pressures in this
industry or to effectively implement their strategies to respond to these pressures, their operating
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results may be negatively affected. Some of the Debtors’ principal competitors have greater
financial resources than the Debtors and either have or may in the future use those resources to
take steps that may have an adverse effect on the Debtors’ competitive position and financial
performance.

               3.      Post-Effective Date Indebtedness.

Following the Effective Date, the Reorganized Debtors will have outstanding indebtedness under
the Amended and Restated First Lien Credit Facility of $281 million. The Reorganized Debtors’
ability to service their debt obligations will depend on, among other things, the Reorganized
Debtors’ compliance with affirmative and negative covenants, as well as future operating
performance, which depends partly on economic, financial, competitive, and other factors beyond
the Reorganized Debtors’ control. The Reorganized Debtors may not be able to generate sufficient
cash from operations to meet their debt service obligations as well as fund necessary capital
expenditures and investments in sales and marketing. In addition, if the Reorganized Debtors need
to refinance their debt, obtain additional financing, or sell assets or equity, they may not be able to
do so on commercially reasonable terms, if at all.

       D.      Factors Relating to Securities to Be Issued.

               1.      Market for Securities.

There is currently no market for the New Common Stock and there can be no assurance as to the
development or liquidity of any market for any such securities. The Reorganized Debtors are
under no obligation to list any securities on any national securities exchange. Therefore, there can
be no assurance that any of the foregoing securities will be tradable or liquid at any time after the
Effective Date. If a trading market does not develop or is not maintained, holders of the foregoing
securities may experience difficulty in reselling such securities or may be unable to sell them at
all. Even if such a market were to exist, such securities could trade at prices higher or lower than
the estimated value set forth in this Disclosure Statement depending upon many factors including,
without limitation, prevailing interest rates, markets for similar securities, industry conditions, and
the performance of, and investor expectations for, the Reorganized Debtors. In addition, holders
of New Common Stock will be subject to certain restrictions contained in a shareholders agreement
or limited liability company agreement (as applicable) which may include restrictions on the ability
to transfer, as well as other limitations associated with, the New Common Stock. Accordingly,
holders of these securities may bear certain risks associated with holding securities for an indefinite
period of time.

               2.      Potential Dilution.

Subject to the terms of the Plan, the ownership percentage represented by the New Common Stock
distributed on the Effective Date under the Plan will be subject to dilution from any other shares
that may be issued post-emergence, and the conversion of any options, warrants, convertible
securities, exercisable securities, or other securities that may be issued post-emergence, including
pursuant to the Management Incentive Plan.
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In the future, similar to all companies, additional equity financings or other share issuances by any
of the Reorganized Debtors could adversely affect the value of the New Common Stock issuable
upon such conversion. The amount and dilutive effect of any of the foregoing could be material.

               3.      Significant Holders of New Common Stock.

Certain holders of Class 3 Claims are expected to acquire significant New Common Stock pursuant
to the Plan. Such holders could be in a position to control the outcome of all actions of the
Reorganized Debtors, as applicable, requiring stockholder approval, including the election of
directors or managers, without the approval of other stockholders. This concentration of
ownership could also facilitate or hinder a negotiated change of control of the Reorganized Debtors
and, consequently, have an impact upon the value of the New Common Stock.

               4.      New Common           Stock    Subordinated     to   Reorganized      Debtors’
                       Indebtedness.

In any subsequent liquidation, dissolution, or winding up of the Reorganized Debtors, the New
Common Stock would rank below all debt claims against the Reorganized Debtors, including
claims under the Amended and Restated First Lien Credit Facility. As a result, holders of the New
Common Stock will not be entitled to receive any payment or other distribution of assets upon the
liquidation, dissolution, or winding up of the Reorganized Debtors until after all the Reorganized
Debtors’ obligations to their debt holders have been satisfied, including under the Amended and
Restated First Lien Credit Facility.

               5.      Implied Valuation of New Common Stock Not Intended to Represent
                       Trading Value of New Common Stock.

The valuation of the Reorganized Debtors is not intended to represent the trading value of New
Common Stock in public or private markets and is subject to additional uncertainties and
contingencies, all of which are difficult to predict. Actual market prices of such securities at
issuance will depend upon, among other things: (a) prevailing interest rates; (b) conditions in the
financial markets; (c) the anticipated initial securities holdings of prepetition creditors, some of
whom may prefer to liquidate their investment rather than hold it on a long-term basis; and
(d) other factors that generally influence the prices of securities. The actual market price of the
New Common Stock is likely to be volatile. Many factors, including factors unrelated to the
Reorganized Debtors’ actual operating performance and other factors not possible to predict, could
cause the market price of the New Common Stock to rise and fall. Accordingly, the implied value,
stated herein and in the Plan, of the securities to be issued does not necessarily reflect, and should
not be construed as reflecting, values that will be attained for the New Common Stock in the public
or private markets.

               6.      No Dividends.

Reorganized Catalina Topco might not pay any dividends on the New Common Stock and may
instead retain any future cash flows for debt reduction and to support its operations. As a result,
the success of an investment in the New Common Stock may depend entirely upon any future
appreciation in the value of the New Common Stock. There is no guarantee that the New Common
Stock will appreciate in value or even maintain their initial value.
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       E.      Risks Related to Amended and Restated First Lien Credit Facility.

               1.     Insufficient Cash Flow to Meet Debt Obligations.

On the Effective Date, on a consolidated basis, it is expected that the Reorganized Debtors will
have total outstanding secured indebtedness of approximately $281 million, which is expected to
consist of the Amended and Restated First Lien Credit Facility.

The Reorganized Debtors’ earnings and cash flow may vary significantly from year to year.
Additionally, the Reorganized Debtors’ future cash flow may be insufficient to meet their debt
obligations and commitments. Any insufficiency could negatively impact the Reorganized
Debtors’ business. A range of economic, competitive, business, and industry factors will affect
the Reorganized Debtors’ future financial performance and, as a result, their ability to generate
cash flow from operations and to pay their debt. Many of these factors are beyond the Reorganized
Debtors’ control.

If the Reorganized Debtors do not generate enough cash flow from operations to satisfy their debt
obligations, they may have to undertake alternative financing plans, such as refinancing or
restructuring debt, selling assets, reducing or delaying capital investments, or seeking to raise
additional capital.

It cannot be assured, however, that undertaking alternative financing plans, if necessary, would
allow the Reorganized Debtors to meet their debt obligations. An inability to generate sufficient
cash flow to satisfy their debt obligations or to obtain alternative financing could materially and
adversely affect the Reorganized Debtors’ ability to make payments on the Amended and Restated
First Lien Credit Facility and their business, financial condition, results of operations, and
prospects.

       F.      Additional Factors.

               1.     Debtors Could Withdraw the Plan.

The Plan may be revoked or withdrawn prior to the Confirmation Date by the Debtors.

               2.     Debtors Have No Duty to Update.

The statements contained in this Disclosure Statement are made by the Debtors as of the date
hereof, unless otherwise specified herein, and the delivery of this Disclosure Statement after that
date does not imply that there has been no change in the information set forth herein since that
date. The Debtors have no duty to update this Disclosure Statement unless otherwise ordered to
do so by the Bankruptcy Court.

               3.     No Representations Outside this Disclosure Statement Are Authorized.

No representations concerning or related to the Debtors, the Chapter 11 Cases, or the Plan are
authorized by the Bankruptcy Court or the Bankruptcy Code, other than as set forth in this
Disclosure Statement. Any representations or inducements made to secure your acceptance or
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rejection of the Plan that are other than those contained in, or included with, this Disclosure
Statement should not be relied upon in making the decision to accept or reject the Plan.

               4.      No Legal or Tax Advice is Provided by this Disclosure Statement.

The contents of this Disclosure Statement should not be construed as legal, business, or tax advice.
Each holder of a Claim or Interest should consult their own legal counsel and accountant as to
legal, tax, and other matters concerning their Claim or Interest.

This Disclosure Statement is not legal advice to you. This Disclosure Statement may not be relied
upon for any purpose other than to determine how to vote on the Plan or object to confirmation of
the Plan.

               5.      No Admission Made.

Nothing contained herein or in the Plan shall constitute an admission of, or shall be deemed
evidence of, the tax or other legal effects of the Plan on the Debtors or holders of Claims or
Interests.

               6.      Failure to Identify Litigation Claims or Projected Objections.

No reliance should be placed on the fact that a particular litigation claim or a projected objection
to a particular Claim or Interest is, or is not, identified in this Disclosure Statement. The Debtors
may seek to investigate, file, and prosecute Claims and may object to Claims after the
Confirmation or Effective Date of the Plan irrespective of whether this Disclosure Statement
identifies such Claims or objections to such Claims.

               7.      Certain Tax Consequences.

For a discussion of certain U.S. Federal income tax consequences of the implementation of the
Plan to the Debtors and certain holders of Claims and Interests, see Section VIII hereof.

                                        XI.
                              CONFIRMATION OF THE PLAN

The Bankruptcy Court will confirm the Plan only if all of the requirements of section 1129 of the
Bankruptcy Code are met. Among the requirements for confirmation are that the Plan is
(A) accepted by all impaired Classes of Claims and Interests entitled to vote or, if rejected or
deemed rejected by an impaired Class, that the Plan “does not discriminate unfairly” and is “fair
and equitable” as to such Class; (B) in the “best interests” of the holders of Claims and Interests
impaired under the Plan; and (C) feasible.

       A.    Confirmation Hearing.

Section 1128(a) of the Bankruptcy Code requires the Bankruptcy Court to hold a confirmation
hearing upon appropriate notice to all required parties. The Confirmation Hearing is scheduled
for January 30, 2019 at 10:00 a.m. (Prevailing Eastern Time). The Confirmation Hearing may be
adjourned from time to time by the Bankruptcy Court without further notice except for the
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announcement of the continuation date made at the Confirmation Hearing, at any subsequent
continued Confirmation Hearing, or pursuant to a notice filed on the docket for the Chapter 11
Cases.

       B.    Objections to Confirmation.

Section 1128(b) of the Bankruptcy Code provides that any party in interest may object to the
confirmation of a Plan. Any objection to confirmation of the Plan must be in writing, must
conform to the Bankruptcy Rules and the Local Rules, must set forth the name of the objector, the
nature and amount of Claims or Interests held or asserted by the objector against the Debtors’
estates or properties, the basis for the objection and the specific grounds therefore, and must be
filed with the Bankruptcy Court, with a copy to the chambers of the United States Bankruptcy
Judge appointed to the Chapter 11 Cases, together with proof of service thereof, and served upon
all of the below parties.

    To the Debtors, at:                         Weil, Gotshal & Manges LLP
                                                767 Fifth Avenue
                                                New York, New York 10153
                                                Attn: Gary Holtzer, Ronit Berkovich,
                                                Jessica Liou, and Kevin Bostel
                                                Telephone: (212) 310-8000
                                                Facsimile: (212) 310-8007
                                                E-mail:gary.holtzer@weil.com
                                                        ronit.berkovich@weil.com
                                                        jessica.liou@weil.com
                                                        kevin.bostel@weil.com
    To the First Lien Ad Hoc Group at:          To the DIP Agent, at:
    Jones Day                                   Davis Polk & Wardwell LLP
    250 Vesey Street                            450 Lexington Ave
    New York, New York 10281                    New York, NY 10017
    Attn: Scott Greenberg                       Attn: Brian M. Resnick
    Telephone: (212) 326-3939                   Telephone: (212) 450-4213
    Facsimile: (212) 755-7306                   Facsimile: (212) 701-5213
    E-mail: sgreenberg@jonesday.com             E-mail: brian.resnick@davispolk.com

    To the Second Lien Ad Hoc Group at:
    Paul, Weiss, Rifkind, Wharton &
    Garrison LLP
    1285 Avenue of the Americas
    New York, New York 10019
    Attn: Brian H. Hermann, Robert A.
    Britton, and Dan Youngblut
    Telephone: (212) 373-3000
    Facsimile: (212) 492-0545
    E-mail: bhermann@paulweiss.com
             rbritton@paulweiss.com
             dyoungblut@paulweiss.com
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UNLESS AN OBJECTION TO CONFIRMATION IS TIMELY SERVED AND FILED, IT
        MAY NOT BE CONSIDERED BY THE BANKRUPTCY COURT.

       C.      Requirements for Confirmation of the Plan.

                1.     Requirements of Section 1129(a) of the Bankruptcy Code.

At the Confirmation Hearing, the Bankruptcy Court will determine whether the confirmation
requirements specified in section 1129(a) of the Bankruptcy Code have been satisfied including,
without limitation, whether:

       (i)      the Plan complies with the applicable provisions of the Bankruptcy Code;

       (ii)     the Debtors have complied with the applicable provisions of the Bankruptcy Code;

       (iii)    the Plan has been proposed in good faith and not by any means forbidden by law;

       (iv)     any payment made or promised by the Debtors or by a person issuing securities or
                acquiring property under the Plan, for services or for costs and expenses in or in
                connection with the Chapter 11 Cases, or in connection with the Plan and incident
                to the Chapter 11 Cases, has been disclosed to the Bankruptcy Court, and any such
                payment made before confirmation of the Plan is reasonable, or if such payment is
                to be fixed after confirmation of the Plan, such payment is subject to the approval
                of the Bankruptcy Court as reasonable;

       (v)      the Debtors have disclosed the identity and affiliations of any individual proposed
                to serve, after confirmation of the Plan, as a director or officer of the Reorganized
                Debtors, an affiliate of the Debtors participating in a Plan with the Debtors, or a
                successor to the Debtors under the Plan, and the appointment to, or continuance in,
                such office of such individual is consistent with the interests holders of Claims and
                Interests and with public policy, and the Debtors have disclosed the identity of any
                insider who will be employed or retained by the Reorganized Debtors, and the
                nature of any compensation for such insider;

       (vi)     with respect to each Class of Claims or Interests, each holder of an impaired Claim
                has either accepted the Plan or will receive or retain under the Plan, on account of
                such holder’s Claim, property of a value, as of the Effective Date of the Plan, that
                is not less than the amount such holder would receive or retain if the Debtors were
                liquidated on the Effective Date of the Plan under chapter 7 of the Bankruptcy
                Code;

       (vii)    except to the extent the Plan meets the requirements of section 1129(b) of the
                Bankruptcy Code (as discussed further below), each Class of Claims either
                accepted the Plan or is not impaired under the Plan;

       (viii) except to the extent that the holder of a particular Claim has agreed to a different
              treatment of such Claim, the Plan provides that administrative expenses and Priority
              Claims, other than Priority Tax Claims, will be paid in full on the Effective Date,
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                and that Priority Tax Claims will receive either payment in full on the Effective
                Date or deferred cash payments over a period not exceeding five years after the
                Commencement Date, of a value, as of the Effective Date of the Plan, equal to the
                allowed amount of such Claims;

        (ix)    at least one Class of impaired Claims has accepted the Plan, determined without
                including any acceptance of the Plan by any insider holding a Claim in such Class;

        (x)     confirmation of the Plan is not likely to be followed by the liquidation, or the need
                for further financial reorganization, of the Debtors or any successor to the Debtors
                under the Plan; and

        (xi)    all fees payable under section 1930 of title 28, as determined by the Bankruptcy
                Court at the Confirmation Hearing, have been paid or the Plan provides for the
                payment of all such fees on the Effective Date of the Plan.

As provided above, among the requirements for confirmation are that the Plan is (A) accepted by
all impaired Classes of Claims and Interests entitled to vote or, if rejected or deemed rejected by
an impaired Class, that the Plan “does not discriminate unfairly” and is “fair and equitable” as to
such Class; (B) in the “best interests” of the holders of Claims and Interests impaired under the
Plan; and (C) feasible.

                (a)     Acceptance of the Plan.

Under the Bankruptcy Code, a Class accepts a chapter 11 plan if (1) holders of two-thirds (2/3) in
amount and (2) with respect to holders of Claims, more than a majority in number of the allowed
claims in such class (other than those designated under section 1126(e) of the Bankruptcy Code)
vote to accept the Plan. Holders of Claims or Interests that fail to vote are not counted in
determining the thresholds for acceptance of the Plan.

If any impaired Class of Claims or Interests does not accept the Plan (or is deemed to reject the
Plan), the Bankruptcy Court may still confirm the Plan at the request of the Debtors if, as to each
impaired Class of Claims or Interests that has not accepted the Plan (or is deemed to reject the
Plan), the Plan “does not discriminate unfairly” and is “fair and equitable” under the so-called
“cram down” provisions set forth in section 1129(b) of the Bankruptcy Code. The “unfair
discrimination” test applies to classes of claims or interests that are of equal priority and are
receiving different treatment under the Plan. A chapter 11 plan does not discriminate unfairly,
within the meaning of the Bankruptcy Code, if the legal rights of a dissenting class are treated in
a manner consistent with the treatment of other classes whose legal rights are substantially similar
to those of the dissenting class and if no class of claims or interests receives more than it legally is
entitled to receive for its claims or interests. The test does not require that the treatment be the
same or equivalent, but that such treatment be “fair.” The “fair and equitable” test applies to
classes of different priority and status (e.g., secured versus unsecured; claims versus interests) and
includes the general requirement that no class of claims receive more than 100% of the allowed
amount of the claims in such class. As to the dissenting class, the test sets different standards that
must be satisfied in order for the Plan to be confirmed, depending on the type of claims or interests
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in such class. The following sets forth the “fair and equitable” test that must be satisfied as to each
type of class for a Plan to be confirmed if such class rejects the Plan:

       •       Secured Creditors. Each holder of an impaired secured claim either (a) retains its
               liens on the property, to the extent of the allowed amount of its secured claim, and
               receives deferred cash payments having a value, as of the Effective Date, of at least
               the allowed amount of such secured claim, (b) has the right to credit bid the amount
               of its claim if its property is sold and retains its lien on the proceeds of the sale, or
               (c) receives the “indubitable equivalent” of its allowed secured claim.

       •       Unsecured Creditors. Either (a) each holder of an impaired unsecured claim
               receives or retains under the Plan, property of a value, as of the Effective Date,
               equal to the amount of its allowed claim or (b) the holders of claims and interests
               that are junior to the claims of the dissenting class will not receive any property
               under the Plan.

       •       Interests. Either (a) each equity interest holder will receive or retain under the Plan
               property of a value equal to the greater of (i) the fixed liquidation preference or
               redemption price, if any, of such equity interest and (ii) the value of the equity
               interest or (b) the holders of interests that are junior to the interests of the dissenting
               class will not receive or retain any property under the Plan.

The Debtors believe the Plan satisfies the “fair and equitable” requirement with respect to any
rejecting Class.

IF ALL OTHER CONFIRMATION REQUIREMENTS ARE SATISFIED AT THE
CONFIRMATION HEARING, THE DEBTORS WILL ASK THE BANKRUPTCY
COURT TO RULE THAT THE PLAN MAY BE CONFIRMED ON THE GROUND THAT
THE SECTION 1129(b) REQUIREMENTS HAVE BEEN SATISFIED.

               (b)     Best Interest Test.

The Bankruptcy Code requires that each holder of an impaired Claim or Interest either (1) accept
the Plan or (2) receive or retain under the Plan property of a value, as of the Effective Date, that is
not less than the value such holder would receive if the Debtors were liquidated under chapter 7
of the Bankruptcy Code. This requirement is customarily referred to as the “best interest” test.

The first step in determining whether the Plan satisfies the best interest test is to determine the
dollar amount that would be generated from the liquidation of the Debtors’ assets in the context of
a chapter 7 liquidation. The gross amount of Cash that would be available for satisfaction of
Claims and Interests would be the sum consisting of the proceeds resulting from the disposition of
the assets of the Debtors, augmented by the unencumbered Cash held by the Debtors at the time
of the commencement of the liquidation case.

The next step is to reduce that gross amount by the costs and expenses of liquidation, the proceeds
received from the disposition of encumbered assets that would be distributed to the holders of the
liens on such assets, and by the payment of such additional administrative expenses and priority
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claims arising from the use of chapter 7 for the purposes of liquidation. Any remaining Cash
would be allocated to unsecured creditors and equity interest holders in strict priority in accordance
with section 726 of the Bankruptcy Code. Finally, the present value of such allocations (taking
into account the time necessary to accomplish the liquidation) are compared to the value of the
property that is proposed to be distributed under the Plan on the Effective Date.

The Debtors’ costs of liquidation under chapter 7 would include the fees payable to a trustee in
bankruptcy as well as those fees that might be payable to attorneys and other professionals that the
trustee might engage. Other liquidation costs include the expenses incurred during the Chapter 11
Cases allowed in the chapter 7 cases, such as compensation for attorneys, financial advisors,
appraisers, accountants, and other professionals for the Debtors and statutory committees
appointed in the Chapter 11 Cases, and costs and expenses of members of such committees, as
well as other compensation Claims. Furthermore, additional Claims would arise by reason of the
breach or rejection of obligations incurred and leases and executory contracts assumed or entered
into by the Debtors during the pendency of the Chapter 11 Cases. The foregoing types of Claims,
costs, expenses, fees, and such other Claims that may arise in a liquidation case would be paid in
full from the liquidation proceeds before the balance of those proceeds would be made available
to pay prepetition priority and unsecured Claims, or available for distribution to the holders of
Interests.

After consideration of the effects that a chapter 7 liquidation would have on the ultimate proceeds
available for distribution to holders of Claims and Interests in the Chapter 11 Cases, including (1)
the increased costs and expenses of a liquidation under chapter 7 arising from fees payable to a
trustee in bankruptcy and professional advisors to such trustee, (2) the erosion in value of assets in
a chapter 7 case in the context of the expeditious liquidation required under chapter 7 and the
“forced sale” atmosphere that would prevail, and (3) the substantial increase in Claims that would
be satisfied on a priority basis, the Debtors have determined that confirmation of the Plan will
provide each holder of an Allowed Claim or Interest with a recovery that is not less than such
holder would receive pursuant to liquidation of the Debtors under chapter 7. For purposes of the
best interests test, distributions under a chapter 11 plan that substantively consolidates debtors are
compared against distributions in a hypothetical chapter 7 that also substantively consolidates the
debtors.

The Debtors also believe that the value of any distributions to holders of Allowed Claims and
Interests in a chapter 7 case would be less than the value of distributions under the Plan because
such distributions in a chapter 7 case would not occur for a substantial period of time. It is likely
that distribution of the proceeds of the liquidation could be delayed for at least one year after the
completion of such liquidation to resolve Claims and prepare for distributions. In the likely event
litigation was necessary to resolve Claims asserted in a chapter 7 case, the delay could be
prolonged and Administrative Expenses increased.

The Liquidation Analysis annexed hereto as Exhibit C provides a summary of the liquidation
values of the Debtors’ assets, assuming a chapter 7 liquidation in which a trustee appointed by the
Bankruptcy Court would liquidate the assets of the Debtors’ estates and confirms the conclusions
set forth above. Reference should be made to the Liquidation Analysis for a complete discussion
and presentation of the Liquidation Analysis. The Liquidation Analysis was prepared by FTI, with
the assistance of the Debtors’ management and other advisors.
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Underlying the Liquidation Analysis are a number of estimates and assumptions which, although
developed and considered reasonable by the Debtors’ management and their financial advisors,
are inherently subject to significant economic and competitive uncertainties and contingencies
beyond the control of the Debtors and their management. The Liquidation Analysis is also based
on assumptions with regard to liquidation decisions that are subject to change. Accordingly, the
values reflected might not be realized if the Debtors were, in fact, to undergo such a liquidation.
The chapter 7 liquidation period is assumed to be a period of at least six (6) months, allowing for,
among other things, the discontinuation and wind-down of operations within the first few months,
compliance with applicable regulatory requirements, the sale of assets, and the collection of
receivables.

               (c)     Feasibility

The Debtors believe that the Plan meets the feasibility requirement set forth in section 1129(a)(11)
of the Bankruptcy Code, as confirmation is not likely to be followed by liquidation or the need for
further financial reorganization of the Reorganized Debtors or any successor under the Plan. In
connection with the development of the Plan and for the purposes of determining whether the Plan
satisfies the feasibility standard, the Debtors analyzed the ability of the Reorganized Debtors to
satisfy their financial obligations while maintaining sufficient liquidity and capital resources. The
Debtors prepared the Financial Projections attached hereto as Exhibit D based on, among other
things, the anticipated future financial condition and results of operations of the Debtors. In
conjunction with the Debtors’ advisors, the Debtors’ management team developed and refined the
business plan and prepared consolidated financial projections of the Debtors for the post-
emergence period from June 15, 2019 through December 31, 2022 (the “Projection Period”).
Based upon such projections, the Debtors believe that all payments required to be made by the
Reorganized Debtors pursuant to the Plan will be made and, therefore, that confirmation of the
Plan is not likely to be followed by liquidation or the need for further financial reorganization.

The Financial Projections assume that the Plan will be consummated in accordance with its terms
and that all transactions contemplated by the Plan will be consummated on or prior to June 15,
2019 (the “Assumed Effective Date”). Any significant delay in the Assumed Effective Date may
have a significant negative impact on the operations and financial performance of the Debtors
including, but not limited to, an increased risk or inability to meet forecasts and the incurrence of
higher reorganization expenses.

Although the Financial Projections represent the Debtors’ best estimates and good faith judgment
(for which the Debtors’ management team believes it has a reasonable basis) of the results of future
operations, financial position, and cash flows of the Debtors, they are only estimates and actual
results may vary considerably from such Financial Projections. Consequently, the inclusion of the
Financial Projections herein should not be regarded as a representation by the Debtors, the
Debtors’ advisors, or any other person that the projected results of operations, financial position,
and cash flows of the Debtors will be achieved.

The Debtors do not intend to further update or otherwise revise the Financial Projections to reflect
circumstances that may occur after their preparation, or to reflect the occurrence of unanticipated
events, even in the event that any or all of the underlying assumptions are shown to be in error.
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Additional information relating to the principal assumptions used in preparing the Financial
Projections are set forth below.

THE FINANCIAL PROJECTIONS HAVE BEEN PREPARED BY THE MANAGEMENT OF
THE DEBTORS, IN CONJUNCTION WITH THE DEBTORS’ ADVISORS, FTI
CONSULTING, INC. THE FINANCIAL PROJECTIONS WERE NOT PREPARED TO
COMPLY WITH THE GUIDELINES FOR PROSPECTIVE FINANCIAL STATEMENTS
PUBLISHED BY THE AMERICAN INSTITUTE OF CERTIFIED PUBLIC ACCOUNTANTS
OR THE RULES AND REGULATIONS OF THE SEC, AND BY THEIR NATURE ARE NOT
FINANCIAL STATEMENTS PREPARED IN ACCORDANCE WITH ACCOUNTING
PRINCIPLES GENERALLY ACCEPTED IN THE UNITED STATES OF AMERICA. THE
DEBTORS’ INDEPENDENT ACCOUNTANTS HAVE NEITHER EXAMINED NOR
COMPILED THE ACCOMPANYING FINANCIAL PROJECTIONS AND ACCORDINGLY
DO NOT EXPRESS AN OPINION OR ANY OTHER FORM OF ASSURANCE WITH
RESPECT TO THE FINANCIAL PROJECTIONS, ASSUME NO RESPONSIBILITY FOR THE
FINANCIAL PROJECTIONS AND DISCLAIM ANY ASSOCIATION WITH THE
FINANCIAL PROJECTIONS.
THE FINANCIAL PROJECTIONS DO NOT REFLECT THE IMPACT OF FRESH START
REPORTING IN ACCORDANCE WITH AMERICAN INSTITUTE OF CERTIFIED PUBLIC
ACCOUNTANTS STATEMENT OF POSITION 90-7 “FINANCIAL REPORTING BY
ENTITIES IN REORGANIZATION UNDER THE BANKRUPTCY CODE.” THE IMPACT OF
FRESH START REPORTING AT THE EFFECTIVE DATE MAY HAVE AN IMPACT ON
ASSETS, LIABILITIES AND SHAREHOLDER EQUITY AS REFLECTED ON THE
REORGANIZED DEBTORS CONSOLIDATED BALANCE SHEETS AND PROSPECTIVE
RESULTS OF OPERATIONS.

General Assumptions and Methodology

The Financial Projections for the Debtors are based on the Debtors’ 2019 – 2021 business plan as
informed by current and projected conditions in each of the Debtors’ markets and businesses. The
Financial Projections include regional and corporate operations and are presented on a
consolidated basis. The Financial Projections consist of the following unaudited pro forma
financial statements for each year in the Projection Period: (i) projected consolidated statements
of operations, (ii) projected consolidated balance sheets, and (iii) projected consolidated statements
of cash flows.

The Financial Projections, which are presented on a consolidated basis, include the operations of
the Company’s three reporting segments: Domestic, Europe, and Japan. The Financial Projections
are presented prior to any impact on the business from platform risk, which would impact both
revenue and EBITDA in 2019. The Financial Projections do not assume the impact of movements
in global foreign exchange rates. The Financial Projections also assume no changes to the NCS
joint venture. Changes in Catalina’s business relationship with NCS, including as it relates to the
NCS Agreement, could have a material impact on the Financial Projections.

Projected Consolidated Income Statement Assumptions
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Net Revenue: Net revenue is comprised of sales to customers through the Company’s in-store
operations, BuyerVision, and Digital Promotions in addition to revenue generated through the
NCS joint-venture and expected new business. The net revenue forecast is based primarily on the
Debtors’ perspective on historical and expected regional sales trends in each of the Company’s
operating segments.

Cost of Sales: Cost of sales is directly related to revenue generated by operating segment and
consists primarily of direct costs to support the in-store operations and the costs to target and
measure digital operations. Cost of sales for in-store operations consist of ink, paper, retailer fees,
and services. Cost of sales for the Debtors’ digital operations consists of traffic acquisition,
targeting, measurement, media and other direct costs. Cost of sales has been forecasted based on
Debtors’ expectations with regards to each of the direct line items by segment as outlined above.

SG&A: Selling, general and administrative (“SG&A”) costs consist of the global sales team,
operations and corporate costs. Each of the SG&A items is modeled separately and include
potential cost savings or impacts based on the Debtors’ expectations. The Financial Projections
reflect ongoing SG&A savings from cost reduction efforts enacted prior to emergence.

Other: Other consists primarily of the Debtors’ estimation of costs that are one-time in nature.

Depreciation and Amortization: Depreciation and Amortization (“D&A”) expense is based on
Management’s expectation of D&A for existing assets and five-year straight-line depreciation on
projected capex in the business plan.

Interest Expense: Interest expense is modeled on the latest lender term sheet dated December 7,
2019.

Income Tax Expense: Income tax expense is forecasted separately for the Domestic, Europe, and
Japan operations and includes the Debtors’ estimation of the impact of tax reform. The Debtors
do not assume any tax attributes will be applied after the Effective Date.

Projected Consolidated Cash Flow Statement and Balance Sheet Assumptions

Changes in Working Capital: Changes in working capital are forecasted separately for the
Domestic, Europe, and Japan operations. Working capital, and the resulting changes in working
capital, are forecasted by-line item and are based on days sales outstanding, days payables
outstanding, percent of revenue, and percent of cost of sales plus SG&A and utilizing historic
analysis and trends.

Capex: Capital expenditures (“Capex”) include the Debtors’ forecasts on both maintenance and
growth capex. The maintenance capex includes spending to maintain and update the Debtors’
global printer network and stabilize the platform. Growth capex is expected for product
development, retail network expansion, and retail data fees.
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Proceeds/(Repayments) on Debt: Proceeds and repayments on debt is modeled on the latest lender
term sheet dated December 7, 2019 and includes proceeds from the exit facility and mandatory
amortization.

Long-Term Debt: Long-term debt is modeled on the latest lender term sheet dated December 7,
2019 and includes the A&R First-Out Tranche, the A&R Last-Out Tranche, and the A&R Exit
Facility. The A&R First-Out Tranche and A&R Exit Facility are presented net of mandatory
amortization and the A&R Last-Out Tranche includes interest payments in kind.

               (d)     Equitable Distribution of Voting Power.

On or before the Effective Date, pursuant to and only to the extent required by section 1123(a)(6)

of the Bankruptcy Code, the organizational documents for the Debtors will be amended as
necessary to satisfy the provisions of the Bankruptcy Code and will include, among other things,
pursuant to section 1123(a)(6) of the Bankruptcy Code, (i) a provision prohibiting the issuance of
non-voting equity securities, and (ii) a provision setting forth an appropriate distribution of voting
power among classes of equity securities possessing voting power.

               2.      Additional Requirements for Non-Consensual Confirmation.

Under the Bankruptcy Code, a Class accepts a chapter 11 plan if (i) holders of two-thirds (2/3) in
amount and (ii) with respect to holders of Claims, more than a majority in number of the allowed
claims in such class (other than those designated under section 1126(e) of the Bankruptcy Code)
vote to accept the plan. Holders of Claims or Interests that fail to vote are not counted in
determining the thresholds for acceptance of the Plan.

In the event that any Impaired Class of Claims does not accept or is deemed to reject the Plan, the
Bankruptcy Court may still confirm the Plan at the request of the Debtors if, as to each impaired
Class of Claims or Interests that has not accepted the Plan, the Plan “does not discriminate
unfairly” and is “fair and equitable” with respect to such Classes of Claims or Interests, pursuant
to section 1129(b) of the Bankruptcy Code. Both of these requirements are in addition to other
requirements established by case law interpreting the statutory requirements.

Pursuant to the Plan, holders of Claims in Class 6 (NCS Rejection Claims), Class 7 (General
Unsecured PDM Claims), Class 9 (Subordinated Claims), and Class 10 (Existing Equity Interests)
will not receive a distribution and are thereby deemed to reject the Plan. However, the Debtors
submit that they satisfy the “unfair discrimination” and “fair and equitable” tests, as discussed in
further detail below.

               (a)     Unfair Discrimination Test.

The “unfair discrimination” test applies to Classes of Claims that are of equal priority and are
receiving different treatment under the Plan. A chapter 11 plan does not discriminate unfairly,
within the meaning of the Bankruptcy Code, if the legal rights of a dissenting Class are treated in
a manner consistent with the treatment of other Classes whose legal rights are substantially similar
to those of the dissenting Class and if no Class of Claims receives more than it legally is entitled
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to receive for its Claims. This test does not require that the treatment be the same or equivalent,
but that such treatment be “fair.”

The Debtors believe the Plan satisfies the “unfair discrimination” test. Claims of equal priority are
receiving comparable treatment and such treatment is fair under the circumstances.

                (b)          Fair and Equitable Test.

The “fair and equitable” test applies to classes of different priority and status (e.g., secured versus
unsecured) and includes the general requirement that no class of claims receive more than 100%
of the allowed amount of the claims in such class. As to dissenting classes, the test sets different
standards depending on the type of claims in such class. The Debtors believe that the Plan satisfies
the “fair and equitable” test with respect to any dissenting Classes, as further explained below.

                      (i)       Secured Creditors.

The Bankruptcy Code requires that each holder of an impaired secured claim either (a) retain its
liens on the property to the extent of the allowed amount of its secured claim and receive deferred
cash payments having a value, as of the Effective Date, of at least the allowed amount of such
claim, (b) have the right to credit bid the amount of its claim if its property is sold and retain its
liens on the proceeds of the sale (or if sold, on the proceeds thereof), or (c) receive the “indubitable
equivalent” of its allowed secured claim.

                      (ii)      Unsecured Creditors.

The Bankruptcy Code requires that either (a) each holder of an impaired unsecured claim receive
or retain under the Plan property of a value equal to the amount of its allowed claim or (b) the
holders of claims and equity interests that are junior to the claims of the dissenting class not receive
any property under the Plan. The Plan provides that each holder of an Impaired unsecured Claim
shall receive the treatment summarized above in Article V of this Disclosure Statement.

                      (iii)     Equity Interests.

The Bankruptcy Code requires that either (a) each holder of an equity interest receive or retain
under the Plan property of a value equal to the greater of (i) the fixed liquidation preference or
redemption price, if any, of such stock and (ii) the value of the stock, or (b) the holders of equity
interests that are junior to any dissenting class of equity interests not receive any property under
the Plan. Pursuant to the Plan, all Existing Equity Interests will be cancelled and the holders of
Existing Equity Interests will neither receive nor retain any property on account of such interests.

                                               XII.
                                        VALUATION ANALYSIS

        A.      Disclaimer.

THE VALUATIONS SET FORTH HEREIN REPRESENT ESTIMATED
DISTRIBUTABLE VALUE FOR THE DEBTORS AND DO NOT NECESSARILY
REFLECT VALUES THAT COULD BE ATTAINABLE IN THE PUBLIC OR PRIVATE
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MARKETS. THE VALUE OF THE NEW COMMON STOCK DOES NOT PURPORT TO
BE AN ESTIMATE OF THE POST-REORGANIZATION MARKET VALUE OF THE
REORGANIZED DEBTORS.

         B.       Valuation Estimate.

In connection with developing the Plan, the Debtors directed their investment banker, Centerview,
to estimate the going-concern value of the Reorganized Debtors. This analysis has been prepared
for the Debtors’ sole use and is based on information provided to Centerview by the Debtors.

Based on the Financial Projections set forth in Exhibit D and subject to the disclaimers and the
descriptions of Centerview’s methodology set forth herein, and solely for purposes of the Plan,
Centerview estimates the total enterprise value of the Reorganized Debtors to be within the range
of approximately $460 million to $730 million as of December 31, 2018 with an estimated
midpoint of $595 million. 5 The range of total equity value, which takes into account the total
enterprise value less the estimated net debt outstanding as of the Effective Date, was estimated by
Centerview to be between approximately $179 million and $449 million with an estimated
midpoint of $314 million. The implied total enterprise value should be considered as a whole, and
the underlying analyses should not be considered indicative of the values of any individual
operation of the Reorganized Debtors.

In preparing the estimated total enterprise value range for the Reorganized Debtors, Centerview:
(1) reviewed certain historical financial information of the Debtors for recent years and interim
periods; (2) met with certain members of the Debtors’ senior management to discuss the Debtors’
operations and future prospects; (3) reviewed publicly available financial data and considered the
market values of public companies deemed generally comparable to the operating businesses of
the Debtors; (4) considered certain economic and industry information relevant to the Debtors’
operating businesses; (5) prepared discounted cash flow analyses based on the Financial
Projections, utilizing various discount rates and assumptions in the calculation of terminal values;
(6) considered the value assigned to certain precedent change-of-control transactions for
businesses similar to those of the Debtors; and (7) conducted such other analyses as Centerview
deemed appropriate.

Although Centerview conducted a review and analysis of the Debtors’ businesses, operating assets
and liabilities, and business plans, Centerview relied on the accuracy and completeness of all
financial and other information furnished to it by the Debtors and by other firms retained by the
Debtors and on certain publicly available information as to which Centerview does not have
independent knowledge.

The projections provided by the Debtors to Centerview are for fiscal years 2018 – 2022.
Centerview has relied on the Debtors’ representation and warranty that the Financial Projections
provided by the Debtors to Centerview (1) have been prepared in good faith, (2) are based on fully
disclosed assumptions which, in light of the circumstances under which they were made, are
reasonable, (3) reflect the Debtors’ best currently available estimates, and (4) reflect the good faith

5
  The endpoints of the range of estimated total enterprise value represent the arithmetic means of the endpoints of the
ranges that Centerview calculated using the three valuation methodologies described herein.
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judgments of the Debtors. Centerview does not offer an opinion as to the attainability of the
Financial Projections. The future results of the Reorganized Debtors are dependent upon various
factors, many of which are beyond the control or knowledge of the Debtors, and consequently are
inherently difficult to project. The Reorganized Debtors’ actual future results may differ
materially (positively or negatively) from the Financial Projections and as a result, the actual total
enterprise value of the Reorganized Debtors may be significantly higher or lower than the
estimated range herein.

No independent evaluations or appraisals of the Debtors’ assets were sought or obtained in
connection with Centerview’s valuation. Centerview did not conduct an independent investigation
into any of the legal, tax, pension or accounting matters affecting the Debtors, and therefore makes
no representations as to their impact on the Debtors’ financial statements.

       C.      Valuation Considerations.

This valuation is based upon information available to, and analyses undertaken by, Centerview as
of December 2018, and reflects, among other factors discussed below, the current financial market
conditions and the inherent uncertainty today as to the achievement of the Financial Projections.
The value of an operating business is subject to uncertainties and contingencies that are difficult
to predict and will fluctuate with changes in factors affecting the financial conditions and prospects
of such a business. For purposes of this valuation, Centerview has assumed that no material
changes that would affect value will occur between the date of this Disclosure Statement and the
assumed Effective Date. Events and conditions subsequent to this date, including but not limited
to updated projections, as well as other factors, could have a substantial impact upon the
Reorganized Debtors’ value. Neither Centerview nor the Debtors has any obligation to update,
revise or reaffirm the valuation.

This valuation also reflects a number of assumptions, including a successful reorganization of the
Debtors’ businesses and finances in a timely manner, achieving the forecasts reflected in the
Financial Projections, the minimum amount of cash required to operate the Debtors’ businesses,
market conditions and the Plan becoming effective in accordance with its terms on a basis
consistent with the estimates and other assumptions discussed herein. Among other things, failure
to consummate the Plan in a timely manner may have a materially negative impact on the enterprise
value of the Reorganized Debtors.

Further, the valuation of newly issued securities is subject to additional uncertainties and
contingencies, all of which are difficult to predict. Actual market prices of such securities at
issuance will depend upon, among other things: (i) prevailing interest rates; (ii) conditions in the
financial markets; (iii) the anticipated initial securities holdings of prepetition creditors, some of
which may prefer to liquidate their investment rather than hold it on a long-term basis; and (iv)
other factors that generally influence the prices of securities. Actual market prices of such
securities also may be affected by the Chapter 11 Cases or by other factors not possible to predict.
Accordingly, the total enterprise value ascribed in the analysis does not purport to be an estimate
of the post-reorganization market trading value of the Reorganized Debtors or their securities.
Such trading value may be materially different from the total enterprise value ranges associated
with Centerview’s valuation analysis. As further described in the Disclosure Statement, the
Reorganized Debtors are anticipated to be a private Company that will not be obligated to file
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public reports or disclosures. There can be no assurance that any trading market will develop for
the New Common Stock. The estimates of value for the Reorganized Debtors do not necessarily
reflect the values that may be attainable in public or private markets. Furthermore, in the event
that the actual distributions in the Chapter 11 Cases differ from those the Debtors assumed in their
recovery analysis, the actual recovery of holders of Claims in Impaired Classes could be
significantly higher or lower than estimated by the Debtors.

The estimate of total enterprise value set forth herein is not necessarily indicative of actual
outcomes, which may be significantly more or less favorable than those set forth herein depending
on the results of the Debtors’ operations or changes in the financial markets. Additionally, these
estimates of value represent hypothetical enterprise and equity values of the Reorganized Debtors
as the continuing operator of the Debtors’ businesses and assets, and do not purport to reflect or
constitute appraisals, liquidation values or estimates of the actual market value that may be realized
through the sale of any securities to be issued pursuant to the Plan, which may be significantly
different than the amounts set forth herein. Such estimates were developed solely for purposes of
formulation and negotiation of the Plan and analysis of implied relative recoveries to creditors
thereunder. The value of an operating business such as the Debtors’ businesses is subject to
uncertainties and contingencies that are difficult to predict and will fluctuate with changes in
factors affecting the financial condition and prospects of such businesses.

Centerview’s estimated valuation range of the Reorganized Debtors does not constitute a
recommendation to any holder of Allowed Claims or Equity Interests as to how such person should
vote or otherwise act with respect to the Plan. The estimated value of the Reorganized Debtors set
forth herein does not constitute an opinion as to the fairness from a financial point of view to any
person of the consideration to be received by such person under the Plan or of the terms and
provisions of the Plan. Because valuation estimates are inherently subject to uncertainties, none
of the Debtors, Centerview or any other person assumes responsibility for their accuracy or any
differences between the estimated valuation ranges herein and any actual outcome.
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                                     XIII.
                        CONCLUSION AND RECOMMENDATION

The Debtors believe the Plan is in the best interests of all stakeholders and urge the holders of
Claims in Classes 3 and 4 to vote in favor thereof.

Dated: December 11, 2018


CATALINA MARKETING CORPORATION
CATALINA MARKETING PROCUREMENT, LLC
CATALINA MARKETING TECHNOLOGY SOLUTIONS, INC.
CATALINA MARKETING WORLDWIDE, LLC
CELLFIRE INC.
CHECKOUT HOLDING CORP.
MODIV MEDIA, INC.
PDM GROUP HOLDINGS CORPORATION
PDM HOLDINGS CORPORATION
PDM INTERMEDIATE HOLDINGS A CORPORATION
PDM INTERMEDIATE HOLDINGS B CORPORATION



By:    /s/ Shelly Schaffer
Name: Shelly Schaffer
Title: Chief Financial Officer and
       Authorized Representative
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                        Exhibit A

                            Plan
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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF DELAWARE

------------------------------------------------------------ X
                                                             :
In re                                                        :      Chapter 11
                                                             :
CHECKOUT HOLDING CORP., et al.,                              :      Case No. 18-[_____] (___)
                                                             :
                                                             :      (Joint Administration Pending)
                                      1
                           Debtors.
                                                             :
------------------------------------------------------------ X


                    JOINT PREPACKAGED CHAPTER 11 PLAN OF
               CHECKOUT HOLDING CORP. AND ITS AFFILIATED DEBTORS



        WEIL, GOTSHAL & MANGES LLP                           RICHARDS, LAYTON & FINGER, P.A.
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                                                             Attorneys for Debtors and
        Attorneys for Debtors and                            Debtors in Possession
        Debtors in Possession




Dated: December 11, 2018
Wilmington, Delaware




1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Catalina Marketing Corporation (9007); Catalina Marketing Procurement, LLC (9333); Catalina
Marketing Technology Solutions, Inc. (8728); Catalina Marketing Worldwide, LLC (9687); CellFire Inc. (5599);
Checkout Holding Corp. (4651); Modiv Media, Inc. (3507); PDM Group Holdings Corporation; PDM Holdings
Corporation; PDM Intermediate Holdings A Corporation; and PDM Intermediate Holdings B Corporation. The
Debtors’ principal offices are located at 200 Carillon Parkway, St. Petersburg, FL 33716.




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               Each of Checkout Holding Corp., Catalina Marketing Corporation, Catalina
Marketing Procurement, LLC, Catalina Marketing Technology Solutions, Inc., Catalina
Marketing Worldwide, LLC, CellFire Inc., Modiv Media, Inc., PDM Group Holdings
Corporation, PDM Holdings Corporation, PDM Intermediate Holdings A Corporation, and PDM
Intermediate Holdings B Corporation (each, a “Debtor” and collectively, the “Debtors”)
proposes the following joint prepackaged chapter 11 plan of reorganization pursuant to section
1121(a) of the Bankruptcy Code. Capitalized terms used herein shall have the meanings set forth
in Section 1.1 below.



ARTICLE I.                     DEFINITIONS AND INTERPRETATION.

                    1.1        Definitions.

                    The following terms shall have the respective meanings specified below:

               A&R Agent means the Person selected by the Ad Hoc First Lien Group to serve
as administrative agent under the Amended and Restated First Lien Credit Agreement, its
successors, assigns, or any replacement agent appointed pursuant to the terms of the Amended
and Restated First Lien Credit Agreement.

              A&R Exit Facility means the exit financing facility under that certain Amended
and Restated First Lien Credit Facility, consisting of the A&R First-Out Tranche and the A&R
Last-Out Tranche, which shall have an aggregate principal amount of $40 million.

                A&R Exit Facility Backstop Payment means the payment made to the Backstop
Parties (as defined in the Amended & Restated First Lien Credit Agreement) to the A&R Exit
Facility.

             A&R Exit Facility Commitment Payment means the payment made to the
Commitment Parties (as defined in the Amended & Restated First Lien Credit Agreement) to the
A&R Exit Facility.

               A&R First-Out Tranche means the first lien first-out tranche of loans under that
certain Amended and Restated First Lien Credit Facility, which shall have an aggregate principal
amount equal to the sum of (a) the amount of the DIP Facility New Money Loan Claims and (b)
the amount of the A&R Exit Facility.

              A&R Last-Out Tranche means the first lien last-out tranche of loans under that
certain Amended and Restated First Lien Credit Facility, which shall have an aggregate principal
amount equal to the DIP Facility Roll-Up Claims.

               A&R First Lien Lenders means the lenders party to the Amended and Restated
First Lien Credit Agreement.

                Acquisition Agreement means that certain acquisition agreement, to be entered
into on or prior to the Effective Date, among CMC (as defined below), CHC (as defined below),




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and the Acquisition Company (as defined below) in the event the Acquisition Transactions (as
defined below) are to occur, to acquire by merger or transfer the stock or substantially all of the
assets of CMC, in accordance with the terms therein and this Plan.

               Acquisition Company means a newly-formed corporate subsidiary, indirectly
wholly-owned by PacificCo. that, in the event the Acquisition Transactions occur, shall acquire
by merger or transfer the stock or substantially all of the assets of CMC in accordance with the
Acquisition Transactions.

                Acquisition Transactions means the CMC Acquisition and any other transactions
that will be undertaken in connection with the CMC Acquisition pursuant to section 1123 of the
Bankruptcy Code, which shall be described in the Plan Supplement.

               Acquisition Transactions Exhibit means a description of some or all of the
Restructuring Transactions, including any Acquisition Transactions, which will be included in
the Plan Supplement.

              Ad Hoc First Lien Group means the group of First Lien Lenders represented by
Jones Day and Evercore Group, L.L.C. (“Evercore”).

              Adequate Protection Claims means any Allowed superpriority administrative
expense claims of the First Lien Lenders pursuant to section 507(b) of the Bankruptcy Code and
the DIP Orders.

                 Administrative Expense Claim means any Claim for costs and expenses of
administration of the Chapter 11 Cases pursuant to sections 327, 328, 330, 365, 503(b),
507(a)(2), or 507(b) of the Bankruptcy Code (other than DIP Facility Claims but including
Adequate Protection Claims), including, (a) the actual and necessary costs and expenses incurred
after the Petition Date and through the Effective Date of preserving the Estates and operating the
businesses of the Debtors; (b) Fee Claims; (c) Restructuring Expenses; and (d) all fees and
charges assessed against the Estates pursuant to sections 1911 through 1930 of chapter 123 of
title 28 of the United States Code.

                  Allowed means, with respect to any Claim or Interest (i) as to which the Debtors
and the holder of the Claim agree to the amount of the Claim or a court of competent jurisdiction
has determined the amount of the Claim by Final Order; (ii) any Claim or Interest that is
compromised, settled, or otherwise resolved pursuant to the authority of the Debtors or
Reorganized Debtors, as applicable, in a Final Order of the Bankruptcy Court; (iii) any Claim
that is listed in the Schedules, if any are filed, as liquidated, non-contingent and undisputed; or
(iv) any Claim or Interest expressly allowed hereunder; provided that the Reorganized Debtors
shall retain all claims and defenses with respect to Allowed Claims that are reinstated or
otherwise Unimpaired pursuant to this Plan.

               Amended and Restated First Lien Credit Agreement means that certain
Amended and Restated First Lien Credit Agreement, to be dated as of the Effective Date, by and
among the Reorganized Debtors, the A&R Agent, and the A&R First Lien Lenders, substantially
in the form thereof contained in the Plan Supplement.



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              Amended and Restated First Lien Credit Facility means that certain Amended
and Restated First Lien Credit Facility comprised of (a) the A&R First-Out Tranche and (b) the
A&R Last-Out Tranche, each as set forth in the Amended and Restated First Lien Credit
Agreement.

               Amended By-Laws means, with respect to a Reorganized Debtor, such
Reorganized Debtor’s amended or amended and restated by-laws or operating agreement, as
applicable, substantially in the form thereof contained in the Plan Supplement to the extent it
contains material changes to the existing by-laws or operating agreement of such Debtor.

                Amended Certificate of Incorporation means, with respect to each Reorganized
Debtor, such Reorganized Debtor’s amended or amended and restated certificate of incorporation
or certificate of formation, as applicable, substantially in the form thereof contained in the Plan
Supplement.

                 Asset means all of the right, title, and interest of a Debtor or any Estate in and to
property of whatever type or nature (including, without limitation, real, personal, mixed,
intellectual, tangible, and intangible property).

              Bankruptcy Code means title 11 of the United States Code, 11 U.S.C. §§ 101 et
seq., as amended from time to time.

               Bankruptcy Court means the United States Bankruptcy Court for the District of
Delaware having jurisdiction over the Chapter 11 Cases and, to the extent of any reference made
under section 157 of title 28 of the United States Code or the Bankruptcy Court is determined not
to have authority to enter a Final Order on an issue, the unit of such District Court having
jurisdiction over the Chapter 11 Cases under section 151 of title 28 of the United States Code.

               Bankruptcy Rules means the Federal Rules of Bankruptcy Procedure as
promulgated by the United States Supreme Court under section 2075 of title 28 of the United
States Code, as amended from time to time, applicable to the Chapter 11 Cases, and any local
and chamber rules of the Bankruptcy Court.

                 Berkshire Funds means Berkshire Fund VIII, L.P., a Delaware limited
partnership, Berkshire Fund VIII-A, L.P., a Delaware limited partnership, Berkshire Investors III
LLC, a Delaware limited liability corporation, and Berkshire Investors IV LLC, a Delaware
limited liability corporation.

               Business Day means any day other than a Saturday, a Sunday, or “legal holiday”
(as defined in Bankruptcy Rule 9006(a)).

                    Cash means legal tender of the United States of America.

                    Catalina Parent means PDM Group Holdings Corporation, a Delaware
corporation.




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                Catalina Parent Group means the consolidated group as defined in Section 1504
of the Internal Revenue Code of 1986, as amended, of which Catalina Parent is the common
parent.

                 Cause of Action means any action, claim, cross-claim, third-party claim, cause of
action, controversy, demand, right, Lien, indemnity, contribution, guaranty, suit, obligation,
liability, debt, damage, judgment, account, defense, remedy, offset, power, privilege, license and
franchise of any kind or character whatsoever, known, unknown, contingent or non-contingent,
matured or unmatured, suspected or unsuspected, liquidated or unliquidated, disputed or
undisputed, foreseen or unforeseen, direct or indirect, choate or inchoate, secured or unsecured,
assertable directly or derivatively (including, without limitation, under alter ego theories),
whether arising before, on, or after the Petition Date, in contract or in tort, in law or in equity, or
pursuant to any other theory of law. For the avoidance of doubt, Cause of Action includes:
(a) any right of setoff, counterclaim, or recoupment and any claim for breach of contract or for
breach of duties imposed by law or in equity; (b) the right to object to Claims or Interests;
(c) any claim pursuant to sections 362 or chapter 5 of the Bankruptcy Code; (d) any claim or
defense including fraud, mistake, duress and usury, and any other defenses set forth in section
558 of the Bankruptcy Code; and (e) any claims under any state or foreign law, including,
without limitation, any fraudulent transfer or similar claims.

               Chapter 11 Case means (a) with respect to a Debtor, such Debtor’s case under
chapter 11 of the Bankruptcy Code commenced on the Petition Date in the Bankruptcy Court and
(b) when used with reference to all of the Debtors, the procedurally consolidated and jointly
administered chapter 11 cases styled In re Checkout Holding Corp., et al., Ch. 11 Case No. 18-
[●] ([●]).

                    CHC means Checkout Holding Corp., a Delaware corporation.

              Claim means a “claim,” as defined in section 101(5) of the Bankruptcy Code,
against any Debtor.

               Class means any group of Claims or Interests classified under this Plan pursuant
to section 1122(a) of the Bankruptcy Code.

                    CMC means Catalina Marketing Corporation, a Delaware corporation.

                CMC Acquisition means, as determined by the Debtors (with the consent of the
Ad Hoc First Lien Group and the Ad Hoc Second Lien Group) no later than the CMC
Acquisition Election Date, either (i) the merger of Acquisition Company or a subsidiary of
Acquisition Company with CMC (with CMC surviving or, in the event the Debtors so determine
no later than five (5) days prior to the Effective Date, with Acquisition Company surviving) in
accordance with the Acquisition Agreement or (ii) the transfer of all the stock of CMC to the
Acquisition Company in accordance with the Acquisition Agreement.

              CMC Acquisition Election Date means the date that is seven (7) days prior to the
Voting Deadline.




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               Collateral means any Asset of a Debtor or an Estate that is subject to a Lien
securing the payment or performance of a Claim, which Lien is not invalid and has not been
avoided under the Bankruptcy Code or applicable nonbankruptcy law.

               Confirmation Date means the date on which the Clerk of the Bankruptcy Court
enters the Confirmation Order on the docket of the Chapter 11 Cases, within the meaning of
Bankruptcy Rule 5003 and 9021.

               Confirmation Hearing means the hearing to be held by the Bankruptcy Court
regarding confirmation of this Plan pursuant to section 1129 of the Bankruptcy Code, as such
hearing may be adjourned or continued from time to time.

                Confirmation Order means the order of the Bankruptcy Court confirming this
Plan pursuant to section 1129 of the Bankruptcy Code and approving the Disclosure Statement
and related solicitation materials.

               Consenting Sponsor means the Berkshire Funds, to the extent they are a party to
the Restructuring Support Agreement on or before the deadline established in the Plan for filing
the Plan Supplement and are at such time and on the Effective Date each in compliance with all
of the representations, agreements, and obligations set forth in the Restructuring Support
Agreement with respect to the Consenting Sponsor as if they had each executed the
Restructuring Support Agreement on the Support Effective Date (as defined in the Restructuring
Support Agreement).

               Cure Amount means the payment of Cash or the distribution of other property (as
the parties may agree or the Bankruptcy Court may order) as necessary to (a) cure a monetary
default by the Debtors in accordance with the terms of an executory contract or unexpired lease
of the Debtors and (b) permit the Debtors to assume such executory contract or unexpired lease
under section 365(a) of the Bankruptcy Code.

                    Debtor has the meaning set forth in the introductory paragraph of this Plan.

                Debtor in Possession means, with respect to a Debtor, that Debtor in its capacity
as a debtor in possession pursuant to sections 1101, 1107(a), and 1108 of the Bankruptcy Code.

             Definitive Documents has the meaning ascribed to such term in the Restructuring
Support Agreement.

              DIP Facility means the senior secured superpriority term loan facility in the
amount of $275 million consisting of the DIP Facility New Money Loans and the DIP Facility
Roll-Up Loans, on the terms and conditions set forth in the DIP Facility Loan Agreement, as
approved by the DIP Facility Order.

              DIP Facility Agent means JPM, solely in its capacity as administrative agent
under the DIP Facility Loan Agreement, its successors, assigns, or any replacement agent
appointed pursuant to the terms of the DIP Facility Loan Agreement.




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               DIP Facility Claim means a Claim held by the DIP Facility Lenders or the DIP
Facility Agent arising under or relating to the DIP Facility Loan Agreement or the DIP Facility
Order, including any and all fees, interests, and accrued but unpaid interest and fees arising under
the DIP Facility Loan Agreement.

                    DIP Facility Lenders means the lenders party to the DIP Facility Loan
Agreement.

                DIP Facility Loan Agreement means that certain Senior Secured Super-Priority
Debtor-in-Possession Credit Agreement to be dated after the Petition Date, by and among CHC,
as borrower, certain affiliates and subsidiaries of CHC, as guarantors, the DIP Facility Agent,
and the DIP Facility Lenders, on terms mutually acceptable to the Debtors and the DIP Facility
Lenders, with any amendments, modifications or supplements thereto as permitted by the DIP
Facility Order.

             DIP Facility New Money Loans means the new money loans in the principal
amount of $125 million provided by the DIP Facility Lenders under the DIP Facility Loan
Agreement.

               DIP Facility New Money Loan Claim means a Claim held by the DIP Facility
Lenders or the DIP Facility Agent arising from or related to the DIP Facility New Money Loans.

               DIP Facility Order means (i) the Interim Order Pursuant to 11 U.S.C. §§ 105,
361, 362, 363, 364, and 507 and Bankruptcy Rules 2002, 4001 and 9014 (I) Authorizing the
Debtors to Obtain Senior Secured, Superpriority, Post-Petition Financing (II) Authorizing the
Use of Cash Collateral, (III) Granting Priming Liens, Priority Liens and Superpriority Claims
and (IV) Granting Adequate Protection to Prepetition Secured Parties, and (ii) a Final Order
entered by the Bankruptcy Court authorizing the Debtors to enter into the DIP Facility Loan
Agreement and access the DIP Facility.

               DIP Facility Roll-Up Loan Claim means a Claim held by the DIP Facility
Lenders or the DIP Facility Agent arising from or related to the DIP Facility Roll-Up Loans.

              DIP Facility Roll-Up Loans means the roll-up loans in the principal amount of
$150 million provided by the DIP Facility Lenders under the DIP Facility Loan Agreement.

               Disbursing Agent means any entity in its capacity as a disbursing agent under
Section 6.5 hereof, including any Debtor or Reorganized Debtor, as applicable, that acts in such
a capacity.

               Disclosure Statement means the disclosure statement for this Plan, as
supplemented from time to time, which is prepared and distributed in accordance with sections
1125, 1126(b), or 1145 of the Bankruptcy Code, Bankruptcy Rules 3016 and 3018, or other
applicable law, including all exhibits and schedules thereto.

               Disputed means, with respect to a Claim, (a) any Claim, which Claim is disputed
under Section 7 of this Plan or as to which the Debtors have interposed and not withdrawn an
objection or request for estimation that has not been determined by a Final Order; (b) any Claim,


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proof of which was required to be filed by order of the Bankruptcy Court but as to which a proof
of claim was not timely or properly filed; (c) any Claim that is listed in the Schedules, if they are
filed, as unliquidated, contingent or disputed, and as to which no request for payment or proof of
claim has been filed; or (d) any Claim that is otherwise disputed by any of the Debtors or
Reorganized Debtors in accordance with applicable law or contract, which dispute has not been
withdrawn, resolved or overruled by a Final Order. To the extent the Debtors dispute only the
amount of a Claim, such Claim shall be deemed Allowed in the amount the Debtors do not
dispute, if any, and Disputed as to the balance of such Claim.

               Distribution Record Date means, except as otherwise provided in this Plan, the
Effective Date.

              DTC means the Depository Trust Company, a limited-purpose trust company
organized under the New York State Banking Law.

                Effective Date means the date which is the first Business Day selected by the
Debtors, with the consent of the Required Restructuring Support Parties, which consent may not
be unreasonably withheld, after which (a) all conditions to the effectiveness of this Plan set forth
in Sections 9.1 and 9.2 hereof have been satisfied or waived in accordance with the terms of this
Plan (other than those conditions that can only be satisfied immediately prior to or concurrent
with the effectiveness of this Plan) and (b) no stay of the Confirmation Order is in effect.

              Estate or Estates means individually or collectively, the estate or estates of the
Debtors created under section 541 of the Bankruptcy Code upon the commencement of the
applicable Debtor’s Chapter 11 Case.

                    Exchange Act means the Securities Exchange Act of 1934, as amended.

                Exculpated Parties means collectively, and in each case in their capacities as
such during the Chapter 11 Cases: (i) the Debtors, (ii) the Reorganized Debtors, and (iii) with
respect to each of the foregoing entities, such entities’ subsidiaries, affiliates, current and former
officers and directors, principals, shareholders, members, partners, managers, employees, agents,
advisory board members, financial advisors, attorneys, accountants, investment bankers,
consultants, representatives, and all other retained estate professionals.

               Existing Equity Interests means all common stock of Catalina Parent issued and
outstanding as of the Effective Date, whether or not transferable or fully vested.

                Fee Claim means a Claim for professional services rendered or costs incurred on
or after the Petition Date through the Effective Date by Professional Persons.

                Fee Escrow Account means a segregated interest-bearing account in an amount
equal to the total estimated amount of Fee Claims and funded by the Debtors on the Effective
Date, subject to the consent of the Required DIP Facility Lenders.

                Final Order means an order, ruling or judgment of the Bankruptcy Court (or any
other court of competent jurisdiction) entered by the Clerk of the Bankruptcy Court on the
docket in the Chapter 11 Cases (or by the clerk of such other court of competent jurisdiction on


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the docket of such court), which has not been reversed, stayed, modified, amended or vacated,
and as to which (a) the time to appeal, petition for certiorari or move for a new trial, stay,
reargument or rehearing has expired and as to which no appeal, petition for certiorari or motion
for new trial, stay, reargument or rehearing shall be pending or (b) if an appeal, writ of certiorari,
new trial, stay, reargument or rehearing thereof has been sought, such order or judgment of the
Court (or other court of competent jurisdiction) shall have been affirmed by the highest court to
which such order was appealed, or certiorari shall have been denied, or a new trial, stay,
reargument or rehearing shall have been denied or resulted in no modification of such order, and
the time to take any further appeal, petition for certiorari or move for a new trial, stay,
reargument or rehearing shall have expired, as a result of which such order shall have become
final in accordance with Rule 8002 of the Bankruptcy Rules; provided, however, that the
possibility that a motion under Rule 60 of the Federal Rules of Civil Procedure, or any analogous
rule under the Bankruptcy Rules, may be Filed relating to such order, shall not cause an order not
to be a Final Order.

                First Lien Agent means JPM, solely in its capacity as administrative agent under
the First Lien Credit Agreement.

                    First Lien Debt Claim means any Claims arising under the First Lien Credit
Agreement.

               First Lien Credit Agreement means that certain amended and restated Credit
Agreement, dated as of April 9, 2014 (as amended), by and among PDM Holdings Corporation,
as holdings, CHC, as borrower, the guarantors party thereto, the First Lien Agent, the First Lien
Lenders party thereto, including all guaranties, security agreements, instruments, and any other
documents delivered pursuant thereto or in connection therewith (in each case, as amended from
time to time).

             First Lien Credit Facility means the credit facility set forth in the First Lien
Credit Agreement.

               First Lien Lenders means the lenders party to the First Lien Credit Agreement,
which, for the avoidance of doubt, includes both Revolving Credit Lenders and Term Lenders (as
such terms are defined in the First Lien Credit Agreement).

                General Unsecured Claim means any Claim, other than an Administrative
Expense Claim, DIP Facility Claim, First Lien Debt Claim, General Unsecured PDM Claim,
Intercompany Claim, NCS Rejection Claim, Other Secured Claim, Priority Non-Tax Claim,
Priority Tax Claim, Second Lien Debt Claim, or Subordinated Claim that is not entitled to
priority under the Bankruptcy Code or any Final Order of the Bankruptcy Court.

              General Unsecured PDM Claim means any Unsecured Claim against PDM
Intermediate Holdings B Corporation, including any Unsecured Claim arising under the
Unsecured PDM Notes or the Unsecured PDM Note Purchase Agreement.

               Impaired means, with respect to a Claim, Interest, or a Class of Claims or
Interests, “impaired” within the meaning of such term in section 1124 of the Bankruptcy Code.



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                    Intercompany Claim means any Claim against a Debtor held by another Debtor.

              Intercompany Interest means an Interest in a Debtor other than Catalina Parent
held by another Debtor or an affiliate of a Debtor.

              Intercreditor Agreement means that certain Second Lien Intercreditor
Agreement, dated as of April 9, 2014, by and among PDM Holdings Corporation, as holdings,
CHC, as borrower, the guarantors party thereto, the First Lien Agent, and the Second Lien Agent
(as amended from time to time).

               Interest means any equity security (as defined in section 101(16) of the
Bankruptcy Code) of a Debtor, including all common stock, preferred stock, membership or
partnership interests, or other instrument evidencing any fixed or contingent ownership interest
in any Debtor, including any option, warrant, or other right or instrument, contractual or
otherwise, to acquire any such interest in a Debtor, whether or not transferable and whether fully
vested or vesting in the future, that existed immediately before the Effective Date.

              JPM means JPMorgan Chase Bank, N.A. in all of its capacities under the First
Lien Credit Facility and the DIP Facility (as applicable, each of the documents related thereto,
and the L/C Cash Collateral Agreement).

              JPM Letter of Credit means that certain letter of credit, dated as of October 20,
2017, by and among JPM, as issuer, Epson America, Inc., as beneficiary, and CMC, as applicant.

                JPM Letter of Credit Secured Claim means any Claim arising out of or relating
to (i) the JPM Letter of Credit and (ii) the L/C Cash Collateral Agreement, in the principal
amount of $5,000,000 (plus all fees, expenses and other obligations owing pursuant to the terms
of the First Lien Credit Agreement and the L/C Cash Collateral Agreement), for which the
reimbursement obligations are secured by a Lien on Collateral.

                L/C Cash Collateral Agreement means that certain Cash Collateral Agreement,
dated as of July 5, 2018, between JPM and CHC in respect of the Collateral securing the Cash
Collateral securing the JPM Letter of Credit Secured Claim, as amended, restated, amended and
restated, supplemented or otherwise modified from time to time

                    Lien has the meaning set forth in section 101(37) of the Bankruptcy Code.

               Management Incentive Plan means the post-restructuring management incentive
plan to be adopted by the New Board as further described in Section 5.6 of this Plan.

               New Board means the initial board of directors of Reorganized Catalina Topco,
which shall be appointed by the Ad Hoc First Lien Group.

               New Common Stock means either the shares of common stock of Reorganized
CMC issued pursuant to the Plan or, in the event the CMC Acquisition occurs, the common stock
of PacificCo received pursuant to the Acquisition Agreement.




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                New Stockholders’ Agreement means that certain shareholders’ agreement,
substantially in the form thereof contained in the Plan Supplement, which form shall be
reasonably acceptable to the Required Restructuring Support Parties and the Debtors, effective as
of the Effective Date, to which all parties receiving New Common Stock (and all persons to
whom such parties may sell or transfer their New Common Stock in the future and all persons
who purchase or acquire the New Common Stock in future transactions) shall be required to
become parties.

                 NCS Rejection Claims means any and all Claims arising out of or in any way
relating to that certain NC Ventures, LLC Limited Liability Company Agreement dated as of
June 29, 2009 (as amended, modified, or supplemented from time to time), by and among The
Nielsen Company (US), LLC (“Nielsen”) and CMC, including any contract, license agreement,
or any other agreement or arrangement of any kind whatsoever, between the Debtors and any of
NC Ventures, LLC, Nielsen, or an affiliate of Nielsen (the “NCS Agreement”).

                 Other Secured Claim means any Secured Claim (including the JPM Letter of
Credit Secured Claims) against a Debtor other than a First Lien Debt Claim or a DIP Facility
Claim. For the avoidance of doubt, Other Secured Claim does not include any Claim arising out
of or relating to the Second Lien Credit Agreement.

                PacificCo means a newly-formed corporation (or limited liability company that
elects to be taxable as a corporation) that indirectly owns all of the outstanding stock of the
Acquisition Company.

               Person means an individual, corporation, partnership, joint venture, association,
joint stock company, limited liability company, limited liability partnership, trust, estate,
unincorporated organization, governmental unit (as defined in section 101(27) of the Bankruptcy
Code), or other entity (as defined in section 101(15) of the Bankruptcy Code).

             Petition Date means, with respect to a Debtor, the date on which such Debtor
commenced its Chapter 11 Case.

               Plan means this joint prepackaged chapter 11 plan, including all appendices,
exhibits, schedules, and supplements hereto (including, without limitation, any appendices,
schedules, and supplements to this Plan contained in the Plan Supplement), as may be modified
from time to time in accordance with the Bankruptcy Code, the terms hereof, and the terms of
the Restructuring Support Agreement.

              Plan Distribution means the payment or distribution of consideration to holders
of Allowed Claims and Interests under this Plan.

               Plan Document means any of the documents, other than this Plan, to be executed,
delivered, assumed, or performed in connection with the occurrence of the Effective Date,
including, without limitation, the documents to be included in the Plan Supplement, the
Amended and Restated First Lien Credit Agreement, the Amended Certificates of Incorporation
of the applicable Reorganized Debtors, and the Amended By-Laws of the applicable
Reorganized Debtors, subject to the consent rights set forth in the Restructuring Support
Agreement and as may be modified consistent with the Restructuring Support Agreement.

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                Plan Supplement means a supplemental appendix to this Plan containing, among
other things, substantially final forms (in each case, subject to the consent rights set forth in the
Restructuring Support Agreement and as may be modified consistent with the Restructuring
Support Agreement) of the Amended and Restated First Lien Credit Agreement (exclusive of all
ancillary documents), the applicable Amended Certificates of Incorporation of the applicable
Reorganized Debtors, the applicable Amended By-Laws of the applicable Reorganized Debtors,
and the slate of directors to be appointed to the New Board to the extent known and determined,
a schedule of retained Causes of Action, the Acquisition Agreement, Acquisition Transactions
Exhibit, and, with respect to the members of the New Board, information required to be
disclosed in accordance with section 1129(a)(5) of the Bankruptcy Code; provided, that, through
the Effective Date, the Debtors, with the consent of the Restructuring Support Parties, shall have
the right to amend documents contained in, and exhibits to, the Plan Supplement in accordance
with the terms of this Plan and the Restructuring Support Agreement. The Plan Supplement shall
be filed with the Bankruptcy Court not later than seven (7) calendar days before the Voting
Deadline, or such later date as may be approved by the Bankruptcy Court.

                Priority Non-Tax Claim means any Claim (other than a DIP Facility Claim, an
Administrative Expense Claim, or a Priority Tax Claim) that is entitled to priority in payment as
specified in section 507(a) of the Bankruptcy Code.

               Priority Tax Claim means any Claim of a governmental unit (as defined in
section 101(27) of the Bankruptcy Code) of the kind entitled to priority in payment under
sections 502(i) and 507(a)(8) of the Bankruptcy Code.

               Professional Person means any Person retained by order of the Bankruptcy Court
in connection with these Chapter 11 Cases pursuant to sections 327, 328, 330, 331, 503(b), or
1103 of the Bankruptcy Code, excluding any ordinary course professional retained pursuant to an
order of the Bankruptcy Court.

                Pro Rata means the proportion that an Allowed Claim or Interest in a particular
Class bears to the aggregate amount of Allowed Claims or Interests in that Class.

                  Released Parties means, collectively, and in each case in their capacities as such:
(i) the Debtors and the Reorganized Debtors; (ii) the Debtors’ non-Debtor affiliates; (iii) the
Berkshire Funds; (iv) the Restructuring Support Parties; (v) JPM; (vi) the Second Lien Agent;
and (vii) the DIP Facility Lenders; and with respect to each of the foregoing entities, such
entities’ affiliates, and with respect to each of the foregoing entities and their affiliates, their
predecessors, successors, assigns, subsidiaries, affiliates, managed accounts and funds, current
and former officers and directors, principals, stockholders, shareholders, members, partners,
managers, employees, subcontractors, agents, advisory board members, financial advisors,
attorneys, accountants, investment bankers, consultants, representatives, management
companies, fund advisors, and other professionals, and such entities’ respective heirs, executors,
estates, servants, and nominees.

             Reorganized Catalina Topco means, if the Acquisition Transactions do not occur,
Reorganized CMC, and if the Acquisition Transactions occur, PacificCo.



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              Reorganized CMC means CMC, as reorganized on the Effective Date in
accordance with this Plan.

               Reorganized Debtors means the Debtors, as reorganized as of the Effective Date
in accordance with this Plan, including any transferee or successor thereto by merger, transfer or
otherwise, on or after the Effective Date, including the Acquisition Company.

               Required DIP Facility Lenders means the Required Lenders under the DIP
Facility Loan Agreement.

               Required Restructuring Support Parties means the Requisite Creditors, as
defined in the Restructuring Support Agreement.

              Restructuring means the financial restructuring of the Debtors, the principal
terms of which are set forth in this Plan and the Plan Supplement.

                 Restructuring Expenses means the reasonable and documented fees and expenses
incurred by (a) the Restructuring Support Parties in connection with the Restructuring, subject to
the Debtors’ obligations to reimburse applicable expenses, as provided in the Restructuring
Support Agreement, the DIP Facility Order, and applicable engagement letters, including,
without limitation, the fees and expenses of Jones Day and Evercore (as counsel and financial
advisor, respectively, to the Ad Hoc First Lien Group) and the fees and expenses of Paul Weiss,
Young Conway, and PJT (as counsel, local counsel, and financial advisor, respectively, to the
Second Lien Ad Hoc Group), (b) the First Lien Agent, the L/C Issuer (as defined in the First
Lien Credit Agreement), the DIP Facility Agent, the A&R Agent, the arranger under the DIP
Facility and the A&R Exit Facility, all as provided under the DIP Facility Order and any related
fee letters or engagement letters to which any Debtor is a party, including, without limitation, the
fees and expenses of Davis Polk & Wardwell LLP, Landis Rath & Cobb LLP and Ankura
Consulting Group, LLC (as counsel, local counsel, and financial advisor, respectively, to the
First Lien Agent and DIP Facility Agent), and (c) the Second Lien Agent, including, without
limitation, the fees and expenses of Wilmer Cutler Pickering Hale and Dorr LLP (as counsel to
the Second Lien Agent), one local counsel, and any other advisers, consultants, appraisers and
professionals retained by or on behalf of the Second Lien Agent in connection with any litigation
or contested matter commenced by or against the Second Lien Agent, in each case payable
without the requirement for the filing of retention applications, fee applications, or any other
applications in the Chapter 11 Cases, which shall be Allowed in full as Administrative Expense
Claims upon incurrence and shall not be subject to any offset, defense, counterclaim, reduction,
or credit. For the avoidance of doubt, the fees and expenses of Evercore and PJT shall include
any success, restructuring or transaction fees payable to Evercore or PJT, as the case may be, in
accordance with their respective engagement letters with CHC.

                Restructuring Support Agreement means (a) that certain Restructuring Support
Agreement, dated as of December 11, 2018, by and among Catalina Parent, certain other
affiliates of Catalina Parent specified therein, and the Restructuring Support Parties, as the same
may be amended, restated, or otherwise modified in accordance with its terms and (b) that
certain Plan Term Sheet (as defined in, and attached as an exhibit to, the Restructuring Support
Agreement).


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               Restructuring Support Parties means the Consenting Sponsor (if applicable), and
the holders of First Lien Debt Claims and Second Lien Debt Claims that are signatories to the
Restructuring Support Agreement.

                Restructuring Transactions means one or more transactions pursuant to section
1123(a)(5)(D) of the Bankruptcy Code to occur on or prior to the Effective Date or as soon as
reasonably practicable thereafter, that may be necessary or appropriate to effect any transaction
described in, approved by, contemplated by, or necessary to effectuate this Plan, including (a) the
consummation of the transactions provided for under, contemplated by, or described in the
Restructuring Support Agreement or the Acquisition Transactions Exhibit; (b) the execution and
delivery of appropriate agreements or other documents (including the Plan Documents)
containing terms that are consistent with or reasonably necessary to implement the terms of this
Plan and the Restructuring Support Agreement and that satisfy the requirements of applicable
law; (c) the execution and delivery of appropriate instruments (including the Plan Documents) of
transfer, assignment, assumption, or delegation of any property, right, liability, duty, or
obligation on terms consistent with the terms of this Plan and the Restructuring Support
Agreements; (d) the transactions described in Section 5.10 of the Plan; (e) the Acquisition
Transactions; and (f) all other actions that the Debtors or Reorganized Debtors, as applicable,
determine are necessary or appropriate and consistent with the Restructuring Support Agreement.

                Schedules means, collectively, the schedules of assets and liabilities, schedules of
executory contracts and unexpired leases and statements of financial affairs filed by the Debtors
with the Bankruptcy Court and in substantial accordance with the Official Bankruptcy Forms, as
the same may have been amended, modified or supplemented from time to time, to the extent
such filing is not waived pursuant to an order of the Bankruptcy Court.

              Second Lien Ad Hoc Group means the group of Second Lien Lenders and First
Lien Lenders that own or manage with the authority to act on behalf of the beneficial owners of
the Second Lien Credit Facility and the First Lien Credit Facility, as applicable, who have
executed the Restructuring Support Agreement, represented by Paul Weiss and PJT.

                Second Lien Advisor Engagement Letters means that (a) certain engagement
letter dated as of September 11, 2018, by and between CHC, Paul, Weiss, Rifkind, Wharton &
Garrison LLP (“Paul Weiss”), and PJT Partners, LP (“PJT”); (b) certain reimbursement
agreement dated as of August 23, 2018, by and between CHC and Paul Weiss; (c) certain fee
letter dated as of November 16, 2018, by and between the Second Lien Agent and CHC; and (d)
certain engagement letter dated as of December 11, 2018, by and between CHC and Young
Conaway Stargatt & Taylor, LLP (“Young Conaway”).

              Second Lien Agent means Wilmington Savings Funds Society, FSB, and any
successor agent, as administrative agent, solely in its capacity as administrative agent under the
Second Lien Credit Agreement.

              Second Lien Credit Agreement means that certain amended and restated Credit
Agreement, dated as of April 9, 2014 (as amended), by and among PDM Holdings Corporation,
as holdings, CHC, as borrower, the guarantors party thereto, the Second Lien Agent, the Second
Lien Lenders party thereto, including all guaranties, security agreements, instruments, and any


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other documents delivered pursuant thereto or in connection therewith (in each case, as amended
from time to time).

             Second Lien Credit Facility means the credit facility set forth in the Second Lien
Credit Agreement.

                    Second Lien Debt Claim means any Claims arising under the Second Lien Credit
Agreement.

                    Second Lien Lenders means the lenders party to the Second Lien Credit
Agreement.

                 Secured Claim means a Claim to the extent (i) secured by a Lien on property of a
Debtor’s Estate, the amount of which is equal to or less than the value of such property (A) as set
forth in this Plan, (B) as agreed to by the holder of such Claim and the Debtors, or (C) as
determined by a Final Order in accordance with section 506(a) of the Bankruptcy Code or
(ii) subject to any setoff right of the holder of such Claim under section 553 of the Bankruptcy
Code.

                    Securities Act means the Securities Act of 1933, 15 U.S.C. §§ 77a–77aa, as
amended.

             Security means any “security” as such term is defined in section 101(49) of the
Bankruptcy Code.

                Subordinated Claim means any Claim that is subject to (i) subordination under
section 510(b) of the Bankruptcy Code or (ii) equitable subordination as determined by the
Bankruptcy Court in a Final Order, including, without limitation, any Claim for or arising from
the rescission of a purchase, sale, issuance, or offer of a Security of any Debtor; for damages
arising from the purchase or sale of such a Security; or for reimbursement, indemnification, or
contribution allowed under section 502 of the Bankruptcy Code on account of such Claim.

                    Tax Code means the Internal Revenue Code of 1986, as amended from time to
time.

                 Unimpaired means, with respect to a Claim, Interest, or Class of Claims or
Interests, not “impaired” within the meaning of such term in section 1124 of the Bankruptcy
Code. Notwithstanding anything to the contrary in this Plan, the Plan Documents, or in the
Confirmation Order, until an Allowed Claim that arises prior to the Effective Date has been
(v) paid in full in accordance with applicable law, (w) paid in full or otherwise satisfied under the
governing documents giving rise to the Claim, (x) paid in full or otherwise satisfied pursuant to
terms agreed to between the holder of such Claim and the Debtor or Reorganized Debtor or in
accordance with the terms and conditions of the particular transaction giving rise to such Claim,
(y) paid in full or otherwise satisfied pursuant to this Plan, Plan Documents, or the Confirmation
Order, or (z) otherwise satisfied or disposed of as determined by a court of competent
jurisdiction. For the avoidance of doubt, (i) the provisions of Sections 10.3, 10.4, 10.6, 10.7(b),
10.8, and 10.9 of this Plan shall not apply or take effect with respect to such Claim, (ii) such
Claim shall not be deemed settled, satisfied, resolved, released, discharged, or enjoined by any


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provision of this Plan or the Plan Documents, and (iii) the property of each of the Debtors’
Estates that vests in the applicable Reorganized Debtor pursuant to Section 10.2 of this Plan shall
not be free and clear of such Claim.

                    Unsecured means, with respect to any Claim, any Claim that is not a Secured
Claim.

                Unsecured PDM Note Purchase Agreement means that certain Note Purchase
Agreement, dated as of April 9, 2014, by and among PDM Intermediate Holdings B Corporation,
as issuer, and the purchasers party thereto, including all agreements, notes, instruments, and any
other documents delivered pursuant thereto or in connection therewith (in each case, as amended,
modified, or supplemented from time to time).

              Unsecured PDM Notes means the PIK Notes due April 9, 2022 issued pursuant to
the Unsecured PDM Note Purchase Agreement in the aggregate principal amount outstanding of
$230,000,000 plus all accrued prepetition interest, fees, and other expenses due as of the Petition
Date under the Unsecured PDM Note Purchase Agreement.

                    U.S. Trustee means the United States Trustee for Region 3.

               Voting Deadline means January 23, 2019 at 5:00 p.m. prevailing Eastern Time, or
such date and time as may be set by the Bankruptcy Court.

                    1.2        Interpretation; Application of Definitions; Rules of Construction.

                Unless otherwise specified, all section or exhibit references in this Plan are to the
respective section in or exhibit to this Plan, as the same may be amended, waived, or modified
from time to time in accordance with the terms hereof and the Restructuring Support Agreement.
The words “herein,” “hereof,” “hereto,” “hereunder,” and other words of similar import refer to
this Plan as a whole and not to any particular section, subsection, or clause contained therein and
have the same meaning as “in this Plan,” “of this Plan,” “to this Plan,” and “under this Plan,”
respectively. The words “includes” and “including” are not limiting and shall mean “including,
without limitation” unless otherwise specified. The headings in this Plan are for convenience of
reference only and shall not limit or otherwise affect the provisions hereof. For purposes herein:
(i) in the appropriate context, each term, whether stated in the singular or plural, shall include
both the singular and plural, and pronouns stated in the masculine, feminine, or neuter gender
shall include the masculine, feminine, and the neuter gender; (ii) any reference herein to a
contract, lease, instrument, release, indenture, or other agreement or document being in a
particular form or on particular terms and conditions means that the reference document shall be
substantially in that form or substantially on those terms and conditions; (iii) the rules of
construction set forth in section 102 of the Bankruptcy Code shall apply; and (iv) any term used
in capitalized form herein that is not otherwise defined but that is used in the Bankruptcy Code
or the Bankruptcy Rules shall have the meaning assigned to that term in the Bankruptcy Code or
the Bankruptcy Rules, as the case may be.




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                    1.3        Reference to Monetary Figures.

               All references in this Plan to monetary figures shall refer to the legal tender of the
United States of America unless otherwise expressly provided.

                    1.4        Consent Rights of Restructuring Support Parties.

               Notwithstanding anything herein to the contrary, any and all consent rights of the
Restructuring Support Parties set forth in the Restructuring Support Agreement (or otherwise)
with respect to the form and substance of this Plan, the Plan Supplement, the other Plan
Documents, including any amendments, restatements, supplements, or other modifications to
such documents, or with respect to any other document, actions, or anything else referred to
herein, and any consents, waivers, or other deviations under or from any such documents, shall
be incorporated herein by this reference (including to the applicable definitions in Section 1.1
hereof) and fully enforceable as if stated in full herein.

                    1.5        Controlling Document.

                In the event of an inconsistency between this Plan and the Plan Supplement, the
terms of the relevant document in the Plan Supplement shall control unless otherwise specified in
such Plan Supplement document. In the event of an inconsistency between this Plan and any
other instrument or document created or executed pursuant to this Plan, other than documents
contained in the Plan Supplement, or between this Plan and the Disclosure Statement, this Plan
shall control. The provisions of this Plan and of the Confirmation Order shall be construed in a
manner consistent with each other so as to effectuate the purposes of each; provided, that if there
is determined to be any inconsistency between any provision of this Plan and any provision of
the Confirmation Order that cannot be so reconciled, then, solely to the extent of such
inconsistency, the provisions of the Confirmation Order shall govern, and any such provisions of
the Confirmation Order shall be deemed a modification of this Plan.

ARTICLE II.                    ADMINISTRATIVE EXPENSE CLAIMS, FEE CLAIMS, DIP
                               FACILITY CLAIMS, AND PRIORITY TAX CLAIMS.

                    2.1        Treatment of Administrative Expense Claims.

                Except to the extent that a holder of an Allowed Administrative Expense Claim
other than a Fee Claim agrees to a different treatment, on the Effective Date or as soon thereafter
as is reasonably practicable (but in no event later than thirty (30) days after the Effective Date),
the holder of such Allowed Administrative Expense Claim shall receive, on account of such
Allowed Claim, Cash in an amount equal to the Allowed amount of such Claim; provided, that
Allowed Administrative Expense Claims representing liabilities incurred in the ordinary course
of business by the Debtors (which, for the avoidance of doubt, do not include Restructuring
Expenses, which shall be paid in accordance with the DIP Facility Order, as applicable), as
Debtors in Possession, shall be paid by the Debtors or the Reorganized Debtors, as applicable, in
the ordinary course of business, consistent with past practice and in accordance with the terms
and subject to the conditions of any orders or agreements governing, instruments evidencing, or
other documents establishing, such liabilities.



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                    2.2        Treatment of Fee Claims.

                 All Professional Persons seeking awards by the Bankruptcy Court of
compensation for services rendered or reimbursement of expenses incurred through and
including the Effective Date under sections 327, 328, 330, 331, 503(b)(2), 503(b)(3), 503(b)(4),
503(b)(5), or 1103 of the Bankruptcy Code shall (a) file, on or before the date that is forty-five
(45) days after the Effective Date, their respective applications for final allowances of
compensation for services rendered and reimbursement of expenses incurred and (b) be paid in
full, in Cash, in such amounts as are Allowed by the Bankruptcy Court or authorized to be paid
in accordance with the order(s) relating to or allowing any such Fee Claim. On the Effective
Date, the Debtors shall establish and fund the Fee Escrow Account. The Debtors shall fund the
Fee Escrow Account with Cash equal to the Professional Persons’ good faith estimates of the Fee
Claims. Funds held in the Fee Escrow Account shall not be considered property of the Debtors’
Estates or property of the Reorganized Debtors, but shall revert to the Reorganized Debtors only
after all Fee Claims allowed by the Bankruptcy Court have been irrevocably paid in full. The
Fee Escrow Account shall be held in trust for Professional Persons retained by the Debtors and
for no other parties until all Fee Claims Allowed by the Bankruptcy Court have been paid in
full. Fees owing to the applicable Professional Persons shall be paid in Cash to such
Professional Persons from funds held in the Fee Escrow Account when such Claims are Allowed
by an order of the Bankruptcy Court or authorized to be paid under the Order Establishing
Procedures for Interim Compensation and Reimbursement of Expenses of Professionals;
provided, however, that the Reorganized Debtors’ obligations with respect to Fee Claims shall
not be limited by nor deemed limited to the balance of funds held in the Fee Escrow
Account. To the extent that funds held in the Fee Escrow Account are insufficient to satisfy the
amount of accrued Fee Claims owing to the Professional Persons, such Professional Persons
shall have an Allowed Administrative Expense Claim for any such deficiency, which shall be
satisfied in accordance with Section 2.1 of this Plan. No Liens, claims, or interests shall
encumber the Professional Fee Escrow in any way.

                Any objections to Fee Claims shall be served and filed (a) no later than twenty
one (21) days after the filing of the final applications for compensation or reimbursement or
(b) such later date as ordered by the Bankruptcy Court upon a motion of the Reorganized
Debtors.

                    2.3        Treatment of DIP Facility Claims.

                On the Effective Date, in full and final satisfaction, compromise, settlement,
release, and discharge of, and in exchange for, each Allowed DIP Facility Claim, each holder of
an Allowed DIP Facility Claim shall receive (i) on account of its Allowed DIP Facility New
Money Loan Claims, its Pro Rata share of the loans under the A&R First-Out Tranche, and (ii)
on account of its Allowed DIP Facility Roll-Up Loan Claims, its Pro Rata share of the loans
under the A&R Last-Out Tranche. On the Effective Date, all liens and security interests granted
to secure the obligations arising under the DIP Facility Loan Agreement shall continue, remain
in effect, and be deemed to secure the obligations under the Amended and Restated First Lien
Credit Agreement, subject to the terms and conditions thereof.




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                    2.4        Payment of Fees and Expenses under DIP Facility Order.

               On the earlier of (i) the Effective Date and (ii) the date on which any accrued and
unpaid fees, expenses or disbursements in respect of the DIP Facility and the Exit Facility would
be required to be paid under the terms of the applicable DIP Facility Order, the Restructuring
Support Agreement or any other order of the Bankruptcy Court, the Debtors or Reorganized
Debtors (as applicable) shall pay all fees, expenses and disbursements of the DIP Facility Agent
and the DIP Facility Lenders, in each case, that have accrued and are unpaid as of the Effective
Date and are required to be paid under or pursuant to the DIP Facility Order the Restructuring
Support Agreement or any other order of the Bankruptcy Court, including, for the avoidance of
doubt, professional fees required to be paid as adequate protection for the First Lien Lenders and
the A&R Exit Backstop Payment and A&R Exit Commitment Payment.

                    2.5        Treatment of Priority Tax Claims.

                Except to the extent that a holder of an Allowed Priority Tax Claim agrees to a
different treatment, on the Effective Date or as soon thereafter as is reasonably practicable, the
holder of such Allowed Priority Tax Claim shall receive, on account of such Allowed Priority
Tax Claim, Cash in an amount equal to the Allowed amount of such Claim; provided, that
Allowed Priority Tax Claims representing liabilities incurred in the ordinary course of business
by the Debtors, as Debtors in Possession, shall be paid by the Debtors or the Reorganized
Debtors, as applicable, in the ordinary course of business, consistent with past practice and in
accordance with the terms and subject to the conditions of any orders or agreements governing,
instruments evidencing, or other documents establishing, such liabilities.



ARTICLE III.                   CLASSIFICATION OF CLAIMS AND INTERESTS.

                    3.1        Classification in General.

                A Claim or Interest is placed in a particular Class for all purposes, including
voting, confirmation, and distribution under this Plan and under sections 1122 and 1123(a)(1) of
the Bankruptcy Code; provided, that a Claim or Interest is placed in a particular Class for the
purpose of receiving distributions pursuant to this Plan only to the extent that such Claim or
Interest is an Allowed Claim or Allowed Interest in that Class and such Claim or Interest has not
been satisfied, released, or otherwise settled prior to the Effective Date.

                    3.2        Formation of Debtor Groups for Convenience Only.

                This Plan groups the Debtors together solely for the purpose of describing
treatment under this Plan, confirmation of this Plan, and making Plan Distributions in respect of
Claims against and Interests in the Debtors under this Plan. Such groupings shall not affect any
Debtor’s status as a separate legal entity, change the organizational structure of the Debtors’
business enterprise, constitute a change of control of any Debtor for any purpose, cause a merger
of consolidation of any legal entities, or cause the transfer of any Assets; and, except as
otherwise provided by or permitted under this Plan, all Debtors shall continue to exist as separate
legal entities.


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                    3.3        Summary of Classification of Claims and Interests.

                  The following table designates the Classes of Claims against and Interests in the
Debtors and specifies which Classes are: (i) Impaired and Unimpaired under this Plan;
(ii) entitled to vote to accept or reject this Plan in accordance with section 1126 of the
Bankruptcy Code; and (iii) deemed to accept or reject this Plan:

Class            Type of Claim or Interest                  Impairment       Entitled to Vote

Class 1          Priority Non-Tax Claims                    Unimpaired       No (Deemed to accept)

Class 2          Other Secured Claims                       Unimpaired       No (Deemed to accept)

Class 3          First Lien Debt Claims                     Impaired         Yes

Class 4          Second Lien Debt Claims                    Impaired         Yes

Class 5          General Unsecured Claims                   Unimpaired       No (Deemed to accept)

Class 6          NCS Rejection Claims                       Impaired         No (Deemed to reject)

Class 7          General Unsecured PDM Claims               Impaired         No (Deemed to reject)

Class 8          Intercompany Claims                        Unimpaired       No (Deemed to accept)

Class 9          Subordinated Claims                        Impaired         No (Deemed to reject)

Class 10         Existing Equity Interests                  Impaired         No (Deemed to reject)

Class 11         Intercompany Interests                     Unimpaired       No (Deemed to accept)



                    3.4        Separate Classification of Other Secured Claims.

                Although all Other Secured Claims have been placed in one Class for purposes of
nomenclature within this Plan, each Other Secured Claim, to the extent secured by a Lien on
Collateral different from the Collateral securing a different Other Secured Claim, shall be treated
as being in a separate sub-Class for the purposes of voting to accept or reject this Plan and
receiving Plan Distributions.

                    3.5        Elimination of Vacant Classes.

                Any Class that, as of the commencement of the Confirmation Hearing, does not
have at least one holder of a Claim or Interest that is Allowed in an amount greater than zero for
voting purposes shall be considered vacant, deemed eliminated from this Plan for purposes of
voting to accept or reject this Plan, and disregarded for purposes of determining whether this
Plan satisfies section 1129(a)(8) of the Bankruptcy Code with respect to such Class.



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                    3.6        Voting; Presumptions; Solicitation.

                       (a)    Acceptance by Certain Impaired Classes. Only holders of Allowed
Claims in Classes 3 and 4 are entitled to vote to accept or reject this Plan. An Impaired Class of
Claims shall have accepted this Plan if (i) the holders of at least two-thirds (2/3) in amount of the
Allowed Claims actually voting in such Class have voted to accept this Plan and (ii) the holders
of more than one-half (1/2) in number of the Allowed Claims actually voting in such Class have
voted to accept this Plan. Holders of Claims in Classes 3 and 4 will receive ballots containing
detailed voting instructions.

                        (b)      Deemed Acceptance by Unimpaired Classes. Holders of Claims
and Interests in Classes 1, 2, 5, 8, and 11 are conclusively deemed to have accepted this Plan
pursuant to section 1126(f) of the Bankruptcy Code. Accordingly, such holders are not entitled
to vote to accept or reject this Plan.

                        (c)   Deemed Rejection by Certain Impaired Classes. Holders of
Claims and Interests in Classes 6, 7, 9, and 10 are deemed to have rejected this Plan pursuant to
section 1126(g) of the Bankruptcy Code. Accordingly, such holders are not entitled to vote to
accept or reject this Plan.

                    3.7        Cramdown.

                If any Class of Claims is deemed to reject this Plan or is entitled to vote on this
Plan and does not vote to accept this Plan, the Debtors may (i) seek confirmation of this Plan
under section 1129(b) of the Bankruptcy Code or (ii) amend or modify this Plan in accordance
with the terms hereof and the Bankruptcy Code. If a controversy arises as to whether any Claims
or Interests are impaired, the Bankruptcy Court shall, after notice and a hearing, determine such
controversy on or before the Confirmation Date.

                    3.8        No Waiver.

                 Nothing contained in this Plan shall be construed to waive a Debtor’s or other
entity’s right to object on any basis to any Claim.



ARTICLE IV.                    TREATMENT OF CLAIMS AND INTERESTS.

                    4.1        Class 1: Priority Non-Tax Claims.

                      (a)     Treatment: The legal, equitable, and contractual rights of the
holders of Allowed Priority Non-Tax Claims are unaltered by this Plan. Except to the extent that
a holder of an Allowed Priority Non-Tax Claim agrees to different treatment, on the later of the
Effective Date and the date that is ten (10) Business Days after the date such Priority Non-Tax
Claim becomes an Allowed Claim, or as soon thereafter as is reasonably practicable, each holder
of an Allowed Priority Non-Tax Claim shall receive, on account of such Allowed Claim, at the
option of the Reorganized Debtors: (i) Cash in an amount equal to the Allowed amount of such



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Claim or (ii) other treatment consistent with the provisions of section 1129(a)(9) of the
Bankruptcy Code.

                        (b)     Impairment and Voting: Allowed Priority Non-Tax Claims are
Unimpaired. In accordance with section 1126(f) of the Bankruptcy Code, the holders of Allowed
Priority Non-Tax Claims are conclusively presumed to accept this Plan and are not entitled to
vote to accept or reject this Plan, and the votes of such holders will not be solicited with respect
to such Allowed Priority Non-Tax Claims.

                    4.2        Class 2: Other Secured Claims.

                       (a)     Treatment: The legal, equitable, and contractual rights of the
holders of Allowed Other Secured Claims are unaltered by this Plan. Except to the extent that a
holder of an Allowed Other Secured Claim agrees to different treatment, on the later of the
Effective Date and the date that is ten (10) Business Days after the date such Other Secured
Claim becomes an Allowed Claim, or as soon thereafter as is reasonably practicable, each holder
of an Allowed Other Secured Claim shall receive, on account of such Allowed Claim, at the
option of the Reorganized Debtors: (i) Cash in an amount equal to the Allowed amount of such
Claim, (ii) reinstatement or such other treatment sufficient to render such holder’s Allowed Other
Secured Claim Unimpaired pursuant to section 1124 of the Bankruptcy Code, or (iii) return of
the applicable Collateral in satisfaction of the Allowed amount of such Other Secured Claim.

                         (b)    Impairment and Voting: Allowed Other Secured Claims are
Unimpaired. In accordance with section 1126(f) of the Bankruptcy Code, the holders of Allowed
Other Secured Claims are conclusively presumed to accept this Plan and are not entitled to vote
to accept or reject this Plan, and the votes of such holders will not be solicited with respect to
such Allowed Other Secured Claims.

                    4.3        Class 3: First Lien Debt Claims.

                       (a)      Treatment: On the Effective Date, each holder of an Allowed First
Lien Debt Claim shall be entitled to receive from (and on behalf of) CHC, in full and final
satisfaction of such Claim, its Pro Rata share of 90% of the New Common Stock issued on the
Effective Date (subject to dilution by the Management Incentive Plan).

                     (b)     Impairment and Voting: The First Lien Debt Claims are Impaired.
Holders of Allowed First Lien Debt Claims are entitled to vote on this Plan.

                       (c)     Allowance: The First Lien Debt Claims shall be deemed Allowed
on the Effective Date in the aggregate amount of $1,075,545,556.48, minus the aggregate
amount of the DIP Facility Roll-Up Loans.

                    4.4        Class 4: Second Lien Debt Claims.

                        (a)    Treatment: On the Effective Date, each holder of an Allowed
Second Lien Debt Claim shall be entitled to receive from (and on behalf of) CHC, in full and
final satisfaction of such Claim, its Pro Rata share of 10% of the New Common Stock issued on
the Effective Date (subject to dilution by the Management Incentive Plan).


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                     (b)   Impairment and Voting: The Second Lien Debt Claims are
Impaired. Holders of Allowed Second Lien Debt Claims are entitled to vote on this Plan.

                     (c)    Allowance: The Second Lien Debt Claims shall be deemed
Allowed on the Effective Date in the aggregate amount of $471,987,841.37.

                    4.5        Class 5: General Unsecured Claims.

                       (a)    Treatment: The legal, equitable, and contractual rights of the
holders of General Unsecured Claims are unaltered by this Plan. Except to the extent that a
holder of a General Unsecured Claim agrees to different treatment, on and after the Effective
Date, the Debtors shall continue to pay (if Allowed) or dispute each General Unsecured Claim in
the ordinary course of business as if the Chapter 11 Cases had never been commenced.

                        (b)     Impairment and Voting: All Allowed General Unsecured Claims
are deemed Unimpaired. In accordance with section 1126(f) of the Bankruptcy Code, the
holders of Allowed General Unsecured Claims are conclusively presumed to accept this Plan and
are not entitled to vote to accept or reject this Plan, and the votes of such holders will not be
solicited with respect to such Allowed General Unsecured Claims.

                    4.6        Class 6: NCS Rejection Claims.

                       (a)    Treatment: The holders of NCS Rejection Claims shall not receive
or retain any property under this Plan on account of such Claims, and the obligations of the
Debtors and the Reorganized Debtors on account of the NCS Rejection Claims shall be
discharged.

                       (b)    Impairment and Voting: NCS Rejection Claims are Impaired. In
accordance with section 1126(g) of the Bankruptcy Code, holders of NCS Rejection Claims are
conclusively presumed to reject this Plan and are not entitled to vote to accept or reject this Plan,
and the votes of such holders will not be solicited with respect to NCS Rejection Claims.

                    4.7        Class 7: General Unsecured PDM Claims.

                        (a)   Treatment: The holders of General Unsecured PDM Claims shall
not receive or retain any property under this Plan on account of such Claims, and the obligations
of the Debtors and the Reorganized Debtors on account of the General Unsecured PDM Claims
shall be discharged.

                         (b)    Impairment and Voting: General Unsecured PDM Claims are
Impaired. In accordance with section 1126(g) of the Bankruptcy Code, holders of General
Unsecured PDM Claims are conclusively presumed to reject this Plan and are not entitled to vote
to accept or reject this Plan, and the votes of such holders will not be solicited with respect to
General Unsecured PDM Claims.




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                    4.8        Class 8: Intercompany Claims.

                       (a)     Treatment: On or after the Effective Date, all Intercompany
Claims shall be paid, adjusted, continued, settled, reinstated, discharged, or eliminated, in each
case to the extent determined to be appropriate by the Debtors or Reorganized Debtors with the
consent of the Ad Hoc First Lien Group and the Second Lien Ad Hoc Groups (such consents not
to be unreasonably withheld), as applicable. All Claims between any Debtor and a non-Debtor
affiliate shall be Unimpaired under this Plan.

                        (b)      Impairment and Voting: All Allowed Intercompany Claims are
deemed Unimpaired. In accordance with section 1126(f) of the Bankruptcy Code, the holders of
Allowed Intercompany Claims are conclusively presumed to accept this Plan and are not entitled
to vote to accept or reject this Plan, and the votes of such holders will not be solicited with
respect to such Allowed Intercompany Claims.

                    4.9        Class 9: Subordinated Claims.

                       (a)     Treatment: Subordinated Claims are subordinated pursuant to this
Plan and section 510 of the Bankruptcy Code. The holders of Subordinated Claims shall not
receive or retain any property under this Plan on account of such Claims, and the obligations of
the Debtors and the Reorganized Debtors on account of Subordinated Claims shall be
discharged.

                       (b)    Impairment and Voting: Subordinated Claims are Impaired. In
accordance with section 1126(g) of the Bankruptcy Code, holders of Subordinated Claims are
conclusively presumed to reject this Plan and are not entitled to vote to accept or reject this Plan,
and the votes of such holders will not be solicited with respect to Subordinated Claims.

                    4.10       Class 10: Existing Equity Interests.

                       (a)     Treatment: On the Effective Date, the Existing Equity Interests
shall be cancelled without further action by or order of the Bankruptcy Court.

                       (b)    Impairment and Voting: Existing Equity Interests are Impaired. In
accordance with section 1126(g) of the Bankruptcy Code, holders of Existing Equity Interests are
conclusively presumed to reject this Plan and are not entitled to vote to accept or reject this Plan,
and the votes of such holders will not be solicited with respect to Existing Equity Interests.

                    4.11       Class 11: Intercompany Interests.

                        (a)   Treatment: Intercompany Interests are Unimpaired. On the
Effective Date, all Intercompany Interests shall be treated as set forth in Section 5.9 hereof.

                         (b)    Impairment and Voting: Intercompany Interests are Unimpaired.
In accordance with section 1126(f) of the Bankruptcy Code, the holders of Allowed
Intercompany Interests are conclusively presumed to accept this Plan and are not entitled to vote
to accept or reject this Plan, and the votes of such holders will not be solicited with respect to
such Allowed Intercompany Interests.


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                    4.12       Debtors’ Rights in Respect of Unimpaired Claims.

                 Except as otherwise provided in this Plan, nothing under this Plan shall affect the
rights of the Reorganized Debtors in respect of any Unimpaired Claim, including, without
limitation, all rights in respect of legal and equitable defenses to, or setoffs or recoupments
against, any such Unimpaired Claim.

                    4.13       Treatment of Vacant Classes.

                Any Claim or Interest in a Class that is considered vacant under Section 3.5 of
this Plan shall receive no Plan Distribution.



ARTICLE V.                     MEANS FOR IMPLEMENTATION.

                    5.1        Continued Corporate Existence; Dissolution

                        (a)     Except as otherwise provided in this Plan, the Debtors shall
continue to exist after the Effective Date as Reorganized Debtors in accordance with the
applicable laws of the respective jurisdictions in which they are incorporated or organized and
pursuant to their respective Amended Certificate of Incorporation and Amended By-Laws. On
or after the Effective Date, without prejudice to the rights of any party to a contract or other
agreement with any Reorganized Debtor, each Reorganized Debtor may, in its sole discretion,
take such action as permitted by applicable law, and such Reorganized Debtor’s organizational
documents, as such Reorganized Debtor may determine is reasonable and appropriate, including,
without limitation, causing: (i) a Reorganized Debtor to be merged into another Reorganized
Debtor or an affiliate of a Reorganized Debtor and to engage in the Restructuring Transactions
described in the Acquisition Transactions Exhibit; (ii) a Reorganized Debtor to be dissolved;
(iii) the legal name of a Reorganized Debtor to be changed; or (iv) the closure of a Reorganized
Debtor’s Chapter 11 Case on the Effective Date or any time thereafter.

                        (b)      On the Effective Date or as soon thereafter as is reasonably
practicable, the Reorganized Debtors may take all actions as may be necessary or appropriate to
effect any transaction described in, approved by, or necessary or appropriate to effectuate this
Plan, including, without limitation: (i) the execution and delivery of appropriate agreements or
other documents of merger, consolidation, restructuring, conversion, disposition, transfer,
dissolution, or liquidation containing terms that are consistent with the terms of this Plan and the
Plan Documents and that satisfy the requirements of applicable law and any other terms to which
the applicable entities may agree; (ii) the execution and delivery of appropriate instruments of
transfer, assignment, assumption, or delegation of any Asset, property, right, liability, debt, or
obligation on terms consistent with the terms of this Plan and having other terms to which the
applicable parties agree; (iii) the filing of appropriate certificates or articles of incorporation and
amendments thereto, reincorporation, merger, consolidation, conversion, or dissolution pursuant
to applicable law, including the applicable Amended Certificates of Incorporation and Amended
By-Laws; (iv) the Restructuring Transactions; and (v) all other actions that the applicable entities
determine to be necessary or appropriate, including, without limitation, making filings or
recordings that may be required by applicable law.


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                       (c)    After the Effective Date, the Reorganized Debtors shall be
authorized to dissolve the Debtors or the Reorganized Debtors (other than Reorganized CMC) in
accordance with applicable law. As promptly as practicable after the Effective Date, Catalina
Parent, PDM Intermediate Holdings A Corporation, PDM Intermediate Holdings B Corporation
and CHC shall be dissolved.

                    5.2        Plan Funding.

               Plan Distributions of Cash shall be funded from the Debtors’ Cash on hand as of
the applicable date of such Plan Distribution and from proceeds of the A&R Exit Facility.

                    5.3        Cancellation of Existing Securities and Agreements.

                        (a)     Except for the purpose of evidencing a right to a distribution under
this Plan and except as otherwise set forth in this Plan, or in any Plan Document, on the Effective
Date, all agreements, instruments, and other documents evidencing any prepetition Claim or
Interest (other than certain Intercompany Interests that are not modified by this Plan pursuant to
Section 5.9 hereof) and any rights of any holder in respect thereof shall be deemed cancelled and
of no force or effect. The holders of or parties to such cancelled instruments, Securities, and
other documentation shall have no rights arising from or related to such instruments, Securities,
or other documentation or the cancellation thereof, except the rights provided for pursuant to this
Plan. For the avoidance of doubt, this Section 5.3 shall not apply to the DIP Facility Loan
Agreement or the Amended and Restated First Lien Credit Agreement.

                         (b)     Notwithstanding such cancellation and discharge, the First Lien
Credit Agreement and the Second Lien Credit Agreement shall continue in effect solely to the
extent necessary to (i) allow the holders of Allowed First Lien Debt Claims and Allowed Second
Lien Debt Claims to receive distributions under the Plan, (ii) allow the Debtors, the Reorganized
Debtors, the First Lien Agent, the Second Lien Agent, and the Disbursing Agent to make post-
Effective Date distributions or take such other action, if any, pursuant to the Plan on account of
the Allowed First Lien Debt Claims and Allowed Second Lien Debt Claims, and to otherwise
exercise their rights and discharge their obligations relating to the interests of the holders of such
Claims in accordance with this Plan, and (iii) permit the First Lien Agent and the Second Lien
Agent to appear in these Chapter 11 Cases; provided that nothing in this Section 5.3 shall affect
the discharge of Claims pursuant to the Bankruptcy Code, the Confirmation Order, or this Plan
or result in any liability or expense to the Reorganized Debtors. The First Lien Agent and The
Second Lien Agent shall be entitled to reimbursement of reasonable and documented fees and
expenses (including reasonable and documented fees and expenses of its professionals) incurred
in connection with the matters set forth in this Section 5.3(b).

                        (c)    Notwithstanding anything to the contrary herein, any and all
indemnification and reimbursement provisions in the First Lien Credit Agreement and Second
Lien Credit Agreement and the other Loan Documents (as defined in the First Lien Credit
Agreement and Second Lien Credit Agreement, as applicable) shall survive the occurrence of
the Effective Date to the extent such indemnification and reimbursement provisions would
survive the satisfaction and discharge of all other Obligations (as defined in the First Lien Credit
Agreement and Second Lien Credit Agreement, as applicable).


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                         (d)     Notwithstanding the foregoing, any provision in any document,
instrument, lease, or other agreement that causes or effectuates, or purports to cause or
effectuate, a default, termination, waiver, or other forfeiture of, or by, the Debtors of their
interests, as a result of the cancellations, terminations, satisfaction, releases, or discharges
provided for in this Section 5.3 shall be deemed null and void and shall be of no force and effect.
Nothing contained herein shall be deemed to cancel, terminate, release, or discharge the
obligation of the Debtors or any of their counterparties under any executory contract or
unexpired lease to the extent such executory contract or unexpired lease has been assumed by the
Debtors pursuant to a Final Order of the Bankruptcy Court or hereunder.

                        (e)     Nothing in this Plan shall be deemed to limit or otherwise affect
any rights of, or liens or security interests in favor of, JPM under or in connection with the L/C
Cash Collateral Agreement, the Cash Collateral Account (as defined in the L/C Cash Collateral
Agreement) or any contents or proceeds thereof, and the L/C Cash Collateral Agreement shall
remain in effect in accordance with its terms for so long as any obligations remain outstanding
thereunder (including any obligations of the Debtors to pay fronting fees or other costs pursuant
to Section 2.03(i) of the First Lien Credit Agreement, which obligations shall survive the
occurrence of the Effective Date and continue to accrue for so long as the JPM Letter of Credit
remains outstanding).

                    5.4        Cancellation of Certain Existing Security Interests.

                 Upon the full payment or other satisfaction of an Allowed Other Secured Claim,
or promptly thereafter, the holder of such Allowed Other Secured Claim shall deliver to the
Debtors or Reorganized Debtors, as applicable, any Collateral or other property of a Debtor held
by such holder, together with any termination statements, instruments of satisfaction, or releases
of all security interests with respect to its Allowed Other Secured Claim that may be reasonably
required to terminate any related financing statements, mortgages, mechanics’ or other statutory
Liens, or lis pendens, or similar interests or documents.

                    5.5        Officers and Boards of Directors.

                        (a)     On the Effective Date, and if the CMC Acquisition occurs, in
accordance with the Acquisition Agreement, the board of directors of Reorganized Catalina
Topco shall consist of [●] directors, each of whom shall be designated by the Ad Hoc First Lien
Group. The composition of the boards of directors of each Reorganized Debtor shall be
disclosed prior to the entry of the Confirmation Order.

                       (b)     Except to the extent that a member of the board of directors of a
Debtor continues to serve as a director of such Reorganized Debtor on the Effective Date, the
members of the board of directors of each Debtor prior to the Effective Date, in their capacities
as such, shall have no continuing obligations to the Reorganized Debtors on or after the Effective
Date and each such director will be deemed to have resigned or shall otherwise cease to be a
director of the applicable Debtor on the Effective Date. Commencing on the Effective Date,
each of the directors of each of the Reorganized Debtors shall serve pursuant to the terms of the
applicable organizational documents of such Reorganized Debtor and may be replaced or
removed in accordance with such organizational documents.


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                    5.6        Management Incentive Plan.

                       (a)     After the Effective Date, and if the CMC Acquisition occurs, in
accordance with the Acquisition Agreement, the New Board shall adopt the Management
Incentive Plan. The participants and the amounts allocated under the Management Incentive
Plan and other terms and conditions thereof shall be determined in the sole discretion of the New
Board; provided, however, that the Management Incentive Plan shall consist only of common
stock, preferred stock, warrants, options, restricted stock units, or other instruments or securities
exercisable or convertible into New Common Stock, the amount of which shall not exceed ten
percent (10%) of the New Common Stock authorized to be issued pursuant to this Plan.

                      (b)    Any Catalina Parent Interests granted prior to the Effective Date to
a current or former employee, officer, director or contractor pursuant to an employee
compensation plan, benefit plan, employment agreement, offer letter, award letter or otherwise
shall be deemed cancelled on the Effective Date.

                    5.7        Authorization, Issuance, and Delivery of New Common Stock.

                        (a)    On the Effective Date, all existing interests in Catalina Parent shall
be cancelled and (i) Reorganized CMC is authorized to issue or cause to be issued and, in the
event the CMC Acquisition does not occur, shall issue the New Common Stock for distribution
in accordance with the terms of this Plan without the need for any further corporate, shareholder,
or other equityholder action, and (ii) the event the CMC Acquisition does occur, and in
accordance with (and subject to the terms of) the Acquisition Agreement, the Acquisition
Company shall transfer (or cause to be transferred) to CHC the New Common Stock, as partial
consideration for the acquisition of Reorganized CMC, for distribution in accordance with the
terms of this Plan, in each case, CHC shall direct the Disbursing Agent to distribute the New
Common Stock in accordance with Section 6.1 of this Plan.

                        (b)    All of the New Common Stock issuable under the Plan, when so
issued, shall be duly authorized, validly issued, fully paid, and nonassessable, and the holders of
New Common Stock shall be deemed to have accepted the terms of the New Stockholders’
Agreement (solely in their capacity as shareholders of Reorganized Catalina Topco) and to be
parties thereto without further action or signature. The New Stockholders’ Agreement shall be
effective as of the Effective Date.

                       (c)    Upon the Effective Date, unless otherwise consented to by the
Required Restructuring Support Parties, (i) the New Common Stock shall not be registered under
the Securities Act of 1933, and shall not be listed for public trading on any securities exchange,
and (ii) none of the Reorganized Debtors shall be a reporting company under the Exchange Act.

                    5.8        Amended and Restated First Lien Credit Agreement.

               On the Effective Date and, if applicable, prior to the CMC Acquisition, the
Amended and Restated First Lien Credit Agreement shall be executed, delivered, and all fees and
expenses required thereunder (including the A&R Exit Facility Backstop Payment and the A&R
Exit Facility Commitment Payment) shall be paid, and the Reorganized Debtors (other than the
Acquisition Company) shall be authorized to execute, deliver, enter into, and make any payments

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required by the Amended and Restated First Lien Credit Agreement without the need for any
further corporate action and without further action by the holders of Claims or Interests. The
form of the Amended and Restated First Lien Credit Agreement will be filed as part of the Plan
Supplement.

                All Liens and security interests granted pursuant to the Amended and Restated
First Lien Credit Agreement shall be (a) valid, binding, perfected and enforceable Liens and
security interests in the personal and real property described in and subject to such documents,
with the priorities established in respect thereof under applicable non-bankruptcy law and (b) not
subject to avoidance, recharacterization or subordination under any applicable law.

                All Liens, mortgages and security interests securing the obligations arising under
the Amended and Restated First Lien Credit Agreement that were shared collateral securing the
DIP Facility Loan Agreement are unaltered by this Plan, and all such Liens, mortgages and
security interests are created and perfected with respect to the Amended and Restated First Lien
Credit Facility to the same extent, in the same manner and on the same terms and priorities as
they were with respect to the DIP Facility. For purposes of all mortgages, pledges, and deposit
account control agreements that secured the obligations arising under the DIP Facility Loan
Agreement, the Amended and Restated First Lien Credit Agreement is deemed an amendment
and restatement of the DIP Facility Loan Agreement, and such mortgages, pledges, and control
agreements shall survive the Effective Date, shall not be cancelled, and shall continue to secure
the Amended and Restated First Lien Credit Facility.

               For the avoidance of doubt, this Section 5.8 shall apply to the Amended and
Restated First Lien Credit Facility in its entirety, including the A&R First-Out Tranche and the
A&R Last-Out Tranche.

                    5.9        Intercompany Interests; Corporate Reorganization.

               Subject to the consent of the Required Restructuring Support Parties, on the
Effective Date, except as otherwise provided in the Plan, and without the need for any further
corporate action or any other approval of any board of directors, management, shareholders, or
other equityholders of any Debtor or Reorganized Debtor, as applicable, the certificates and all
other documents representing the Intercompany Interests shall be deemed to be in full force and
effect.

                    5.10       Restructuring Transactions.

                       (a)     On the Effective Date or as soon as reasonably practicable
thereafter, the Debtors or Reorganized Debtors, as applicable, may take all actions consistent
with this Plan and the Restructuring Support Agreement as may be necessary or appropriate to
effect any transaction described in, approved by, contemplated by, or necessary to effectuate the
Restructuring Transactions under and in connection with this Plan.

                       (b)    On or before the CMC Acquisition Election Date, the Debtors
(with the consent of the Ad Hoc First Lien Group and the Ad Hoc Second Lien Group) shall
elect whether or not to consummate the CMC Acquisition.



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                        (c)     The following transactions shall occur on or prior to the Effective
Date (and in all events, prior to any distributions pursuant to Article VI of the Plan and, if
applicable, prior to the CMC Acquisition):

                                (i) each Modiv Media Inc. and Cellfire Inc, and any other
          subsidiary as determined by the Debtors, shall be converted into a limited liability
          company that, for U.S. federal income tax purposes, is treated as a disregarded entity;

                                 (ii) in accordance with Section 4.8, all Intercompany Claims shall
          be paid, adjusted, continued, settled, reinstated, discharged, or eliminated; and

                            (iii) the Intercompany Interests in CMC shall be recapitalized into
          the New Common Stock, unless the CMC Acquisition occurs.

                        (d)    The transactions described in Section 5.10(a)-(c) are subject to the
Acquisition Transactions Exhibit. In addition, notwithstanding anything to the contrary in this
Plan, the Debtors shall consult with the Ad Hoc First Lien Group and the Ad Hoc Second Lien
Group to determine whether, and provide the Ad Hoc First Lien Group and the Ad Hoc Second
Lien Group with reasonable access to materials in its (or its agents’) possession reasonably
necessary to evaluate whether, to engage in the Acquisition Transactions (or other related,
similar or alternative Restructuring Transactions), and the Debtors or Reorganized Debtors may
not engage in the Acquisition Transactions (or other related, similar or alternative Restructuring
Transactions) without the prior consent of the Ad Hoc First Lien Group and the Ad Hoc Second
Lien Group. The Debtors shall cooperate on a reasonable basis with the Ad Hoc First Lien
Group and the Ad Hoc Second Lien Group in connection with proposals by the Ad Hoc First
Lien Group and/or the Ad Hoc Second Lien Group. In the event that the Debtors, the Ad Hoc
First Lien Group and the Ad Hoc Second Lien Group agree to effectuate the Acquisition
Transactions or other Restructuring Transactions in a manner that the Ad Hoc First Lien Group
and the Ad Hoc Second Lien Group reasonably believe could qualify as a “qualified stock
purchase” or “qualified stock disposition” within the meaning of Sections 338 and 336,
respectively, of the Tax Code (and the Treasury Regulations promulgated thereunder), then the
Debtors or Reorganized Debtors shall deliver to the Ad Hoc First Lien Group, the Ad Hoc
Second Lien Group and Reorganized Catalina Topco a properly completed IRS Form 8023
(and/or such other forms or documentation as required by applicable Law to make elections
pursuant to Sections 338 or 336 of the Tax Code and the Treasury Regulations promulgated
thereunder (and any similar elections under state or local law)) on or prior to the Effective Date
duly executed by the common parent of the Catalina Parent Group (or other applicable
signatory).

                    (e)    Notwithstanding anything to the contrary in this Plan, the Plan will
be consummated in the manner set forth in the Acquisition Transactions Exhibit

                    5.11       Separability.

               If the Bankruptcy Court does not confirm this Plan with respect to one or more
Debtors, it may still confirm this Plan with respect to any other Debtor that satisfies the
confirmation requirements of section 1129 of the Bankruptcy Code.


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                    5.12       Closing of Chapter 11 Cases.

                The Reorganized Debtors shall, promptly after the full administration of the
Chapter 11 Cases, file with the Bankruptcy Court all documents required by Bankruptcy Rule
3022 and any applicable order of the Bankruptcy Court to close the Chapter 11 Cases; provided,
as of the Effective Date, the Reorganized Debtors may submit separate orders to the Bankruptcy
Court under certification of counsel closing certain individual Chapter 11 Cases and changing
the caption of the Chapter 11 Cases accordingly; provided further that matters concerning
Claims may be heard and adjudicated in one of the Debtors’ chapter 11 cases that remains open
regardless of whether the applicable Claim is against a Debtor in a chapter 11 case that is closed.
Nothing in this Plan shall authorize the closing of any case nunc pro tunc to a date that precedes
the date any such order is entered. Any request for nunc pro tunc relief shall be made on motion
served on the United States Trustee, and the Bankruptcy Court shall rule on such request after
notice and a hearing. Upon the filing of a motion to close the last Chapter 11 Case remaining
open, the Reorganized Debtors shall file a final report with respect to all of the Chapter 11 Cases
pursuant to Local Rule 3022-1(c).

                    5.13       Determination of Tax Filings and Taxes.

                       (a)     Prior to the dissolution of Catalina Parent, Catalina Parent shall
designate Reorganized CMC as the agent (the “Tax Agent”) for the Catalina Parent Group in
accordance with Treasury Regulations Section 1.1502-77(c)(5), as amended and supplemented,
and any comparable provision under state or local law, with respect to all taxable periods ending
on or before, or including, the dissolution of Catalina Parent.

                        (b)     Catalina Parent shall forward to the Tax Agent copies of all notices
and communications relating to tax matters that it receives and shall promptly provide to the Tax
Agent any information and documents with respect to tax matters reasonably requested by the
Tax Agent. Without limiting the foregoing, prior to the dissolution of Catalina Parent, a power of
attorney authorizing the Tax Agent to correspond with any taxing authority on behalf of the
Debtors and to sign, negotiate, settle and administer any Group Tax Returns (as defined below)
or other tax filings shall be provided to the Tax Agent.

                        (c)    For all taxable periods ending on or prior to, or including, the
Effective Date, the Tax Agent shall prepare and file (or cause to be prepared and filed) on behalf
of the Catalina Parent Group, all group tax returns, reports, certificates, forms or similar
statements or other documents (collectively, “Group Tax Returns”) required to be filed or that
the Tax Agent otherwise deems appropriate, including the filing of amended Group Tax Returns.
If requested by the Tax Agent, Catalina Parent shall promptly execute and file, or cause to be
executed and filed, any Group Tax Returns of the Catalina Parent Group submitted by the Tax
Agent to Catalina Parent for execution or filing. Catalina Parent shall not file or amend any
Group Tax Return for any taxable periods (or portions thereof) described in the first sentence of
this clause (c) without the Tax Agent’s prior written consent.

                        (d)    If Catalina Parent receives written notice from a taxing authority of
any pending examination, claim, settlement, proposed adjustment or related matters with respect
to taxes that could affect any other member of the Catalina Parent Group it shall so notify the


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Tax Agent in writing within ten (10) business days thereafter. The Tax Agent shall have the sole
right, at its expense, to control, conduct, compromise and settle any tax contest, audit or
administrative or court proceeding relating to any liability for taxes of the Catalina Parent Group.
With respect to any such proceeding and with respect to the preparation and filing of any Group
Tax Returns, the Tax Agent may act in its own self-interest and in the of its subsidiaries and
affiliates, without regard to any adverse consequences to Catalina Parent.

                        (e)    The Reorganized Debtors shall have the right to request an
expedited determination of their tax liability, if any, under section 505(b) of the Bankruptcy
Code with respect to any tax returns filed, or to be filed, for any and all taxable periods ending
after the Petition Date through the Effective Date.

                    5.14       Notice of Effective Date.

               On the Effective Date, the Debtors shall file a notice of the occurrence of the
Effective Date with the Bankruptcy Court.

ARTICLE VI.                    DISTRIBUTIONS.

                    6.1        Distributions Generally.

                The Disbursing Agent shall make all Plan Distributions to the appropriate holders
of Allowed Claims and Allowed Interests in accordance with the terms of this Plan; provided, in
each case, that the Debtors shall provide the applicable Disbursing Agent with written
instructions for the allocation of any distributions among the applicable holders of Allowed
Claims and Allowed Interests; provided, further, that any distributions with respect to the First
Lien Credit Facility shall be made in accordance with the First Lien Credit Agreement, and any
distributions with respect to the Second Lien Facility shall be made in accordance with the
Second Lien Credit Agreement.

                    6.2        Postpetition Interest on Claims.

                Except as otherwise set forth in this Plan, the Plan Documents, or the
Confirmation Order, postpetition interest shall accrue, and shall be paid, on any Claims (except
for First Lien Debt Claims, Second Lien Debt Claims or any other prepetition funded
indebtedness borrowed or issued by a Debtor) in the ordinary course of business in accordance
with any applicable law, agreement, document, or Final Order, as the case may be, as if the
Chapter 11 Cases had never been commenced.

                    6.3        Date of Distributions.

              Unless otherwise provided in this Plan, any distributions and deliveries to be
made under this Plan shall be made on the Effective Date or as soon thereafter as is practicable.

                    6.4        Distribution Record Date.

                        (a)     As of the close of business on the Distribution Record Date, the
various lists of holders of Claims in each Class, as maintained by the Debtors or their agents,


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shall be deemed closed, and there shall be no further changes in the record holders of any Claims
after the Distribution Record Date. Neither the Debtors nor the Disbursing Agent shall have any
obligation to recognize any transfer of a Claim occurring after the close of business on the
Distribution Record Date. In addition, with respect to payment of any Cure Amounts or disputes
over any Cure Amounts, neither the Debtors nor the Disbursing Agent shall have any obligation
to recognize or deal with any party other than the non-Debtor party to the applicable executory
contract or unexpired lease, even if such non-Debtor party has sold, assigned, or otherwise
transferred its Claim for a Cure Amount.

                        (b)     Notwithstanding anything in this Plan to the contrary, in
connection with any distribution under this Plan to be effected through the facilities of DTC
(whether by means of book-entry exchange, free delivery, or otherwise), the Debtors and the
Reorganized Debtors, as applicable, will be entitled to recognize and deal for all purposes under
this Plan with holders of New Common Stock to the extent consistent with the customary
practices of DTC used in connection with such distributions. All New Common Stock to be
distributed under this Plan shall be issued in the names of such holders or their nominees in
accordance with DTC’s book-entry exchange procedures; provided, that such New Common
Stock is permitted to be held through DTC’s book-entry system; and provided, further, that to
the extent the New Common Stock is not eligible for distribution in accordance with DTC’s
customary practices, Reorganized Catalina Topco will take all such reasonable actions as may be
required to cause the distributions of the New Common Stock under this Plan. No distributions
will be made other than through DTC if the New Common Stock is permitted to be held through
DTC’s book entry system. Any distribution that otherwise would be made to any holder eligible
to receive a distribution of a security available solely through DTC who does not own or hold an
account eligible to receive a distribution through DTC on a relevant distribution date or
reasonably promptly thereafter (and in any event no more than two weeks thereafter) shall be
forfeited.

                    6.5        Disbursing Agent.

                All distributions under this Plan shall be made by the Disbursing Agent on and
after the Effective Date as provided herein. The Disbursing Agent shall not be required to give
any bond or surety or other security for the performance of its duties. The Reorganized Debtors
shall use commercially reasonable efforts to provide the Disbursing Agent (if other than the
Reorganized Debtors) with the amounts of Claims and the identities and addresses of holders of
Claims, in each case, as set forth in the Debtors’ or Reorganized Debtors’ books and records.
The Reorganized Debtors shall cooperate in good faith with the applicable Disbursing Agent (if
other than the Reorganized Debtors) to comply with the reporting and withholding requirements
outlined in Section 6.16 of the Plan.

                    6.6        Delivery of Distributions.

                Subject to Section 6.4(b) of this Plan, the Disbursing Agent will issue or cause to
be issued, the applicable consideration under this Plan and, subject to Bankruptcy Rule 9010,
will make all distributions to any holder of an Allowed Claim as and when required by this Plan
at: (a) the address of such holder on the books and records of the Debtors or their agents; or
(b) at the address in any written notice of address change delivered to the Debtors or the


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Disbursing Agent, including any addresses included on any transfers of Claim filed pursuant to
Bankruptcy Rule 3001. In the event that any distribution to any holder is returned as
undeliverable, no distribution or payment to such holder shall be made unless and until the
Disbursing Agent has been notified of the then-current address of such holder, at which time or
as soon thereafter as reasonably practicable such distribution shall be made to such holder
without interest.

                    6.7        Unclaimed Property.

               One year from the later of: (i) the Effective Date and (ii) the date that is ten (10)
Business Days after the date a Claim is first Allowed, all distributions payable on account of
such Claim shall be deemed unclaimed property under section 374(b) of the Bankruptcy Code
and shall revert to Reorganized CMC or their successors or assigns, and all claims of any other
Person (including the holder of a Claim in the same Class) to such distribution shall be
discharged and forever barred. The Reorganized Debtors and the Disbursing Agent shall have
no obligation to attempt to locate any holder of an Allowed Claim other than by reviewing the
Debtors’ books and records and the Bankruptcy Court’s filings.

                    6.8        Satisfaction of Claims.

               Unless otherwise provided herein, any distributions and deliveries to be made on
account of Allowed Claims under this Plan shall be in complete and final satisfaction, settlement,
and discharge of and exchange for such Allowed Claims.

                    6.9        Manner of Payment under Plan.

               Except as specifically provided herein, at the option of the Debtors or the
Reorganized Debtors, as applicable, any Cash payment to be made under this Plan may be made
by a check or wire transfer or as otherwise required or provided in applicable agreements or
customary practices of the Debtors.

                    6.10       Fractional Shares and De Minimis Cash Distributions.

                No fractional shares of New Common Stock shall be distributed. When any
distribution would otherwise result in the issuance of a number of shares of New Common Stock
that is not a whole number, the New Common Stock subject to such distribution shall be rounded
to the next higher or lower whole number as follows: (i) fractions equal to or greater than 1/2
shall be rounded to the next higher whole number, and (ii) fractions less than 1/2 shall be
rounded to the next lower whole number. The total number of shares of New Common Stock to
be distributed on account of Allowed Claims will be adjusted as necessary to account for the
rounding provided for herein. No consideration will be provided in lieu of fractional shares that
are rounded down. Neither the Reorganized Debtors nor the Disbursing Agent shall have any
obligation to make a distribution that is less than one (1) share of New Common Stock or $50.00
in Cash. Fractional shares of New Common Stock that are not distributed in accordance with
this Section shall be returned to, and ownership thereof shall vest in, Reorganized Catalina
Topco.




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                    6.11       No Distribution in Excess of Amount of Allowed Claim.

               Notwithstanding anything to the contrary in this Plan, no holder of an Allowed
Claim shall receive, on account of such Allowed Claim, Plan Distributions in excess of the
Allowed amount of such Claim (plus any postpetition interest on such Claim solely to the extent
permitted by Section 6.2 hereof).

                    6.12       Allocation of Distributions between Principal and Interest.

                 Except as otherwise provided in this Plan and subject to Section 6.2 of this Plan,
to the extent that any Allowed First Lien Debt Claim or Any Allowed Second Lien Debt Claim
entitled to a distribution under this Plan is comprised of indebtedness and accrued but unpaid
interest thereon, such distribution shall be allocated first to the principal amount (as determined
for federal income tax purposes) of the Claim and then to accrued but unpaid interest.

                    6.13       Exemption from Securities Laws.

                        (a)    The issuance of and the distribution under this Plan of the New
Common Stock shall be exempt, without further act or actions by any entity, from registration
under the Securities Act, and all rules and regulations promulgated thereunder, and any other
applicable securities laws to the fullest extent permitted by section 1145 of the Bankruptcy Code.
The New Common Stock may be resold without registration under the Securities Act or other
federal securities laws pursuant to the exemption provided by section 4(a)(1) of the Securities
Act, unless the holder is an “underwriter” with respect to the New Common Stock, as that term is
defined in section 1145(b) of the Bankruptcy Code. In addition, such section 1145 exempt
securities generally may be resold without registration under state securities laws pursuant to
various exemptions provided by the respective laws of the several states.

                      (b)     Should the Reorganized Debtors elect on or after the Effective
Date to reflect any ownership of the New Common Stock through the facilities of the DTC, the
Reorganized Debtors need not provide any further evidence other than the Plan or the
Confirmation Order with respect to the treatment of the New Common Stock under applicable
securities laws.

                        (c)    Notwithstanding anything to the contrary in the Plan, no entity
(including, for the avoidance of doubt, DTC) shall be entitled to require a legal opinion regarding
the validity of any transaction contemplated by the Plan, including, for the avoidance of doubt,
whether the New Common Stock is exempt from registration and/or eligible for DTC book-entry
delivery, settlement, and depository services. The Confirmation Order shall provide that DTC
shall be required to accept and conclusively rely upon the Plan or Confirmation Order in lieu of a
legal opinion regarding whether the New Common Stock is exempt from registration and/or
eligible for DTC book-entry delivery, settlement, and depository services.

                    6.14       Setoffs and Recoupments.

             Each Reorganized Debtor, or such entity’s designee as instructed by such
Reorganized Debtor, may, pursuant to section 553 of the Bankruptcy Code or applicable
nonbankruptcy law, offset or recoup against any Allowed Claim and the distributions to be made


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pursuant to this Plan on account of such Allowed Claim any and all claims, rights, and Causes of
Action that a Reorganized Debtor or its successors may hold against the holder of such Allowed
Claim after the Effective Date to the extent such setoff or recoupment is either (1) agreed in
amount among the relevant Reorganized Debtor(s) and holder of the Allowed Claim or
(2) otherwise adjudicated by the Bankruptcy Court or another court of competent jurisdiction;
provided, that neither the failure to effect a setoff or recoupment nor the allowance of any Claim
hereunder will constitute a waiver or release by a Reorganized Debtor or its successor of any
claims, rights, or Causes of Action that a Reorganized Debtor or its successor or assign may
possess against such holder. For the avoidance of doubt, in no event shall the Debtors or
Reorganized Debtors be authorized or permitted to offset or recoup against the First Lien Debt
Claim, DIP Facility Claim, or Second Lien Debt Claim.

                    6.15       Rights and Powers of Disbursing Agent.

                         (a)     Powers of Disbursing Agent. The Disbursing Agent shall be
empowered to: (i) effect all actions and execute all agreements, instruments, and other
documents necessary to perform its duties under this Plan; (ii) make all applicable distributions
or payments provided for under this Plan; (iii) employ professionals to represent it with respect
to its responsibilities; and (iv) exercise such other powers (A) as may be vested in the Disbursing
Agent by order of the Bankruptcy Court (including any Final Order issued after the Effective
Date) or pursuant to this Plan or (B) as deemed by the Disbursing Agent to be necessary and
proper to implement the provisions of this Plan.

                       (b)     Expenses Incurred on or After the Effective Date. Except as
otherwise ordered by the Bankruptcy Court and subject to the written agreement of the
Reorganized Debtors, the amount of any reasonable fees and expenses incurred by the
Disbursing Agent on or after the Effective Date (including, without limitation, taxes) and any
reasonable compensation and expense reimbursement Claims (including, without limitation, for
reasonable attorneys’ and other professional fees and expenses) made by the Disbursing Agent
shall be indefeasibly paid in full in Cash by the Reorganized Debtors.

                    6.16       Withholding and Reporting Requirements.

                In connection with this Plan and all instruments issued in connection therewith
and distributed thereon, the Reorganized Debtors and any other distributing party shall comply
with all applicable withholding and reporting requirements imposed by any federal, state or local
taxing authority, and all Plan Distributions under this Plan shall be subject to any such
withholding or reporting requirements. In the case of a non-Cash Plan Distribution that is
subject to withholding, the distributing party may request a holder of an Allowed Claim to
complete and return a Form W-9 or Form W-8BEN, W-8BEN-E or other appropriate Form W-8,
as applicable to each such holder. If such Form is requested and not submitted to the distributing
party within thirty (30) days of the request, the distributing party may, in its discretion, either (i)
withhold an appropriate portion of such distributed property and sell such withheld property to
generate Cash necessary to pay over the withholding tax, or (ii) require the intended recipient of
such distribution to provide the withholding agent with an amount of Cash sufficient to satisfy
such withholding tax as a condition to receiving such distribution; provided that, if the applicable
holder provides the appropriate Form prior to the distributing party selling such property


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pursuant to clause (i) or the receipt of cash pursuant to clause (ii), such Form shall be deemed
timely provided. If such Form is requested and submitted to the distributing party pursuant to
the immediately preceding sentence, the distributing party may withhold an appropriate portion
of such distributed property and sell such withheld property to generate Cash necessary to pay
over the withholding tax; provided that, the distributing party shall first notify the intended
recipient of such contemplated withholding (including the basis for such withholding) and sale,
shall cooperate in good faith with the applicable holder to eliminate or reduce such withholding
and, if after such good faith cooperation, the distributing parties still believes withholding is
required, offer the intended recipient the opportunity to provide sufficient Cash to satisfy such
withholding tax in lieu of such sale. The distributing party shall have the right, but not the
obligation, not to make a Plan Distribution until its withholding obligation is satisfied pursuant to
the preceding sentences. Any amounts withheld pursuant hereto shall be deemed to have been
distributed to and received by the applicable recipient for all purposes of this Plan. The
distributing party may require a holder of an Allowed Claim or Existing Equity Interest to
complete and return a Form W-9 or Form W-8BEN, W-8BEN-E or other appropriate Form W-8,
as applicable to each such holder.

                Notwithstanding the above, each holder of an Allowed Claim that is to receive a
Plan Distribution under this Plan shall have the sole and exclusive responsibility for the
satisfaction and payment of any tax obligations imposed on such holder by any governmental
unit, including income, withholding, and other tax obligations, on account of such Plan
Distribution.

                In the event that any amounts are withheld from any Plan Distribution, as soon as
practicable after payment of the taxes to the applicable governmental unit, the Reorganized
Debtors shall deliver or cause to be delivered to the holder from which such amounts were
withheld the original or a certified copy of a receipt issued by such governmental unit evidencing
such payment, a copy of the return reporting such payment or other evidence of such payment
reasonably satisfactory to the applicable holder, and the Reorganized Debtors shall use
commercially reasonably efforts to cooperate in the prosecution of any refund claim made by the
applicable holder.

                    6.17       Hart-Scott-Rodino Antitrust Improvements Act.

                 Any New Common Stock to be distributed under this Plan to an entity required to
file a notification and report form under the Hart-Scott-Rodino Antitrust Improvements Act of
1976, as amended, shall not be distributed until the notification and waiting periods applicable
under such Act to such entity have expired or been terminated.

                    6.18       Claims Paid or Payable by Third Parties.

                       (a)     Claims Paid by Third Parties. A Claim shall be correspondingly
reduced, and the applicable portion of such Claim shall be disallowed without an objection to
such Claim having to be filed and without any further notice to or action, order, or approval of
the Bankruptcy Court, to the extent that the holder of such Claim receives a payment on account
of such Claim from a party that is not a Debtor or Reorganized Debtor; provided that the Debtors
shall provide 21 days’ notice to the holder prior to any disallowance of such Claim during which


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period the holder may object to such disallowance, and if the parties cannot reach an agreed
resolution, the matter shall be decided by the Bankruptcy Court. Subject to the last sentence of
this paragraph, to the extent a holder of a Claim receives a distribution on account of such Claim
and receives payment from a party that is not a Debtor or a Reorganized Debtor on account of
such Claim, such holder shall, within fourteen (14) days of receipt thereof, repay or return the
distribution to the Reorganized Debtors to the extent the holder’s total recovery on account of
such Claim from the third party and under the Plan exceeds the amount of such Claim as of the
date of any such distribution under the Plan. The failure of such holder to timely repay or return
such distribution shall result in the holder owing the Reorganized Debtors annualized interest at
the federal judgment rate on such amount owed for each Business Day after the fourteen (14) day
grace period specified above until the amount is repaid.

                         (b)      Claims Payable by Insurance Carriers. No distributions under
the Plan shall be made on account of an Allowed Claim that is payable pursuant to one of the
Debtors’ insurance policies until the holder of such Allowed Claim has exhausted all remedies
with respect to such insurance policy. To the extent that one or more of the Debtors’ insurers
agrees to satisfy in full or in part a Claim (if and to the extent adjudicated by a court of
competent jurisdiction), then immediately upon such insurers’ agreement, the applicable portion
of such Claim may be expunged without a Claim objection having to be filed and without any
further notice to or action, order, or approval of the Bankruptcy Court; provided that the Debtors
shall provide 21 days’ notice to the holder of such Claim prior to any disallowance of such Claim
during which period the holder may object to such disallowance, and if the parties cannot reach
an agreed resolution, the matter shall be decided by the Bankruptcy Court.

                        (c)     Applicability of Insurance Policies. Except as otherwise provided
in the Plan, distributions to holders of Allowed Claims shall be in accordance with the provisions
of any applicable insurance policy. Notwithstanding anything to the contrary herein, nothing
contained in the Plan shall constitute or be deemed a release, settlement, satisfaction,
compromise, or waiver of any Cause of Action that the Debtors or any other Person may hold
against any other Person, including insurers, under any policies of insurance or applicable
indemnity, nor shall anything contained herein constitute or be deemed a waiver by such insurers
of any defenses, including coverage defenses, held by such insurers.



ARTICLE VII.                   PROCEDURES FOR RESOLVING CLAIMS.

                    7.1        Disputed Claims Process.

                 Notwithstanding section 502(a) of the Bankruptcy Code, and except as otherwise
set forth in this Plan, holders of Claims need not file proofs of Claim with the Bankruptcy Court,
and the Reorganized Debtors and holders of Claims shall determine, adjudicate, and resolve any
disputes over the validity and amounts of such Claims in the ordinary course of business as if the
Chapter 11 Cases had not been commenced. For the avoidance of doubt, the Reorganized
Debtors shall retain all rights, claims, defenses, counterclaims, crossclaims, or rights of setoff or
recoupment with respect to any Claims, including General Unsecured Claims, in the ordinary
course of business after the Effective Date. Notwithstanding any other provision of the Plan, the


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fact that a Claim, including General Unsecured Claims, remains unaltered by the Plan shall in no
way effect whether such Claim is Allowed. Unless otherwise ordered by the Bankruptcy Court,
the holders of Claims shall not be subject to any claims resolution process in the Bankruptcy
Court in connection with their Claims and shall retain all their rights under applicable non-
bankruptcy law to pursue their Claims against the Debtors or Reorganized Debtors in any forum
with jurisdiction over the parties. Except for (i) proofs of Claim asserting damages arising out of
the rejection of an executory contract or unexpired lease by any of the Debtors pursuant to
Section 8.3 of this Plan and (ii) proofs of Claim that have been objected to by the Debtors before
the Effective Date, upon the Effective Date, any filed Claim, regardless of the time of filing, and
including Claims filed after the Effective Date, shall be deemed withdrawn. To the extent not
otherwise provided in this Plan, the deemed withdrawal of a proof of Claim is without prejudice
to such claimant’s rights under this Section 7.1 of this Plan to assert its Claims in any forum as
though the Debtors’ Chapter 11 Cases had not been commenced. From and after the Effective
Date, the Reorganized Debtors may satisfy, dispute, settle, or otherwise compromise any Claim
without approval of the Bankruptcy Court.

                    7.2        Estimation of Claims.

               The Reorganized Debtors may at any time request that the Bankruptcy Court
estimate any contingent, unliquidated, or Disputed Claim pursuant to section 502(c) of the
Bankruptcy Code, regardless of whether the Debtors had previously objected to or otherwise
disputed such Claim or whether the Bankruptcy Court has ruled on any such objection. The
Bankruptcy Court shall retain jurisdiction to estimate any Claim at any time during litigation
concerning any objection to any Claim, including, without limitation, during the pendency of any
appeal relating to any such objection. In the event that the Bankruptcy Court estimates any
contingent, unliquidated, or Disputed Claim, the amount so estimated shall constitute either the
Allowed amount of such Claim or a maximum limitation on such Claim, as determined by the
Bankruptcy Court. If the estimated amount constitutes a maximum limitation on the amount of
such Claim, the Reorganized Debtors may pursue supplementary proceedings to object to the
allowance of such Claim.

                    7.3        Claim Resolution Procedures Cumulative.

               All of the objection, estimation, and resolution procedures in this Plan are
intended to be cumulative and not exclusive of one another. Claims may be estimated and
subsequently settled, compromised, withdrawn, or resolved in accordance with this Plan by any
mechanism approved by the Bankruptcy Court.

                    7.4        No Distributions Pending Allowance.

               If an objection, motion to estimate, or other challenge to a Claim is filed, no
payment or distribution provided under this Plan shall be made on account of such Claim unless
and until (and only to the extent that) such Claim becomes an Allowed Claim.

                    7.5        Distributions after Allowance.

                To the extent that a Disputed Claim ultimately becomes an Allowed Claim,
distributions (if any) shall be made to the holder of such Allowed Claim in accordance with the

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provisions of this Plan. As soon as practicable after the date on which the order or judgment of
the Bankruptcy Court allowing any Disputed Claim becomes a Final Order, the Disbursing
Agent shall provide to the holder of such Claim the distribution (if any) to which such holder is
entitled under this Plan as of the Effective Date, without any interest to be paid on account of
such Claim unless required by the Bankruptcy Code.



ARTICLE VIII.                  EXECUTORY CONTRACTS AND UNEXPIRED LEASES.

                    8.1        General Treatment.

                As of and subject to the occurrence of the Effective Date and the payment of any
applicable Cure Amount, all executory contracts and unexpired leases shall be deemed assumed,
unless such contract or lease (i) was previously assumed or rejected by the Debtors, pursuant to
Final Order of the Bankruptcy Court, (ii) previously expired or terminated pursuant to its own
terms or by agreement of the parties thereto, or (iii) is the subject of a motion to reject filed by
the Debtors on or before the Confirmation Date. Subject to the occurrence of the Effective Date,
entry of the Confirmation Order by the Bankruptcy Court shall constitute approval of the
assumptions or rejections provided for in this Plan pursuant to sections 365(a) and 1123 of the
Bankruptcy Code. Each executory contract and unexpired lease assumed pursuant to this Plan
shall vest in and be fully enforceable by the applicable Reorganized Debtor in accordance with
its terms, except as modified by the provisions of this Plan, any Final Order of the Bankruptcy
Court authorizing and providing for its assumption, or applicable law.

                    8.2        Determination of Cure Disputes and Deemed Consent.

                Any monetary amounts by which any executory contract or unexpired lease to be
assumed hereunder is in default shall be satisfied, under section 365(b)(1) of the Bankruptcy
Code, by the Debtors or Reorganized Debtors, as applicable, upon assumption thereof.
Following the Petition Date, the Debtors shall have served a notice on parties to executory
contracts and unexpired leases to be assumed reflecting the Debtors’ intention to assume the
contract or lease in connection with this Plan and setting forth the proposed Cure Amount (if
any). If a counterparty to any executory contract or unexpired lease that the Debtors or
Reorganized Debtors intend to assume does not receive such a notice, the proposed Cure
Amount for such executory contract or unexpired lease shall be deemed to be zero dollars ($0).

                 If there is a dispute regarding (a) any Cure Amount, (b) the ability of the Debtors
to provide adequate assurance of future performance (within the meaning of section 365 of the
Bankruptcy Code) under the contract or lease to be assumed, or (c) any other matter pertaining to
assumption, such dispute shall be heard by the Bankruptcy Court prior to such assumption being
effective. The Debtors reserve the right to reject any executory contract or unexpired lease not
later than thirty (30) days after the entry of a Final Order resolving any such dispute. Any
counterparty to an executory contract or unexpired lease that fails to object timely to the notice
of the proposed assumption and assignment of such executory contract or unexpired lease on
which such executory contract or unexpired lease first appears or any subsequent notice in which
the proposed Cure Amount for such executory contract or unexpired lease is reduced or the
relevant Cure Amount within fourteen (14) days of the filing thereof, shall be deemed to have

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assented to such assumption and/or Cure Amount and shall be forever barred, estopped, and
enjoined from challenging the validity of such assumption or the amount of such Cure Amount
thereafter.

                    8.3        Rejection Damages Claims.

                Any counterparty to a contract or lease that is rejected by the Debtors must file
and serve a proof of claim on the applicable Debtor that is party to the contract or lease to be
rejected no later than thirty (30) days after the later of (a) the Confirmation Date or (b) the
effective date of rejection of such executory contract or unexpired lease.

                    8.4        Survival of the Debtors’ Indemnification Obligations.

                 Any obligations of the Debtors pursuant to their corporate charters, by-laws,
limited liability company agreements, memorandum and articles of association, or other
organizational documents to indemnify current and former officers, directors, agents, or
employees with respect to all present and future actions, suits, and proceedings against the
Debtors or such officers, directors, agents, or employees based upon any act or omission for or
on behalf of the Debtors shall not be discharged, impaired, or otherwise affected by this Plan;
provided, that the Reorganized Debtors shall not indemnify directors of the Debtors for any
claims or Causes of Action arising out of or relating to any act or omission that is a criminal act
or constitutes gross negligence or intentional fraud. All such obligations shall be deemed and
treated as executory contracts to be assumed by the Debtors under this Plan and shall continue as
obligations of the Reorganized Debtors. Any claim based on the Debtors’ obligations herein
shall not be a Disputed Claim or subject to any objection, in either case, by reason of section
502(e)(1)(B) of the Bankruptcy Code.

                    8.5        Compensation and Benefit Plans.

                All employment and severance policies, and all compensation and benefits plans,
policies, and programs of the Debtors applicable to their respective employees, retirees, and non-
employee directors, including, without limitation, all savings plans, retirement plans, healthcare
plans, disability plans, severance benefit plans, incentive plans, and life and accidental death and
dismemberment insurance plans, are deemed to be, and shall be treated as, executory contracts
under this Plan and, on the Effective Date, will be assumed pursuant to sections 365 and 1123 of
the Bankruptcy Code.

                    8.6        Insurance Policies.

                All insurance policies to which any Debtor is a party as of the Effective Date shall
be deemed to be and treated as executory contracts and shall be assumed by the applicable
Debtor or Reorganized Debtor and shall continue in full force and effect thereafter in accordance
with their respective terms. All other insurance policies shall vest in the Reorganized Debtors.

                    8.7        Intellectual Property Licenses and Agreements.

              All intellectual property contracts, licenses, royalties, or other similar agreements
to which the Debtors have any rights or obligations in effect as of the date of the Confirmation


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Order shall be deemed and treated as executory contracts pursuant to the Plan and shall be
assumed by the respective Debtors and shall continue in full force and effect unless any such
intellectual property contract, license, royalty, or other similar agreement otherwise is
specifically rejected pursuant to a separate order of the Bankruptcy Court or is the subject of a
separate rejection motion filed by the Debtors (with the consent of the Required Restructuring
Support Parties) in accordance with Section 8.1 of the Plan. Unless otherwise noted hereunder,
all other intellectual property contracts, licenses, royalties, or other similar agreements shall vest
in the Reorganized Debtors and the Reorganized Debtors may take all actions as may be
necessary or appropriate to ensure such vesting as contemplated herein.

                    8.8        Modifications, Amendments, Supplements, Restatements, or Other
Agreements.

               Unless otherwise provided herein or by separate order of the Bankruptcy Court,
each executory contract and unexpired lease that is assumed shall include any and all
modifications, amendments, supplements, restatements, or other agreements made directly or
indirectly by any agreement, instrument, or other document that in any manner affects such
executory contract or unexpired lease, without regard to whether such agreement, instrument, or
other document is listed in any notice of assumed contracts.

                    8.9        Reservation of Rights.

                         (a)     Neither the exclusion nor the inclusion by the Debtors of any
contract or lease on any exhibit, schedule, or other annex to this Plan or in the Plan Supplement,
nor anything contained in this Plan, will constitute an admission by the Debtors that any such
contract or lease is or is not an executory contract or unexpired lease or that the Debtors or the
Reorganized Debtors or their respective affiliates has any liability thereunder.

                        (b)    Except as explicitly provided in this Plan, nothing herein shall
waive, excuse, limit, diminish, or otherwise alter any of the defenses, claims, Causes of Action,
or other rights of the Debtors or the Reorganized Debtors under any executory or non-executory
contract or unexpired or expired lease.

                        (c)    Nothing in this Plan will increase, augment, or add to any of the
duties, obligations, responsibilities, or liabilities of the Debtors or the Reorganized Debtors, as
applicable, under any executory or non-executory contract or unexpired or expired lease.

                         (d)    If there is a dispute regarding whether a contract or lease is or was
executory or unexpired at the time of its assumption under this Plan, the Debtors or Reorganized
Debtors, as applicable, shall have thirty (30) days following entry of a Final Order resolving such
dispute to alter their treatment of such contract or lease.




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ARTICLE IX.                    CONDITIONS PRECEDENT

                    9.1        Conditions Precedent to Confirmation of the Plan.

                    The following are conditions precedent to confirmation of the Plan:

                       (a)    an order finding that the Disclosure Statement contains adequate
information pursuant to section 1125 of the Bankruptcy Code shall have been entered by the
Court (which, for the avoidance of doubt, may be the same order as the order confirming the
Plan);

                      (b)     the Plan, the Plan Supplement (including the applicable Plan
Documents), and any and all of the schedules, documents, and exhibits contained therein shall
have been filed and shall be consistent in all material respects with this Plan and the
Restructuring Support Agreement;

                      (c)      the Restructuring Support Agreement shall not have been
terminated and shall be in full force and effect; and

                       (d)     any Restructuring Expenses due and payable in accordance with
their terms on or before the relevant date shall have been paid in full and in Cash.

                    9.2        Conditions Precedent to the Effective Date.

               The Effective Date shall not occur unless all of the following conditions precedent
have been satisfied:

                               (a)    the Plan Supplement, including the applicable Plan Documents,
has been filed;

                       (b)     the Plan Documents contain terms and conditions consistent in all
material respects with this Plan and the Restructuring Support Agreement;

                      (c)     the Bankruptcy Court has entered the Confirmation Order in form
and substance reasonably satisfactory to the Debtors and the Required Restructuring Support
Parties and such Confirmation Order has not been stayed, modified, or vacated;

                       (d)     the Restructuring Support Agreement has not been terminated and
remains in full force and effect and binding on all parties thereto;

                       (e)     the Debtors shall not be in default under the DIP Facility or any of
the DIP Facility Orders (or, to the extent that the Debtors are in default on the proposed Effective
Date, such default shall have been waived by the required DIP Facility Lenders or cured by the
Debtors in a manner consistent with the DIP Facility Loan Agreement or the applicable DIP
Facility Orders);




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                      (f)     each of the Definitive Documents shall have satisfied the consent
requirements of the applicable Restructuring Support Parties in accordance with the
Restructuring Support Agreement;

                       (g)    all conditions precedent to the issuance of the New Common
Stock, other than any conditions related to the occurrence of the Effective Date, shall have
occurred;

                      (h)    all unpaid Restructuring Expenses and all amounts payable by the
Debtors pursuant to the DIP Facility Orders and Restructuring Support Agreement (including the
A&R Exit Facility Backstop Payment and the A&R Exit Facility Commitment Payment) shall
have been paid in Cash;

                       (i)      the NCS Agreement is amended on terms or rejected pursuant to
an order providing relief, in each case, consistent with the Restructuring Support Agreement;

                     (j)    the conditions to effectiveness of the Amended and Restated First
Lien Credit Agreement have been satisfied or waived in accordance with the terms thereof, and
the Amended and Restated First Lien Credit Agreement is in full force and effect and binding on
all parties thereto;

                       (k)     all governmental and third-party approvals and consents, including
Bankruptcy Court approval, necessary in connection with the transactions provided for in this
Plan have been obtained, are not subject to unfulfilled conditions, and are in full force and effect,
and all applicable waiting periods have expired without any action having been taken by any
competent authority that restrains, prevents, or enjoins the Restructuring Transactions; and

                      (l)     the Amended Certificate of Incorporation of Reorganized Catalina
Topco has been filed with the appropriate governmental authority.

                    9.3        Waiver of Conditions Precedent.

                       (a)     Each of the conditions precedent set forth in Sections 9.1 and 9.2
to the occurrence of the Effective Date may be waived in writing by the Debtors and the
Required Restructuring Support Parties; provided that the conditions precedent to the occurrence
of the Effective Date in Sections 9.2(i) and (j) of the Plan may be waived by the Debtors and the
Ad Hoc First Lien Group. If any such condition precedent is waived pursuant to this Section and
the Effective Date occurs, each party agreeing to waive such condition precedent shall be
estopped from withdrawing such waiver after the Effective Date or otherwise challenging the
occurrence of the Effective Date on the basis that such condition was not satisfied, the waiver of
such condition precedent shall benefit from the “equitable mootness” doctrine, and the
occurrence of the Effective Date shall foreclose any ability to challenge this Plan in any court. If
this Plan is confirmed for fewer than all of the Debtors as provided for in Section 5.11 of this
Plan, only the conditions applicable to the Debtor or Debtors for which this Plan is confirmed
must be satisfied or waived for the Effective Date to occur.




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                     (b)     The stay of the Confirmation Order pursuant to Bankruptcy Rule
3020(e) shall be deemed waived by and upon the entry of the Confirmation Order, and the
Confirmation Order shall take effect immediately upon its entry.

                    9.4        Effect of Failure of a Condition.

                If the conditions listed in Section 9.2 hereof are not satisfied or waived in
accordance with Section 9.3 hereof on or before the first Business Day that is more than seventy-
five (75) days after the date on which the Confirmation Order is entered or by such later date
reasonably acceptable to the Required Restructuring Support Parties and as set forth by the
Debtors in a notice filed with the Bankruptcy Court prior to the expiration of such period, this
Plan shall be null and void in all respects and nothing contained in this Plan or the Disclosure
Statement shall (a) constitute a waiver or release of any Claims by or against or any Interests in
the Debtors, (b) prejudice in any manner the rights of any Person, or (c) constitute an admission,
acknowledgement, offer, or undertaking by the Debtors, any of the other Restructuring Support
Parties, or any other Person.

ARTICLE X.                     EFFECT OF CONFIRMATION.

                    10.1       Binding Effect.

                Except as otherwise provided in section 1141(d)(3) of the Bankruptcy Code, and
subject to the occurrence of the Effective Date, on and after the entry of the Confirmation Order,
the provisions of this Plan shall bind every holder of a Claim against or Interest in any Debtor
and inure to the benefit of and be binding on such holder’s respective successors and assigns,
regardless of whether the Claim or Interest of such holder is Impaired under this Plan and
whether such holder has accepted this Plan.

                    10.2       Vesting of Assets.

                Except as otherwise provided in this Plan, or any Plan Document, on and after the
Effective Date, all Assets of the Estates, including all claims, rights, and Causes of Action and
any property acquired by the Debtors under or in connection with this Plan, shall vest in each
respective Reorganized Debtor free and clear of all Claims, Liens, charges, other encumbrances,
and Interests. Subject to the terms of this Plan, on and after the Effective Date, the Reorganized
Debtors may operate their businesses and may use, acquire, and dispose of property and
prosecute, compromise, or settle any Claims (including any Administrative Expense Claims) and
Causes of Action without supervision of or approval by the Bankruptcy Court and free and clear
of any restrictions of the Bankruptcy Code or the Bankruptcy Rules other than restrictions
expressly imposed by this Plan or the Confirmation Order. Without limiting the foregoing, the
Reorganized Debtors may pay the charges that they incur on or after the Effective Date for
Professional Persons’ fees, disbursements, expenses, or related support services without
application to the Bankruptcy Court.

                    10.3       Discharge of Claims against and Interests in the Debtors.

                Effective as of the Effective Date: (a) the rights afforded in this Plan and the
treatment of all Claims and Interests shall be in exchange for and in complete satisfaction,


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discharge, and release of all Claims and Interests of any nature whatsoever, including any
interest accrued on such Claims from and after the Petition Date, against the Debtors, the
Debtors’ Estates, or the Reorganized Debtors; (b) this Plan shall bind all holders of Claims and
Interests, notwithstanding whether any such holders failed to vote to accept or reject this Plan or
voted to reject this Plan; (c) all Claims and Interests shall be satisfied, discharged, and released in
full, and the liability of the Debtors and the Reorganized Debtors with respect thereto shall be
extinguished completely, including any liability of the kind specified under section 502(g) of the
Bankruptcy Code; and (d) all entities shall be precluded from asserting against the Debtors, the
Debtors’ Estates, or the Reorganized Debtors, any other Claims or Interests based upon any
documents, instruments, or any act or omission, transaction, or other activity of any kind or
nature that occurred prior to the Effective Date.

                    10.4       Pre-Confirmation Injunctions and Stays.

               Unless otherwise provided in this Plan, all injunctions and stays arising under or
entered during the Chapter 11 Cases, whether under sections 105 or 362 of the Bankruptcy Code
or otherwise, and in existence on the date of entry of the Confirmation Order, shall remain in full
force and effect until the later of the Effective Date and the date indicated in the order providing
for such injunction or stay.

                    10.5       Injunction against Interference with Plan.

                Upon the entry of the Confirmation Order, all holders of Claims and Interests and
all other parties in interest, along with their respective present and former affiliates, employees,
agents, officers, directors, and principals, shall be enjoined from taking any action to interfere
with the implementation or the occurrence of the Effective Date.

                    10.6       Plan Injunction.

                         (a)     Except as otherwise provided in this Plan, in the Plan Documents,
or in the Confirmation Order, as of the entry of the Confirmation Order but subject to the
occurrence of the Effective Date, all Persons who have held, hold, or may hold Claims or
Interests are, with respect to any such Claim or Interest, permanently enjoined after the entry of
the Confirmation Order from: (i) commencing, conducting, or continuing in any manner, directly
or indirectly, any suit, action, or other proceeding of any kind (including, without limitation, any
proceeding in a judicial, arbitral, administrative, or other forum) against or affecting, directly or
indirectly, a Debtor, a Reorganized Debtor, or an Estate or the property of any of the foregoing,
or any direct or indirect transferee of any property of, or direct or indirect successor in interest to,
any of the foregoing Persons mentioned in this subsection (i) or any property of any such
transferee or successor; (ii) enforcing, levying, attaching (including, without limitation, any
prejudgment attachment), collecting, or otherwise recovering in any manner or by any means,
whether directly or indirectly, any judgment, award, decree, or order against a Debtor, a
Reorganized Debtor, or an Estate or its property, or any direct or indirect transferee of any
property of, or direct or indirect successor in interest to, any of the foregoing Persons mentioned
in this subsection (ii) or any property of any such transferee or successor; (iii) creating,
perfecting, or otherwise enforcing in any manner, directly or indirectly, any encumbrance of any
kind against a Debtor, a Reorganized Debtor, or an Estate or any of its property, or any direct or


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indirect transferee of any property of, or successor in interest to, any of the foregoing Persons
mentioned in this subsection (iii) or any property of any such transferee or successor; (iv) acting
or proceeding in any manner, in any place whatsoever, that does not conform to or comply with
the provisions of this Plan, and the Plan Documents, to the full extent permitted by applicable
law; and (v) commencing or continuing, in any manner or in any place, any action that does not
comply with or is inconsistent with the provisions of this Plan and the Plan Documents;
provided, that nothing contained herein shall preclude such Persons who have held, hold, or may
hold Claims against, or Interests in, a Debtor, a Reorganized Debtor, or an Estate from exercising
their rights and remedies, or obtaining benefits, pursuant to and consistent with the terms of this
Plan and the Plan Documents.

                       (b)    By accepting distributions pursuant to this Plan, each holder of an
Allowed Claim or Interest will be deemed to have affirmatively and specifically consented to be
bound by this Plan, including, without limitation, the injunctions set forth in this Section.

                    10.7       Releases.

                        (a)     Releases by the Debtors. As of the Effective Date, except for the
rights and remedies that remain in effect from and after the Effective Date to enforce this Plan
and the Plan Documents, for good and valuable consideration, the adequacy of which is hereby
confirmed, including, without limitation, the service and contributions of the Released Parties to
facilitate the reorganization of the Debtors and the implementation of the Restructuring, the
Released Parties are deemed forever released and discharged by the Debtors, the Reorganized
Debtors, and the Estates, in each case on behalf of themselves and their respective successors,
assigns, and representatives and any and all other entities that may purport to assert any Cause of
Action derivatively, by or through the foregoing entities, from any and all claims, interests,
obligations, suits, judgments, damages, demands, debts, rights, Causes of Action, losses,
remedies, or liabilities whatsoever, including any derivative claims, asserted or assertable on
behalf of the Debtors, the Reorganized Debtors, or their Estates, whether known or unknown,
foreseen or unforeseen, existing or hereinafter arising, in law, equity, or otherwise, that the
Debtors, the Reorganized Debtors, or their Estates would have been legally entitled to assert in
their own right (whether individually or collectively) or on behalf of the holder of any Claim or
Interest or other entity, based on or relating to, or in any manner arising from, in whole or in part,
the Debtors, the Chapter 11 Cases, the purchase, sale, or rescission of the purchase or sale of any
Security of the Debtors or the Reorganized Debtors, the subject matter of, or the transactions or
events giving rise to, any Claim or Interest that is treated in this Plan, the business or contractual
arrangements between any Debtor and any Released Party, the Restructuring, the restructuring of
any Claim or Interest before or during the Chapter 11 Cases, the Restructuring Transactions, the
DIP Facility, the Amended and Restated First Lien Credit Facility, the negotiation, formulation,
or preparation of the Disclosure Statement, the Restructuring Support Agreement and any
exhibits or documents relating thereto, and this Plan and related agreements, instruments, and
other documents (including the Plan Documents), the solicitation of votes with respect to this
Plan, any other act or omission, transaction, agreement, event, or other occurrence, or any other
relief obtained by the Debtors in the Chapter 11 Case, other than Claims or Causes of Action
arising out of or related to any act or omission of a Released Party that is a criminal act or
constitutes intentional fraud.



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                         (b)     Releases by Holders of Claims and Interests. As of the Effective
Date, except for the rights and remedies that remain in effect from and after the Effective Date to
enforce this Plan and the Plan Documents, for good and valuable consideration, the adequacy of
which is hereby confirmed, including, without limitation, the service of and contribution of the
Released Parties to facilitate the reorganization of the Debtors and the implementation of the
Restructuring, the Released Parties are deemed forever released and discharged by the (i) the
holders of all Claims and Interests who vote to accept this Plan, (ii) holders of Claims or Interests
that are Unimpaired under this Plan, where the applicable Claims or Interests have been fully
paid or otherwise satisfied in accordance with this Plan, (iii) holders of Claims or Interests
whose vote to accept or reject this Plan was solicited but who did not vote either to accept or to
reject this Plan, (iv) holders of Claims or Interests who voted to reject this Plan but did not opt
out of granting the releases set forth herein, (v) the Restructuring Support Parties, (vi) the First
Lien Agent, (vii) the Second Lien Agent, (viii) the DIP Facility Agent, and (ix) the DIP Facility
Lenders, from any and all claims, interests, obligations, suits, judgments, damages, demands,
debts, rights, Causes of Action, losses, remedies, and liabilities whatsoever, including any
derivative claims, asserted or assertable on behalf of the Debtors, whether known or unknown,
foreseen or unforeseen, existing or hereinafter arising, in law, equity, or otherwise, that such
holders or their affiliates would have been legally entitled to assert in their own right (whether
individually or collectively) or on behalf of the holder of any Claim or Interest or other entity,
based on or relating to, or in any manner arising from, in whole or in part, the Debtors, the
Chapter 11 Cases, the purchase, sale, or rescission of the purchase or sale of any Security of the
Debtors or the Reorganized Debtors, the subject matter of, or the transactions or events giving
rise to, any Claim or Interest that is treated in this Plan, the business or contractual arrangements
between any Debtor and any Released Party, the Restructuring, the restructuring of any Claim or
Interest before or during the Chapter 11 Cases, the Restructuring Transactions, the DIP Facility,
the Amended and Restated First Lien Credit Facility, the negotiation, formulation, or preparation
of the Disclosure Statement, the Restructuring Support Agreement and any exhibits or
documents relating thereto, this Plan and related agreements, instruments, and other documents
(including the Plan Documents), the solicitation of votes with respect to this Plan, any other act
or omission, or any other relief obtained by the Debtors in the Chapter 11 Case, other than
Claims or Causes of Action arising out of or related to any act or omission of a Released Party
that is a criminal act or constitutes intentional fraud, gross negligence, or willful misconduct;
provided, that solely for purposes of this section 10.7(b), the Berkshire Funds shall be excluded
from the definition of Released Party if they have not executed the Restructuring Support
Agreement on or before the deadline established in the Plan for filing the Plan Supplement and
become a Consenting Sponsor.

                    10.8       Exculpation.

                 To the extent permitted by applicable law, no Exculpated Party shall have or
incur, and each Exculpated Party is hereby released and exculpated from, any Claim, Interest,
obligation, suit, judgment, damage, demand, debt, right, Cause of Action, loss, remedy, or
liability for any claim in connection with or arising out of the administration of the Chapter 11
Cases; the negotiation and pursuit of the DIP Facility, the Amended and Restated First Lien
Credit Facility, the Management Incentive Plan, the Disclosure Statement, the Restructuring
Support Agreement, the Restructuring Transactions, and this Plan (including the Plan
Documents), or the solicitation of votes for, or confirmation of, this Plan; the funding of this


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Plan; the occurrence of the Effective Date; the administration of this Plan or the property to be
distributed under this Plan; the issuance of Securities under or in connection with this Plan; or
the transactions in furtherance of any of the foregoing; except for intentional fraud, gross
negligence, or willful misconduct, but in all respects such entities shall be entitled to reasonably
rely upon the advice of counsel with respect to their duties and responsibilities pursuant to this
Plan. The Exculpated Parties and each of their respective affiliates, agents, directors, officers,
employees, advisors, and attorneys have acted in compliance with the applicable provisions of
the Bankruptcy Code with regard to the solicitation and distribution of Securities pursuant to this
Plan and, therefore, are not, and on account of such distributions shall not be, liable at any time
for the violation of any applicable law, rule, or regulation governing the solicitation of
acceptances or rejections of this Plan or such distributions made pursuant to this Plan, including
the issuance of Securities thereunder. This exculpation shall be in addition to, and not in
limitation of, all other releases, indemnities, exculpations, and any other applicable law or rules
protecting such Exculpated Parties from liability.

                    10.9       Injunction Related to Releases and Exculpation.

               From and after the Effective Date, all entities are permanently enjoined from
commencing or continuing in any manner, any suit, action, or other proceeding, on account of or
respecting any Claim, demand, liability, obligation, debt, right, Cause of Action, Interest, or
remedy released or to be released pursuant to this Plan or the Confirmation Order.

                    10.10 Subordinated Claims.

               The allowance, classification, and treatment of all Allowed Claims and Interests
and the respective distributions and treatments thereof under this Plan take into account and
conform to the relative priority and rights of the Claims and Interest in each Class in connection
with any contractual, legal, and equitable subordination rights relating thereto (including, the
Intercreditor Agreement), whether arising under general principles of equitable subordination,
sections 510(a), 510(b), or 510(c) of the Bankruptcy Code, or otherwise. Pursuant to section 510
of the Bankruptcy Code, the Debtors reserve the right to reclassify any Allowed Claim or Interest
in accordance with any contractual, legal, or equitable subordination relating thereto.

                    10.11 Retention of Causes of Action and Reservation of Rights.

                Except as otherwise provided herein, including, without limitation, Sections 10.5,
10.6, 10.7, 10.8 and 10.9 nothing contained in this Plan or the Confirmation Order shall be
deemed to be a waiver or relinquishment of any rights, claims, Causes of Action, rights of setoff
or recoupment, or other legal or equitable defenses that the Debtors had immediately prior to the
Effective Date on behalf of the Estates or of themselves in accordance with any provision of the
Bankruptcy Code or any applicable nonbankruptcy law, including, but not limited to, rights,
claims, Causes of Action, rights of setoff, offset, recoupment or other legal or equitable defenses
against any holder of Existing Equity Interests that arise on account of such holders’ objection to,
or support of, and objection to this Plan. The Reorganized Debtors shall have, retain, reserve,
and be entitled to assert all such claims, Causes of Action, rights of setoff or recoupment, and
other legal or equitable defenses, including any actions specifically enumerated in the Plan
Supplement, as fully as if the Chapter 11 Cases had not been commenced, and all of the Debtors’


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legal and equitable rights in respect of any Unimpaired Claim may be asserted after the
Confirmation Date and Effective Date to the same extent as if the Chapter 11 Cases had not been
commenced.

                    10.12 Ipso Facto and Similar Provisions Ineffective.

                 Except as otherwise agreed by the Required Restructuring Support Parties, any
term of any prepetition policy, prepetition contract, or other prepetition obligation applicable to a
Debtor shall be void and of no further force or effect with respect to any Debtor to the extent that
such policy, contract, or other obligation is conditioned on, creates an obligation of the Debtor as
a result of, or gives rise to a right of any entity based on any of the following: (a) the insolvency
or financial condition of a Debtor or (b) the commencement of the Chapter 11 Cases.

                    10.13 Reimbursement or Contribution.

                Subject to Section 10.15 of the Plan, if the Bankruptcy Court disallows a Claim
for reimbursement or contribution of a Person pursuant to section 502(e)(1)(B) of the
Bankruptcy Code, then to the extent that such Claim is contingent as of the Effective Date, such
Claim shall be forever disallowed notwithstanding section 502(j) of the Bankruptcy Code, unless
prior to the Effective Date (a) such Claim has been adjudicated as noncontingent, or (b) the
relevant holder of a Claim has filed a noncontingent Proof of Claim on account of such Claim
and a Final Order has been entered determining such Claim as no longer contingent.

                    10.14 Recoupment.

               In no event shall any holder of a Claim be entitled to recoup such Claim against
any Claim, right, or Cause of Action of the Debtors or the Reorganized Debtors, as applicable,
unless such holder actually has performed such recoupment and provided notice thereof in
writing to the Debtors on or before the Confirmation Date, notwithstanding any indication in any
Proof of Claim or otherwise that such holder asserts, has, or intends to preserve any right of
recoupment.

                    10.15 Indemnification.

                For purposes of this Plan, (a) the obligations of the Debtors to indemnify and
reimburse their directors or officers that were directors or officers, respectively, on or subsequent
to the Petition Date shall be assumed by the Reorganized Debtors and (b) indemnification
obligations of the Debtors arising from services as officers and directors during the period from
and after the Petition Date shall be Administrative Expense Claims. In addition, after the
Effective Date, the Reorganized Debtors shall not terminate or otherwise reduce the coverage
under any directors’ and officers’ insurance policies (including any “tail policy”) in effect as of
the Petition Date, and all members, managers, directors and officers of the Debtors who served in
such capacity at any time prior to the Effective Date will be entitled to the full benefits of any
such policy for the full term of such policy regardless of whether such members, managers,
directors, and/or officers remain in such positions after the Effective Date.




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ARTICLE XI.                    RETENTION OF JURISDICTION.

                    11.1       Retention of Jurisdiction.

               Pursuant to sections 105(c) and 1142 of the Bankruptcy Code and
notwithstanding entry of the Confirmation Order and the occurrence of the Effective Date, on
and after the Effective Date, the Bankruptcy Court shall retain exclusive jurisdiction, pursuant to
28 U.S.C. §§ 1334 and 157, over all matters arising in or related to the Chapter 11 Cases for,
among other things, the following purposes:

                      (a)     to hear and determine applications for the assumption or rejection
of executory contracts or unexpired leases and any disputes over Cure Amounts resulting
therefrom;

                      (b)      to determine any motion, adversary proceeding, application,
contested matter, and other litigated matter pending on or commenced after the entry of the
Confirmation Order;

                       (c)   to hear and resolve any disputes arising from or related to (i) any
orders of the Bankruptcy Court granting relief under Bankruptcy Rule 2004 or (ii) any protective
orders entered by the Bankruptcy Court in connection with the foregoing;

                     (d)     to ensure that distributions to holders of Allowed Claims are
accomplished as provided in this Plan and the Confirmation Order;

                     (e)     to consider Claims or the allowance, classification, priority,
compromise, estimation, or payment of any Claim, including any Administrative Expense Claim;

                       (f)    to enter, implement, or enforce such orders as may be appropriate
in the event that the Confirmation Order is for any reason stayed, reversed, revoked, modified, or
vacated;

                       (g)     to issue and enforce injunctions, enter and implement other orders,
and take such other actions as may be necessary or appropriate to restrain interference by any
Person or other entity with the consummation, implementation, or enforcement of this Plan, the
Confirmation Order, or any other order of the Bankruptcy Court;

                       (h)    to hear and determine any application to modify this Plan in
accordance with section 1127 of the Bankruptcy Code to remedy any defect or omission or
reconcile any inconsistency in this Plan, the Disclosure Statement, or any order of the
Bankruptcy Court, including the Confirmation Order, in such a manner as may be necessary to
carry out the purposes and effects thereof;

                               (i)    to hear and determine all Fee Claims;

                     (j)    to resolve disputes concerning any reserves with respect to
Disputed Claims or the administration thereof;



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                      (k)     to hear and determine disputes arising in connection with the
interpretation, implementation, or enforcement of this Plan, the Confirmation Order, any
transactions or payments in furtherance of either, or any agreement, instrument, or other
document governing or related to any of the foregoing;

                       (l)      to take any action and issue such orders, including any such action
or orders as may be necessary after entry of the Confirmation Order or the occurrence of the
Effective Date, as may be necessary to construe, enforce, implement, execute, and consummate
this Plan, including any release, exculpation, or injunction provisions set forth in this Plan, or to
maintain the integrity of this Plan following the occurrence of the Effective Date;

                      (m)    to determine such other matters and for such other purposes as may
be provided in the Confirmation Order;

                      (n)     to hear and determine matters concerning state, local, and federal
taxes in accordance with sections 346, 505, and 1146 of the Bankruptcy Code;

                      (o)     to hear and determine any other matters related to the Chapter 11
Cases and not inconsistent with the Bankruptcy Code or title 28 of the United States Code;

                        (p)    to resolve any disputes concerning whether a Person or entity had
sufficient notice of the Chapter 11 Cases, the Disclosure Statement, any solicitation conducted in
connection with the Chapter 11 Cases, any bar date established in the Chapter 11 Cases, or any
deadline for responding or objecting to a Cure Amount, in each case, for the purpose for
determining whether a Claim or Interest is discharged hereunder or for any other purpose;

                               (q)   to recover all Assets of the Debtors and property of the Estates,
wherever located; and

                        (r)     to enter a final decree closing each of the Chapter 11 Cases;
provided that, on and after the Effective Date and after the consummation of the following
agreements or documents, the Bankruptcy Court shall not retain jurisdiction over matters arising
out of or related to each of the A&R Exit Facility, the Amended and Restated First Lien Credit
Agreement, Amended By-Laws, and Amended Certificate of Incorporation and the A&R Exit
Facility, the Amended and Restated First Lien Credit Agreement, Amended By-Laws, Amended
Certificate of Incorporation, and New Stockholders’ Agreement shall be governed by the
respective jurisdictional provisions therein.

ARTICLE XII.                   MISCELLANEOUS PROVISIONS.

                    12.1       Exemption from Certain Transfer Taxes.

                Pursuant to section 1146 of the Bankruptcy Code, (a) the issuance, transfer or
exchange of any securities, instruments or documents, (b) the creation of any Lien, mortgage,
deed of trust or other security interest, (c) all sale transactions consummated by the Debtors and
approved by the Bankruptcy Court on and after the Confirmation Date through and including the
Effective Date, including any transfers effectuated under this Plan, (d) any assumption,
assignment, or sale by the Debtors of their interests in unexpired leases of nonresidential real


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property or executory contracts pursuant to section 365(a) of the Bankruptcy Code, (e) the grant
of collateral under the Amended and Restated First Lien Credit Agreement, and (f) the issuance,
renewal, modification or securing of indebtedness by such means, and the making, delivery or
recording of any deed or other instrument of transfer under, in furtherance of, or in connection
with, this Plan, including, without limitation, the Confirmation Order, shall not be subject to any
document recording tax, stamp tax, conveyance fee or other similar tax, mortgage tax, real estate
transfer tax, mortgage recording tax, Uniform Commercial Code filing or recording fee,
regulatory filing or recording fee, sales tax, use tax or other similar tax or governmental
assessment. Consistent with the foregoing, each recorder of deeds or similar official for any
county, city or governmental unit in which any instrument hereunder is to be recorded shall,
pursuant to the Confirmation Order, be ordered and directed to accept such instrument without
requiring the payment of any filing fees, documentary stamp tax, deed stamps, stamp tax,
transfer tax, intangible tax or similar tax.

                    12.2       Dates of Actions to Implement This Plan.

              In the event that any payment or act under this Plan is required to be made or
performed on a date that is not a Business Day, then the making of such payment or the
performance of such act may be completed on or as soon as reasonably practicable after the next
succeeding Business Day but shall be deemed to have been completed as of the required date.

                    12.3       Amendments.

                        (a)    Plan Modifications. This Plan may be amended, modified, or
supplemented by the Debtors in the manner provided for by section 1127 of the Bankruptcy
Code or as otherwise permitted by law, without additional disclosure pursuant to section 1125 of
the Bankruptcy Code, except as otherwise ordered by the Bankruptcy Court. In addition, after
the Confirmation Date, so long as such action does not materially and adversely affect the
treatment of holders of Allowed Claims pursuant to this Plan, the Debtors, with the consent of
the Required Restructuring Support Parties, may remedy any defect or omission or reconcile any
inconsistencies in this Plan or the Confirmation Order with respect to such matters as may be
necessary to carry out the purposes of effects of this Plan, and any holder of a Claim or Interest
that has accepted this Plan shall be deemed to have accepted this Plan as amended, modified, or
supplemented.

                        (b)    Certain Technical Amendments. Consistent with the Restructuring
Support Agreement and the consent rights granted thereunder, prior to the Effective Date, the
Debtors may make appropriate technical adjustments and modifications to this Plan without
further order or approval of the Bankruptcy Court; provided, that such technical adjustments and
modifications do not adversely affect in a material way the treatment of holders of Claims or
Interests under this Plan.

                    12.4       Revocation or Withdrawal of Plan.

               The Debtors reserve the right to revoke or withdraw this Plan prior to the
Effective Date as to any or all of the Debtors. If, with respect to a Debtor, this Plan has been
revoked or withdrawn prior to the Effective Date, or if confirmation or the occurrence of the


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Effective Date as to such Debtor does not occur on the Effective Date, then, with respect to such
Debtor: (a) this Plan shall be null and void in all respects; (b) any settlement or compromise
embodied in this Plan (including the fixing or limiting to an amount any Claim or Interest or
Class of Claims or Interests), assumption or rejection of executory contracts or unexpired leases
affected by this Plan, and any document or agreement executed pursuant to this Plan shall be
deemed null and void; and (c) nothing contained in this Plan shall (i) constitute a waiver or
release of any Claim by or against, or any Interest in, such Debtor or any other Person;
(ii) prejudice in any manner the rights of such Debtor or any other Person; or (iii) constitute an
admission of any sort by any Debtor or any other Person. For the avoidance of doubt, this
Section 12.4 shall not impact or abridge any of the rights of the Restructuring Support Parties
pursuant to or set forth in the Restructuring Support Agreement.

                    12.5       Non-Severability.

                 Subject to Section 5.11 of this Plan, if, prior to the entry of the Confirmation
Order, any term or provision of this Plan is held by the Bankruptcy Court to be invalid, void, or
unenforceable, the Bankruptcy Court, at the request of the Debtors shall have the power to alter
and interpret such term or provision to make it valid or enforceable to the maximum extent
practicable, consistent with the original purpose of the term or provision held to be invalid, void,
or unenforceable, and such term or provision shall then be applicable as altered or interpreted.
Notwithstanding any such holding, alteration, or interpretation by the Bankruptcy Court, the
remainder of the terms and provisions of this Plan shall remain in full force and effect and will in
no way be affected, impaired, or invalidated by such holding, alteration, or interpretation. The
Confirmation Order shall constitute a judicial determination and shall provide that each term and
provision of this Plan, as it may have been altered or interpreted in accordance with this Section,
is: (a) valid and enforceable pursuant to its terms, (b) integral to the Plan and may not be deleted
or modified without the consent of the Debtors or the Reorganized Debtors (as the case may be),
and (c) nonseverable and mutually dependent.

                    12.6       Governing Law.

                Except to the extent that the Bankruptcy Code or other federal law is applicable or
to the extent that a Plan Document provides otherwise, the rights, duties, and obligations arising
under this Plan and the Plan Documents shall be governed by, and construed and enforced in
accordance with, the internal laws of the State of New York, without giving effect to the
principles of conflicts of laws thereof (other than section 5-1401 and section 5-1402 of the New
York General Obligations Law); provided, however, that corporate or limited liability company
governance matters relating to the Debtors or the Reorganized Debtors, as applicable, shall be
governed by the laws of the state of incorporation or formation (as applicable) of the applicable
Debtor or Reorganized Debtor.

                    12.7       Substantial Consummation of the Plan.

               On the Effective Date, the Plan shall be deemed to be substantially consummated
under sections 1101 and 1127(b) of the Bankruptcy Code.




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                    12.8       Immediate Binding Effect.

                Notwithstanding Bankruptcy Rules 3020(e), 6004(h), 7062, or otherwise, upon
the occurrence of the Effective Date, the terms of this Plan and the Plan Documents shall be
immediately effective and enforceable and deemed binding upon and inure to the benefit of the
Debtors, the Reorganized Debtors, the holders of Claims and Interests, the Released Parties, and
each of their respective successors and assigns.

                    12.9       Successors and Assigns.

               The rights, benefits, and obligations of any entity named or referred to in this Plan
shall be binding on and shall inure to the benefit of any heir, executor, administrator, successor,
or permitted assign, if any, of each such entity.

                    12.10 Entire Agreement.

               On the Effective Date, this Plan, the Plan Supplement, and the Confirmation
Order shall supersede all previous and contemporaneous negotiations, promises, covenants,
agreements, understandings, and representations on such subjects, all of which have become
merged and integrated into this Plan.

                    12.11 Computing Time.

               In computing any period of time prescribed or allowed by this Plan, unless
otherwise set forth in this Plan or determined by the Bankruptcy Court, the provisions of
Bankruptcy Rule 9006 shall apply.

                    12.12 Exhibits to Plan.

             All exhibits, schedules, supplements, and appendices to this Plan (including the
Plan Supplement) are incorporated into and are a part of this Plan as if set forth in full herein.

                    12.13 Deemed Acts.

                Subject to and conditioned on the occurrence of the Effective Date, whenever an
act or event is expressed under the Plan to have been deemed done or to have occurred, it shall
be deemed to have been done or to have occurred without any further act by any party, by virtue
of the Plan and the Confirmation Order.

                    12.14 Notices.

                All notices, requests, and demands to or upon the Debtors or Reorganized
Debtors, as applicable, shall be in writing (including by facsimile transmission) and, unless
otherwise provided herein, shall be deemed to have been duly given or made only when actually
delivered or, in the case of notice by facsimile transmission, when received and telephonically
confirmed, addressed as follows:




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                    Catalina Marketing Corporation
                    200 Carillon Pkwy
                    St. Petersburg, FL 33716
                    Telephone: (877) 210-1917
                    Attn: David Glogoff, Esq.

                    – and –

                    Richards, Layton & Finger, P.A.
                    One Rodney Square
                    920 North King Street
                    Wilmington, Delaware 19801
                    Attn: Mark D. Collins, Esq. and Jason M. Madron, Esq.
                    Telephone: (302) 651-7700
                    Facsimile: (302) 651-7701

                    Attorneys for the Debtors

                    – and –

                    Weil, Gotshal & Manges LLP
                    767 Fifth Avenue
                    New York, New York 10153
                    Attn: Gary T. Holtzer, Esq. and Ronit J. Berkovich, Esq.
                    Telephone: (212) 310-8000
                    Facsimile: (212) 310-8007

                    Attorneys for the Debtors

                Any pleading, notice or other document required by this Plan to be served on or
delivered shall be served by first class or overnight mail:
          If to the First Lien Ad Hoc Group:
                    Jones Day LLP
                    250 Vesey Street
                    New York, New York 10281
                    Attn: Scott Greenberg
                    Telephone: (212) 326-3939
                    Facsimile: (212) 755-7306
                    E-mail: sgreenberg@jonesday.com




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          If to the Second Lien Ad Hoc Group:

                    Paul, Weiss, Rifkind, Wharton & Garrison LLP
                    1285 Avenue of the Americas
                    New York, NY 10019-6064
                    Attention: Brian S. Hermann, Robert A. Britton, and Dan Youngblut
                    Telephone: (212) 373-3000
                    Fax: (212) 492-0545
                    E-mail:bhermann@paulweiss.com
                           rbritton@paulweiss.com
                           dyoungblut@paulweiss.com

                After the occurrence of the Effective Date, the Reorganized Debtors have
authority to send a notice to entities that to continue to receive documents pursuant to
Bankruptcy Rule 2002, such entities must file a renewed request to receive documents pursuant
to Bankruptcy Rule 2002; provided, that the U.S. Trustee need not file such a renewed request
and shall continue to receive documents without any further action being necessary. After the
occurrence of the Effective Date, the Reorganized Debtors are authorized to limit the list of
entities receiving documents pursuant to Bankruptcy Rule 2002 to the U.S. Trustee and those
entities that have filed such renewed requests.




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                    12.15 Reservation of Rights.

               Except as otherwise provided herein, this Plan shall be of no force or effect unless
the Bankruptcy Court enters the Confirmation Order. None of the filing of this Plan, any
statement or provision of this Plan, or the taking of any action by the Debtors with respect to this
Plan shall be or shall be deemed to be an admission or waiver of any rights of the Debtors with
respect to any Claims or Interests prior to the Effective Date.

Dated: December 11, 2018


CATALINA PARTIES

CHECKOUT HOLDING CORP.



By:
Name:
Title:


PDM GROUP HOLDINGS CORPORATION
CATALINA MARKETING CORPORATION
CATALINA MARKETING PROCUREMENT
CATALINA MARKETING TECHNOLOGY SOLUTIONS, INC.
CATALINA MARKETING WORLDWIDE, LLC
CELLFIRE INC.
MODIV MEDIA, INC.
PDM HOLDINGS CORPORATION
PDM INTERMEDIATE HOLDINGS A CORPORATION
PDM INTERMEDIATE HOLDINGS B CORPORATION



By:
Name:
Title:




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                         Exhibit B

              Restructuring Support Agreement
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                                                                                         Execution Version


                          RESTRUCTURING SUPPORT AGREEMENT

       This RESTRUCTURING SUPPORT AGREEMENT (as amended, supplemented or
otherwise modified from time to time in accordance with the terms hereof, this “Agreement”),
dated as of December 11, 2018, is entered into by and among:

        (i) PDM Group Holdings Corporation (“Catalina Parent”), a Delaware corporation;

        (ii) Catalina Marketing Corporation, Catalina Marketing Procurement, LLC, Catalina
Marketing Technology Solutions, Inc., Catalina Marketing Worldwide, LLC, CellFire Inc., Modiv
Media, Inc., Checkout Holding Corp., PDM Holdings Corporation, PDM Intermediate Holdings
A Corporation, and PDM Intermediate Holdings B Corporation (together with Catalina Parent,
each a “Catalina Party” or “Catalina Entity” and collectively, the “Company”);

        (iii) the undersigned lenders, or investment advisors or managers for the account of lenders,
party to that certain senior secured first lien credit facility (the “First Lien Credit Facility” and,
the indebtedness incurred by the Company thereunder, the “First Lien Indebtedness”) pursuant to
that certain First Lien Credit Agreement, dated as of April 9, 2014 (as amended from time to time,
the “First Lien Credit Agreement”), among PDM Holdings Corporation, as holdings, Checkout
Holding Corp., as borrower, JPMorgan Chase Bank, N.A., as administrative agent (the “First Lien
Agent”), the lenders party thereto from time to time (the “First Lien Lenders” and, the undersigned
First Lien Lenders (to the extent identified as “Consenting First Lien Lenders” on the signature
pages hereto), together with their respective successors and permitted assigns and any subsequent
First Lien Lender that becomes party hereto in accordance with the terms hereof, the “Consenting
First Lien Lenders”) and the other agents party thereto from time to time; and

        (iv) the undersigned lenders, or investment advisors or managers for the account of lenders,
party to that certain senior secured second lien credit facility (the “Second Lien Credit Facility”
and, the indebtedness incurred by the Company thereunder, the “Second Lien Indebtedness” and,
together with the First Lien Indebtedness and any other indebtedness issued by any of the Catalina
Entities (“Other Indebtedness”), the “Indebtedness”) pursuant to that certain Second Lien Credit
Agreement dated as of April 9, 2014 (as amended from time to time, the “Second Lien Credit
Agreement”), among PDM Holdings Corporation, as holdings, Checkout Holding Corp., as
borrower, Wilmington Savings Funds Society, FSV, as successor administrative agent
(the “Second Lien Agent”), the lenders party thereto from time to time (the “Second Lien
Lenders” and, the undersigned Second Lien Lenders (to the extent identified as “Consenting
Second Lien Lenders” on the signature pages hereto), together with their respective successors and
permitted assigns and any subsequent Second Lien Lender that becomes party hereto in accordance
with the terms hereof, the “Consenting Second Lien Lenders”) and together with the Consenting
First Lien Lenders, the “Consenting Creditors”) 1 and the other agents party thereto from time to
time.



1
  For the avoidance of doubt, any Consenting Creditor that is a Qualified Marketmaker shall be considered a
Consenting Creditor and required to comply with the terms and obligations of this Agreement solely to the extent
provided in Section 3(g).
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       The Company, each Consenting Creditor, and any subsequent person or entity that
becomes a party hereto in accordance with the terms hereof are referred herein as the “Parties”
and individually as a “Party.”

        When a reference is made in this Agreement to a Section, Exhibit or Schedule, such
reference shall be to a Section, Exhibit or Schedule, respectively, of or attached to this Agreement
unless otherwise indicated. Unless the context of this Agreement otherwise requires, (a) words
using the singular or plural also include the plural or singular , respectively, (b) the terms “hereof,”
“herein,” “hereby” and derivative or similar words refer to this entire Agreement, (c) the words
“include,” “includes” and “including” when used herein shall be deemed in each case to be
followed by the words “without limitation,” (d) the word “or” shall not be exclusive and shall be
read to mean “and/or” and (e) any reference to dollars or “$” shall be to United States dollars. The
Parties agree that they have been represented by legal counsel during the negotiation and execution
of this Agreement and, therefore, waive the application of any law, regulation, holding or rule of
construction providing that ambiguities in an agreement or other document shall be construed
against the party drafting such agreement or document.

                                             RECITALS

       WHEREAS, the Parties have engaged in good faith, arm’s length negotiations and have
agreed to enter into certain transactions (the “Restructuring Transactions”) in furtherance of a
global restructuring of the Company (the “Restructuring”) which is anticipated to be effected
through a plan of reorganization (as may be amended from time to time in accordance with the
terms hereof, the “Plan”), a solicitation of votes therefor (the “Solicitation”) pursuant to the
Bankruptcy Code (as defined below), and the commencement by the Company of voluntary cases
(the “Chapter 11 Cases”) under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101-
1532 (the “Bankruptcy Code”), in the United States Bankruptcy Court for the District of Delaware
(the “Bankruptcy Court”);

       WHEREAS, the Restructuring Transactions include those transactions described in the
Plan Term Sheet attached hereto as Exhibit A (the “Plan Term Sheet”);

       WHEREAS, as of the date hereof, the Consenting First Lien Lenders hold, in the
aggregate, approximately 93% of the aggregate outstanding principal amount of the First Lien
Indebtedness, and approximately [•]% of the aggregate outstanding principal amount of the Second
Lien Indebtedness;

       WHEREAS, as of the date hereof, the Consenting Second Lien Lenders hold, in the
aggregate, approximately 78% of the aggregate outstanding principal amount of the First Lien
Indebtedness, and approximately [•]% of the aggregate outstanding principal amount of the Second
Lien Indebtedness;

        WHEREAS, the Company and the Consenting Creditors have reached an agreement for
the consensual use of Cash Collateral (as defined in the Bankruptcy Code) and the Company’s
entry into the DIP Facility (as defined below) pursuant to the terms and conditions consistent with
the Plan Term Sheet (the “DIP Credit Agreement”) and the interim and final orders approving,
among other things, the Company’s entry into the DIP Facility, to be entered by the Bankruptcy


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Court (the “Interim DIP Order” and the “Final DIP Order,” respectively, and together the “DIP
Orders”) in form and substance acceptable to the Company and the DIP Lenders (as defined
below) and consistent with the terms of this Agreement, including the Plan Term Sheet; and

      WHEREAS, the Parties desire to express to each other their mutual support and
commitment in respect of the matters discussed in the Plan Term Sheet and hereunder.

        NOW, THEREFORE, in consideration of the premises and the mutual covenants and
agreements set forth herein, and for other good and valuable consideration, the receipt and
sufficiency of which are hereby acknowledged, the Parties, intending to be legally bound, agree as
follows:

       1.      Certain Definitions.

       As used in this Agreement, the following terms have the following meanings:

       (a)     “Capital Stock” means the issued and outstanding shares of capital stock of
Catalina Parent or any option thereon or any right or interest therein.

       (b)     “Claims” has the meaning set forth in section 101(5) of the Bankruptcy Code.

       (c)     “Closing” means the consummation of the transactions contemplated by the Plan
on the Effective Date.

        (d)    “Confirmation Order” means the order of the Bankruptcy Court confirming the
Plan in the Chapter 11 Cases, which order will be in form and substance reasonably satisfactory to
the Requisite Creditors and the Company.

      (e)      “Consenting Class” means either the First Lien Lenders or the Second Lien
Lenders, as applicable.

        (f)    “Consenting Creditor Advisors” means Creditor Counsel, Evercore Group, L.L.C.,
as financial advisor to the First Lien Lenders and PJT Partners, LP, as financial advisor to the
Second Lien Lenders.

       (g)     “Creditor Counsel” means Jones Day, as counsel to the First Lien Lenders, and
Paul, Weiss, Rifkind, Wharton & Garrison LLP, as counsel to the Second Lien Lenders.

         (h)    “Definitive Documents” means (i) this Agreement (including the Plan Term Sheet),
(ii) the Plan (including any ballots, supplements, or other material documents directly relating
thereto not specified herein), (iii) the Disclosure Statement, (iv) the DIP Orders, (v) the motion
seeking approval of the DIP Orders, (vi) the motion seeking approval by the Bankruptcy Court of
the Disclosure Statement and the Solicitation procedures, and the orders of the Bankruptcy Court
approving the Disclosure Statement and confirming the Plan, (vii) the DIP Credit Agreement and
related financing documents (the “DIP Documents”), (vii) all exit financing documents (the “Exit
Documents”), (viii) all first day pleadings or papers, and (ix) all second day pleadings or papers,
in each case, which are reasonably satisfactory in form and substance to the Requisite Creditors,
subject to the Second Lien Lender Consent Right.

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       (i)     “DIP Facility” means the debtor-in-possession facility to be provided to the
Company in accordance with the terms, and subject in all respects to the conditions, set forth in
the DIP Credit Agreement and pursuant to the terms and conditions of the DIP Orders.

        (j)      “DIP Lenders” means those Consenting Creditors that are providing the DIP
Facility in their capacities as First Lien Lenders.

       (k)     “Disclosure Statement” means the disclosure statement in respect of the Plan,
including, without limitation, all exhibits and schedules thereto, as supplemented from time to
time.

        (l)    “Effective Date” means the date upon which all conditions to the effectiveness of
the Plan have been satisfied or waived in accordance with the terms thereof and the Plan becomes
effective.

        (m)     “Interest” means any equity security (as defined in section 101(16) of the
Bankruptcy Code) of a Catalina Party, including all shares, common stock, preferred stock, or
other instrument evidencing any fixed or contingent ownership interest in any Catalina Party,
including any option, warrant, or other right, contractual or otherwise, to acquire any such interest
in a Catalina Party, whether or not transferable and whether fully vested or vesting in the future,
that existed immediately before the Effective Date.

      (n)      “NCS JV Agreements” means the NC Ventures, LLC Limited Liability Company
Agreement dated October 1, 2015 and all related agreements, including, without limitation, (i) the
NC Ventures, LLC Catalina Data and Intellectual Property License Agreement dated October 6,
2009 and (ii) that certain side letter agreement dated June 29, 2009 by and between Catalina
Marketing Corporation and The Nielsen Company (US) LLC.

       (o)     “New Board” means the initial board of directors of Reorganized Catalina Parent.

        (p)    “New Common Stock” means the shares of common stock of Reorganized Catalina
Parent issued pursuant to the Plan.

      (q)    “Prepetition Loan Documents” means the First Lien Credit Agreement and the
Second Lien Credit Agreement and, in each case, all “Loan Documents” as defined therein.

        (r)    “Reorganized Catalina Parent” means Catalina Parent, as reorganized as of the
Effective Date.

       (s)    “Reorganized Debtors” means Catalina Parent and the other Debtors, as
reorganized on the Effective Date.

      (t)    “Requisite Creditors” means the Requisite First Lien Lenders and the Requisite
Second Lien Lenders.

       (u)     “Required DIP Lenders” means, as of the date of determination, DIP Lenders
holding at least a majority of the aggregate principal amount outstanding of the DIP Facility and
any unused or unfunded commitments thereunder.

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        (v)    “Requisite First Lien Lenders” means, as of the date of determination, Consenting
First Lien Lenders holding at least a majority of the aggregate principal amount outstanding of the
First Lien Indebtedness held by all Consenting First Lien Lenders.

       (w)     “Requisite Second Lien Lenders” means, as of the date of determination,
Consenting Second Lien Lenders holding at least a majority of the aggregate principal amount
outstanding of the Second Lien Indebtedness held by all Consenting Second Lien Lenders.

        (x)      “Second Lien Lender Consent Right” means the Requisite Consenting Second
Lien Lenders’ right to consent or approve the Definitive Documents, which right shall be as
follows: (i) this Agreement (including the Plan Term Sheet), the Plan (including any ballots,
supplements, or other documents relating thereto not specified herein), the Disclosure Statement,
the motion seeking approval by the Bankruptcy Court of the Disclosure Statement and the
Solicitation procedures, and the Confirmation Order shall be reasonably acceptable in form and
substance to the Requisite Second Lien Lenders and (ii) all other Second Lien Lender consent
rights shall apply solely to the extent the Definitive Document (A) is not consistent in any material
respects with this Agreement or the Plan Term Sheet; (B) adversely affects, directly or indirectly,
in any respect the economic rights, waivers, or releases proposed to be granted to, or received by,
the Consenting Second Lien Lenders pursuant to this Agreement and the Plan (including, but not
limited to, through the treatment (or change to the treatment) under the Plan of any claim or
interest), other than such different treatment that may be consented to by the affected Second Lien
Lenders, or (C) adversely affects, directly or indirectly, the obligations the Consenting Second
Lien Lenders may have pursuant to this Agreement or the Plan; provided, however, that any
Consenting Second Lien Lender that is (I) a DIP Lender (in its capacity as a holder of First Lien
Indebtedness) shall have all rights (including consent rights) afforded to a DIP Lender under the
DIP Credit Agreement and, before the DIP Credit Agreement becomes effective, all First Lien
Indebtedness held by such Second Lien Lender shall be included in the calculation of “Requisite
First Lien Lenders” with respect to consent rights over the DIP Orders, DIP Credit Agreement,
and other DIP Documents and (II) a participant in any exit financing facility shall have all rights
(including consent rights) of a lender with respect thereto and all First Lien Indebtedness held by
such Second Lien Lender shall be included in the calculation of “Requisite First Lien Lenders”
with respect to consent rights over the Exit Documents.

       (y)     “Securities Act” means the Securities Act of 1933, as amended.

         (z)   “Support Effective Date” means the date on which (i) counterpart signature pages
to this Agreement shall have been executed and delivered by (A) the Company and (B) Consenting
Creditors holding at least 66⅔% in aggregate principal amount outstanding of the First Lien
Indebtedness and at least 66⅔% in aggregate principal amount outstanding of the Second Lien
Indebtedness, and (ii) all of the reasonable and documented fees and expenses of the Consenting
Creditor Advisors (including any applicable local counsel) incurred and outstanding as of the day
immediately prior to the Support Effective Date shall have been paid in full in cash (except as
otherwise agreed by the applicable Consenting Creditor Advisor).

       (aa) “Support Period” means the period commencing on the Support Effective Date and
ending on the earlier of the (i) date on which this Agreement is terminated in accordance with
Section 6 hereof and (ii) Effective Date.

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       2.      Bankruptcy Process; Plan of Reorganization.

        (a)     The Plan. The Plan Term Sheet is expressly incorporated herein and made a part
of this Agreement. All references to this Agreement shall be deemed to include the Plan Term
Sheet. The material terms and conditions of the Restructuring are set forth in the Plan Term Sheet;
provided that the Plan Term Sheet is supplemented by the terms and conditions of this Agreement.
In the event of any inconsistencies between the terms of this Agreement and the Plan Term Sheet,
the terms of this Agreement shall govern.

        (b)    Commencement of the Chapter 11 Cases. The Company hereby agrees that, as
soon as reasonably practicable, but in no event later than three (3) calendar days after the Support
Effective Date (the “Outside Petition Date”) (the date on which such filing occurs, the “Petition
Date”), the Company shall file with the Bankruptcy Court voluntary petitions for relief under
chapter 11 of the Bankruptcy Code and any and all other documents necessary to commence the
Chapter 11 Cases of the Company.

       (c)     Filing of the Plan and Disclosure Statement. The Company shall file the Plan along
with the Disclosure Statement, each in form and substance reasonably satisfactory to the Requisite
Creditors on the date no later than the date necessary to obtain entry of an order approving the
Disclosure Statement in accordance with this Agreement.

         (d)    Confirmation of the Plan. The Company shall use its commercially reasonable
efforts to obtain confirmation of the Plan as soon as reasonably practicable following the Petition
Date in accordance with the Bankruptcy Code and on terms consistent with this Agreement, and
each Consenting Creditor shall use its commercially reasonable efforts to cooperate fully in
connection therewith.

        (e)     DIP Financing and Cash Collateral. No later than one (1) business day after the
Petition Date, the Company shall file a motion with the Bankruptcy Court seeking interim and
final authority to use Cash Collateral and enter into the DIP Facility in accordance with the DIP
Orders.

        (f)  Assumption of this Agreement. No later than 7 calendar days after the Petition
Date, the Company shall file a motion with the Bankruptcy Court seeking the assumption of this
Agreement.

       3.      Agreements of the Consenting Creditors.

      (a)     Voting; Support. Each Consenting Creditor agrees that, during the Support Period,
such Consenting Creditor shall:

               (i)      (A) timely vote or cause to be voted its Claims (including, without
       limitation, all claims arising under the First Lien Credit Agreement and the Second Lien
       Credit Agreement, as applicable) to accept the Plan by delivering its duly executed and
       completed ballot or ballots, as applicable, accepting the Plan on a timely basis, (B) not
       change or withdraw such vote (or cause or direct such vote to be changed or withdrawn);
       provided, however, that such vote may, upon written notice to the Company and the other


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       Parties, be revoked (and, upon such revocation, deemed void ab initio) by any Consenting
       Creditor at any time following the expiration of the Support Period;

               (ii)    timely vote (or cause to be voted) its Claims against any plan, plan proposal,
       restructuring proposal, offer of dissolution, assignment for the benefit of creditors, winding
       up, liquidation, sale or disposition, reorganization, merger, business combination, joint
       venture, debt or equity financing or re-financing, recapitalization or other restructuring of
       the Company (including, for the avoidance of doubt, a transaction premised on an asset
       sale under section 363 of the Bankruptcy Code) other than the Plan (each, an “Alternative
       Restructuring”);

               (iii)   not directly or indirectly, through any person or entity (including, without
       limitation, any administrative agent or collateral agent), seek, solicit, propose, support,
       assist, engage in negotiations in connection with or participate in the formulation,
       preparation, filing or prosecution of any Alternative Restructuring or object to or take any
       other action that is inconsistent with or that would reasonably be expected to prevent,
       interfere with, delay or impede the Solicitation, approval of the Disclosure Statement, or
       the confirmation and consummation of the Plan and the consummation of the
       Restructuring;

             (iv)   agree to provide, and to not opt out of, the releases of the Company, the
       Reorganized Debtors and the Released Parties substantially in the form set forth in the Plan
       Term Sheet;

                (v)   not direct any administrative agent or collateral agent (as applicable) to take
       any action inconsistent with such Consenting Creditor’s obligations under this Agreement,
       and, if any applicable administrative agent or collateral agent takes any action inconsistent
       with such Consenting Creditor’s obligations under this Agreement, such Consenting
       Creditor shall use its commercially reasonable efforts to direct and cause such
       administrative agent or collateral agent to cease and refrain from taking any such action;

              (vi)   support and take all commercially reasonable actions reasonably requested
       by the Company to facilitate the Solicitation of the Plan, obtain approval of the Disclosure
       Statement, and obtain confirmation and consummation of the Plan and the Restructuring;
       and

               (vii) to the extent any legal or structural impediment arises that would prevent,
       hinder, or delay the consummation of the Restructuring, negotiate in good faith appropriate
       additional or alternative provisions to address any such impediment.

        (b)     Transfers. Each Consenting Creditor agrees that, during the Support Period, such
Consenting Creditor shall not sell, transfer, loan, issue, pledge, hypothecate, assign or otherwise
dispose of (each, a “Transfer”), directly or indirectly, in whole or in part, any of its Claims or any
option thereon or any right or interest therein or any other claims against or interests in the
Company (including the grant of any proxy or the deposit of any Claims against or interests in the
Company into a voting trust or the entry into a voting agreement with respect thereto), unless the
transferee thereof either (i) is a Consenting Creditor or (ii) prior to such Transfer, agrees in writing


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for the benefit of the Parties to become a Consenting Creditor and to be bound by all of the terms
of this Agreement applicable to Consenting Creditors (including with respect to any and all claims
or interests it already may hold against or in the Company prior to such Transfer) by executing a
joinder agreement, a form of which is attached hereto as Exhibit B (a “Joinder Agreement”), and
delivering an executed copy thereof within two (2) business days of such execution, to (A) Weil,
Gotshal & Manges LLP (“Weil”), as counsel to the Company, and (B) Creditor Counsel, in which
event (x) the transferee (including the Consenting Creditor transferee, if applicable) shall be
deemed to be a Consenting Creditor hereunder and (y) the transferor shall be deemed to relinquish
its rights (and be released from its obligations) under this Agreement to the extent of such
Transferred rights and obligations; provided that a Consenting Creditor may Transfer its Claims
to an entity that is acting in its capacity as a Qualified Marketmaker 2 without the requirement that
the Qualified Marketmaker execute a Joinder Agreement, provided that (I) any subsequent
Transfer by such Qualified Marketmaker of the right, title, or interest in such Claims is to a
transferee that is or becomes a Consenting Creditor at the time of such Transfer and (II) the
Qualified Marketmaker complies with Section (d) hereof. To the extent that a Consenting Creditor
is acting in its capacity as a Qualified Marketmaker, it may Transfer any right, title, or interest in
such Claims that the Qualified Marketmaker acquires from a holder of the Claims who is not a
Consenting Creditor without the requirement that the transferee be or became a Consenting
Creditor.

        (c)      Additional Claims or Interests. To the extent any Consenting Creditor (i) acquires
additional Claims, (ii) holds or acquires any other claims against the Company entitled to vote on
the Plan, (iii) holds or acquires any Interests in the Company entitled to vote on the Plan or
(iv) Transfers any Claims, then, in each case, each such Consenting Creditor shall promptly (in no
event less than three (3) business days following such acquisition or transaction) notify Weil and
applicable Creditor Counsel for the Consenting Class of which such Consenting Creditor is a
member of such transaction in writing and each such Consenting Creditor agrees with respect to
(i) through (iii) above that such additional Claims or other claims or Interests shall be subject to
this Agreement, and that, for the duration of the Support Period, it shall vote (or cause to be voted)
any such additional Claims or other claims or Interests entitled to vote on the Plan in a manner
consistent with Section 3(a) hereof (and in the event the Solicitation has already commenced, no
later than two (2) business days following the acquisition of such Claim, claims or Interests).

        (d)     Obligations of Qualified Marketmaker. If at the time of a proposed Transfer of
Claims to a Qualified Marketmaker, such Claims (i) may be voted on the Plan, the proposed
transferor Consenting Creditor must first vote such Claims in accordance with Section 3(a) or (ii)
have not yet been and may not yet be voted on the Plan and such Qualified Marketmaker does not
Transfer such Claims or Interests to a subsequent transferee prior to the third (3rd) Business Day
prior to the expiration of the applicable voting deadline (such date, the “Qualified Marketmaker
Joinder Date”), such Qualified Marketmaker shall be required to (and the transfer documentation
to the Qualified Marketmaker shall have provided that it shall), on the first (1st) Business Day
immediately following the Qualified Marketmaker Joinder Date, become a Consenting Creditor
2
  As used herein, the term “Qualified Marketmaker” means an entity that (a) holds itself out to the public or the
applicable private markets as standing ready in the ordinary course of business to purchase from customers and sell
to customers claims against the Company (or enter with customers into long and short positions in claims against the
Company), in its capacity as a dealer or marketmaker in claims against the Company and (b) is, in fact, regularly in
the business of making a market in claims against issuers or borrowers (including debt securities or other debt).

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with respect to such Claims in accordance with the terms hereof (including the obligation to vote
in favor of the Plan) and shall vote in favor of the Plan in accordance with the terms hereof;
provided, that, the Qualified Marketmaker shall automatically, and without further notice or action,
no longer be a Consenting Creditor with respect to such Claims at such time that the transferee of
such Claims becomes a Consenting Creditor, with respect to such Claims.

        (e)      Forbearance. Each Consenting Creditor agrees to forbear until 9:00 a.m. prevailing
Eastern Time on December 13, 2018 from the exercise of its rights (including any right of set-off)
or remedies it may have under the Prepetition Loan Documents, as applicable, and under applicable
U.S. or foreign law or otherwise, in each case, solely with respect to the Company’s (i) failure to
make the interest payment due to First Lien Agent for the benefit of the First Lien Lenders on
November 30, 2018, (ii) failure to make the interest payment due to Second Lien Agent for the
benefit of the Second Lien Lenders on November 30, 2018, (iii) failure to deliver the quarterly
financial statements and related Compliance Certificate (as defined in the Prepetition Loan
Document for the fiscal quarter ended September 30, 2018, as required by Sections 6.01(b) and
6.02(a) of the First Lien Credit Agreement and Second Lien Credit Agreement, respectively, (iv)
failure to participate in a conference call with the First Lien Agent and First Lien Lenders and the
Second Lien Agent and Second Lien Lenders to discuss the financial condition and results of
operations of the Company for the fiscal quarter ended September 30, 2018, as required by Section
6.17 of the First Lien Credit Agreement and the Second Lien Credit Agreement, respectively; (v)
failure to comply with the Financial Covenant (as defined in the First Lien Credit Agreement) as
of the Compliance Date (as defined in the First Lien Credit Agreement) occurring on September
30, 2018, as required by Section 7.11 of the First Lien Credit Agreement, (vi) failure to deliver the
quarterly financial statements and related compliance certificate for the fiscal quarter ended
September 30, 2018, as required by Sections 6.0l(b) and 6.02(a) of the Note Purchase Agreement
dated as of April 9, 2014 among PDM Intermediate Holdings B Corporation, as issuer and the
investors party thereto from time to time as purchasers, and (vii) entry into this Agreement or the
other documents related to this Agreement and the transactions contemplated by this Agreement
and the implementation thereof (the defaults listed in (i)-(vii) collectively, the “Specified
Defaults”) and on no other basis. Each Consenting Creditor further agrees that if any applicable
administrative agent or collateral agent takes any action inconsistent with any such Consenting
Creditor’s obligations under this Agreement, such Consenting Creditor shall direct and use
commercially reasonable efforts to cause such administrative agent or collateral agent to cease and
refrain from taking such actions. For the avoidance of doubt, the forbearance set forth in this
Section 3(d) shall not constitute a waiver with respect to any default or event of default under the
First Lien Credit Agreement or Second Lien Credit Agreement and shall not bar any Consenting
Creditor from filing a proof of claim or taking action to establish the amount of such claim. Upon
the termination of this Agreement, the agreement of the Consenting Creditors to forbear from
exercising rights and remedies in accordance with this Section 3(e) shall immediately terminate
without requirement of any demand, presentment or protest of any kind, all of which the Catalina
Parties hereby waive.

        (f)     Notwithstanding anything to the contrary herein, nothing in this Agreement shall
limit, condition or restrict, in any way, any Consenting Creditor, in its capacity as a DIP Lender,
from (i) exercising any rights and remedies under the DIP Credit Agreement (and any related credit
documents, including the DIP Orders), (ii) waiving or forbearing with respect to any Default or
Event of Default under and as defined in the DIP Credit Agreement and DIP Orders, (iii) amending,

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modifying or supplementing the DIP Credit Agreement (or any related credit documents), or
(iv) refusing to make additional advances under the DIP Credit Agreement, in each case, in their
sole and absolute discretion and in accordance with the terms of the DIP Credit Agreement (or
related credit documents and the DIP Orders).

        (g)     The Company understands that the Consenting Creditors are engaged in a wide
range of financial services and businesses, and, in furtherance of the foregoing, the Company
acknowledges and agrees that the obligations set forth in this Agreement shall only apply to the
trading desk(s) and/or business group(s) of the Consenting Creditor that principally manage and/or
supervise the Consenting Creditor’s investment in the Company, and shall not apply to any other
trading desk or business group of the Consenting Creditor so long as they are not acting at the
direction or for the benefit of such Consenting Creditor. Further, notwithstanding anything in this
Agreement to the contrary, the Parties agree that, in connection with the delivery of signature pages
to this Agreement by a Consenting Creditor that is a Qualified Marketmaker before the occurrence
of conditions giving rise to the Support Effective Date, such Consenting Creditor shall be a
Consenting Creditor hereunder solely with respect to the Claims listed on such signature pages
and shall not be required to comply with this Agreement for any other Claims it may hold.

         4.     [Reserved]

         5.     Agreements of the Company.

         (a)    Covenants. The Company agrees that, during the Support Period, the Company
shall:

                 (i)      (A) use commercially reasonable efforts to obtain any and all required
         regulatory approvals for the Restructuring set forth in the Plan, if any; and (B) not take any
         action that is inconsistent with or that would reasonably be expected to prevent, interfere
         with, delay or impede the Solicitation, approval of the Disclosure Statement, or the
         confirmation and consummation of the Plan and the consummation of the Restructuring,
         in each case, to the extent consistent with, upon the advice of counsel, the fiduciary duties
         of the boards of directors, managers, members or partners, as applicable, of each Catalina
         Party; provided that the Company shall not be obligated to agree to any modification of
         any document that is inconsistent with the Plan Term Sheet;

                 (ii)    deliver draft copies of all material motions or applications and other
         material documents related to the Restructuring (including the Plan, the Disclosure
         Statement, ballots and other Solicitation materials in respect of the Plan and any proposed
         amended version of the Plan or the Disclosure Statement, and a proposed confirmation
         order) the Company intends to file with the Bankruptcy Court to Creditor Counsel, at least
         two (2) business days prior to the date when the Company intends to file any such document
         (provided that if delivery of such document at least two (2) business days in advance is not
         reasonably practicable under the circumstances, such document shall be delivered as soon
         as otherwise practicable prior to filing) and shall consult in good faith with Creditor
         Counsel regarding the form and substance of any such proposed filing with the Bankruptcy
         Court;



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        (iii)   not, directly or indirectly, through any person or entity, take any action that
is inconsistent with, or that would reasonably be expected to prevent, interfere with, delay
or impede, consummation of the Restructuring, including the Solicitation, approval of the
Disclosure Statement, and the confirmation and consummation of the Plan;

       (iv)    to the extent that any legal or structural impediment arises that would
prevent, hinder, or delay the consummation of the transactions contemplated in this
Agreement or the Plan, negotiate in good faith appropriate additional or alternative
provisions to address any such impediment, in consultation with the Requisite Consenting
Creditors;

       (v)     maintain its good standing under the laws of the state or other jurisdiction
in which they are incorporated or organized;

       (vi)  as soon as reasonably practicable, notify the Consenting Creditors in writing
of any governmental or third party complaints, litigations, investigations, or hearings (or
communications indicating that the same may be contemplated or threatened);

       (vii) if the Catalina Parties know of a material breach by any Catalina Party or
any Consenting Creditor of the obligations, representations, warranties, or covenants of the
Catalina Parties or Consenting Creditors (as applicable) set forth in this Agreement, furnish
prompt written notice (and in any event within three (3) business days of such actual
knowledge) to the non-breaching Consenting Creditors and promptly take all reasonable
and practicable remedial action necessary to cure such material breach by any such Catalina
Party or the Consenting Creditor, as applicable;

        (viii) pay in cash (A) prior to the Petition Date, all reasonable and documented
fees and out-of-pocket expenses accrued prior to the Petition Date for which invoices or
receipts are furnished by Consenting Creditor Advisors, (B) after the Petition Date, all
reasonable and documented fees and out-of-pocket expenses of the Consenting Creditor
Advisors (including any applicable local counsel) incurred on and after the Petition Date
from time to time, but in any event within seven (7) days of delivery to the Catalina Parties
of any applicable invoice or receipt, and (C) on the Effective Date, all reasonable and
documented fees and out-of-pocket expenses of the Consenting Creditor Advisors
(including any applicable local counsel) incurred and outstanding in connection with the
Restructuring (including any success or transaction fees payable to Evercore Group, L.L.C.
and PJT Partners, LP, which shall be deemed to include all success, restructuring or
transaction fees payable to Evercore Group, L.L.C. and PJT Partners, LP in accordance
with their respective engagement letters with the Catalina Entities);

        (ix)    timely file a formal objection to any motion filed with the Bankruptcy Court
by a third party seeking the entry of an order (A) directing the appointment of a trustee or
examiner (with expanded powers beyond those set forth in sections 1106(a)(3) and (4) of
the Bankruptcy Code), (B) converting the Chapter 11 Cases to cases under chapter 7 of the
Bankruptcy Code, (C) dismissing the Chapter 11 Cases, (D) modifying or terminating the
Debtors’ exclusive right to file and/or solicit acceptances of a plan of reorganization, as
applicable; or (E) challenging the validity, enforceability, perfection, or priority of, or


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       seeking avoidance or subordination of, any portion of the First Lien Indebtedness, or
       asserting any other cause of action against and/or with respect or relating to such Claims
       or the prepetition liens securing such Claims; and

               (x)     not seek, solicit, or support any Alternative Restructuring, other than the
       Restructuring, or cause or allow any of their agents or representatives to solicit any
       Alternative Restructuring, unless the board of directors of any Catalina Party determines,
       based on the advice of outside legal counsel, in good faith, and consistent with its fiduciary
       duties, that proceeding with the Restructuring would be inconsistent with the applicable
       fiduciary duties of such board of directors. Prior to the earlier of (x) making a public
       announcement regarding their intention to accept an Alternative Restructuring or
       (y) entering into a definitive agreement with respect to an Alternative Restructuring, the
       Debtors shall have terminated this Agreement pursuant to Section 6(c). The Debtors shall,
       to the extent practicable and consistent with their fiduciary duties, give Creditor Counsel
       not less than four (4) Business Days’ prior written notice before exercising such
       termination right in accordance with this Agreement. At all times prior to the date on which
       the Debtors enter into a definitive agreement in respect of such an Alternative Restructuring
       or make a public announcement regarding their intention to do so, the Debtors shall provide
       to Creditor Counsel a copy of any written offer or proposal (and notice and a description
       of any oral offer or proposal) for such Alternative Restructuring within five (5) business
       days of the Debtors’ or their advisors’ receipt of such offer or proposal.

        (b)    New Common Stock. The Company agrees that issuance of and any resale of the
New Common Stock pursuant to the Plan is intended to be exempt from registration under the
Securities Act pursuant to Regulation D thereunder or pursuant to section 1145 of the Bankruptcy
Code.

        (c)    Automatic Stay. The Company acknowledges and agrees and shall not dispute that
after the commencement of the Chapter 11 Cases, the giving of notice of termination of this
Agreement by any Party pursuant to this Agreement shall not be a violation of the automatic stay
under section 362 of the Bankruptcy Code (and the Company hereby waives, to the fullest extent
permitted by law, the applicability of the automatic stay to the giving of such notice); provided
that nothing herein shall prejudice any Party’s rights to argue that the giving of notice of default
or termination was not proper under the terms of this Agreement.

       6.      Termination of Agreement.

        (a)     This Agreement shall terminate three (3) business days following the delivery of
notice, delivered in accordance with Section 22 hereof, from the Requisite First Lien Lenders or
the Requisite Second Lien Lenders, as applicable, to the other Parties at any time after and during
the continuance of any Creditor Termination Event; provided, that termination by the Requisite
First Lien Lenders or Requisite Second Lien Lenders, as applicable, shall only be effective as to
the applicable Consenting Class. In addition, this Agreement shall terminate in respect of the
applicable Consenting Class three (3) business days following the delivery of notice, delivered in
accordance with Section 22 hereof, from Catalina Parent to the other Parties at any time after the
occurrence and during the continuance of any Company Termination Event (defined below). No
Party may exercise any of its respective termination rights as set forth herein if (i) such Party is in

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breach of this Agreement (unless such failure to perform or comply arises as a result of another
Party’s actions or inactions), (ii) such breach has caused, or resulted in, the occurrence of a Creditor
Termination Event or Company Termination Event (as applicable), and (iii) such breach is
continuing when such Party seeks to exercise any of its respective termination rights. In addition,
this Agreement shall terminate automatically on the Effective Date.

        (b)     A “Creditor Termination Event” shall mean any of the following:

               (i)     the breach by the Company of any of the undertakings, representations,
        warranties or covenants of the Company set forth herein in any material respect which
        remains uncured for a period of five (5) business days after the receipt of written notice of
        such breach pursuant to Sections 6(a) and 22 hereof (as applicable);

                (ii)    the issuance by any governmental authority, including any regulatory
        authority or court of competent jurisdiction, of any ruling, judgment or order enjoining the
        consummation of or rendering illegal the Plan or the Restructuring, and such ruling,
        judgment or order has not been stayed, reversed or vacated within ten (10) business days
        after such issuance;

                (iii)   in accordance with this Agreement, any Definitive Document not being
        satisfactory or reasonably satisfactory (as applicable) to the Requisite First Lien Lenders
        and, subject to the Second Lien Lender Consent Right, the Requisite Second Lien Lenders;

                (iv)   any Catalina Party (A) amending, or modifying, or filing a pleading seeking
        authority to amend or modify, any Definitive Document in a manner that is materially
        inconsistent with this Agreement; (B) suspending or revoking the Restructuring
        Transactions; or (C) publicly announcing its intention to take any such action listed in the
        foregoing clauses (A) and (B) of this subsection;

               (v)    any Catalina Party (A) filing any chapter 11 plan other than the Plan or
        (B) withdrawing the Plan or its support for the Plan;

               (vi)    any Catalina Party filing any motion or application seeking authority to sell
        any assets having a fair market value in excess of $500,000.00 without the prior written
        consent of the Requisite Creditors;

               (vii) the entry of any order authorizing the use of cash collateral or postpetition
        financing that is not in the form of the DIP Orders or otherwise consented to by the
        Requisite First Lien Lenders or, subject to the Second Lien Lender Consent Right, the
        Requisite Second Lien Lenders;

                (viii) either (A) any Catalina Party filing a motion, application, or adversary
        proceeding (or any Catalina Party supports any such motion, application, or adversary
        proceeding filed or commenced by any third party) (I) challenging the validity,
        enforceability, perfection, or priority of, or seeking avoidance or subordination of, any
        portion of the First Lien Indebtedness (including the amount thereof) or the liens securing
        such First Lien Indebtedness or asserting any other cause of action against the Consenting
        First Lien Lenders, or (II) challenging the validity, enforceability, perfection, or priority

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of, or seeking avoidance or subordination of, any portion of the Second Lien Indebtedness
or asserting any other cause of action against the Consenting Second Lien Lenders and/or
with respect or relating to such Second Lien Indebtedness or the prepetition liens securing
such claims; provided that the Creditor Termination Event set forth in the immediately
preceding clause (b)(viii)(I) shall only be assertable by the Requisite First Lien Lenders
and the Creditor Termination Event set forth in the immediately preceding clause
(b)(viii)(II) shall only be assertable by the Requisite Second Lien Lenders, or (B) entry of
an order that is inconsistent with this Agreement or the Plan Term Sheet in any material
respect;

       (ix)   the occurrence of any Event of Default under the DIP Orders or the DIP
Credit Agreement, as applicable, that has not been cured (if capable of being cured) or
waived by the applicable percentage of DIP Lenders in accordance with the terms of the
DIP Credit Agreement;

        (x)     the occurrence of any default or Event of Default arising before the Petition
Date under the Prepetition Loan Documents other than the Specified Defaults; provided,
that such Creditor Termination Event in this Section 6(b)(x) may only be exercised prior
to the Petition Date;

       (xi)    any Catalina Party terminating its obligations under and in accordance with
Section 6(c) of this Agreement;

        (xii) entry of an order granting relief from the automatic stay imposed by section
362 of the Bankruptcy Code authorizing any party to proceed against any material asset of
any of the Catalina Entities or that would materially and adversely affect any of the Catalina
Entities’ ability to operate their businesses in the ordinary course;

         (xiii) entry of an order assuming or rejecting any NCS JV Agreement that is not
satisfactory to the Requisite First Lien Lenders and, solely to the extent such order reduces
the percentage of New Common Stock to be provided to, or otherwise materially adversely
affects recoveries of, the Second Lien Lenders under the Plan as set forth in the Plan Term
Sheet, the Requisite Second Lien Lenders; provided that, a loss of revenue or a reduction
in total enterprise value resulting from the rejection of any such NCS JV Agreements shall
not be deemed to materially adversely affect the recoveries of the Second Lien Lenders
under the Plan as set forth in the Plan Term Sheet;

         (xiv) the commencement of an involuntary case against any Catalina Party or any
material foreign subsidiary or material foreign affiliate of a Catalina Party or the filing of
an involuntary petition seeking bankruptcy, winding up, dissolution, liquidation,
administration, moratorium, reorganization or other relief in respect of such Catalina Party
or such Catalina Party’s foreign subsidiaries and affiliates, or their debts, or of a substantial
part of their assets, under any federal, state or foreign bankruptcy, insolvency,
administrative receivership or similar law now or hereafter in effect, provided, that such
involuntary proceeding is not dismissed within a period of forty-five (45) days after the
filing thereof, or if any court grants the relief sought in such involuntary proceeding;



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         (xv) any Catalina Party or any material foreign subsidiary or material foreign
affiliate of a Catalina Party, without the prior consent of the Requisite Creditors,
(A) voluntarily commencing any case or filing any petition seeking bankruptcy, winding
up, dissolution, liquidation, administration, moratorium, reorganization or other relief
under any federal, state, or foreign bankruptcy, insolvency, administrative receivership or
similar law now or hereafter in effect except as provided in this Agreement, (B) consenting
to the institution of, or failing to contest in a timely and appropriate manner, any
involuntary proceeding or petition described above, (C) filing an answer admitting the
material allegations of a petition filed against it in any such proceeding, (D) applying for
or consenting to the appointment of a receiver, administrator, administrative receiver,
trustee, custodian, sequestrator, conservator or similar official, (E) making a general
assignment or arrangement for the benefit of creditors, or (F) taking any formal corporate
action (as implemented or authorized by the applicable board of directors, board of
managers, managers, members, managing members or partners) authorizing any of the
foregoing;

       (xvi) if (A) any of the DIP Orders are reversed, stayed, dismissed, vacated,
reconsidered, modified, or amended without the consent of the Requisite First Lien
Lenders, or, subject to Second Lien Lender Consent Right, the Requisite Second Lien
Lenders or (B) a motion for reconsideration, reargument, or rehearing with respect to any
such order has been filed and the Catalina Entities have failed to object timely to such
motion;

        (xvii) if (A) the Confirmation Order is reversed, stayed, dismissed, vacated,
reconsidered, modified, or amended without the consent of the Requisite Creditors (subject
to the Second Lien Lender Consent Right) or (B) a motion for reconsideration, reargument,
or rehearing with respect to any such order has been filed and the Catalina Entities have
failed to timely object to such motion;

       (xviii) the occurrence of the Maturity Date (as defined in the DIP Credit
Agreement) without the Plan having been substantially consummated; provided that this
Creditor Termination Event shall only be assertable by the Required DIP Lenders;

       (xix) if, as of 11:59 p.m. prevailing Eastern Time on December 12, 2018, as such
date may be extended with the consent of the Requisite Creditors, the Company shall not
have commenced the Solicitation in accordance with section 1126(b) of the Bankruptcy
Code;

       (xx) if, as of 11:59 p.m. prevailing Eastern Time on the Outside Petition Date,
as such date may be extended with the consent of the Requisite Creditors, the Chapter 11
Cases shall not have been filed;

       (xxi) if, as of 11:59 p.m. prevailing Eastern Time on that date that is five (5)
calendar days after the Petition Date, as such date may be extended with the consent of the
Required DIP Lenders, the Interim DIP Order shall not have been entered;




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       (xxii) if, as of 11:59 p.m. prevailing Eastern Time on the date that is thirty (30)
calendar days after the Petition Date, as such date may be extended with the consent of the
Requisite First Lien Lenders and, if applicable, the Requisite Second Lien Lenders, (A) the
NCS JV Agreements have not been amended to the satisfaction of the Requisite First Lien
Lenders or (B) a motion to reject the NCS JV Agreements is not pending before the
Bankruptcy Court;

        (xxiii) if, as of 11:59 p.m. prevailing Eastern Time on the date that is forty-five
(45) calendar days after the Petition Date, as such date may be extended with the consent
of the Requisite Creditors, the Bankruptcy Court shall not have entered an order
authorizing the assumption of this Agreement;

       (xxiv) if, as of 11:59 p.m. prevailing Eastern Time on the date that is forty (40)
calendar days after the Petition Date, as such date may be extended with the consent of the
Required DIP Lenders, the Final DIP Order shall not have been entered;

        (xxv) if, as of 11:59 p.m. prevailing Eastern Time on the date that is eighty-five
(85) calendar days after the Petition Date, as such date may be extended with the consent
of the Requisite First Lien Lenders and, if applicable, the Requisite Second Lien Lenders,
(A) the NCS JV Agreements have not been amended to the satisfaction of the Requisite
First Lien Lenders and (B) the Bankruptcy Court has not entered an order rejecting the
NCS JV Agreements;

        (xxvi) if, as of 11:59 p.m. prevailing Eastern Time on the date that is eighty-five
(85) calendar days after the Petition Date, as such date may be extended with the consent
of the Requisite Creditors, the Bankruptcy Court shall not have entered an order approving
the Disclosure Statement;

       (xxvii) if, as of 11:59 p.m. prevailing Eastern Time on the date that is one hundred
twenty-five (125) calendar days after the Petition Date, as such date may be extended with
the consent of the Requisite Creditors, the Bankruptcy Court shall not have entered an order
confirming the Plan;

        (xxviii)if, as of 11:59 p.m. prevailing Eastern Time on the date that is one hundred
forty (140) calendar days after the Petition Date, as such date may be extended with the
consent of the Requisite Creditors, the Effective Date shall not have occurred (the “Outside
Date”); or

        (xxix) the Bankruptcy Court enters an order (A) directing the appointment of an
examiner with expanded powers or a trustee in the Chapter 11 Cases, (B) converting any
of the Chapter 11 Cases to cases under chapter 7 of the Bankruptcy Code, or (C) dismissing
any of the Chapter 11 Cases.

(c)    A “Company Termination Event” shall mean any of the following:

       (i)     the breach by one or more of the Consenting Creditors of any of the
undertakings, representations, warranties or covenants of the applicable Consenting
Creditors set forth herein in any material respect which remains uncured for a period of

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       five (5) business days after the receipt of written notice of such breach pursuant to Sections
       6(a) and 22 hereof (as applicable), but only if the remaining non-breaching Consenting
       Creditors do not hold at least 66⅔% of the aggregate principal amount of Claims in the
       applicable Consenting Class;

              (ii)    the board of directors, managers, members or partners (or comparable
       governing body), as applicable, of any Catalina Party reasonably determines in good faith
       based upon the advice of outside counsel that continued performance under this Agreement
       would be inconsistent with the exercise of its fiduciary duties under applicable law;
       provided that the Company provides notice of such determination to the Consenting
       Creditors within five (5) business days after the date thereof;

             (iii)   if, as of 11:59 p.m. prevailing Eastern Time on December 12, 2018, the
       Support Effective Date shall not have occurred;

               (iv)   if, as of 11:59 p.m. prevailing Eastern Time on the Outside Date, the
       Effective Date shall not have occurred;

               (v)     the issuance by any governmental authority, including any regulatory
       authority or court of competent jurisdiction, of any ruling, judgment or order enjoining the
       consummation of or rendering illegal the Plan or the Restructuring, and such ruling,
       judgment or order has not been stayed, reversed or vacated within ten (10) business days
       after such issuance;

              (vi)    any Consenting Creditor terminating its obligations under and in
       accordance with Section 6(b) of this Agreement, but only if the remaining Consenting
       Creditors do not hold more than 66⅔% of the aggregate principal amount of Claims in the
       Consenting Class; or

               (vii) the Bankruptcy Court enters an order (A) directing the appointment of an
       examiner with expanded powers or a trustee in the Chapter 11 Cases, (B) converting any
       of the Chapter 11 Cases to cases under chapter 7 of the Bankruptcy Code, or (C) dismissing
       any of the Chapter 11 Cases.

       (d)    Mutual Termination. This Agreement may be terminated by mutual agreement of
Catalina Parent and the Requisite Creditors upon the receipt of written notice delivered in
accordance with Section 22 hereof.

        (e)      Effect of Termination. Subject to the proviso contained in Section 6(a) hereof,
upon the termination of this Agreement in accordance with this Section 6, and except as provided
in Section 14 hereof, this Agreement shall forthwith become void and of no further force or effect
and each Party shall, except as provided otherwise in this Agreement, be immediately released
from its liabilities, obligations, commitments, undertakings and agreements under or related to this
Agreement and shall have all the rights and remedies that it would have had and shall be entitled
to take all actions, whether with respect to the Restructuring or otherwise, that it would have been
entitled to take had it not entered into this Agreement, including all rights and remedies available
to it under applicable law; provided, however, that in no event shall any such termination relieve


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(i) a Party from liability for its breach or non-performance of its obligations hereunder prior to the
date of such termination or (ii) the Company from its obligation to pay the reasonable and
documented fees and expenses of the Consenting Creditor Advisors and the DIP Lender advisors
(including counsel to the First and Second Lien Agents and any applicable local counsel) through
and including the date of such termination in accordance with Section 5(a)(viii) hereof or the Plan
Term Sheet. Upon a termination of this Agreement, each Consenting Creditor may, upon written
notice to the Company and the other Parties, revoke its vote or any consents given prior to such
termination, whereupon any such vote or consent shall be deemed, for all purposes, to be null and
void ab initio and shall not be considered or otherwise used in any manner by the Parties in
connection with the Restructuring and this Agreement. If this Agreement has been terminated as
to any Consenting Creditor in accordance with Section 6 hereof at a time when permission of the
Bankruptcy Court shall be required for a change or withdrawal (or cause to change or withdraw)
of its vote to accept the Plan, the Company shall not oppose any attempt by such Consenting
Creditor to change or withdraw (or cause to change or withdraw) such vote at such time.

        (f)     Termination by Consenting Second Lien Lenders. Notwithstanding anything in
this Agreement, in the event any Consenting Second Lien Lender terminates this Agreement as a
result of the occurrence of a Creditor Termination Event, (i) the Requisite First Lien Lenders shall
have the option (which shall be delivered in writing to the Catalina Parties, including via e-mail)
to (A) determine that the Consenting First Lien Lenders will continue remaining Parties to this
Agreement in pursuit and in support of the Plan or (B) terminate this Agreement in accordance
with this Section 6; (ii) this Agreement shall be deemed terminated with respect to such Consenting
Second Lien Lender and the Consenting Second Lien Lender shall no longer be a Party to this
Agreement and shall be relieved of any obligations hereunder; (iii) such other Parties shall be
permitted to take further actions otherwise permitted hereunder with respect to any Definitive
Document or other document or matter or any Restructuring Transaction without any liability
hereunder, except the rights and obligations of such other Parties under this Agreement shall
remain in full force and effect; (iv) the remaining Parties (other than any Party that has breached
this Agreement and such breach caused the occurrence of a Creditor Termination Event pursuant
to which the Consenting Second Lien Lender terminated this Agreement) shall no longer be
obligated to not “opt out” of any releases proposed to be granted to such Consenting Second Lien
Lender under the Plan; (v) such other Parties shall not be obligated to grant or support the grant of
any releases to such Consenting Second Lien Lender under the Plan; and (vi) all of the applicable
rights and remedies of the remaining Parties under this Agreement, the Prepetition Loan
Documents and applicable law shall be reserved in all respects.

         (g)     Individual Termination. Any Consenting Creditor may terminate this Agreement
as to itself only, upon written notice to the other Parties in accordance with Section 22 hereof, in
the event that: (i) such Consenting Creditor has transferred all (but not less than all) of its First
Lien Indebtedness Claims and Second Lien Indebtedness Claims, as applicable, in accordance with
Section 3(b) of this Agreement (such termination shall be effective on the date on which such
Consenting Creditor has effected such transfer, satisfied the requirements of Section 3(b) and
provided the written notice required), or (ii) this Agreement or the Plan Term Sheet is amended
without its consent in such a way as to alter any of the material terms hereof in a manner that is
disproportionately adverse to such Consenting Creditor as compared to similarly situated
Consenting Creditors by giving ten (10) business days’ written notice to the other Parties in


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accordance with Section 21; provided, that such written notice shall be given by the applicable
Consenting Creditor within five (5) business days of such amendment, filing, or execution.

       (h)     If the Restructuring Transactions are not consummated, nothing herein shall be
construed as a waiver by any Party of any or all of such Party’s rights and the Parties expressly
reserve any and all of their respective rights. Pursuant to Federal Rule of Evidence 408 and any
other applicable rules of evidence, this Agreement and all negotiations relating hereto shall not be
admissible into evidence in any proceeding other than a proceeding to enforce its terms.

       7.      Definitive Documents; Good Faith Cooperation; Further Assurances.

        (a)     Each Party hereby covenants and agrees to cooperate with each other in good faith
in connection with, and shall exercise commercially reasonable efforts with respect to the pursuit,
approval, negotiation, execution, delivery, implementation and consummation of the Plan and the
Restructuring, as well as the negotiation, drafting, execution and delivery of the Definitive
Documents, which will, after the Support Effective Date, remain subject to negotiation and shall,
upon completion, contain terms, conditions, representations, warranties, and covenants consistent
in all material respects with the terms of this Agreement (including the Exhibits and Schedules)
and be (a) in form and substance reasonably satisfactory to the Catalina Entities and the Requisite
First Lien Lenders (except the DIP Orders, DIP Documents, and Exit Documents shall be
acceptable to the Requisite First Lien Lenders and the Required DIP Lenders, as applicable) and
(b) with respect to the Requisite Second Lien Lenders, subject to the applicable consent right set
forth in the definition “Second Lien Lender Consent Right.”

        (b)     Subject to the terms hereof, each of the Parties shall take such action as may be
reasonably necessary or reasonably requested by the other Parties to carry out the purposes and
intent of this Agreement, including making and filing any required regulatory filings, and shall,
subject to the Company’s “fiduciary out” pursuant to Section 6(c)(ii) of this Agreement, refrain
from taking any action that would frustrate the purposes and intent of this Agreement.

         (c)    The Parties agree, consistent with clause (a) of this Section 7, to negotiate in good
faith the Definitive Documents that are subject to negotiation and completion on the Support
Effective Date and that, notwithstanding anything herein to the contrary, the Definitive
Documents, including any motions or orders related thereto, shall not be inconsistent with this
Agreement and otherwise subject to the applicable consent rights of the Parties set forth herein.
The Catalina Parties shall provide to the Consenting Creditor Advisors, and shall direct its
employees, officers, advisors, and other representatives to provide the Consenting Creditor
Advisors, (i) reasonable access (without any material disruption to the conduct of the Catalina
Parties’ businesses) during normal business hours to the Catalina Parties’ books and records;
(ii) reasonable access during normal business hours to the management and advisors of the
Catalina Parties; and (iii) reasonable responses to all reasonable diligence requests, in each case,
for the purposes of evaluating the Catalina Parties’ assets, liabilities, operations, businesses,
finances, strategies, prospects, and affairs or entry into any of the Restructuring Transactions.




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       8.      Representations and Warranties.

        (a)    Each Party, severally and not jointly, represents and warrants to the other Parties
that the following statements are true and correct as of the date hereof (or as of the date a
Consenting Creditor becomes a party hereto):

                (i)    such Party is validly existing and in good standing under the laws of its
       jurisdiction of incorporation or organization, and has all requisite corporate, partnership,
       limited liability company or similar authority to enter into this Agreement and carry out
       the transactions contemplated hereby and perform its obligations contemplated hereunder;
       and the execution and delivery of this Agreement and the performance of such Party’s
       obligations hereunder have been duly authorized by all necessary corporate, limited
       liability company, partnership or other similar action on its part;

               (ii)     the execution, delivery and performance by such Party of this Agreement
       does not and will not (A) violate any material provision of law, rule or regulation applicable
       to it or any of its subsidiaries or its charter or bylaws (or other similar governing
       documents) or those of any of its subsidiaries, or (B) conflict with, result in a breach of or
       constitute (with due notice or lapse of time or both) a default under any material contractual
       obligation to which it or any of its subsidiaries is a party except, in the case of the Company,
       for the filing of the Chapter 11 Cases;

               (iii)   the execution, delivery and performance by such Party of this Agreement
       does not and will not require any material registration or filing with, consent or approval
       of, or notice to, or other action, with or by, any federal, state or governmental authority or
       regulatory body, except such filings as may be necessary and/or required by the U.S.
       Securities and Exchange Commission or other securities regulatory authorities under
       applicable securities laws; and

               (iv)    this Agreement is the legally valid and binding obligation of such Party,
       enforceable against it in accordance with its terms, except as enforcement may be limited
       by bankruptcy, insolvency, reorganization, moratorium or other similar laws relating to or
       limiting creditors’ rights generally or by equitable principles relating to enforceability or a
       ruling of the Bankruptcy Court.

        (b)    Each Consenting Creditor severally (and not jointly) represents and warrants to the
Company that, as of the date hereof (or as of the date such Consenting Creditor becomes a party
hereto), such Consenting Creditor (i) is the beneficial owner of the principal amount of the
Indebtedness set forth on its signature page hereto (or below its name on the signature page of a
Joinder Agreement for any Consenting Creditor that becomes a party hereto after the date hereof)
and does not beneficially own any other indebtedness, and/or (ii) has, with respect to the beneficial
owners of such Indebtedness, (A) sole investment or voting discretion with respect thereto, (B)
full power and authority to vote on and consent to matters concerning such Indebtedness or to
exchange, assign and transfer such Indebtedness, and (C) full power and authority to bind or act
on the behalf of, such beneficial owners.




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       (c)      Each Consenting Creditor severally (and not jointly) makes the representations and
warranties set forth in Section 23(c) hereof, in each case, to the other Parties.

       9.      Disclosure; Publicity.

         The Company shall deliver drafts to Creditor Counsel of any press releases that constitute
disclosure of the existence or terms of the Restructuring, this Agreement or any amendment to the
terms of the Restructuring or this Agreement at least thirty-six (36) hours prior to making any such
disclosure. Except as required by applicable law or otherwise permitted under the terms of any
other agreement between the Company and any Consenting Creditor, no Party or its advisors shall
disclose to any person (including, for the avoidance of doubt, any other Party), other than advisors
to the Company, the principal amount or percentage of any Indebtedness or any other Claims
against, or Interests in, the Company held by any Consenting Creditor, in each case, without such
Consenting Creditor’s consent; provided, however, that (i) if such disclosure is required by law,
subpoena, or other legal process or regulation, the disclosing Party shall afford the relevant
Consenting Creditor a reasonable opportunity to review and comment in advance of such
disclosure and shall take all reasonable measures to limit such disclosure (the expense of which, if
any, shall be borne by the relevant Consenting Creditor) and (ii) the foregoing shall not prohibit
the disclosure of the aggregate percentage or aggregate principal amount of First Lien Indebtedness
or Second Lien Indebtedness held by all the Consenting Creditors, collectively, on a facility by
facility basis. Any public filing of this Agreement, with the Bankruptcy Court or otherwise, and
any version of this Agreement shared with Consenting Creditors generally, shall omit the
Indebtedness holdings of each individual Consenting Creditor as set forth on such Consenting
Creditor’s signature page hereto or shall include such signature page only in redacted form with
respect to the Indebtedness holdings of each Consenting Creditor (provided that the Indebtedness
holdings on such signature page(s) may be filed in unredacted form with the Bankruptcy Court
under seal).

       10.     Amendments and Waivers.

        (a)     Other than as set forth in Section 10(b), this Agreement, including any exhibits or
schedules hereto, may not be modified, amended or supplemented or the performance of any
obligation thereunder waived except with the written consent of Catalina Parent and the Requisite
Creditors (in the case of the Requisite Creditors, such consent not to be unreasonably withheld,
conditioned or delayed);

       (b)     Notwithstanding Section 10(a):

               (i)    any waiver, modification, amendment or supplement to this Section 10 shall
       require the written consent of all of the Parties;

              (ii)   any modification, amendment or change to the definition of “Requisite First
       Lien Lenders” or “Requisite Second Lien Lender” shall require the written consent of each
       Consenting Creditor included in such definition; and

               (iii)   any change, modification or amendment to this Agreement or the Plan that
       treats or affects any Consenting Creditor in a manner that is materially and adversely
       disproportionate, on an economic basis, to the manner in which any of the other Consenting

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       Creditors are treated (after taking into account each of the Consenting Creditors’ respective
       Claims and Interests and the recoveries contemplated by the Plan (as in effect on the date
       hereof)) shall require the written consent of such materially adversely and
       disproportionately affected Consenting Creditor.

        (c)    In the event that a materially adversely and disproportionately affected Consenting
Creditor (“Non-Consenting Creditor”) does not consent to a waiver, change, modification or
amendment to this Agreement requiring the consent of such Non-Consenting Creditor, but such
waiver, change, modification or amendment receives the consent of Consenting Creditors owning
at least 66⅔% of the outstanding First Lien Indebtedness or Second Lien Indebtedness (as
applicable), this Agreement shall be deemed to have been terminated only as to such Non-
Consenting Creditors, but this Agreement shall continue in full force and effect in respect to all
other Consenting Creditors.

       11.     Effectiveness.

        This Agreement shall become effective and binding upon each Party on the Support
Effective Date; provided, however, that (A) signature pages executed by Consenting Creditors
shall be delivered to other Consenting Creditors in a form that does not contain the details of the
Consenting Creditors’ holdings and (B) the amount of First Lien Indebtedness and Second Lien
Indebtedness held by each Consenting Creditor shall be as set forth on such Consenting Creditor’s
signature page hereto, which shall be delivered to Weil on behalf of the Company and kept strictly
confidential by the Company (and to be held by Weil and Creditor Counsel on a professionals’
eyes only basis); provided, however, that the Company may disclose publicly the aggregate
principal amounts of First Lien Indebtedness and Second Lien Indebtedness set forth on the
signature pages hereto.

       12.     GOVERNING LAW; JURISDICTION; WAIVER OF JURY TRIAL.

        (a)     This Agreement shall be construed and enforced in accordance with, and the rights
of the parties shall be governed by, the law of the State of New York, without giving effect to the
conflict of laws principles thereof.

        (b)     Each of the Parties irrevocably agrees that any legal action, suit or proceeding
arising out of or relating to this Agreement brought by any party or its successors or assigns shall
be brought and determined in any federal or state court in the Borough of Manhattan in the City
of New York (“NY Courts”) and each of the Parties hereby irrevocably submits to the exclusive
jurisdiction of the aforesaid courts for itself and with respect to its property, generally and
unconditionally, with regard to any such proceeding arising out of or relating to this Agreement or
the Restructuring Transactions. Each of the Parties agrees not to commence any proceeding
relating hereto or thereto except in the NY Courts other than proceedings in any court of competent
jurisdiction to enforce any judgment, decree or award rendered by any NY Courts. Each of the
Parties further agrees that notice as provided herein shall constitute sufficient service of process
and the Parties further waive any argument that such service is insufficient. Each of the Parties
hereby irrevocably and unconditionally waives, and agrees not to assert, by way of motion or as a
defense, counterclaim or otherwise, in any proceeding arising out of or relating to this Agreement
or the Restructuring, (i) any claim that it is not personally subject to the jurisdiction of the NY


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Courts for any reason, (ii) that it or its property is exempt or immune from jurisdiction of any such
court or from any legal process commenced in such courts (whether through service of notice,
attachment prior to judgment, attachment in aid of execution of judgment, execution of judgment
or otherwise) and (iii) that (A) the proceeding in any such court is brought in an inconvenient
forum, (B) the venue of such proceeding is improper or (C) this Agreement, or the subject matter
hereof, may not be enforced in or by such courts. Notwithstanding the foregoing, during the
pendency of the Chapter 11 Cases, all proceedings contemplated by this Section 12(b) shall be
brought in the Bankruptcy Court.

      (c)   EACH PARTY HEREBY WAIVES, TO THE FULLEST EXTENT PERMITTED
BY APPLICABLE LAW, ANY RIGHT IT MAY HAVE TO A TRIAL BY JURY IN ANY
LEGAL PROCEEDING DIRECTLY OR INDIRECTLY ARISING OUT OF OR RELATING TO
THIS AGREEMENT OR THE TRANSACTIONS CONTEMPLATED HEREBY (WHETHER
BASED ON CONTRACT, TORT OR ANY OTHER THEORY). EACH PARTY (I) CERTIFIES
THAT NO REPRESENTATIVE, AGENT OR ATTORNEY OF ANY OTHER PARTY HAS
REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH OTHER PARTY WOULD
NOT, IN THE EVENT OF LITIGATION, SEEK TO ENFORCE THE FOREGOING WAIVER
AND (II) ACKNOWLEDGES THAT IT AND THE OTHER PARTIES HAVE BEEN INDUCED
TO ENTER INTO THIS AGREEMENT BY, AMONG OTHER THINGS, THE MUTUAL
WAIVERS AND CERTIFICATIONS IN THIS SECTION.

       13.     Specific Performance/Remedies.

        It is understood and agreed by the Parties that money damages would not be a sufficient
remedy for any breach of this Agreement by any Party and each non-breaching Party shall be
entitled to specific performance and injunctive or other equitable relief (including attorneys’ fees
and costs) as a remedy of any such breach, without the necessity of proving the inadequacy of
money damages as a remedy, including an order of the Bankruptcy Court requiring any Party to
comply promptly with any of its obligations hereunder. Each Party also agrees that it will not
seek, and will waive any requirement for, the securing or posting of a bond in connection with any
Party seeking or obtaining such relief.

       14.     Survival.

         Notwithstanding the termination of this Agreement pursuant to Section 6 hereof, the
agreements and obligations of the Parties in this Section 14, and Sections 5(a)(viii) (with respect
to any fees and expenses described in such clause that are accrued and unpaid through the end of
the Support Period), 6(f), 6(i), 9, 12, 13, 16, 17, 18, 19, 20, 21, 22, and 23 hereof (and any defined
terms used in any such Sections) shall survive such termination and shall continue in full force and
effect in accordance with the terms hereof; provided, however, that any liability of a Party for
failure to comply with the terms of this Agreement shall survive such termination.

       15.     Headings.

        The headings of the sections, paragraphs and subsections of this Agreement are inserted
for convenience only and shall not affect the interpretation hereof or, for any purpose, be deemed
a part of this Agreement.


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       16.     Successors and Assigns; Severability; Several Obligations.

        This Agreement is intended to bind and inure to the benefit of the Parties and their
respective successors, permitted assigns, heirs, executors, administrators and representatives;
provided, however, that, during the Support Period, nothing contained in this Section 16 shall be
deemed to permit Transfers of the Indebtedness or claims arising under the Indebtedness other
than in accordance with the express terms of this Agreement. If any provision of this Agreement,
or the application of any such provision to any person or entity or circumstance, shall be held
invalid or unenforceable in whole or in part, such invalidity or unenforceability shall attach only
to such provision or part thereof and the remaining part of such provision hereof and this
Agreement shall continue in full force and effect so long as the economic or legal substance of the
transactions contemplated hereby is not affected in any manner materially adverse to any Party.
Upon any such determination of invalidity, the Parties shall negotiate in good faith to modify this
Agreement so as to effect the original intent of the Parties as closely as possible in a reasonably
acceptable manner in order that the transactions contemplated hereby are consummated as
originally contemplated to the greatest extent possible.

       17.     Relationship Among Parties.

        Notwithstanding anything herein to the contrary, (i) the duties and obligations of the Parties
under this Agreement shall be several, not joint and several; (ii) no Party shall have any
responsibility by virtue of this Agreement for any trading by any other entity; (iii) no prior history,
pattern, or practice of sharing confidences among or between the Parties shall in any way affect or
negate this Agreement; (iv) the Parties hereto acknowledge that this Agreement does not constitute
an agreement, arrangement, or understanding with respect to acting together for the purpose of
acquiring, holding, voting, or disposing of any equity securities of the Catalina Entities and the
Parties do not constitute a “group” within the meaning of Rule 13d-5 under the Securities
Exchange Act of 1934, as amended; (v) none of the Consenting Creditors shall have any fiduciary
duty, any duty of trust or confidence in any form, or other duties or responsibilities in any kind or
form to each other, the Catalina Entities or any of the Catalina Entities’ other lenders or
stakeholders, including as a result of this Agreement or the transactions contemplated herein or in
any exhibit hereto; and (vi) no action taken by any Party pursuant to this Agreement shall be
deemed to constitute or to create a presumption by any of the Parties that the Parties are in any
way acting in concert or as a “group.”

       18.     No Third-Party Beneficiaries.

       Unless expressly stated herein, this Agreement shall be solely for the benefit of the Parties
and no other person or entity shall be a third-party beneficiary hereof.

       19.     Prior Negotiations; Entire Agreement.

        This Agreement, including the exhibits and schedules hereto (including the Plan Term
Sheet), constitutes the entire agreement of the Parties, and supersedes all other prior negotiations,
with respect to the subject matter hereof and thereof, except that the Parties acknowledge that any
confidentiality agreements (if any) heretofore executed between the Company and each



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Consenting Creditor shall continue in full force and effect solely with respect to any then-
continuing obligations thereunder.

       20.     Reservation of Rights.

        (a)     Except as expressly provided in this Agreement or the Plan Term Sheet, nothing
herein is intended to, or does, in any manner waive, limit, impair, or restrict the ability of any Party
to protect and preserve its rights, remedies and interests, including, without limitation, its claims
against any of the other Parties.

         (b)    Without limiting clause (a) of this Section 20 in any way, if this Agreement is
terminated for any reason, nothing shall be construed herein as a waiver by any Party of any or all
of such Party’s rights, remedies, claims, and defenses and the Parties expressly reserve any and all
of their respective rights, remedies, claims and defenses. This Agreement, the Plan, and any related
document shall in no event be construed as or be deemed to be evidence of an admission or
concession on the part of any Party of any claim or fault or liability or damages whatsoever. Each
of the Parties denies any and all wrongdoing or liability of any kind and does not concede any
infirmity in the claims or defenses which it has asserted or could assert.

       (c)     Except as otherwise set forth in this Agreement, the Plan, and any related document,
this Agreement, the Plan, and any related document shall in no event be construed to amend, alter,
or waive or override any rights, remedies, obligations, claims, or defenses under that certain
Second Lien Intercreditor Agreement dated April 4, 2014 by and among PDM Holding
Corporation, Checkout Holding Corp., the other Grantors party thereto, JPMorgan Chase Bank
N.A., as Senior Representatives for the First Lien Credit Agreement Secured Parties, Bank of
America N.A., as the Second Priority Representative for the Second Lien Credit Agreement
Secured Parties, and each additional Representative from time to time party thereto.

       21.     Counterparts.

       This Agreement may be executed in several counterparts, each of which shall be deemed
to be an original, and all of which together shall be deemed to be one and the same agreement.
Execution copies of this Agreement may be delivered by electronic mail or otherwise, which shall
be deemed to be an original for the purposes of this paragraph.

       22.     Notices.

       All notices hereunder shall be deemed given if in writing and delivered, if
contemporaneously sent by electronic mail, courier or by registered or certified mail (return receipt
requested) to the following addresses:

                (1)     If to the Company, to:

                Catalina Marketing Corporation
                200 Carillon Pkwy
                St. Petersburg, FL 33716
                Attention: David Glogoff, Esq.
                            (david.glogoff@catalina.com)

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               With a copy to:

               Weil, Gotshal & Manges LLP
               767 Fifth Avenue
               New York, NY 10153
               Attention: Gary T. Holtzer, Esq.
                          (gary.holtzer@weil.com)
                          Ronit J. Berkovich, Esq.
                          (ronit.berkovich@weil.com)
                          - and -
                          Mariel Cruz, Esq.
                          (mariel.cruz@weil.com)


               (2)     If to a Consenting First Lien Lender, or a transferee thereof, to the
               addresses set forth below following the Consenting First Lien Lender’s signature
               (or as directed by any transferee thereof), as the case may be, with copies to:

               Jones Day
               250 Vesey Street
               New York, NY 10281
               Attention: Scott J. Greenberg, Esq.
                          (sgreenberg@jonesday.com)

               2)      If to a Consenting Second Lien Lender, or a transferee thereof, to the
               addresses or facsimile numbers set forth below following the Consenting Second
               Lien Lender’s signature (or as directed by any transferee thereof), as the case may
               be, with copies to:

               Paul, Weiss, Rifkind, Wharton & Garrison LLP
               1285 Avenue of the Americas
               New York, NY 10019
               Attention: Brian S. Hermann, Esq.
                          (bhermann@paulweiss.com)
                          Robert A. Britton, Esq.
                          (rbritton@paulweiss.com)
                          - and -
                          Dan Youngblut, Esq.
                          (dyoungblut@paulweiss.com


       Any notice given by delivery, mail or courier shall be effective when received. Any notice
given by electronic mail shall be effective upon oral, machine or electronic mail (as applicable)
confirmation of transmission.



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       23.     No Solicitation; Representation by Counsel; Adequate Information.

       (a)     This Agreement is not and shall not be deemed to be a solicitation for votes in favor
of the Plan in the Chapter 11 Cases from the Consenting Creditors. The acceptances of the
Consenting Creditors with respect to the Plan will not be solicited until such Consenting Creditors
have received the Disclosure Statement and related ballots and solicitation materials.

        (b)    Each Party acknowledges that it has had an opportunity to receive information from
the Company and that it has been represented by counsel in connection with this Agreement and
the transactions contemplated hereby. Accordingly, any rule of law or any legal decision that
would provide any Party with a defense to the enforcement of the terms of this Agreement against
such Party based upon lack of legal counsel shall have no application and is expressly waived.

         (c)       Each Consenting Creditor acknowledges, agrees and represents to the other Parties
that it (i) is a “qualified institutional buyer” as such term is defined in Rule 144A of the Securities
Act or a non-US person participating in the offering outside the United States in reliance on
Regulation S under the Securities Act, (ii) is an “accredited investor” as such term is defined in
Rule 501 of Regulation D of the Securities Act, (iii) understands that if it is to acquire any
securities, as defined in the Securities Act, pursuant to the Restructuring, such securities have not
been registered under the Securities Act and that such securities are, to the extent not acquired
pursuant to section 1145 of the Bankruptcy Code, being offered and sold pursuant to an exemption
from registration contained in the Securities Act, based in part upon such Consenting Creditor’s
representations contained in this Agreement and cannot be sold unless subsequently registered
under the Securities Act or an exemption from registration is available and (iv) has such knowledge
and experience in financial and business matters that such Consenting Creditor is capable of
evaluating the merits and risks of the securities to be acquired by it (if any) pursuant to the
Restructuring and understands and is able to bear any economic risks with such investment.

       24.     Other Support Agreements.

       During the Support Period, no Catalina Party shall enter into any other restructuring
support agreement related to a partial or total restructuring of the Catalina Entities unless such
support agreement is consistent in all respects with the Plan Term Sheet and is reasonably
acceptable to the Requisite Creditors.

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        IN WITNESS WHEREOF, the Parties hereto have caused this Agreement to be executed
and delivered by their respective duly authorized officers, solely in their respective capacity as
officers of the undersigned and not in any other capacity, as of the date first set forth above.


                                             CATALINA PARTIES

                                             PDM Group Holdings Corporation


                                             By:
                                                   Name:
                                                   Title:


                                             Catalina Marketing Corporation

                                             By:
                                                   Name:
                                                   Title:


                                             Catalina Marketing Procurement

                                             By:
                                                   Name:
                                                   Title:


                                             Catalina Marketing Technology Solutions, Inc.

                                             By:
                                                   Name:
                                                   Title:


                                             Catalina Marketing Worldwide, LLC

                                             By:
                                                   Name:
                                                   Title:




                       SIGNATURE PAGE TO RESTRUCTURING SUPPORT AGREEMENT
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                           Cellfire Inc.

                           By:
                                 Name:
                                 Title:


                           Modiv Media, Inc.

                           By:
                                 Name:
                                 Title:


                           Checkout Holding Corp.

                           By:
                                 Name:
                                 Title:


                           PDM Holdings Corporation

                           By:
                                 Name:
                                 Title:


                           PDM Intermediate Holdings A Corporation

                           By:
                                 Name:
                                 Title:


                           PDM Intermediate Holdings B Corporation

                           By:
                                 Name:
                                 Title:




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CONSENTING FIRST LIEN LENDER

[•]

By: [•]

Name: [•]

Title: [•]


Principal Amount of First Lien Indebtedness: $___________

Principal Amount of Second Lien Indebtedness: $_________

Principal Amount of Other Indebtedness: $______________


Notice Address:
[•]




Attention: [•]
Email: [•]




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CONSENTING SECOND LIEN LENDER

[•]

By: [•]

Name: [•]

Title: [•]


Principal Amount of First Lien Indebtedness: $_________________________

Principal Amount of Second Lien Indebtedness: $_______________________

Principal Amount of Other Indebtedness: $_____________________________


Notice Address:
[•]




Attention: [•]
Email: [•]




                    SIGNATURE PAGE TO RESTRUCTURING SUPPORT AGREEMENT
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                      EXHIBIT A

                     Plan Term Sheet
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                                                                               PROJECT CARMEL
                                                                             Restructuring Term Sheet1

    Key Terms
                                                                                 DIP and Exit Financing
    DIP Facility         $125mm new money DIP commitment to be provided by the Ad Hoc First Lien Group and other participating First Lien Lenders (or affiliates thereof)
                          plus $150mm roll-up of prepetition RCF and 1L Term Loan
                         New money portion of the DIP secured by first-priority lien on unencumbered assets and priming first-priority lien on assets encumbered by 1L Term
                          Loan
                          o To include (i) a pledge of (x) the NCS JV (prior to entry of the final DIP order) and (y) the unencumbered equity of first-tier foreign subsidiaries, and
                               (ii) a negative pledge of the equity and/or assets of downstream foreign subsidiaries
                         Roll-up portion of the DIP Facility secured by priming first-priority lien on assets encumbered by the RCF and 1L Term Loan, and
                          subject to entry of the final DIP Order
                         DIP Facility to roll into exit facility upon emergence from bankruptcy pursuant to the Plan (and all exhibits thereto and plan supplements) and
                          Confirmation Order acceptable to DIP Lenders (see below)
    Exit Facility        Incremental $40mm new money delayed draw Exit Facility (“New Money Exit Facility”) to be provided by the Ad Hoc First Lien Group and the other
                          First Lien Lenders participating as DIP Lenders under the DIP Facility, which New Money Exit Facility shall be part of (and on the same terms as) the
                          FLFO (see below). This Exit Facility, along with the DIP Facility that will roll into an Exit Facility, will be the reorganized Company’s only funded or take-
                          back debt on the Effective Date.
                                                                                  Treatment of Claims
    DIP Claims           New money portion of the DIP Facility to roll into a first lien first-out exit facility (“FLFO”) upon the Effective Date. FLFO terms:
    (New Money)           o Interest Rate: L + 750 bps cash pay (100 bps LIBOR floor)
                          o Tenor: 4.0 years from emergence
                          o Amortization: 1.0% per annum
                          o Collateral: First lien first-out on existing RCF and 1L Term Loan collateral, plus additional collateral subject to legal, tax, and other diligence
                          o Maintenance Covenants: Maximum Leverage and Maximum Capital Expenditures at levels TBD; Minimum Liquidity of $25mm2
                          o Negative Covenants: To be negotiated; to include debt and lien covenants
                          o Mandatory Prepayments: Customary, including for asset sales and excess cash flow
                          o Call Protection: NC1 / 103 / 101
    DIP Claims           DIP claims attributable to the roll-up portion of the DIP Facility to roll into a first lien last-out exit facility (“FLLO”) upon emergence from bankruptcy.
    (Roll-Up)             FLLO terms:
                          o Size: $150mm, plus accrued PIK interest capitalized on the Effective Date
                          o Interest Rate: L+100 bps cash pay, plus 950 bps PIK (100 bps LIBOR floor)
                          o Tenor: 4.5 years from emergence
                          o Amortization: None
                          o Collateral: First lien last-out on existing RCF and 1L Term Loan collateral, plus additional collateral subject to legal, tax, and other diligence
                          o Maintenance Covenants: TBD
                          o Call Protection: NC1.5 / 104 / 102
    1L Claims            Remaining prepetition RCF and 1L Term Loan to receive 90% of the equity in the reorganized Company (the “New Common Stock”), subject to dilution
                          from the MIP (as defined below)


1 Capitalized terms not defined herein shall have the meanings ascribed to them in the Restructuring Support Agreement (“RSA”) to which this term sheet is appended to the extent so defined
therein.
2 Liquidity to be calculated as the sum of domestic and foreign cash balances (excludes undrawn commitments under the Exit Facility).

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    2L Claims               Holders of 2L Claims shall receive 10% of the New Common Stock, subject to dilution from the MIP, on account of their structurally senior claims at
                             CellFire Inc., Modiv Media, Inc., Catalina Marketing Procurement, LLC, Catalina Electronic Clearing Services, Inc., Catalina Marketing Loyalty Holdings
                             Inc., Catalina Digital Holdings, LLC, Catalina Marketing Technology Solutions, Inc., and Catalina Marketing Worldwide, LLC.
    OpCo GUCs               If the Restructuring is consummated pursuant to a prepackaged chapter 11 plan of reorganization, holders of general unsecured claims against Catalina
                             Marketing Corporation, other than OpCo rejection damages claims, shall receive payment in full in cash, reinstatement of such Claims, or such other
                             treatment that leaves such Claims unimpaired
                            If the Restructuring is not consummated pursuant to a prepackaged plan of reorganization, holders of general unsecured claims against Catalina Marketing
                             Corporation shall receive distributions with a value not to exceed the amount required by Section 1129(a)(7)(A)(ii) of the Bankruptcy Code3
    OpCo                    Rejection damage claims (including any claims resulting from the rejection of the NCS JV Agreements) shall receive no distribution under the plan
    Rejection
    Damages
    Claims
    HoldCo GUCs             Allowed general unsecured claims (including notes issued by PDM Intermediate Holdings B Corporation) against PDM Intermediate Holdings B
                             Corporation to receive no recovery
    Existing Equity         Equity interests extinguished; no recovery
    Claims
                                                                                 Other Restructuring Terms
    New Money               Incremental $40mm new money delayed draw Exit Facility commitment to be provided by the Ad Hoc First Lien Group and the other First Lien Lenders
    Exit Facility            participating as DIP lenders under the DIP Facility, which New Money Exit Facility shall be part of (and on the same terms as) the FLFO
                            Facility available to be drawn up to 18 months following the emergence date, subject to TBD draw conditions
                            The incremental delayed draw Exit Facility commitment shall be subject to the following fees:
                             o 4.0% of commitment amount payable to the Backstop Parties at closing (expected to be simultaneous with DIP), in cash
                             o 2.0% of commitment amount payable to funding parties at funding, in cash
                             o 500 bps per annum ticking fee payable monthly from closing through funding, in cash
    Management              Up to an amount of New Common Stock to be determined by the Ad Hoc First Lien Group (which shall not exceed 10% of the New Common Stock)
    Incentive Plan           will be reserved for awards of fully diluted equity, options or other instruments at plan value for a management incentive plan (“MIP”) (including any such
                             equity, options or other instruments granted to the new Board of Directors) on terms TBD by the new Board of Directors
    Releases                Customary, including in favor of the Company, the Company’s management, the Board, the First Lien Lenders and Second Lien Lenders party to the RSA,
                             the DIP Lenders, and the Agents, and each of their affiliates and each of their and their affiliates’ lawyers, investment bankers, officers, directors,
                             employees, representatives, other professionals, and agents; provided that the Consenting Creditors shall not be required to grant a release to the owners
                             of equity interests in the ultimate parent of the Catalina Entities.
    Governance              Number and identity of new directors of Board of Directors of reorganized Catalina to be determined by the Ad Hoc First Lien Group
                            Other terms TBD
    Treatment of            NCS JV Agreements amended on terms or rejected pursuant to an order providing relief, in each case, satisfactory to the DIP Lenders/Ad Hoc First Lien
    NCS                      Group and the Company and, solely to the extent such amendment or order reduces the percentage of New Common Stock to be provided to, or
                             otherwise materially adversely affects recoveries of, the Second Lien Lenders under the Plan as set forth in this Plan Term Sheet, the Requisite Second
                             Lien Lenders; provided that, a loss of revenue or a reduction in total enterprise value resulting from the rejection of any such NCS JV Agreements shall
                             not be deemed to materially adversely affect the recoveries of the Second Lien Lenders under the Plan as set forth in this Plan Term Sheet; timing in
                             accordance with Case Milestones (see below)
    Executory               The Plan will provide for the assumption of certain executory contracts (as determined by the Ad Hoc First Lien Group) and payment of undisputed cure
    Contracts                amounts in respect thereof in full upon the Effective Date
    Conditions              Company to emerge with a minimum of $40mm of liquidity4


3   NTD: To be deleted in the event prepackaged plan is solicited.
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    Precedent to            Other conditions TBD, including satisfactory amendment of NCS JV Agreements
    Emergence
    Professional            The Plan shall provide for the payment in full of all professional fees of PW, PJT, Jones Day, Evercore, WilmerHale, Davis Polk, and local counsel for each
    Fees                     of the First Lien Ad Hoc Group, Second Lien Ad Hoc Group, and the Agents (if any)
    Limitations on          Except as specifically set forth herein and in the MIP (with respect to the New Common Stock reserved for the MIP in accordance with the terms of this
    Equity                   Plan Term Sheet), the Plan shall not provide for the issuance of any New Common Stock, any other classes of common stock, preferred stock, warrants,
                             options, restricted stock units, or other instruments or securities exercisable or convertible into New Common Stock
                                                                                     DIP Financing Terms
    Borrower                Checkout Holding Corp.
    Guarantors              All existing loan parties other than the Borrower, and any other debtors (collectively, the “Debtors”) in the chapter 11 case filed in the U.S. Bankruptcy
                             Court for the District of Delaware (the “Chapter 11 Case”)
    Administrative          [JPMorgan Chase Bank, N.A.]
    Agent
    Lenders                 Members of the Ad Hoc First Lien Group and other First Lien Lenders (including RCF lenders) party to RSA (or affiliates thereof)

    Backstop                Members of the Ad Hoc First Lien Group (or affiliates thereof)
    Parties
    Amount                  Up to $125mm DIP financing available
                             o $[40]mm funded at closing for filing-related costs and cash to the balance sheet
                             o Incremental $[85]mm funded upon entry of a final DIP order
                             o $150mm of 1L Loans of DIP Lenders (or affiliates thereof) that have executed the RSA and committed to fund the new money portion of the Exit
                                  Facility shall be rolled up into the DIP roll-up tranche upon entry of a final DIP order
                             o Joint and several superpriority administrative claim against the Borrower and each Guarantor
    Security                New money portion of the DIP Facility secured by first-priority lien on unencumbered assets and priming first-priority lien on assets encumbered by 1L
                             Term Loan
                             o To include (i) a pledge of (x) the NCS JV (prior to entry of the final DIP order) and (y) the unencumbered equity of first-tier foreign subsidiaries, and
                                  (ii) a negative pledge of the equity and/or assets of downstream foreign subsidiaries
                             o To include customary carve-out for professional fees and UST fees
                            Roll-up portion of the DIP Facility secured by priming first-priority lien on assets encumbered by the RCF and 1L Term Loan
    Use of                  Incremental liquidity purposes during the Chapter 11 Case, subject to the budget agreed to by DIP Lenders
    Proceeds
    Maturity                Earlier of six months post-petition, conversion / dismissal of cases, closing of sale of substantially all assets, acceleration of loan, and the Effective Date
    Interest Rate           New money drawn amounts: L + 1,000 bps, in cash (100 bps LIBOR floor)
                            New money undrawn amounts: 500 bps per annum ticking fee, in cash
                            Roll-up amounts: L + 550 bps PIK (100 bps LIBOR floor)
                            Interest and fees payable monthly
    Payments (New           4.0% of commitment amount payable to the backstop parties at closing, in cash
    Money)                  2.0% of commitment amount payable to funding parties at funding, in cash
    Lender                  To include waiver of section 506(c) surcharge and section 552(b) “equities of case” exception for benefit of DIP and 1L secured parties; no marshaling
    Protections
    Waterfall               DIP loans to be repaid first from unencumbered collateral and then from encumbered collateral; for the avoidance of doubt, in the event the Debtors
                             propose or pursue an alternative chapter 11 plan other than the Plan (as defined in the RSA) that is not supported by the Ad Hoc Second Lien Group, the

4   Liquidity to be calculated as the sum of domestic and foreign cash balances (excludes undrawn commitments under the Exit Facility)
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                             respective rights of the DIP Lenders, Ad Hoc First Lien Group, and Ad Hoc Second Lien Group in connection with value allocation and distribution issues
                             under such alternative chapter 11 plan shall be fully preserved notwithstanding anything herein, in the RSA, or in any order of the Bankruptcy Court
    1L Adequate             Replacement liens on unencumbered assets and existing 1L pre- and post-petition collateral, superpriority claim and payment of fees and expenses of the
    Protection               Ad Hoc First Lien Group
    Covenants               Minimum liquidity of $25mm at all times5
                            Cumulative operating cash flow variance of TBD%, tested on a rolling two-week basis with a new budget issued every two weeks
                            Minimum rolling LTM EBITDA of $TBD, tested monthly6
                            Usual and other customary covenants
    Reporting               Bi-weekly update call with Company management
                            Weekly 13-week cash flow forecast
                            Weekly DIP budget variance report
                            Monthly management package consistent with the monthly performance updates included in the blowout materials
    Case Milestones         Compliance with milestones and related documents and orders shall be in form and substance acceptable to the DIP Lenders, including, but not limited
                             to:
                              o Entry of an interim DIP order no later than 5 days after the Petition Date
                              o Entry of the final DIP order no later than 40 days after the Petition Date
                              o Amendment of the NCS JV Agreements or the Debtors’ filing of a motion seeking entry of an order rejecting the NCS JV Agreements no later than
                                  30 days after the Petition Date
                              o Approval of a Disclosure Statement no later than 85 days after the Petition Date
                              o Amendment of the NCS JV Agreements or entry of an order rejecting the NCS JV Agreements no later than 85 days after the Petition Date
                              o Confirmation of a Plan no later than 125 days after the Petition Date
    Conditions              Usual and customary for DIP facilities of this type, including, but not limited to:
    Precedent for             o Receipt of an acceptable DIP budget
    DIP Facility              o Receipt of latest 13-week cash flow forecast
                              o Before entry of final order, rating of the facility by both Moody’s and S&P (the ratings need not be publicly announced)
                              o Entry of an interim order by the Bankruptcy Court authorizing the DIP Facility to be followed by a final order by the Bankruptcy Court in
                                  substantially the same form, in each case, in form and substance acceptable to the DIP Lenders
                             Second and final draw under the DIP Facility shall be conditioned upon, among other things, (i) amendment of the NCS JV Agreements in form and
                              substance acceptable to the DIP Lenders or (ii) if the NCS JV Agreements are not amended in form and substance acceptable to the DIP Lenders, the
                              Debtors’ filing of a motion to reject the NCS JV Agreements pursuant to an order satisfactory to the DIP Lenders
    DIP Party Fees          Payment of all reasonable and documented fees and expenses of Jones Day, Evercore, and local counsel as advisors to the DIP Lenders and Paul Weiss,
                             PJT, and applicable local counsel as advisors to certain DIP Lenders
                                                                                Exit Facility Financing Terms
    Borrower                Checkout Holding Corp. and/or any entity formed to hold any newly issued equity in respect of the Debtors or any assets transferred therefrom upon its
                             emergence from the Chapter 11 Case
    Guarantors              All existing loan parties other than the Borrower, and any other Debtors (which shall include reorganized entities of the foregoing, and each existing and
                             future direct and indirect domestic subsidiary of the Borrower)
    Administrative          [JPMorgan Chase Bank, N.A.]
    Agent
    Lenders                 Members of the Ad Hoc First Lien Group and other First Lien Lenders (including RCF lenders) party to RSA and to the DIP Facility as DIP Lenders



5   Liquidity to be calculated as the sum of domestic and foreign cash balances (excludes undrawn commitments under the Exit Facility)
6   Company to provide monthly EBITDA actuals for covenant calculation
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    Backstop                Members of the Ad Hoc First Lien Group
    Parties
    Amount                  Exit Facility comprised of up to (x) $125mm in respect of the FLFO financing, (y) up to $40mm of New Money Exit Facility available to be drawn up to
                             18 months following the emergence date and (z) up to $150mm plus accrued PIK interest under the roll-up portion of the DIP Facility.
    Security                Subject to the waterfall below, to be secured by a first-priority lien on substantially all assets of Borrower and each Guarantor subject to legal, tax, and
                             other diligence
                             o To include (i) a pledge of (x) the NCS JV (to the extent such JV interest is owned by the Reorganized Debtors) and (y) the unencumbered equity of
                                  first-tier foreign subsidiaries, and (ii) a negative pledge of the equity and/or assets of downstream foreign subsidiaries
    Waterfall               FLFO and New Money Exit Facility loans to be repaid first from collateral on a pro rata basis until paid in full and then FLLO loans will be repaid from
                             collateral
    Use of                  Ongoing liquidity and other general corporate purposes
    Proceeds
    Maturity                FLFO and New Money Exit Facility: Four years after the date of emergence from the Chapter 11 Case
                            FLLO: 4.5 years after the date of emergence from the Chapter 11 Case
    Interest Rate           FLFO and New Money Exit Facility: L + 750 bps cash pay (100 bps LIBOR floor)
                            FLLO amounts: L+100 bps cash pay, plus 950 bps PIK (100 bps LIBOR floor)

    Amortization            FLFO and New Money Exit Facility: 1.0% per annum
                            FLLO: none
    Mandatory               Customary, including for asset sales and excess cash flow
    Prepayments
    Call Protection         FLFO and New Money Exit Facility: NC1 / 103 / 101
                            FLLO: NC1.5 / 104 / 102
    Payments                4.0% of commitment amount payable to the backstop parties at closing (expected to be simultaneous with DIP), in cash
    (Exit New               2.0% of commitment amount payable to funding parties at funding, in cash
    Money)                  500 bps per annum ticking fee payable monthly from closing through funding, in cash
    Covenants               FLFO and New Money Exit Facility: Maximum Leverage and Maximum Capital Expenditures at levels TBD
                            FLFO and New Money Exit Facility: Minimum Liquidity of $25mm
                            FLLO: maintenance covenants TBD
                            Usual and other customary covenants
                            Negative Covenants: To be negotiated; to include debt and lien covenants

    Reporting               Usual and other customary reporting to be negotiated

    Conditions              Usual and customary for exit facilities of this type, including, but not limited to:
    Precedent for           Confirmation of a Plan and emergence from the Chapter 11 Case with a minimum of $40mm of liquidity7
    Exit Facility           Other conditions TBD, including satisfactory amendment, or entry of order approving rejection (which may be the Confirmation Order), as applicable, of
                             NCS JV Agreements




7   Liquidity to be calculated as the sum of domestic and foreign cash balances (excludes undrawn commitments under the Exit Facility)
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                                          EXHIBIT B

         FORM OF JOINDER AGREEMENT FOR CONSENTING CREDITORS

       This Joinder Agreement to the Restructuring Support Agreement, dated as of December
11, 2018 (as amended, supplemented or otherwise modified from time to time, the “Agreement”),
by and among the Company and the Consenting Creditors is executed and delivered by [●] (the
“Joining Party”) as of [●]. Each capitalized term used herein but not otherwise defined shall have
the meaning set forth in the Agreement.

        1. Agreement to be Bound. The Joining Party hereby agrees to be bound by all of the
terms of the Agreement, a copy of which is attached to this Joinder Agreement as Annex I (as the
same has been or may be hereafter amended, restated or otherwise modified from time to time in
accordance with the provisions thereof). The Joining Party shall hereafter be deemed to be a
“Consenting Creditor” and a “Party” for all purposes under the Agreement and with respect to any
and all Claims held by such Joining Party.

        2. Representations and Warranties. With respect to the aggregate principal amount of
First Lien Indebtedness and Second Lien Indebtedness, in each case, set forth below its name on
the signature page hereto, the Joining Party hereby makes the representations and warranties of the
Consenting Creditors set forth in Section 8 of the Agreement to each other Party to the Agreement.

       3. Governing Law. This Joinder Agreement shall be governed by and construed in
accordance with the internal laws of the State of New York, without regard to any conflict of laws
provisions which would require the application of the law of any other jurisdiction.

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        IN WITNESS WHEREOF, the Joining Party has caused this Joinder to be executed as of
the date first written above.

CONSENTING CREDITOR


By:
Name:
Title:



Principal Amount of First Lien Indebtedness: $______________

Principal Amount of Second Lien Indebtedness: $______________

Principal Amount of Other Indebtedness: $______________


Notice Address:
[•]




Attention: [•]
Email: [•]




                                                 Acknowledged:

                                                 [●]

                                                 By:
                                                 Name:
                                                 Title:
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                         Exhibit C

                    Liquidation Analysis
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                    LIQUIDATION ANALYSIS FOR CHECKOUT HOLDING CORP.

        I. Best Interests Test

Under the “best interests” of creditors test set forth in section 1129(a)(7) of the Bankruptcy Code, the
Bankruptcy Court may not confirm a chapter 11 plan unless each holder of a claim or interest either (i)
accepts the plan, or (ii) receives or retains under the plan property of a value, as of the effective date, that
is not less than the value such holder would receive or retain if the debtor were liquidated under chapter 7
of the Bankruptcy Code on the effective date. See 11 U.S.C. § 1129(a)(7). Accordingly, to demonstrate
that the Plan satisfies the “best interests” of creditors test, the Debtors have prepared the following
hypothetical liquidation analysis (the “Liquidation Analysis”) based upon certain assumptions discussed
in the Disclosure Statement and in the accompanying notes to the Liquidation Analysis (the “Notes”).
Capitalized terms not defined in the Notes shall have the meanings ascribed to them in the Plan and the
Disclosure Statement, as applicable.

The Liquidation Analysis estimates potential cash distributions to holders of Allowed Claims in a
hypothetical chapter 7 liquidation of the Debtors’ assets (the “Assets”). Asset values discussed in the
Liquidation Analysis may differ materially from values referred to in the Plan and Disclosure Statement.
The Debtors prepared the Liquidation Analysis with the assistance of their financial and legal advisors.

The Debtors believe that their creditors will receive at least as much, and likely significantly more, under
the Plan than they would receive in a chapter 7 liquidation of the Assets for the following reasons, among
others: (i) the likely discounts that would be realized on the value of the Assets in a chapter 7 liquidation,
(ii) the incremental claims that would be triggered in a chapter 7 bankruptcy, and (iii) the fees payable to
a chapter 7 trustee and newly appointed estate professionals.

      II. Approach and Purpose of the Liquidation Analysis

The determination of the costs of, and proceeds from, the hypothetical liquidation of the Assets in a
chapter 7 case is an uncertain process involving significant estimates and assumptions that, although
considered reasonable by the Debtors, are inherently subject to significant business, economic, and
competitive uncertainties and contingencies beyond the control of the Debtors, their management and
their advisors. The Liquidation Analysis is also based on the Debtors’ best judgment of how numerous
decisions in the liquidation process would be resolved. Inevitably, some assumptions in the Liquidation
Analysis would not materialize in an actual chapter 7 liquidation, and unanticipated events and
circumstances could materially affect the ultimate results in an actual chapter 7 liquidation. In addition,
the Debtors’ management cannot judge with any degree of certainty the recovery that may result from
asset sales in a chapter 7 liquidation. The Liquidation Analysis was prepared for the sole purpose of
generating a reasonable good faith estimate of the proceeds that would be generated if the Debtors were
liquidated in accordance with chapter 7 of the Bankruptcy Code. The Liquidation Analysis is not
intended, and should not be used, for any other purpose.

All of the limitations and risk factors set forth in the Disclosure Statement are applicable to this
Liquidation Analysis and are incorporated by reference herein. In particular, the underlying financial
information in the Liquidation Analysis was not compiled or examined by any independent accountants in
accordance with the standards promulgated by the American Institute of Certified Public Accountants.
No independent appraisals were conducted in preparing the Liquidation Analysis. NEITHER THE
DEBTORS NOR THEIR ADVISORS MAKE ANY REPRESENTATIONS OR WARRANTIES THAT
THE ACTUAL RESULTS WOULD OR WOULD NOT APPROXIMATE THE ESTIMATES AND
ASSUMPTIONS REPRESENTED IN THE LIQUIDATION ANALYSIS. ACTUAL RESULTS
COULD VARY MATERIALLY.



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In preparing the Liquidation Analysis, the Debtors estimated Allowed Claims based upon the Debtors’
latest financial projections and review of liabilities in the Debtors’ books and records. The Liquidation
Analysis includes estimates for Claims that could be asserted and Allowed in a chapter 7 liquidation,
including equipment recovery and disposal, wind down costs, trustee and professional fees required to
facilitate disposition of certain assets in a value maximizing manner. The Debtors’ estimate of Allowed
Claims set forth in the Liquidation Analysis should not be relied upon for any other purpose, including
determining the value of any distribution to be made on account of Allowed Claims under the Plan.
NOTHING CONTAINED IN THE LIQUIDATION ANALYSIS IS INTENDED TO BE, OR
CONSTITUTES, A CONCESSION, ADMISSION, OR ALLOWANCE OF ANY CLAIM BY THE
DEBTORS. THE ACTUAL AMOUNT OR PRIORITY OF ALLOWED CLAIMS IN THE CHAPTER
11 CASES COULD MATERIALLY DIFFER FROM THE ESTIMATED AMOUNTS SET FORTH
AND USED IN THE LIQUIDATION ANALYSIS. THE DEBTORS RESERVE ALL RIGHTS TO
SUPPLEMENT, MODIFY, OR AMEND THE ANALYSIS SET FORTH HEREIN.

     III. Global Assumptions

The Liquidation Analysis should be read in conjunction with the following global notes and assumptions:

     a) Conversion Date and Appointment of a Chapter 7 Trustee

The Liquidation Analysis assumes conversion of the Debtors’ Chapter 11 Cases to chapter 7 liquidation
cases on or about January 30, 2019 (the “Conversion Date”). On the Conversion Date, it is assumed that
the Bankruptcy Court would appoint one chapter 7 trustee (the “Trustee”) to oversee the liquidation of
the Estates. Should multiple Trustees be appointed to administer the Estates, lower recoveries and higher
administrative costs could result and distributions to creditors could be delayed. The basis of the
Liquidation Analysis is the Debtors’ projected cash balance and assets as of the Conversion Date and the
net costs to execute the administration of the wind down of the Estates. The Liquidation Analysis reflects
the wind down and liquidation of substantially all of the Debtors’ remaining assets and the distribution of
available proceeds to Holders of Allowed Claims during the period after the Conversion Date. The
European and Japanese businesses cannot be sold as going-concern companies and are assumed to be
liquidated as of the Conversion Date. All local obligations are assumed to be satisfied prior to cash
distributions for Intercompany notes or any equity flow to the Domestic entity.

     b) Chapter 7 Process

On the Conversion Date, it is assumed that the Trustee would conduct the liquidation of the Estates,
during which time all of the Debtors’ assets would be sold or surrendered to the respective lien holders,
and the cash proceeds, net of liquidation-related costs, would then be distributed to creditors in
accordance with the priority scheme under section 726 of the Bankruptcy Code. Under section 704 of the
Bankruptcy Code, a Trustee must, among other duties, collect and convert property of the Estates as
expeditiously as is compatible with the best interests of parties in interest, which could result in
potentially distressed recoveries.

The liquidation of the Debtors’ U.S. assets is assumed to be completed over a six-month period. To
maximize value of the Estates, the Trustee is assumed to maintain the staff required to support the sale
and transition of assets over a 6-month period, including the processing and management of
documentation requirements to maximize recovery of proceeds held back from asset sales. Non-essential
employees are assumed to be terminated immediately with only the minimum staff required to conduct
the liquidation remaining. An expedited process is expected to result in materially less recovery to the
Estates.




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     c) Claims Estimates

In preparing the Liquidation Analysis, the Debtors have preliminarily estimated an amount of Allowed
Claims for each Class based upon a review of the Debtors’ consolidating balance sheets. Additional
Claims were estimated to include certain chapter 7 administrative obligations incurred after the
Conversion Date. No order or finding has been entered or made by the Bankruptcy Court estimating or
otherwise fixing the amount of Claims at the projected amounts of Allowed Claims set forth in the
Liquidation Analysis. The estimate of the amount of Allowed Claims set forth in the Liquidation
Analysis should not be relied upon for any other purpose, including, without limitation, any determination
of the value of any distribution to be made on account of Allowed Claims under the Plan. The actual
amount of Allowed Claims could be materially different from the amount of Claims estimated in the
Liquidation Analysis.

     d) Avoidance Actions

No recovery or related litigation costs attributable to any potential avoidance actions under the
Bankruptcy Code, including potential preference or fraudulent transfer actions, are assumed within the
Liquidation Analysis.

     e) Litigation

The Liquidation Analysis does not consider any recovery or claims that may arise from the outcome of
current or potential actions by or against the Debtors.

     IV. Conclusion

The Debtors have determined that confirmation of the Plan will provide creditors and interest holders
with a recovery that is not less than what they would otherwise receive in connection with a hypothetical
liquidation of the Debtors under chapter 7 of the Bankruptcy Code.




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    V.      Notes to the U.S. Liquidation Analysis

All recoveries and recovery percentages cited in the notes below are presented on a consolidated basis and
represent a blended average percentage of the following entities: Catalina Costa Rica S.R.L., Catalina
Marketing Procurement, LLC, Catalina Marketing Technology Solutions, Inc., Catalina Marketing
Worldwide, Catalina Pacific Media, LLC, Checkout Holding Corporation, Cellfire, Inc., and CMJ
Investments, LLC. The mix of asset and claims recoveries may vary between Debtors on an
unconsolidated basis.

Note 1 – Distributable Cash. The Debtors’ estimated balance as of the Conversion Date is
approximately $86.1 million. Distributable Cash reflects the estimated Cash and Cash Equivalents less
the Restricted Cash and Post-Carve Out Trigger Notice Amount based on the Debtors’ financial
projections. The DIP is assumed to have the full $125 million drawn as of the Chapter 7 conversion date.
The Cash is presented following the removal of the $3.5 million Post Carve-Out Trigger Notice Cap (as
defined in the DIP Order), which is reserved for the payment of the Debtors’ professional fees following
the delivery of the Post Carve-Out Trigger Notice (as defined in the DIP Order). Restricted Cash includes
$5.25 million held for the Epson letter of credit. The analysis assumes Epson will draw on the letter of
credit and the cash will not be distributed to other creditors. The estimated recovery for this asset
category is 100%.

Note 2 – Accounts Receivable. The Debtors’ estimated balance as of the Conversion Date is
approximately $82.8 million. Accounts receivable are primarily comprised of consumer packaged goods
and retail customers. Accounts Receivable reflects the Net Accounts Receivable less the Deferred
Revenue. The estimated recovery for this asset category is assumed to be between 30.6% and 44.5%.

Note 3 – Total Other Current Assets. The Debtors’ estimated balance as of the Conversion Date is
approximately $13.2 million. Total Other Current Assets reflects the Other Current Assets and the
Deferred Tax Asset. Data is assumed to have a zero recovery as the data is licensed and customer data
cannot be sold. The NCS Joint Venture is assumed to have a zero recovery as the Debtors will not be
contributing data and the data rights cannot be sold. The estimated recovery for this asset category is
assumed to be between $300,000 and $700,000.

Note 4 – Property and Equipment. The Debtors’ estimated balance as of the Conversion Date is
approximately $120 million net amortization and depreciation. Property and Equipment is primarily
comprised of Store Equipment, Furniture and Office Equipment, Building, Building and Other
Improvements, Software, and Land. The primary source of recovery is from the sale of the owned
headquarters in St. Petersburg, Florida. The estimated recovery for this asset category is assumed to be
between $17.8 million and $29.1 million.

Note 5 – Total Other. The Debtors’ estimated balance as of the Conversion Date is approximately
$1.516 billion. Total Other is primarily comprised of Long Term Deferred Tax Asset, Net Intangibles,
Goodwill, Deposits, and Investments in Joint Ventures. The estimated recovery for this asset category is
assumed to be between $2.1 million and $6.2 million.

Note 6 – Accrued Employee Claims & WARN Impact. The analysis assumes a WARN trigger will
occur for Florida and Illinois. The result is 60 days of fully-loaded employee costs for employees that are
not part of the Wind Down Team. The estimated cost for this category is assumed to be $10.6 million.

Note 7 – 503(b)(9) Claims. 503(b)(9) claims consist primarily of the cost of ink, paper, printer supplies,
and printer hardware. The estimated cost for this category is assumed to be $500,000.




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Note 8 – Wind Down Expenses. Chapter 7 Wind Down Team Costs are primarily comprised of
Accounting and Finance, General Administration, Human Resources & Payroll, Information Technology
and Operations. Domestic legal expenses are included in Wind Down Team, which includes the Chief
Legal and Administrative Officer. The estimated cost for this category is assumed to be $1.3 million.

Note 9 – Non-Payroll Overhead. Non-payroll overhead includes Insurance on Headquarters, Utilities,
Software, Insurance Premiums, and Accounting and Tax Services and Third Party Service providers for
six months. Non-payroll overhead also includes Rent on Other Facilities. The Rent on Other Facilities is
assumed to continue for one month to allow the Debtors to remove valuable equipment and servers.
Domestic insurance on Headquarters is the current monthly insurance premium on the building, land and
equipment. Utilities are assumed to continue at current monthly rates for the Domestic Headquarters.
Utilities on rented property are assumed to exist for one month at current monthly rates. Software
expenses are assumed to be primarily in the Debtors, which is consistent with historical practices, with
minor expenses in the foreign entities for domestic software licenses. Insurance premiums represent the
current premiums paid. Domestic Accounting and Tax Services are expected to continue at reduced rates
in order to comply with tax and other accounting requirements. Foreign Accounting and Tax services are
assumed to be at a 50% premium to Domestic rates in order to account for tax complexity in the various
countries. Third Party Service Providers represent estimated Mindtree expenses to handle the global
network throughout the liquidation period. The estimated cost for this category is assumed to be $3.4
million.

Note 10 – Equipment Recovery & Disposal. Equipment Recovery & Disposal includes the cost of
removing the printers from in-store locations. In order to dispose of the printers and ink in an
environmentally friendly and ethical manner, significant costs will need to be incurred to remove and
dispose of printers and ink. Based on cost of removing printers from previous in-store locations, the
model assumes removal and disposal cost will be approximately $250 - $500 per store depending on the
Low/High case across 20,000 stores. The estimated cost for this category is assumed to be between $5
million and $10 million.

Note 11 – Transaction Costs and Brokerage Fees. Transaction Costs and Brokerage Fees includes
liquidator fees. Transaction Costs and Brokerage Fees are assumed to be 5% - 10% of the proceeds of the
recovery of Property, Plant & Equipment in addition to Intangibles. The estimated cost for this category is
assumed to be between $1.8 million and $2 million.

Note 12 – Liquidation Professional Fees. Debtor professionals are assumed to be involved throughout
the six-month liquidation with lender professionals only needing to be involved for three months. The
model assumes local counsel will be shared between the first lien lenders. The estimated cost for this
category is assumed to be $14.7 million. The total of estimated costs for this category includes
approximately $3.2 million of accrued but unpaid Debtor Professional Fees, $250,000 of allowed
administrative expenses pursuant to 28 U.S.C. § 1930(a)(6) and 28 U.S.C. § 156(c) for fees required to be
paid to the Clerk of this Court, and $50,000 of fees and expenses incurred by the Trustee under section
726(b) of the Bankruptcy Code, all of which shall be paid from the Post-Carve Out Trigger Notice
Account (as defined in the DIP Interim Order).

Paragraph 7 of the DIP Interim Order provides that certain fees and expenses described above shall be
entitled to priority above DIP Liens, Superpriority Claims, Prepetition Liens, Adequate Protection Liens,
and Adequate Protection Claims (all as defined in the DIP Order). All such fees and expenses shall be
funded by the Debtors into the Post Carve-Out Trigger Notice Account, which will include the funding of
the Carve-Out Trigger Notice Cap of $3.5 million for a total of approximately $7.05 million to be funded
into the Post Carve-Out Trigger Notice Account.
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Note 13 – Secured Debt Claims. This Liquidation Analysis assumes that the aggregate principal amount
of the DIP Claim is approximately $275 million. The DIP claim is calculated as $125 million of new
liquidity plus $150 million of first lien debt that is rolled into the DIP. The First Lien Debt Claim is
reduced by the $150 million first lien rollup. The First Lien Debt Claim is approximately $925.4 million
and the Second Lien Debt Claim is $471.9 million. The Professional Fee Carve-Out is assumed to reduce
the outstanding DIP claim by $3.5 million. The Liquidation Analysis concludes the holders of the DIP
Claim will receive between approximately 36.4% and 48.3%, the First Lien Debt Claim will receive
approximately 0.0% and the Second Lien Debt Claim will receive approximately 0.0% in a chapter 7
liquidation.

Note 14 – General Unsecured Claims. This Liquidation Analysis assumes that the aggregate principal
amount of the deficiency claim on account of the DIP Claim is approximately between $146.3 million and
$178.9 million, the deficiency claim on account of the First Lien Debt Claim is approximately $925.4
million, the deficiency claim on account of the Second Lien Debt Claim is approximately $471.9 million,
and the Trade and Other General Unsecured Claim is $9.5 million. The Liquidation Analysis concludes
the General Unsecured Claims will receive 0.0% in a chapter 7 liquidation.

Note 15 – PDM Holdings Claim. This Liquidation Analysis assumes that the aggregate principal
amount of the Holdco Notes Claim is approximately $383.9 million. The HoldCo Notes are issued by
PDM Intermediate Holdings B Corporation and are structurally subordinate to claims against Checkout
Holding Corporation and its subsidiaries. The Liquidation Analysis concludes the PDM Holdings Claim
will receive 0.0% in a chapter 7 liquidation.
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  VI.     Notes to the Europe Liquidation Analysis

All recoveries and recovery percentages cited in the notes below are presented on a consolidated basis and
represent a blended average percentage of the following entities: Catalina Marketing Bermuda, Ltd.,
Catalina Marketing Cooperatief U.A., Catalina Marketing Deutschland GmbH, Catalina Marketing
France, S.A.S., Catalina Marketing International B.V., Catalina Marketing Italia, S.R.L, Catalina
Marketing UK, Ltd., and CM International C.V. (together the “European Entities”). The mix of asset
and claims recoveries may vary between European Entities on an unconsolidated basis.

Note 1 – Distributable Cash. The European Entities’ estimated balance as of the Conversion Date is
approximately $9.5 million. Distributable Cash reflects the estimated Cash and Cash Equivalents less the
Restricted Cash based on the Debtors’ financial projections. Europe restricted cash includes $1.2 million
held in escrow in France. The analysis assumes the funds held in escrow will be distributed to the escrow
beneficiary and will not be distributed to other creditors. The estimated recovery for this asset category is
100%.

Note 2 – Accounts Receivable. The European Entities’ estimated balance as of the Conversion Date is
approximately $32.4 million. Accounts Receivable are primarily comprised of consumer packaged goods
and retail customers. Accounts receivable reflects the Net Accounts Receivable less the Deferred
Revenue. The estimated recovery for this asset category is assumed to be between 42.5% and 57.7%.

Note 3 – Total Other Current Assets. The European Entities’ estimated balance as of the Conversion
Date is approximately $3.9 million. Total Other Current Assets reflects the Other Current Assets and the
Deferred Tax Asset. The estimated recovery for this category is assumed to be $100,000.

Note 4 – Property and Equipment. The European Entities’ estimated balance as of the Conversion Date
is approximately $19.9 million net amortization and depreciation. Property and Equipment is primarily
comprised of Store Equipment, Furniture and Office Equipment, Building and Other Improvements, and
Software. The estimated recovery for this asset category is assumed to be between $100,000 and
$700,000.

Note 5 – Total Other.       The European Entities’ estimated balance as of the Conversion Date is
approximately negative $10.4 million. Total Other is primarily comprised of negative Goodwill and
Deposits. The estimated recovery for this class is assumed to be 0%.

Note 6 – Wind Down Expenses. Wind Down expenses reflect a 6-month budget. Wind Down Expenses
are mainly comprised of Accounting of Finance, General Administration, Human Resources and Payroll,
Information Technology and Operations, and Supporting Expenses. The legal expenses include an
estimated cost for third party firms to legally unwind the various European Entities. The cost associated
with the Europe wind down team is assumed to be 50% of the Domestic wind down team. The estimated
cost for this category is assumed to be $700,000.

Note 7 – Other Overhead. Other Overhead is primarily comprised of rent, utilities, legal services,
software, insurance premiums, accounting and tax services. The estimated cost for this category is
assumed to be $5.2 million.

Note 8 – Equipment Recovery & Disposal. Europe disposal costs are assumed to be 50% of the
Domestic Disposal Cost. The estimated recovery cost for this category is assumed to be between $2.6
million and $5.2 million.
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Note 9 – Local Liabilities. The European Entities’ estimated balance as of the Conversion Date is
approximately $25.4 million. Local Liabilities are primarily comprised of Accounts Payable, Income
Taxes Payable, Accrued Expenses, Deferred Revenue, and Long Term Deferred Tax Liability. Local
liabilities are assumed to be satisfied prior to any distribution to the Domestic entities. The total recovery
estimate is assumed to be between 45.9% and 76.1%.

Note 10 – Intercompany Liabilities. The European Entities’ estimated balance as of the Conversion
Date is approximately $35.9 million. Intercompany Liabilities are primarily comprised of Intercompany
Payable and Intercompany Notes Payable. The total recovery estimate is assumed to be 0%. It is
assumed that the Intercompany Liabilities are subordinate to the payment of all Local Liabilities.
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 VII.     Notes to the Japan Liquidation Analysis

For the purposes of this analysis, all recoveries and recovery percentages are based on the liquidation
costs of Catalina Marketing Japan KK (hereafter “Catalina Japan”).

Note 1 – Distributable Cash. Catalina Japan’s estimated balance as of the Conversion Date is
approximately $12.6 million. Distributable Cash reflects the estimated Cash and Cash Equivalents less
the Restricted Cash based on the Debtors’ financial projections. The estimated recovery for this asset
category is 100%.

Note 2 – Accounts Receivable. Catalina Japan’s estimated balance as of the Conversion Date is
approximately $1.9 million. Accounts Receivable are primarily comprised of consumer packaged goods
and retail customers. Accounts Receivable reflects the Net Accounts Receivable less the Deferred
Revenue. The estimated recovery for this asset category is assumed to be 0%

Note 3 – Total Other Current Assets. Catalina Japan’s estimated balance as of the Conversion Date is
approximately $2.2 million. Total Other Current Assets reflects only the Other Current Assets. The
estimated recovery for this category is assumed to be between $0 and $100,000.

Note 4 – Property and Equipment. Catalina Japan’s estimated balance as of the Conversion Date is
approximately $29.1 million net amortization and depreciation. Property and Equipment is primarily
comprised of Store Equipment, Furniture and Office Equipment, Building and Other Improvements, and
Software. The estimated recovery for this asset category is assumed to be between $0 and $900,000.

Note 5 – Total Other. Catalina Japan’s estimated balance as of the Conversion Date is approximately
negative $7.5 million. Total Other is primarily comprised of negative Goodwill and Deposits. The
estimated recovery for this class is assumed to be 0%.

Note 6 – Wind Down Expenses. Wind Down Expenses reflect a 6-month budget. Wind Down
Expenses are mainly comprised of Accounting of Finance, General Administration, Human Resources
and Payroll, Information Technology and Operations, and Supporting Expenses. The legal expenses
include an estimated cost for third party firms to legally unwind Catalina Japan The cost associated with
Catalina Japan’s wind down team is assumed to be 50% of the Domestic wind down team. The estimated
cost for this category is assumed to be $700,000.

Note 7 – Other Overhead. Other Overhead primarily comprised of rent, utilities, legal services,
software, insurance premiums, accounting and tax services. The estimated recovery for this category is
$4.7 million.

Note 8 – Equipment Recovery & Disposal. Catalina Japan’s disposal costs are assumed to be 50% of
the Domestic Disposal Cost. The estimated recovery cost for this category is assumed to be between $2.5
million and $5 million.

Note 9 – Local Liabilities. Catalina Japan’s estimated balance as of the Conversion Date is
approximately $13.3 million. Local Liabilities are primarily comprised of Accounts Payable, Income
Taxes Payable, Accrued Expenses, and Deferred Revenue. Local liabilities are assumed to be satisfied
prior to any distribution to the Domestic entities. The total recovery estimate is assumed to be between
26.0% and 65.1%.

Note 10 – Intercompany Liabilities. Catalina Japan’s estimated balance as of the Conversion Date is
approximately $9.3 million. Intercompany Liabilities is comprised of Intercompany Payables. The total
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recovery estimate is assumed to be 0%. It is assumed that the Intercompany Liabilities are subordinate to
the payment of all Local Liabilities
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                         Exhibit D

                   Financial Projections
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                                  Projected Consolidated Income Statement
                                                             Stub
($ millions USD)                                                2019(1)         2020             2021             2022
Net Revenue                                                $         233    $      446       $      476       $      500
Cost of Sales                                                        (97)         (194)            (213)            (224)
Gross Profit                                                         136           252              263              276
SG&A                                                                 (92)         (170)            (173)            (177)
Management EBITDA                                                     44               82               90           100
Other                                                                (18)          (10)             (10)                 (8)
Adjusted EBITDA                                                       26               72               80               92
Depreciation and Amortization                                        (29)          (60)             (62)             (65)
Interest Expense                                                     (22)          (40)             (43)             (45)
Income Tax Expense                                                    (3)           (6)              (6)             (11)
Net Income                                                 $         (28) $        (34) $           (30) $           (29)




                                Projected Consolidated Cash Flow Statement
                                                            Stub
($ millions USD)                                                2019(1)         2020             2021             2022
Net Income                                                  $        (28) $        (34) $           (30) $           (29)
Depreciation and Amortization                                         29               60               62               65
Changes in Working Capital                                             4               (4)              (6)              (5)
Other Adjustments                                                      8               16               18               20
Operating Cash Flows                                                  13               38               44               51
Capex                                                                (28)          (62)             (58)             (58)
Other Investing                                                        -             -                -                -
Investing Cash Flows                                                 (28)          (62)             (58)             (58)
Proceeds/(Repayments) on Debt                                         14               23               (2)              (2)
Other Financing                                                        -                -                -                -
Financing Cash Flows                                                  14               23               (2)              (2)
Net Increase/(Decrease) in Cash                             $         (1) $            (1) $        (15) $               (9)




                                   Projected Consolidated Balance Sheet
                                                            Stub
($ millions USD)                                                2019(1)         2020             2021             2022
Cash & Cash Equivalents                                     $         48    $       47       $       32       $       23
Accounts Receivable, net                                             106           110              117              123
Prepaid Expenses & Other Current Assets                               28            28               30               31
Total Current Assets                                                 181           185              178              177
Property & Equipment, net                                            193           195              191              184
Other Long-Term Assets                                               120           120              120              120
Total Assets                                                         495           500              490              481
Accounts Payable                                                      18               20               21               23
Accrued Expenses                                                      49               48               49               50
Other Current Assets                                                   3                3                3                3
Total Current Liabilities                                             70               70               73               75

Long-Term Debt(2)                                                    304           344              360              378
Other Long-Term Liabilities                                            6             6                6                6
Total Liabilities                                                    380           420              439              460
Shareholder's Equity                                                 115               81               51               22
Total Liabilities and Shareholder's Equity                  $        495    $      500       $      490       $      481




(1) Represents the post-emergence period from June 15, 2019 - December 31, 2019
(2) Includes the FLFO and FLLO exit facilities per the 1L term sheet dated December 7, 2018
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                         Exhibit E

                   Organizational Structure
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                                                                                                                                                                                                          Legend
                                                                                                                     PDM Group
                                                                                                                Holdings Corporation                                                 Non-Debtor                      Debtor




                                                                                                                 PDM Intermediate                                                    JV Partner
                                                                                                               Holdings A Corporation



                                                                                                                 PDM Intermediate
                                                                                                               Holdings B Corporation




                                                                                                                        PDM
                                                                                                                Holdings Corporation




                                                                                                             Checkout Holding Corp.



The Nielsen Company                                                                                              Catalina Marketing
      (US), LLC                                                                                                     Corporation




      63.5%
                      36.5%




                                 Cellfire Inc.                       Catalina Marketing   Catalina Electronic Clearing             Catalina Marketing      Catalina Digital           Catalina Marketing           Catalina Marketing                                       Supermarkets Online
              NC Ventures, LLC                   Modiv Media, Inc.   Procurement, LLC            Services, Inc.                   Loyalty Holdings Inc.    Holdings, LLC           Technology Solutions, Inc.       Worldwide, LLC                                             Holdings, Inc.
                                                                                                                                                                                                                                                               1%
                                                                                                                         20%
                                                                                                                               80%                                                                                                                     99%



                                                                                                                                                              Catalina Marketing                                   Catalina Marketing
                                                                                                                                                                                       Catalina Marketing                                          CM International C.V.   Supermarkets Online,
                                                                                                             Catalina-Pacific Media, LLC                         Italia, S.R.L.                                    Costa Rica, S.R.L.
                                                                                                                                                                                       Deutschland GmbH                                                                           Inc.




                                                                                               Catalina Marketing                                                                                                             Catalina Marketing
                                                                                                                                 CMJ Investments, L.L.C.                                                                        Bermuda Ltd.
                                                                                                  Japan K.K.




                                                                                                                                                                                                                                                    Catalina Marketing
                                                                                                                                                                                                                                                     Coöperatief U.A.




                                                                                                                                                                                                                                                    Catalina Marketing
                                                                                                                                                                                                                                                    International B.V.




                                                                                                                                                                                                                   Catalina Marketing                                       Catalina Marketing
                                                                                                                                                                                                                                                    Catalina Marketing
                                                                                                                                                                                                                     France, S.A.S.                                        (Shanghai) Co., Ltd.
                                                                                                                                                                                                                                                       U.K. Limited




                                                                                                                                                                                                                                                     Savings4Me, Ltd
